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                                   No. 23-6054

               IN THE UNITED STATES COURT OF APPEALS
                        FOR THE TENTH CIRCUIT

                                 SPEECH FIRST, INC.,
                                              Plaintiff-Appellant,
                                          v.
                         KAYSE SHRUM, in her official capacity
                      as President of Oklahoma State University,
                                              Defendant-Appellee.

               On Appeal from the United States District Court for the
               Western District of Oklahoma, No. 5:23-cv-29 (Jones, J.)

         APPELLANT’S APPENDIX, VOLUME II: App.214 - App.430

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           Dated: May 23, 2023




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                       Exhibit 2




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       General Incident Report

  Please provide detailed information regarding the incident you are reporting.

  Choose General incident report for concerns or actions that are experienced or
  observed and present a danger to an individual or the OSU/NOC community.

  Choose Academic Integrity report for incidents involving violations of the OSU
  Academic Integrity policy.

    Background Information


  Enable additional features by logging in.  (https://cm.maxient.com/reportingform.php?
  OklahomaStateUniv&layout_id=0&promptforauth=true)

  Your full name:




https://cm.maxient.com/reportingform.php?OklahomaStateUniv&layout_id=0                           Page 1 of 5

                                                                    App.218
General Incident ReportCase 5:23-cv-00029-J Document 32-7 Filed 03/24/23 Page 3 of 6       1/4/23, 12:20 PM
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  Your position/title:




  Your phone number:




  Your email address:




  Nature of this report (Required):


    Please Choose...


  Date of incident (Required):


    01/04/2023


  Time of incident:




  Location of incident (Required):


    Please select a location ...


  Specific location:

https://cm.maxient.com/reportingform.php?OklahomaStateUniv&layout_id=0                           Page 2 of 5

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    Involved Parties

    Please list the individuals involved (excluding yourself), completing as many of the
    listed fields as you can provide.


    Enter a CWID (Banner ID) in the ID Number field. For non-students, please list the
    individuals last name in caps and first name in lower caps like follows: DOEjohn.
    However when you enter the non-student's name in the name field enter the
    name correctly: John Doe.


        Name or Organization




        Banner ID Number




        DOB (YYYY-MM-DD)




        Phone number




        Email address




        Hall/Address


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        Add another party




    Questions


    Please provide a detailed description of the incident/concern using specific concise, objective
    language (Who, what, where, when, why, and how).




    Please provide the police report number (if applicable).




    Supporting Documentation

    Photos, video, email, and other supporting documents may be attached below.
    5GB maximum total size.
    Attachments require time to upload, so please be patient after submitting this
    form.

       Choose files to upload                                                           Choose Files




https://cm.maxient.com/reportingform.php?OklahomaStateUniv&layout_id=0                             Page 4 of 5

                                                                    App.221
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                                                              Submit report

                                                                                             Privacy - Terms




https://cm.maxient.com/reportingform.php?OklahomaStateUniv&layout_id=0                           Page 5 of 5

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                       Exhibit 3




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Report an Incident | Oklahoma State University                                                                            1/4/23, 12:22 PM
            Appellate Case: 23-6054 Document: 010110864065 Date Filed: 05/23/2023                                   Page: 11
    OKLAHOMA STATE UNIVERSITY(HTTPS://GO.OKSTATE.EDU/)Quicklinks / Search                     APPLY(HTTPS://GO.OKSTATE.EDU/APPLY/)

                             STUDENT
                             SUPPORT AND CONDUCT
                                                                            (/)



                             REPORT(/REPORT/INDEX.HTML)       STUDENT CONDUCT     STUDENT SUPPORT RESOURCES


                             EDUCATION & AWARENESS(/EDUCATION-AWARENESS/INDEX.HTML)         ABOUT(/ABOUT.HTML)


  Home(https://ssc.okstate.edu/)   /   Report(index.html)




        Report a Concern
        There are various forms for requesting
        support and reporting concerning
        behavior.
        Please review the following descriptions and contact Student
        Support & Conduct (405-744-5470) if you have further questions.




                         REPORT
         (HTTPS://CM.MAXIENT.COM/REPORTING.PHP?
                   OKLAHOMASTATEUNIV)




                                                            Reporting Options




https://ssc.okstate.edu/report/                                                                                                Page 1 of 3

                                                                     App.224
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Report an Incident | Oklahoma State University                                                                                         1/4/23, 12:22 PM
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      Care report              Report an incident           Report sexual       Bias incident report
      (https://cm.maxient.com/reportingform.php?
                               (https://cm.maxient.com/reporting.php?
                                                            violence            (https://cm.maxient.com/rep
      OklahomaStateUniv&layout_id=60)
                               OklahomaStateUniv) (https://cm.maxient.com/reportingform.php?
                                                                                OklahomaStateUniv&layout_
      See. Say. Do. Something. It is OSU's expectation that OklahomaStateUniv&layout_id=40)
                                                                                Oklahoma State University
      Anyone can submit a report            students, faculty and sta! will   All university employees that      respects and values the
      outlining their concern for a         report all violations of the      are not confidential reporters     diversity of individual beliefs
      student. If you see something,        Student Code of Conduct of        are encouraged, if not required,   and opinions. The University
      say something, and do                 which they become aware.          to report when students,           urges anyone who has
      something by submitting a Care                                          employees, or visitors disclose    experienced or witnessed a bias
      Report.                                                                 an incident of sexual violence.    incident to report it.
                                                                              Sexual violence includes sexual
                                                                              harassment, sexual
                                                                              misconduct, dating violence,
                                                                              domestic violence, and stalking.




                                           Cowboy Strong Funding
                                           (https://studenta!airs.okstate.edu/students/cowboy_strong.html)
                                           Cowboy Strong emergency funds provide financial support to students experiencing an unforeseen
                                           hardship that could impact their ability to remain enrolled in school.




  Consider reporting to the police
  If you believe that someone's behavior violated the law, you are encouraged to report the situation to the appropriate law
  enforcement agency. The OSU Police(https://safety.okstate.edu/police/) department has jurisdiction to investigate and respond to
  allegations of criminal misconduct that occur on campus. The
  Stillwater Police(http://stillwater.org/page/home/government/departments-divisions/police-department) respond to situations
  that are o" campus but within the municipal city limits of Stillwater. Other area law enforcement agencies include the
  Payne County Sheri!'s O"ce(https://paynecountyok.gov/), the
  Oklahoma State Bureau of Investigation(http://www.ok.gov/osbi/), and the
  Payne County District Attorney's O"ce(http://www.paynecounty.org/district-attorney/).



https://ssc.okstate.edu/report/                                                                                                             Page 2 of 3

                                                                        App.225
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Report an Incident | Oklahoma State University                                                                                                               1/4/23, 12:22 PM
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  At your request, Student Support & Conduct will assist you in reporting to the appropriate law enforcement agency. It is important to
  note that it is not required that you report a situation to the police in order for the university to investigate and respond to a situation.




  STUDENT SUPPORT AND CONDUCT                                                                                                 Follow us

  Part of the                                                                                                                 News | Events | Newsletter Signup
                                                               Student Support and Conduct
                                                               (https://go.okstate.edu)                                       Social Media Directory
  Division of Student A!airs
                                                               328 Student Union                                              (https://social.okstate.edu)
  (https://studenta!airs.okstate.edu)
                                                               Oklahoma State University
                                                               Stillwater, OK 74078                                            (https://www.facebook.com/pages/Oklahoma-
                                                               (map)                                                           State-University/39013362306)
                                                               (https://goo.gl/maps/aJL1unybG942)
                                                               (405)-744-5470 (tel:4057445470) |
                                                               Contact Us
                                                               (mailto:student.support@okstate.edu)




                         (Https://Go.okstate.edu/)      OKLAHOMA STATE UNIVERSITY(HTTPS://GO.OKSTATE.EDU/)
                                                       Campus & Parking Maps All OSU Institutions Careers @ OSU                            Hire OSU Grads



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  Accessibility | Campus Safety | Diversity | EEO Statement | Ethics Point | Privacy Notice | Terms Of Service | Trademarks




https://ssc.okstate.edu/report/                                                                                                                                   Page 3 of 3

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                       Exhibit 4




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Oklahoma State University | Reporting                                                         1/4/23, 12:24 PM
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   Please select the reporting form that is most appropriate.

   Bias Incident Report: Oklahoma State University respects and values the diversity of individual
   beliefs and opinions. The University urges anyone who has experienced or witnessed a biased
   incident to report it.

   Care Report: Submit a Care Report if you are concerned for a student's wellbeing. This is for
   NON-EMERGENCY reporting. If the person poses a threat of harm to self or others contact
   Oklahoma State Police IMMEDIATELY at (405) 744-6523.

   Cowboy Strong Funding: Cowboy Strong funding is intended to be a one-time grant, up to
   $500 or less, to assist students who are experiencing an unforeseen emergency or crisis.

   General Incident Report: Use this report form to share concerns about a student's behavior that
   does not align with the expectations outlined in the Student Code of Conduct.

   Residence Life Incident Report: This report form is used for concerns or actions that are
   experienced or observed in an on-campus living environment and alleged to have violated the
   Code of Conduct or Residential Life policies.

   Sexual Violence Report: This form may be used to report instances of sexual violence to
   Oklahoma State University officials.


                                              Select a Reporting Form
                                                                                                   Go




https://cm.maxient.com/reporting.php?OklahomaStateUniv                                             Page 1 of 1

                                                         App.228
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                      Exhibit 5




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BIAS RESPONSE TEAM




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               The mission of FIRE is to defend and sustain individual rights at
               America’s colleges and universities. These rights include freedom of
               speech, legal equality, due process, religious liberty, and sanctity of
               conscience—the essential qualities of individual liberty and dignity.
               FIRE’s core mission is to protect the unprotected and to educate the
               public and communities of concerned Americans about the threats to
               these rights on our campuses and about the means to preserve them.




     510 WALNUT ST.
     SUITE 1250
     PHILADELPHIA, PA 19106


                                             App.231
     YOUTUBE.COM/THEFIREORG                  @THEFIREORG                 FACEBOOK.COM/THEFIREORG
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               12 WIDELY DEFINING “BIAS”

               15 EXAMPLES OF REPORTED INCIDENTS

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     EXECUTIVE SUMMARY
     	  

     Over the past several years, the Foundation for              purpose of such teams is to deter and
     Individual Rights in Education (FIRE) has                    respond to controversies that might
     received an increasing number of reports that                embarrass the institution.
     colleges and universities are inviting students to       •   Fewer than a third of teams included
     anonymously        report       offensive,     yet           faculty members, whose absence
     constitutionally     protected,      speech     to           diminishes the likelihood that the team
     administrators and law enforcement through so-               will have a meaningful understanding of
     called “Bias Response Teams.” These teams                    academic freedom.
     monitor and investigate student and faculty
     speech, directing the attention of law               Teams tend to cast a wide net when defining
     enforcement       and       student        conduct   “bias.” Almost all use categories widely found in
     administrators towards the expression of             discrimination statutes (race, sex, sexual
     students and faculty members.                        orientation, etc.), while others investigate bias
                                                          against obscure categories, such as “smoker
     To better understand this phenomenon, FIRE           status,” “shape,” and “intellectual perspective.” A
     gathered data throughout 2016 on every bias          significant    minority       include    political
     reporting system we could locate. FIRE sought to     affiliation or speech as a potential bias,
     determine who reviews the reports, what              inviting reports of and investigations into
     categories of bias they are charged with             political speech by law enforcement and
     addressing, and whether the institution              student conduct administrators .
     acknowledges that the system generates a
     tension with free speech and academic freedom. In responding to reports regarding this wide
                                                        array of protected expression, administrators are
     FIRE discovered and surveyed 231 Bias frequently armed with vague or overly broad
     Response Teams at public and private rules granting them leeway to impose sanctions
     institutions during 2016. The expression of at for speech they dislike. In December 2016, FIRE
     least 2.84 million American students is found that some 92.4% of the 449 schools
     subject to review by Bias Response Teams. While surveyed for our annual speech code report
     most students in higher education do not yet maintain policies that either clearly and
     appear to be subject to bias reporting systems, we substantially restrict speech, or can otherwise be
     believe that the number of Bias Response Teams interpreted to punish protected speech. At such
     is growing rapidly.                                schools, a Bias Response Team’s practice of
                                                        broadly defining and identifying “bias” may
     The composition of Bias Response Teams is not expose a wide range of protected speech to
     always made public. About 28% did not reveal the punishment. Even where schools purport only to
     names or rules of any team members. Of those provide “education” to the offending speaker,
     whose membership FIRE could ascertain:             instead of formal punitive sanctions (such as
                                                        suspension or expulsion), this response is often
          •   42% report speech to members of law undertaken by student conduct administrators,
              enforcement or campus security officers, not educators, and more closely resembles a
              even though the teams deliberately reprimand.
              solicit reports of a wide variety of non-
              criminal speech and activity.             There is an unavoidable tension between
          •   12% of teams include at least one promoting free speech and academic freedom
              administrator dedicated to media and working to combat the presence of “bias”
              relations, suggesting that part of the (however defined) on campus. Yet only 84



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                                                                          EXECUTIVE SUMMARY

 (50.6%) of the teams surveyed acknowledged      students and offering resources to those who
 a tension with freedom of speech , freedom of   encounter meaningful difficulties in their lives
 inquiry, or academic freedom on their websites  on campus, the posture taken by many Bias
 or in their policies.                           Response Teams is all too likely to create
                                                 profound risks to freedom of expression, freedom
 FIRE also used public records requests to of association, and academic freedom on campus.
 discover the reports made at some institutions,
 how the schools responded to those reports, and       a




 the teams’ policies and training. Many
 institutions complied with these requests.
 Others stonewalled, hid records, deleted
 websites, or demanded thousands of dollars to
 view records, claiming that knowing how Bias
 Response Teams operate is not in the public
 interest.

 Further, how universities respond to bias reports
 may expose them to First Amendment lawsuits.
 Individual team members risk being held
 personally liable for violating constitutional
 rights in some circumstances. They may not even
 be aware of where the lines are drawn. FIRE
 found little evidence that Bias Response Teams
 are trained on First Amendment issues.

 Bias Response Teams, when armed with open-
 ended definitions of “bias,” staffed by law
 enforcement        and      student     conduct
 administrators, and left without training on
 freedom of expression, represent an emerging
 risk to free and open discourse on campus and in
 the classroom. Bias Response Teams create—
 indeed, they are intended to create—a chilling
 effect on campus expression. Even if a Bias
 Response Team does not have the power to take
 punitive action, the prospect of an official
 investigation may make students and faculty
 more cautious about what opinions they dare to
 express.

 Beyond First Amendment concerns, encouraging
 students and faculty to anonymously report one
 another to administrators for subversive or
 offensive views is illiberal, and antithetical to a
 campus open to the free exchange of ideas. While
 universities should certainly be listening to their



                                            2017 SURVEY OF BIAS REPORTING SYSTEMS IN HIGHER EDUCATION   5
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     METHODOLOGY

     W HA T IS A B IA S R E P OR T IN G S Y S T E M ?                         in FIRE’s own Spotlight database,2 to identify
                                                                              leading institutions in the United States. We then
     In order to distinguish bias reporting systems                           reviewed each school’s website and Google
     from other speech codes, and to identify systems                         presence, searching for references to bias
     that may not be explicitly identified as a “bias                         reporting systems. To locate other systems, we
     reporting” system,1 FIRE applied a three-part                            searched for reporting forms provided by
     definition. Where it was unclear whether a                               Maxient and other companies known to host
     particular element was met, we used our best                             reporting forms. The location process also
     judgment. Links to the websites of all Bias                              utilized Google alerts and media reports
     Response Teams are provided in Appendix B so                             concerning bias reporting systems.
     that the reader may form his or her own opinion.
                                                       Once the institutions were identified, FIRE
     FIRE defines a bias reporting system as any monitored each Bias Response Team page for
     system identified as such, or that provides:      changes in text—a practice we will continue in
                                                       order to observe whether, or how, institutions
         (1) a formal or explicit process for or       change their systems over time.3
             solicitation of
         (2) reports from students, faculty,           FIRE also reviewed the public-facing websites of
             staff, or the community                   reporting systems to identify relevant policies,
         (3) concerning offensive conduct or           definitions, forms, and other information. We
             speech that is protected by the           recorded the definitions of “bias” in both policies
             First Amendment or principles of          and reporting forms, which often differed from
             expressive or academic freedom.           one another, to determine the categories of bias
                                                       defined by each institution.
     Under FIRE’s definition, a school policy or
     reporting system limited to criminal offenses Finally, we utilized public records requests at
     involving hate or bias does not constitute a bias some institutions to uncover the types of reports
     reporting system.                                 being made and how the Bias Response Teams
                                                       acted in response to each submission.
     L OC A T IN G A N D OB S E R V IN G B IA S
     R E P OR T IN G S Y S T E M S                     A N OT E A B OU T L IM IT A T ION S

     FIRE relied on a number of methods to locate                             This survey documents how Bias Response
     bias reporting systems, including mining schools’                        Teams operate and who serves on them. Given
     websites for information, using tools to monitor                         the number of higher education institutions in
     websites for changes, and issuing public records                         the United States, this survey was not intended
     requests to collect additional information.                              to identify the rate at which institutions have
                                                                              adopted such systems.
     We first gathered state-by-state lists of public
     and private institutions on Wikipedia, as well as


     1
       For simplicity’s sake, this report uses the phrase “Bias Response      don’t tell them the truth about how they’ve taken them away.
     Team” broadly to encompass both the teams and the reporting              Spotlight is available at https://www.thefire.org/spotlight.
                                                                              3
     systems, even if there is no dedicated, independent team in place.         In doing so, we have observed a number of institutions delete,
     2
       FIRE’s Spotlight database is a collection of policies at over 400 of   modify, or hide their bias reporting systems following media
     our nation’s biggest and most prestigious universities, collected in     criticism or public records requests.
     an effort to document institutions that ignore students’ rights, or



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                                                                                                               FINDINGS
 	  
                                        BIAS REPORTING SYSTEMS ARE WIDESPREAD

 During the course of 2016, at least 231 Bias Response Teams were publicized on American university
 or college campuses. 143 are at public institutions and 88 are at private institutions.4 At least 2.84
 million students are enrolled in these schools.

 Of the 471 institutions catalogued in FIRE’s Spotlight database, 181 (or 38.4%) maintain bias
 reporting systems. The committees that administer these systems are known by a variety of names,
 usually a variation on “Bias Response Team.” Some schools do not provide an independent “team,”
 instead channeling reports directly to existing offices or departments, including law enforcement or
 security, human resources departments, or campus housing authorities.

                      CASTING A WIDE NET: WHAT CATEGORIES OF “BIAS” ARE REPORTED?

 IMMUTABLE CHARACTERISTICS AND OTHER CATEGORIES OF BIAS

 The most common categories of bias reports solicited5 come from federal and state laws governing
 educational and employment discrimination. Every system surveyed invites reports of bias
 concerning race or religion, and most invite reports concerning sex, sexual orientation, gender
 identity or expression, age, disability, and so on. Some are unusual, such as bias against “behavior”
 (Macalester College ), which appears to define criticism of behavior of any kind as “bias.”

 POLITICAL AND SOCIAL BELIEFS

 Some systems define “bias incidents” to include expressions of bias against political and social
 affiliations. 14% of institutions include “political affiliation” among their categories of bias. Still
 others include bias against similar categories such as “intellectual perspective” (University of
 Central Arkansas ), “political expression” (Dartmouth ), or “political belief” (University of
 Kentucky ). It is critical to note that by soliciting reports of speech that is biased against political
 views, universities are expressly requesting that their students report one another to the authorities
 for expressing divergent political views.

 DEFINITIONS OF “ BIAS INCIDENTS” BROADLY ENCOMPASS SPEECH

 Bias reporting systems raise free speech concerns because they solicit reports of legal, protected
 speech and expression in addition to unprotected conduct such as actionable discrimination or
 harassment. The definitions often explicitly state that students should report speech protected by
 the First Amendment.

 Many policies include catch-all categories of bias—e.g., “other” biases. In such cases, the definition of
 a bias incident encompasses not only protected speech, but also any speech that offends anyone for
 any reason. The net effect is that broad definitions of “bias” invite reports of any offensive speech,
 whether or not it is tethered to a discernable form of bias, thereby inviting scrutiny of student
 activists, organizations, and faculty engaged in political advocacy, debate, or academic inquiry. For
 examples of reported political expression, see the Discussion section at page 15.

 4
        For a list of schools with bias reporting systems observed in FIRE’s survey, see Appendix B .
 5
        For a list of the categories of bias observed in FIRE’s survey, see Appendix A .



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     FINDINGS


                        WHO’S ON A BIAS RESPONSE TEAM? OFTEN, LAW ENFORCEMENT

     FIRE was unable to determine the makeup of every Bias Response Team. Of the 166 teams whose
     composition FIRE could determine, almost half include law enforcement (“speech police,” in a quite
     literal sense) and more than half include what appear to be student conduct administrators. Only
     27% include faculty members, reducing the likelihood that a Bias Response Team will have members
     likely to recognize issues of academic freedom. And 12% contain public relations administrators,
     raising the possibility that a team’s decisions, including about whether to seek discipline for those
     displaying “bias,” may be made on the basis of an institution’s desire to avoid public embarrassment.
     Both common sense and FIRE’s extensive experience suggest that public and donor relations can be
     significant factors driving universities’ decisions.

                                                           All institutions (166)              Public (104)         Private (62)

               Law Enforcement 6                           42% (70)                            41% (43)             43% (27)

               Student Conduct 7                           63% (105)                           56% (59)             74% (46)

               Public or Media Relations                   12% (21)                            14% (15)             9.7% (6)

               Faculty                                     27% (45)                            24% (25)             32% (20)

               Students                                    21% (35)                            18% (19)             26% (16)




                      ACKNOWLEDGING A TENSION WITH FREEDOM OF EXPRESSION AND
                       ACADEMIC FREEDOM, BUT PROVIDING LITTLE (IF ANY) TRAINING

     84 institutions (50.6%) acknowledged freedom of speech, freedom of inquiry, or academic freedom
     in the descriptions or policies of their Bias Response Teams. Of these, 50 are public and 34 are
     private.

     However, despite professing a dedication to free expression and academic freedom, few schools
     provide meaningful training to Bias Response Teams on recognizing these issues. Public records
     requests issued to dozens of schools have revealed only one Bias Response Team, at Louisiana State
     University, that offered any substantial training whatsoever on First Amendment concerns.




     6
      “Law enforcement” includes campus police departments and their equivalents at private schools.
     7
      Determining whether an administrator serving on a Bias Response Team is responsible for implementing disciplinary procedures can
     be difficult. FIRE views the inquiry from the student’s perspective: What will a reasonable student perceive the administrator’s role or
     authority to be? This number excludes administrators affiliated with diversity offices and includes administrators affiliated with dean of
     students’ offices, absent specific information concerning an administrator’s responsibilities or authority.



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                                                                                                                       DISCUSSION
 	  
 W HY DO B IA S R E S P ON S E T E A M S E X IS T ?                     any kind, to scrutinize activism, debate, and
                                                                        political speech regarding every ideology and
 University administrators receive many                                 viewpoint. Yet the essential elements of free
 complaints about criminal conduct on campus.                           discourse, whether on campus or off, require that
 They also learn of students who encounter                              people have right to offend or to cause conflict
 “offensive” but legally protected speech or                            through speech.10
 expression.8 A proper response to these
 incidents would involve prompt, fair, and                              Other factors may also contribute to a
 impartial discipline for instances of physical                         university’s decision to implement a Bias
 misconduct, true threats, and harassment, while                        Response Team, such as:
 fostering an environment in which offensive
 speech would be answered with more speech.                                  •   In a b i l i t y t o i m p l e m e n t s p e e c h c o d e s .
                                                                                 FIRE has seen a continuous, nine-year
 Campuses with Bias Response Teams have                                          decline in the maintenance of speech
 chosen to go further, often deploying                                           codes that prohibit speech,11 and courts
 administrators to conduct an “investigation” of                                 routinely strike down speech codes at
 the incident and, if the “respondent” is found                                  public universities on First Amendment
 “guilty,” summon them for a “hearing” or an                                     grounds.12 In fact, some bias reporting
 “educational” discussion, which may more                                        systems,             such         as         L ongw ood
 closely resemble a reprimand than an                                            Univ er s it y’s ,           have         cited         the
 enlightening exchange of views.                                                 unconstitutionality of speech codes as a
                                                                                 reason for their existence.13
 Such procedures risk becoming tools not only for
 imposing some form of political or intellectual                             •   T h e        low          c os t      of     expa nding
 orthodoxy, but also for policing politeness or                                  e m p l o y m e n t -b a s e d                     a nt i-
 civility.9   They    invite   law-enforcement                                   d i s c r i m i n a t i o n s y s t e m s . A university
 authorities and administrators, who are likely to                               cannot function as a true “marketplace
 be wary of expression that can cause conflict of                                of ideas” if campus expression is as

 8                                                                      11
   Eugene Volokh, No, It’s Not Constitutional for the University of       Spotlight on Speech Codes 2017, FOUND. FOR INDIVIDUAL RIGHTS
 Oklahoma to Expel Students for Racist Speech, WASH. POST, Mar.         IN EDUC., available at https://d28htnjz2elwuj.cloudfront.net/wp-
 10, 2015, https://www.washingtonpost.com/news/volokh-                  content/uploads/2016/12/12115009/SCR_2017_Full-
 conspiracy/wp/2015/03/10/no-a-public-university-may-not-               Cover_Revised.pdf.
                                                                        12
 expel-students-for-racist-speech; see also Susan Svrluga, Student         McCauley v. Univ. of the V.I., 618 F.3d 232 (3d Cir. 2010);
 Arrested After Wearing Gorilla Mask, Handing Out Bananas at            DeJohn v. Temple Univ., 537 F.3d 301 (3d Cir. 2008); Dambrot v.
 Black Lives Matter Protest, WASH. POST, Sept. 29, 2016,                Cent. Mich. Univ., 55 F.3d 1177 (6th Cir. 1995); Univ. of Cincinnati
 https://www.washingtonpost.com/news/grade-                             Chapter of Young Ams. for Liberty v. Williams, 2012 U.S. Dist.
 point/wp/2016/09/29/student-arrested- after-wearing- gorilla-          LEXIS 80967 (S.D. Ohio Jun. 12, 2012); Smith v. Tarrant Cty. Coll.
 mask-handing- out-bananas- at-black- lives-matter- protest.            Dist., 694 F. Supp. 2d 610 (N.D. Tex. 2010); Coll. Republicans at
 9
   See, e.g., José A. Cabranes, If Colleges Keep Killing Academic       S.F. St. Univ. v. Reed, 523 F. Supp. 2d 1005 (N.D. Cal. 2007);
 Freedom, Civilization Will Die, Too, WASH. POST, Jan. 10, 2017,        Roberts v. Haragan, 346 F. Supp. 2d 853 (N.D. Tex. 2004); Bair v.
 https://www.washingtonpost.com/opinions/if-colleges-keep-              Shippensburg Univ., 280 F. Supp. 2d 357 (M.D. Pa. 2003); Booher
 killing-academic-freedom-civilization-will-die-                        v. N. Ky. Univ. Bd. of Regents, No. 2:96-CV-135, 1998 U.S. Dist.
 too/2017/01/10/74b6fcc2-d2c3-11e6-9cb0-                                LEXIS 11404 (E.D. Ky. July 21, 1998); Corry v. Leland Stanford
 54ab630851e8_story.html (Judge on the U.S. Court of Appeals for        Junior Univ., No. 740309, slip op. (Cal. Super. Ct. Feb. 27, 1995);
 the 2nd Circuit arguing that Bias Response Teams indicate that         UWM Post, Inc. v. Bd. of Regents of the Univ. of Wis., 774 F. Supp.
 “campus administrators have morphed into civility police.”).           1163 (E.D. Wisc. 1991); Doe v. Univ. of Mich., 721 F. Supp. 852 (E.D.
 10
    For example, in overturning a man’s conviction for wearing a        Mich. 1989).
                                                                        13
 jacket reading “Fuck the Draft” in a courthouse hallway, the              Bias & Hate Incidents, LONGWOOD UNIV., archived on June 14,
 Supreme Court noted that “the State has no right to cleanse public     2016 and available at http://archive.is/uUQic; see also, No Hate
 debate to the point where it is grammatically palatable to the most    Initiative, MIAMI UNIV., archived on Dec. 15, 2005 and available at
 squeamish among us,” and that words can serve an “emotive              http://web.archive.org/web/20051215002453/http://www.miam
 function” and are “often chosen as much for their emotive as their     i.muohio.edu/documents_and_policies/nohate/index.cfm#hc9
 cognitive force.” Cohen v. California, 403 U.S. 15, 25-26 (1971). In   (noting that “[e]very college hate speech code reviewed in the
 other words, words chosen because they convey hostility or             federal courts has been struck down”).
 incivility are as deserving of protection as calm, polite debate.



                                                                                                 2017 BIAS RESPONSE TEAM REPORT	                 9
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      DISCUSSION
      	  
                  highly regulated as expression among                              the various recent demands from
                  employees in business corporations.                               students across the country, few have
                  Borrowing well-developed and widely                               involved    requests     for     reporting
                  available corporate procedures is a                               systems,17 and one institution’s audit
                  tempting shortcut. For as little as                               suggested that students are unfamiliar
                  $8,600, schools can create reporting                              with the term “bias incident.”18
                  forms derived from existing systems
                  used by employers to permit employees                   Whatever their motivations, universities
                  to report employment-based sexual                       implementing Bias Response Teams have cast a
                  harassment.14 But using the tools of                    wide net, inviting reports of any offensive
                  corporate anti-discrimination systems—                  speech, on virtually any topic, for any reason.
                  perhaps even those used internally                      The result is that speech on political and social
                  among their own employees—to solicit                    subjects, which is likely (and may be intended) to
                  bias reports from and about the larger                  offend, gets reported to law enforcement and
                  campus community sets colleges on a                     student conduct administrators, and bias
                  collision course with free discourse.                   reporting systems serve to “alert administrators
                                                                          to specific individuals … who would benefit most
             •   A v o i d i n g p u b l i c c o n t r o v e r s y . By   from diversity inclusion training.”19 This
                 learning of events and disputes quickly,                 institutionalizes surveillance of activists of all
                 public          and        media            relations    political persuasions, exposes universities (and
                 administrators can attempt to frame the                  their administrators) to the prospect of costly
                 institution’s response in the media. At                  First Amendment claims, and encourages an
                 the U n i v e r s i t y o f N e w M e x i c o , for      illiberal culture of anonymously reporting
                 example, administrators pushed to                        students or faculty for subversive or offensive
                 release a statement “rather than waiting                 speech—on hundreds of campuses across the
                 for the media to get ahold of” flyers                    country.
                 criticizing UNM’s logo (which involves a
                 conquistador) that were reported to the
                 Bias Response Team.15 Some 12% of Bias                   B IA S R E S P ON S E T E A M S A R E FOU N D ON
                 Response Teams include media relations                   HU N DR E DS OF A M E R IC A N C OL L E GE
                 administrators.                                          CA M P USES

             •   S t u d e n t d e m a n d . Certain student              In early 2016, when Appalachian State
                 groups have called upon administrators                   University explored a proposal to create a Bias
                 to implement bias reporting systems.16                   Response Team, administrators wanted to see
                 But this seems to be relatively rare: Of                 what other schools were doing. They didn’t have

      14                                                                  17
         Statement of Work, ETHICSPOINT, July 12, 2010, produced to the      See, e.g., The Demands, WETHEPROTESTERS, available at
      Foundation for Individual Rights in Education by the University     http://www.thedemands.org (last visited Jan. 9, 2017) (tracking
      of California Office of the President in response to a public       demands of student protesters across the country).
                                                                          18
      records request, available at                                          COLGATE UNIVERSITY ADVISORY COMMITTEE ON CAMPUS
      https://www.documentcloud.org/documents/3418749-                    SECURITY, ACCS COMPLIANCE REPORT 2014-15 (2015), available at
      University-of-California-EthicsPoint-Statement.html.                https://www.documentcloud.org/documents/3234248-Colgate-
      15
         See, emails and photos produced to the Foundation for            Advisory-Committee-on-Campus-Security.html.
                                                                          19
      Individual Rights in Education by the University of New Mexico         Liz Fonseca & John Tannous, PROMOTING DIVERSITY AND
      in response to a public records request, available at               INCLUSION IN THE CLASSROOM: STRATEGIES TO FOSTER INCLUSIVE
      https://www.documentcloud.org/documents/3234845-                    ACADEMIC ENVIRONMENTS AT LARGE RESEARCH UNIVERSITIES,
      University-of-New-Mexico-What-Indians-Report.html.                  EDUCATION ADVISORY BOARD (2013), available at
      16
         See, e.g., Black Student Union, BSU Calls for Action, THE        https://www.mga.edu/student-
      TOWERLIGHT, Apr. 18, 2016, http://thetowerlight.com/bsu-calls-      affairs/docs/Promoting_Diversity_and_Inclusion_in_Classrooms.
      for-action.                                                         pdf.



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                                                                                                                      DISCUSSION
 	  
 to look far; one said she was “hard pressed to find                     University of Oregon ’s team is currently
 a school without” a Bias Response Team.20                               known as the “Bias Education and Response
 Boston College’s student government described                           Team,”24 and the University of North
 them as “ubiquitous.”21                                                 Carolina at Asheville ’s team is the “Bias
                                                                         Incident Response Team.”25 While most team
 To a certain extent, FIRE found this to be true.                        names appear to include some variation on “Bias
 According to publicly available records, there                          Response Team,” some do not. Arizona State
 were at least 231 Bias Response Teams                                   University previously hosted a “Campus
 publicized by four-year or post-graduate                                Environment Team,”26 and Illinois State
 institutions during 2016. Of these, 143 were at                         University currently utilizes an “Inclusive
 public institutions, all of which are bound by the                      Community Response Team.”27 The University
 First Amendment, while 88 were at private                               of Central Florida ’s “Just Knights Response
 institutions, most of which advertise or commit                         Team” reflects the name of its athletic teams.28
 to respecting students’ freedom of expression                           And some institutions do not have a separate
 and freedom of academic inquiry in official                             team for bias reports, instead relying on existing
 policy. At a conservative estimate,22 at least 2.84                     offices or departments. Some direct reports to
 million American students are subject to often-                         police departments,29 various deans30 or human
 anonymous reporting systems monitored by                                resources offices,31 or housing authorities.32
 administrators and police officers.23 But while
 Bias Response Teams are in use at hundreds of                           To better understand these report-and-
 institutions, and appear to be growing in                               response systems, and to distinguish them from
 number, it does not appear that they can yet be                         other types of speech codes, FIRE views “Bias
 found on a majority of campuses.                                        Response Teams” as identified as such or
                                                                         generally adhering to three criteria:
 The names and acronyms used for bias reporting
 systems vary from campus to campus. The

 20                                                                      27
    Email from Bindu Jayne, Assoc. Vice Chancellor for Equity,              Division of Student Affairs, Inclusive Community Response
 Diversity & Compliance, Appalachian State Univ. (Feb. 4, 2016),         Team, ILLINOIS STATE UNIV.,
 available at                                                            http://studentaffairs.illinoisstate.edu/who/diversity/icrt (last
 https://www.documentcloud.org/documents/3233900-                        visited Jan. 1., 2017).
                                                                         28
 Appalachian-State-University-Email-Re-Forming.html.                        Just Knights Response Team, UNIV. OF CENT. FLA.,
 21
    Boston College UGBC Student Assembly, A Resolution                   http://jkrt.sdes.ucf.edu/bias (last visited Jan. 1, 2017).
                                                                         29
 Concerning Bias Incidents, available at                                    See, e.g., USM Public Safety Anonymous Crime Reporting Form,
 https://www.documentcloud.org/documents/3233930-Boston-                 UNIV. OF SOUTHERN MAINE, https://usm.maine.edu/police/usm-
 College-UGBC-Resolution-Concerning-Bias.html.                           public-safety-anonymous-crime-reporting-form (last visited Jan.
 22
    This estimate assumes that each bias reporting system applies        2, 2017) (form for reporting “Bias/hate activity” to campus
 only to (1) undergraduate students, unless it is expressly dedicated    police); Human Dignity – Reporting Process, DEPAUL UNIV.,
 to a graduate program or campus; (2) at the primary or main             http://dignity.depaul.edu/report.html (last visited Jan. 2, 2017)
 campus, unless it is expressly dedicated to a particular campus. It     (“any victim” of a “Bias Incident […] must report the incident to
 does not include faculty, staff, or (for the most part) post-graduate   the Public Safety Office” in order to be investigated).
                                                                         30
 students or undergraduate students at satellite campuses.                  See, e.g., Office of Student Conduct, PENSACOLA STATE COLLEGE,
 23
    Enrollment statistics were calculated using data from the            http://www.pensacolastate.edu/studentconduct (last visited Jan.
 Integrated Postsecondary Education Data System, which is                2, 2017) (directing reports of bias incidents to the Office of
 compiled by the U.S. Department of Education’s National Center          Student Conduct); Report an Incident, BOWLING GREEN STATE
 for Education Statistics. About IPEDS, NATIONAL CENTER FOR              UNIV., https://www.bgsu.edu/dean-of-students/student-
 EDUCATION STATISTICS,                                                   conduct/report-an-incident.html (last visited Jan. 2, 2017)
 https://nces.ed.gov/ipeds/Home/AboutIPEDS (last visited Jan. 8,         (directing reports to the Office of the Dean of Students).
                                                                         31
 2017).                                                                     See, e.g., Bias Incident Report Form, WASH. STATE UNIV.,
 24
    Office of the Dean of Students, Bias Education and Response          http://public.wsu.edu/~hrd/programs/hbreport.pdf (last visited
 Team, UNIV. OF OREGON, http://dos.uoregon.edu/bias (last visited        Jan. 2, 2017) (directing reporting party to forward the form to the
 Jan. 1, 2017).                                                          Human Relations and Diversity office).
 25                                                                      32
    Bias Incident Response Team (BIRT), UNIV. OF N.C.,                      See, e.g., Bias Protocol & Illinois Intervenes, UNIV. OF ILL. AT
 https://msp.unca.edu/bias-incident-response-team-birt (last             URBANA-CHAMPAIGN, http://housing.illinois.edu/living-
 visited Jan. 2, 2017).                                                  options/why-housing/inclusive-communities/bias-protocol (last
 26
    ALLAN MICHAEL HOFFMAN ET AL., VIOLENCE ON CAMPUS:                    visited Jan. 2, 2017) (directing reports to a “Residential Life
 DEFINING THE PROBLEMS, STRATEGIES FOR ACTION, 300 (1998).               professional”).



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      DISCUSSION
      	  
             (1)   a formal or explicit process for or                     student was aware that they could file bias
                   solicitation of                                         reports online, most had never heard the phrase
             (2)   reports from students, faculty,                         “bias incident” before, and the majority had
                   staff, or the community                                 “incorrect interpretations” about its meaning.35
             (3)   concerning offensive conduct or
                   speech that is protected by the                         Broad applications of the term can diminish
                   First Amendment or principles of                        serious misconduct by equating political
                   expressive       or      academic                       squabbles and caustic speech with violent
                   freedom.33                                              criminal conduct. For example, The New York
                                                                           Times was widely and credibly criticized36 for an
      These criteria are designed to include systems                       article37 noting that “[b]ias incidents on both
      that invite reports of protected speech without                      sides have been reported” at the U n i v e r s i t y o f
      specifically labeling it as “bias,” while                            M i c h i g a n , with one student alleging38 that she
      distinguishing speech codes unaccompanied by                         had been “threatened with being lit on fire
      formal or explicit policies for reporting such                       because she wore a hijab.” The article continued:
      incidents.                                                           “Other students were accused of being racist for
                                                                           supporting Mr. Trump … .”39

      C A S T IN G A W IDE N E T FOR B IA S                                Such political criticism can hardly be placed
      IN C IDE N T S                                                       under the same umbrella as true threats of
                                                                           violence. Yet this is precisely what many bias
      What constitutes a “bias incident” varies widely                     reporting systems do. Schools largely define bias
      from campus to campus. As the U n i v e r s i t y o f                incidents to encompass more than hate crimes
      W e s t F l o r i d a puts it, defining the term                     or actionable conduct. Hate crimes—criminal
      “seem[s] like a murky ground to traverse.”34                         conduct undertaken on the basis of a protected
                                                                           characteristic of the victim, which is not
      Even the use of the term “bias incident”                             protected by the First Amendment40—are
      engenders debate and confusion. In a February                        always bias incidents. “Bias incidents,” however,
      2015 audit of C o l g a t e U n i v e r s i t y ’s bias              include speech or expressive conduct that is not
      reporting system, a campus committee reported                        necessarily criminal or in violation of applicable
      that, although the sample size was small, no                         policy.

      33
         The U.S. Department of Justice employed a similar definition of   PM),
      “bias incident” in a 2001 report: “acts of prejudice that are not    http://twitter.com/JessicaValenti/status/806971007307280384.
                                                                           37
      accompanied by violence, the threat of violence, property damage,       Anemona Hartocollis, On Campus, Trump Fans Say They Need
      or other illegal conduct.” U.S. DEPT. OF JUSTICE BUREAU OF           ‘Safe Spaces’, N.Y. TIMES, Dec. 8, 2016,
      JUSTICE ASSISTANCE, HATE CRIMES ON CAMPUS: THE PROBLEM AND           http://www.nytimes.com/2016/12/08/us/politics/political-
      EFFORTS TO CONFRONT IT 5 (Oct. 2001), available at                   divide-on-campuses-hardens-after-trumps-victory.html.
                                                                           38
      https://www.ncjrs.gov/pdffiles1/bja/187249.pdf.                         Police later alleged that the report was false. John Counts, U-M
      34
         What is Bias?, UNIV. OF WEST FLA., http://uwf.edu/offices/bias-   Student’s Claim of Threat for Wearing Hijab Is False, Police Say,
      response/what-is-bias (last visited Jan. 5, 2017).                   MLive.com, Dec. 21, 2016, http://www.mlive.com/news/ann-
      35
         COLGATE UNIVERSITY ADVISORY COMMITTEE ON CAMPUS                   arbor/index.ssf/2016/12/police_say_no_evidence_muslim.html.
      SECURITY, ACCS COMPLIANCE REPORT 2014-15 (2015), available at        While some reports of bias incidents, as with any type of report to
      https://www.documentcloud.org/documents/3234248-Colgate-             authorities, may be false, there is no shortage of true threats (if
      Advisory-Committee-on-Campus-Security.html.                          not acts) of violence similar to that alleged at the University of
      36
         See, e.g., John K. Wilson, Safe Spaces for Conservatives: Why     Michigan.
                                                                           39
      Being Called a Racist Is Not a Bias Incident, ACADEME BLOG, Dec.        Erik Wemple, New York Times Deserts ‘Both Sides’ Language in
      11, 2016, https://academeblog.org/2016/12/11/safe-spaces-for-        Story on Campus Trump Supporters, WASH. POST, Dec. 9, 2016,
      conservatives-why-being-called-a-racist-is-not-a-bias-incident;      https://www.washingtonpost.com/blogs/erik-
      see also, Andre Segura (@andresegura), TWITTER (Dec. 8, 2016,        wemple/wp/2016/12/09/new-york-times-deserts-both-sides-
      5:01 PM),                                                            language-in-story-on-campus-trump-
      http://twitter.com/andresegura/status/806982019674677248;            supporters/?utm_term=.341a5dd304a5.
                                                                           40
      Jessica Valenti (@JessicaValenti), TWITTER (Dec. 8, 2016, 4:17          Wisconsin v. Mitchell, 508 U.S. 476, 484-490 (1993).



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                                                                                                                       DISCUSSION
 	  
                                                                         protected by the First Amendment unless it falls
 Take, for example, the University of Northern                           within certain narrow exceptions carved out by
 Iowa ’s definition:41                                                   the Supreme Court: incitement to immediate
                                                                         violence;     so-called     “fighting     words”;
        A bias-related incident is any word or                           harassment44; true threats and intimidation;
        action directed toward an individual                             obscenity; child pornography; and defamation.
        or group based upon actual or                                    Speech is not unprotected simply because it is
        perceived identity characteristics or                            offensive,45 insulting,46 causes anger,47 or is
        background of a group or person that is                          viewed as prejudiced or as “hate speech.”48 If the
        harmful or hurtful. Some bias-related                            speech in question does not fall within one of the
        incidents may be contrary to law or                              listed exceptions, it most likely is protected
        policy, while some may be speech                                 speech.49
        protected by the First Amendment of
        the Constitution of the United States.                           Most reporting systems are predicated on
                                                                         specific, enumerated characteristics. Of the
 W estern W ashington University ’s definition                           systems identified by FIRE, 199 (or 86%)
 extends to “demonstrations” of bias, including                          explicitly set forth these characteristics. Among
 “language, words, signs, symbols, threats, or                           them, the categories vary widely on different
 actions that could potentially cause alarm,                             campuses. Each of these teams solicits reports
 anger, or fear in others[.]”42 Moreover, the                            about bias against race or religion, and all but
 existence of a bias incident under the policy                           one explicitly solicit reports about disability or
 turns entirely on whether the complainant                               sexual orientation.50 There is less agreement on
 subjectively perceived the incident to be                               more specific categories. For example, while
 motivated by bias, rather than on the intent of                         94.5% seek reports of bias based on national
 the speaker.43                                                          origin or nationality, only 14.1% explicitly seek
                                                                         reports of bias against immigration or
 In targeting speech that may cause “alarm,                              citizenship status.
 anger, or fear,” or that might otherwise offend on
 the basis of a proscribed subject, universities                         Some categories of “bias” are peculiar. For
 expressly set their sights on constitutionally                          example, the University of Kentucky permits
 protected speech. All speech is presumptively

 41                                                                      47
    Bias Response Protocol, UNIV. N. IOWA, https://uni.edu/brt/bias-        Terminiello v. Chicago, 337 U.S. 1, 4 (1949) (A “function of free
 response-protocol#overlay-context=bias-response-protocol (last          speech under our system of government is to invite dispute. It
 visited Jan. 5, 2017).                                                  may indeed best serve its high purpose when it induces a
 42
    Bias Incident Reporting Form, WESTERN WASH. UNIV.,                   condition of unrest, creates dissatisfaction with conditions as they
 http://www.wwu.edu/eoo/bias-incident-response.shtml (last               are, or even stirs people to anger.”).
                                                                         48
 visited Jan. 5, 2017).                                                     Eugene Volokh, No, There’s No “Hate Speech” Exception to the
 43
    See, e.g., Florida State University Bias Incident Response System,   First Amendment, WASH. POST., May 7, 2015,
 FLA. STATE UNIV., http://thecenter.fsu.edu/article/florida-state-       https://www.washingtonpost.com/news/volokh-
 university-bias-incident-response-system (last visited Jan. 5,          conspiracy/wp/2015/05/07/no-theres-no-hate-speech-
 2017) (“An incident of bias may occur whether the act is                exception-to-the-first-amendment/?utm_term=.2cca993394b8.
                                                                         49
 intentional or unintentional”).                                            For a more in-depth discussion of the application of the First
 44
    For more on the application of peer harassment law on campus,        Amendment to public universities, and of the principles of
 see Azhar Majeed, The Misapplication of Peer Harassment Law on          freedom of speech to the private institutions that promise it, see
 College and University Campuses and the Loss of Student Speech          FIRE’s Spotlight on Speech Codes 2017, supra note 11, available at
 Rights, 35 J.C. & U.L. 385 (2009), available at                         https://d28htnjz2elwuj.cloudfront.net/wp-
 https://ssrn.com/abstract=1400300.	  	                                content/uploads/2016/12/12115009/SCR_2017_Full-
 45
    Texas v. Johnson, 491 U.S. 397, 414 (1989) (“If there is a bedrock   Cover_Revised.pdf#page=10.
                                                                         50
 principle underlying the First Amendment, it is that the                   The anomaly, at Baylor University, appears to be the result of a
 government may not prohibit the expression of an idea simply            lack of effort to promulgate a complete definition, providing that
 because society finds the idea itself offensive or disagreeable.”).     bias incidents relate to “race, nationality, religion, gender, age,
 46
    Boos v. Barry, 485 U.S. 312, 322 (1988) (First Amendment             etc.” Bias Motivated Incident Support Team, BAYLOR UNIV.,
 protects “insulting, and even outrageous, speech”).                     http://www.baylor.edu/student_life/index.php?id=85780 (last
                                                                         visited Jan. 5, 2017).



                                                            2017 SURVEY OF BIAS REPORTING SYSTEMS IN HIGHER EDUCATION	                         13
                                                                App.242
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      DISCUSSION
      	  
      reports of bias against “smoker status,”51                                  •   Examples of bias incidents at W i l l i a m s
      perhaps as a result of borrowing language from a                                C o l l e g e include “comments on social
      state    law        concerning      employment                                  media about someone’s … political
      discrimination against tobacco users.52                                         affiliations/beliefs.”56 This definition
                                                                                      could include any response to any
      There is also significant divergence when it                                    political view posted on social media, or
      comes to reporting bias based on political                                      even simple criticism of elected officials.
      affiliation, views, or conduct. Worryingly, 21% of
      public institutions seek out reports of bias on the                         •   The U n i v e r s i t y o f C o l o r a d o included
      basis of political affiliation, as opposed to 2.6% of                           both “political philosophy” and “political
      private institutions. Among them, concerns                                      affiliation” as protected classes.57 (It has
      regarding bias against political and social views                               since shut down its Bias Response
      vary:                                                                           Team.)

             •   D a r t m o u t h C o l l e g e lists “political                 •   The U n i v e r s i t y of    K e n t u c k y ’s
                 expression” as a potential motivation on                             definition targets, in part, bias against a
                 its reporting form53 and defines bias to                             person for his or her “political belief.”58
                 include “[t]reating someone negatively
                 because of their actual or perceived ….                     Other systems invite reports of even broader
                 [p]olitical or social affiliation.”54 This                  ranges of criticism and discussion:
                 broad wording could encompass voting
                 against a person for campus political                            •   M a c a l e s t e r C o l l e g e ’s now-deleted
                 offices or simply criticizing their                                  definition included “bias against another
                 political                               speech.                      person based on … his or her
                                                                                      membership in a group … or an
             •   The U n i v e r s i t y o f N o r t h C a r o l i n a a t            individual’s particular characteristics,
                 C h a r l o t t e includes “[p]olitical beliefs”                     r o l e , or b e h a v i o r .”59 This definition
                 in its definition of bias, and provides the                          could apply to almost any criticism of
                 following example: “Drawing pictures or                              anyone.
                 cartoons that belittle someone because
                 of their beliefs … or political                                  •   Both S y r a c u s e            Univ er s it y     and
                 affiliation.”55 This would apply to                                  L o n g w o o d U n i v e r s i t y list political and
                 virtually all political cartoons.                                    “social affiliation” as unacceptable
                                                                                      grounds for bias.60 It is nearly impossible


      51                                                                     56
         Bias Incident Report Form, UNIV. OF KY.,                               Questions about Bias and Bias Reporting, WILLIAMS COLLEGE,
      https://docs.google.com/forms/d/e/1FAIpQLSezIXDEHHU1RX-                http://speakup.williams.edu/faq (last visited Jan. 6, 2017).
                                                                             57
      sldceuBDcZioM4buVea9F2CJmaatW61-nDA/viewform (last                        Definitions, UNIV. OF COLO., archived on July 25, 2016 and
      visited Jan. 5, 2017).                                                 available at http://archive.is/hR0ps.
      52                                                                     58
         Unlawful discrimination by employers – Difference in health            Bias Incident Report Form, UNIV. OF KY.,
      plan contribution rates for smokers and nonsmokers and benefits        https://docs.google.com/forms/d/e/1FAIpQLSezIXDEHHU1RX-
      for smoking cessation program participants excepted, KY. REV.          sldceuBDcZioM4buVea9F2CJmaatW61-nDA/viewform (last
      STAT. § 344.040.                                                       visited Jan. 5, 2017).
      53                                                                     59
         Bias Incident Reporting Form, DARTMOUTH COLLEGE,                       What is a bias-related incident?, MACALESTER COLLEGE, archived
      http://www.dartmouth.edu/~opal/act (last visited Jan. 5, 2017).        on Sept. 12, 2016 and available at http://archive.is/27e8C
      54
         Achieving Community Together (A.C.T.) Program, DARTMOUTH            (emphasis added).
                                                                             60
      COLLEGE, http://www.dartmouth.edu/~opal/act (last visited Jan.            What is bias?, SYRACUSE UNIV.,
      5, 2017).                                                              http://www.syracuse.edu/currentstudents/stopbias/whatisbias.h
      55
         What is Bias, UNIV. N.C. BIAS ASSESSMENT AND RESOURCE TEAM,         tml (last visited Jan. 5, 2017); What is Bias?, LONGWOOD UNIV.,
      http://unccdso.uncc.edu/org/biasassessmentandresourceteam14            http://www.longwood.edu/diversity/experiencing-bias/what-is-
      5871/What_Is_Bias (last visited Jan. 31, 2017).                        bias (last visited Jan. 5, 2017).



14    FOUNDATION FOR INDIVIDUAL RIGHTS IN EDUCATION
                                                                    App.243
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                                                                                                                    DISCUSSION
 	  
             to discern a meaningful limit to this                             Trump supporters by drawing penises
             category.                                                         next to them. Yet another report
                                                                               complained that a pro-Trump student
 Some of these examples are likely the result of                               organization was using chalk to write
 definitions borrowed from state employment                                    “hate speech” in support of Trump.61
 discrimination statutes. Yet asking students to
 report one another for broadly defined bias                                   Another series of reports was filed
 against their voluntary political or social                                   against a student activist on several
 affiliation invites surveillance of and intrusion                             grounds: tweeting that she “hate[s]
 into political speech, subjecting it to the scrutiny                          white men”; “refus[ing] to support all
 of administrators and police.                                                 students if a student fits the certain
                                                                               stereotype      of  a     white    male”;
                                                                               “display[ing] disturbing apathy [and]
 E X A M P L E S OF R E P OR T E D IN C IDE N T S :                            ignorance      and    bitterness”;    and
 C A U GHT IN A W IDE N E T , U N IV E R S IT IE S                             “express[ing] profound disregard for the
 E N T A N GL E T HE M S E L V E S IN T O                                      lives of students based on race and
 R E FE R E E IN G P OL IT IC A L S P E E C H                                  gender and for [police] officers based on
                                                                               their careers.”62
 It is not mere speculation that core political
 speech, academic discourse, and outspoken                                •   T e x a s T e c h U n i v e r s i t y : The Black
 activists are likely to become the subjects of bias                          Student Union (BSU) was reported to
 incident reports. FIRE used public records                                   administrators for tweeting “All lives
 requests, reviewed similar requests by media                                 don’t matter... White lives don’t matter…
 outlets, and examined the sparse public                                      Blue         lives        don’t           matter…
 disclosures by Bias Response Teams to discern                                #BlackLivesMatter.” The complainant
 what gets reported.                                                          wanted the BSU characterized as a “Hate
                                                                              Group” and complained that the student
 The reports we reviewed, which often fail to                                 chapter of the College Democrats
 disclose what action (if any) was undertaken in                              planned to release a statement in
 response, span the ideological spectrum:                                     support of BSU.63

        •   A p p a l a c h i a n S t a t e U n i v e r s i t y : A       •   U n i v e r s i t y o f C a l i f o r n i a , S a n D i e g o
            student filed a report regarding the 2016                         (UCSD): A student humor publication,
            presidential election, claiming to be                             The Koala, lost its student funding after
            “offended by the politically biased                               satirizing “safe spaces” on campus.64
            slander that is chalked up everywhere                             Spurred by bias incident reports,
            reading ‘TRUMP IS A RACIST’” and                                  specifically one calling on UCSD to “stop
            describing the “slander” as “unlawful.”                           funding” The Koala, administrators
            Another report stated that supporters of                          asked the university’s lawyer to “think
            then-candidate Bernie Sanders were                                creatively” about how to address the
            “destroying” messages chalked by                                  newspaper, which they felt “crosse[d]

 61
    Spreadsheet of Incidents Reported, APPALACHIAN STATE UNIV.,       request, available at
 produced to the Foundation for Individual Rights in Education in     https://www.documentcloud.org/documents/3255186-Texas-
 response to a public records request, available at                   Tech-BSA-Black-Lives-Matter-tweet.html.
                                                                      64
 http://www.documentcloud.org/document/3255183-                          Adam Steinbaugh, As ‘The Koala’ Files Lawsuit Against
 Appalachian-State-University-Bias-Incident.html.                     University of California, San Diego, Public Records Reveal
 62
    APPALACHIAN STATE UNIV., supra note 61.                           Administration’s Censorship, NEWSDESK, June 1, 2016,
 63
    Texas Tech University Campus Climate & Incident Reporting         https://www.thefire.org/as-the-koala-files-lawsuit-against-
 Form Submitted on July 14, 2016, produced to the Foundation for      university-of-california-san-diego-public-records-reveal-
 Individual Rights in Education in response to a public records       administrations-censorship/.



                                                                                              2017 BIAS RESPONSE TEAM REPORT	                15
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      DISCUSSION
      	  
                  the ‘free speech’ line.”65 It didn’t, and The                       concessions from a UNC administrator
                  Koala is suing UCSD with the assistance                             that the Bias Response Team’s efforts
                  of the ACLU of Southern California.66                               may have been improper in some cases.72
                                                                                      UNC subsequently shuttered its Bias
             •   J o h n C a r r o l l U n i v e r s i t y : A summary                Response Team.73
                 report recounted that an “[a]nonymous
                 student reported that [the] African-                            •   U n i v e r s i t y o f O r e g o n : The Bias
                 American Alliance’s student protest was                             Response Team intervened to explain
                 making           white            students        feel              “community               standards        and
                 uncomfortable.”67                                                   expectations” when students had the
                                                                                     audacity to “express[] anger about
             •   U n i v e r s i t y o f N o r t h e r n C o l o r a d o             oppression.”74 In a separate incident, the
                 (UNC):             Two     professors           were                Bias Response Team intervened with the
                 investigated for encouraging students to                            reporter and editor of a student
                 debate gay and transgender rights in                                newspaper after an anonymous report
                 class—including one professor who was                               that the “newspaper gave less press
                 responding to a student’s comments on                               coverage to trans students and students
                 the issue and encouraging his students to                           of color.”75
                 confront            arguments          they      find
                 uncomfortable.68             Other          reports             •   U n i v e r s i t y o f M i c h i g a n : A snow
                 indicated that students were ordered to                             sculpture perceived to be a “snow penis”
                 remove a Confederate flag from their                                was reported.76
                 dormitory room because it might offend
                 someone.69 These disclosures spurred                            •   C o n n e c t i c u t C o l l e g e : Pro-Palestinian
                 letters of inquiry from two state                                   students were reported over flyers
                 senators,70 a condemnation from the                                 mimicking Israeli eviction notices to
                 Denver Post editorial board,71 and                                  Palestinians, sparking an investigation
      65                                                                    70
         Email from Becky Pettit, Univ. of Cal. San Diego Vice Chancellor      Tyler Silvy, Sen. John Cooke Rips University of Northern
      for Equity, Diversity, and Inclusion, to Daniel Park, Univ. of Cal.   Colorado in Scathing Letter, GREELEY TRIBUNE, July 2, 2016,
      San Diego Chief Campus Counsel, Nov. 13, 2016, available at           http://www.greeleytribune.com/news/local/sen-john-cooke-
      https://d28htnjz2elwuj.cloudfront.net/wp-                             rips-university-of-northern-colorado-in-scathing-letter/.
                                                                            71
      content/uploads/2016/06/01095740/Koala-v-UCSD_Public-                    Denver Post Editorial Board, UNC’s Weak-Kneed Commitment
      Records-and-Bias-Incident-Reports.pdf#page=8.                         to Free Speech, DENVER POST, July 5, 2016,
      66
         Defending Freedom of Speech for Everyone, ACLU Sues UCSD to        http://www.denverpost.com/2016/07/05/uncs-weak-kneed-
      Enforce First Amendment Rights of the Student Press, AM. CIVIL        commitment-to-free-speech/.
                                                                            72
      LIBERTIES UNION OF SAN DIEGO, May 31, 2016,                              Alex Morey, Facing More Troubling Details and Public Outcry,
      https://www.aclusandiego.org/defending-freedom-speech-                Northern Colorado Vows to Reconsider Bias Response Team,
      everyone-aclu-sues-ucsd-enforce-first-amendment-rights-               NEWSDESK, June 27, 2016, https://www.thefire.org/facing-more-
      student-press/.                                                       troubling-details-and-public-outcry-northern-colorado-vows-to-
      67
         JOHN CARROLL UNIV., INTERIM REPORT ON BIAS REPORTING               reconsider-bias-response-team/.
                                                                            73
      SYSTEM SUMMER-FALL 2015 4 (2015) available at                            Adam Steinbaugh, University of Northern Colorado to End ‘Bias
      http://webmedia.jcu.edu/bias/files/2016/02/Bias-Reports-Fall-         Response Team,’ But What Next?, NEWSDESK, Sept. 9, 2016,
      2015-web-rev.-2.24.2016.pdf.                                          https://www.thefire.org/university-of-northern-colorado-to-
      68
         Adam Steinbaugh & Alex Morey, Professor Investigated for           end-bias-response-team-but-what-next/.
                                                                            74
      Discussing Conflicting Viewpoints, ‘The Coddling of The American         Conor Friedersdorf (@conor64), TWITTER (May 14, 2016, 12:29
      Mind’, NEWSDESK, June 20, 2016,                                       PM), https://twitter.com/conor64/status/731521764912730112.
                                                                            75
      https://www.thefire.org/professor-investigated-for-discussing-           UNIVERSITY OF OREGON BIAS RESPONSE TEAM, ANNUAL REPORT
      conflicting-viewpoints-the-coddling-of-the-american-mind/.            2014-2015 10 (2015), archived at
      69
         Tyler Silvy, University of Northern Colorado’s Handling of         http://web.archive.org/web/20151015075754/http://uodos.uoreg
      Speech Deemed Offensive Raises Questions, Concerns, GREELEY           on.edu/Portals/0/BRT/Annual%20Report%202014-2015.pdf.
                                                                            76
      TRIBUNE, June 28, 2016,                                                  Erin Dunne, Snow Penis Reported as Bias-Incident, MICH.
      http://www.greeleytribune.com/news/local/university-of-               REVIEW, Feb. 25, 2016, http://www.michiganreview.com/snow-
      northern-colorados-handling-of-speech-deemed-offensive-               penis-reported-as-bias-incident/.
      raises-questions-concerns/.



16    FOUNDATION FOR INDIVIDUAL RIGHTS IN EDUCATION
                                                                   App.245
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                                                                                                                   DISCUSSION
 	  
            by a dean.77 The college’s response led to                           to human resources administrators, who
            students occupying the president’s                                   discussed freedom of speech policies
            office, inquiring “about the differential                            with the complainant.83
            treatment of alleged bias incidents on
            campus, particularly why some bias                                   In a separate instance, an anonymous
            incidents       warrant        all-campus                            person reported the student government
            communications and administrative                                    for participating in efforts to encourage
            actions while others do not.”78                                      Cornell to become a sanctuary campus.84

        •   C o l b y C o l l e g e : Logs of bias incident                 •   O h i o S t a t e U n i v e r s i t y : A group of
            reports—which are now hidden from                                   students was reported for sharing
            public view79—show one student                                      memes comparing Hillary Clinton to
            reported for claiming that a student                                Adolf Hitler in a “political discussion,”
            group was racist against white people,                              resulting in a housing employee holding
            while another was reported for using the                            a “mandatory floor meeting about
            phrase “on the other hand,” which was                               triggering events.”85
            perceived as ableist.80
                                                                                 Another      student     called     upon
        •   U n i v e r s i t y o f N e w M e x i c o (UNM): A                   administrators to compel the College
            student member of the College                                        Democrats to allow anyone to attend
            Republicans             was     reported      and                    their meetings after the Democrats had
            investigated by the office of the dean of                            asked the student to leave, believing him
            students for criticizing a student and her                           to be a member of the College
            organization by name81 during a public                               Republicans sent to observe the
            debate over whether UNM should cut                                   meeting.86
            ties with Chick-fil-A.82
                                                                                 Yet another student reported a chalk
        •   C o r n e l l U n i v e r s i t y : A professor was                  message stating “Build the Wall,” which
            reported for speaking at a rally as a                                the student wanted “erased”; the student
            private citizen and referring to police as                           also requested “a clear message from the
            “terrorists.” The complaint was referred

 77
    Lea Speyer, Anti-Israel Students at Connecticut College ‘Occupy’   https://www.abqjournal.com/173096/unm-board-chick-fil-a-to-
 Office of School President in Protest Over Investigation of Mock      stay.html; Chick-fil-A to Stay on UNM Campus, KOAT-TV, Feb. 27,
 Eviction Notices, ALGEMEINER, May 16, 2016,                           2013, https://www.youtube.com/watch?v=LYUCfnstTro.
                                                                       83
 https://www.algemeiner.com/2016/05/16/anti-israel-students-              Bias Incident Summaries: July 1 – August 31, 2016, CORNELL
 at-connecticut-college-occupy-office-of-school-president-in-          UNIV.,
 protest-over-investigation-of-mock-eviction-notices/.                 http://diversity.cornell.edu/sites/default/files/documents/Aug2
 78
    Why We’re Here, OCCUPY FANNING, May 13, 2016,                      016_Incident%20Summaries.pdf.
                                                                       84
 http://occupyfanning2.blogspot.com/2016/05/why-were-                     Bias Incident Summaries: July 1 – November 30, 2016, CORNELL
 here.html.                                                            UNIV.,
 79
    Colby College’s bias incident policy earned that institution the   http://diversity.cornell.edu/sites/default/files/documents/Nov2
 dubious honor of being FIRE’s July 2016 Speech Code of the            016_Incident%20Summaries.pdf.
                                                                       85
 Month. Samantha Harris, Speech Code of the Month: Colby College,         Bias incident report dated Oct. 23, 2015, OHIO STATE UNIV.,
 NEWSDESK, July 20, 2016, https://www.thefire.org/speech-code-         produced to the Foundation for Individual Rights in Education in
 of-the-month-colby-college/.                                          response to a public records request, available at
 80
    Bias Incident Log, COLBY COLLEGE, archived on July 23, 2016        https://www.documentcloud.org/documents/3255200-Ohio-
 and available at http://archive.is/wRwfw.                             State-University-Bias-Assessment-and.html. How OSU
 81
    University of New Mexico Hate/Bias Incident Reporting Form,        responded to these reports is unclear, as OSU declined to produce
 Feb. 27, 2013, produced to the Foundation for Individual Rights in    “voluminous” records relating to its responses.
                                                                       86
 Education in response to a public records request, available at          Bias incident report dated Feb. 1, 2016, OHIO STATE UNIV.,
 https://www.documentcloud.org/documents/3234843-                      produced to the Foundation for Individual Rights in Education in
 University-of-New-Mexico-Chick-Fil-a-Report.html.                     response to a public records request, available at
 82
    Astrid Galvin, UNM Board: Chick-fil-A to Stay, ALBUQUERQUE         https://www.documentcloud.org/documents/3418811-Ohio-
 JOURNAL, Feb. 27, 2013,                                               State-University-College-Democrats-Report.html. 	  



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                   university that this type of hate speech                                     dressing up as the “Three Blind Mice” for
                   will not be allowed.”87                                                      Halloween, which the complainant
                                                                                                feared might offend others who might
                   (OSU’s police chief, in an article posted                                    believe the costumes were making fun of
                   on OSU’s Bias Assessment and Response                                        disabilities.93
                   Team’s website, recommends that
                   students who are “verbally insulted or                                  •   C a s e W e s t e r n R e s e r v e U n i v e r s i t y
                   confronted by someone with whom you                                         (CWRU): A professor was reported for a
                   strongly disagree” should “not engage in                                    writing assignment that challenged
                   debate.”)88                                                                 students to “[w]rite about a gay child
                                                                                               being kicked out of their house, and
             •   U n i v e r s i t y o f T e x a s a t A u s t i n :89 The                     make the audience feel sorry for the
                 Campus Climate Response Team                                                  person kicking them out.”94
                 (CCRT) fielded dozens of reports about a
                 conservative student group’s protest of                                        Another CWRU professor was reported
                 affirmative action in the form of an                                           because, among other things, students
                 “affirmative action bake sale.”90 94% of                                       were “required to read plays with racist
                 the reports sought disciplinary action.                                        depictions of First Nations people.”95
                 Administrators met with the student
                 group following the reports and                                                A third CWRU professor was reported
                 acknowledged in an open letter that it                                         for asking students who were neither
                 was the student group’s “right to” engage                                      citizens nor permanent residents to
                 in the protest.91 The CCRT’s annual                                            raise their hands, then pointing out that
                 report also disclosed that “[f]aculty and                                      they could be sued anywhere.96 This
                 student commentary in the classroom                                            appears to have been an exercise in
                 perceived as derogatory and insensitive”                                       explaining residency and venue during a
                 was an example of the “types of                                                law school course on civil procedure.97
                 incidents” reported to the CCRT.92
                                                                                                There is no public indication as to
             •   U n i v e r s i t y o f W i s c o n s i n —P l a t t e v i l l e :             whether CWRU intervened in any of
                 Documents acquired by Heat Street                                              these cases.
                 showed that students were reported for

      87                                                                              91
         Bias incident report dated Apr. 18, 2016, OHIO STATE UNIV.,                     Statement From Dr. Gregory Vincent About the Young
      produced to the Foundation for Individual Rights in Education in                Conservatives of Texas’s Bake Sale, UNIV. OF TEXAS AT AUSTIN,
      response to a public records request, available at                              Sept. 27, 2013,
      https://www.documentcloud.org/documents/3418842-Ohio-                           http://diversity.utexas.edu/news/2013/09/27/statement-from-
      State-University-Build-the-Wall-Report.html.                                    dr-gregory-vincent-about-the-young-conservatives-of-texass-
      88
         Paul S. Denton, How OSU Police Respond to Incidents of Bias or               bake-sale/.
                                                                                      92
      Intimidation, OHIO STATE UNIV.,                                                    UNIVERSITY OF TEXAS AT AUSTIN CAMPUS CLIMATE RESPONSE
      http://studentlife.osu.edu/bias/pdfs/how-osu-police-respond-to-                 TEAM, supra note 90 at p. 15.
                                                                                      93
      incidents-of-bias-or-intimidation.pdf (last visited Jan. 31, 2017);                Jillian Kay Melchior, ‘Bias Incident Team’: Students’ Three Blind
      see also, Bias Response Tools, OHIO STATE UNIV.,                                Mice Halloween Costume ‘Makes Fun of a Disability’, HEAT
      http://studentlife.osu.edu/bias/bias-response-tools.aspx (last                  STREET, Aug. 3, 2016, https://heatst.com/culture-wars/bias-
      visited Jan. 6, 2017) (linking to Chief Denton’s article as one of its          incident-team-students-three-blind-mice-halloween-costume-
      “bias response tools”).                                                         makes-fun-of-a-disability/.
      89                                                                              94
         UT Austin asked FIRE to pay $2,437.20 for records relating to                   Bias Reporting System (BRS), CASE WESTERN RESERVE UNIV.,
      how its CCRT responded, although other Texas institutions                       archived on Sept. 12, 2016 at http://archive.is/kpceX.
                                                                                      95
      provided such records at no cost. We declined.                                     Id.
      90                                                                              96
         UNIVERSITY OF TEXAS AT AUSTIN CAMPUS CLIMATE RESPONSE                           Id.
                                                                                      97
      TEAM, CAMPUS CLIMATE TREND REPORT, 2013-2014 20 (2014),                            28 U.S.C. § 1391 (2011).
      available at
      http://utexas.app.box.com/s/88ccrqlayd41b1nzqjos7z3izkrepol3.



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                                                                                                                       DISCUSSION
 	  
 To be sure, Bias Response Teams also field a                          Some 42% of Bias Response Teams include
 number of reports of conduct not protected by                         police or security officials. By including police
 the First Amendment. For example, many                                and student conduct administrators on their
 reports involve vandalism, assault, or true                           Bias Response Teams, schools send a message to
 threats motivated by bias. These, however, are                        students that undercuts claims of respect for
 acts that may be reported to existing resources,                      freedom of expression: If you say something that
 such as student conduct administrators or police                      offends someone, you may (or in some cases will)
 departments. Schools could also invite students                       be investigated by police. Their inclusion can
 to report unlawful conduct using online                               also lead universities to use police to investigate
 reporting systems, or even to a team set aside to                     offensive speech or anonymous speakers.102 For
 address unlawful conduct motivated by bias. But                       example, at E v e r g r e e n S t a t e C o l l e g e ,
 schools are implementing broad definitions of                         administrators responded to anonymous flyers
 “bias” to expressly invite reports of protected                       critical of, among other things, Black Lives
 speech, including a broad range of political                          Matter, by emailing students:103
 speech, and they often do so without any training
 on First Amendment rights.                                                   The College wants to identify the
                                                                              individual(s) engaged in posting and
                                                                              distributing these flyers. If you have
 W HO S C R U T IN IZ E S T HE S P E E C H?                                   any information about who may be
 P OL IC E , C ON DU C T A DM IN IS T R A T O R S ,                           doing this, it is critical that you contact
 A N D M E DIA R E L A T ION S S T A FF                                       Police Services or provide information
                                                                              anonymously using the online
 Having cast a wide net, who reviews the reported                             incident report form.
 speech? Bias Response Teams are often
 populated by police and student conduct                               Including student conduct administrators, as do
 administrators. They also include, to a lesser                        approximately 63% of Bias Response Teams,
 extent, media relations administrators, faculty                       also sends a chilling message. Students
 members, and students.                                                summoned to meet with a member of the office
                                                                       of the dean of students are likely to view the
 Some institutions, including the U n i v e r s i t y o f              meeting not as educational, but as punitive. Even
 W es t         F l o r i d a 98 and M o n t a n a      St a t e       when the intention is not punitive,
 U n i v e r s i t y ,99 embed police or security officials            administrators are likely to approach “offensive”
 within their Bias Response Teams. Others, such                        speech or sharp disagreement from a conflict-
 as the U n i v e r s i t y o f M o n t a n a 100 and D e P a u l      resolution perspective. This approach may
 U n i v e r s i t y ,101 direct reports straight to police or         conflict with a student speaker’s purpose; many
 security officers.                                                    use speech to heighten or clarify conflict and
                                                                       disagreement in order to further their message.



 98                                                                    101
    About Us, UNIV. OF WEST FLA., http://uwf.edu/offices/bias-             Reporting Process, DEPAUL UNIV.,
 response/about-us (last visited Jan. 9, 2017) (including Chief of     http://dignity.depaul.edu/report.html (last visited Jan. 9, 2017)
 University Police on its Bias Response Team).                         (directing reports to the DePaul Public Safety Office).
 99                                                                    102
    Bias Incident Response Team, MONT. STATE UNIV.,                        The First Amendment protects anonymous speech and
 http://www.montana.edu/biasreporting/BIRT.html (last visited          association. See, e.g., Talley v. California, 362 U.S. 334, 357 (1960)
 Jan. 9, 2017) (Bias Incident Response Team includes a                 (anonymous pamphleteering), NAACP v. Alabama, 357 U.S. 449,
 “representative from the Montana State University Police              462 (1958) (anonymous association).
                                                                       103
 Department”).                                                             Bias Related Incident – April 19 Flyers, EVERGREEN STATE
 100
     Hate Crime Form, UNIV. OF MONT.,                                  COLLEGE, Apr. 19, 2016, produced to the Foundation for
 http://www.umt.edu/police/Police/Hate%20Crime%20Form.ph               Individual Rights in Education in response to a public records
 p (last visited Jan. 9, 2017) (Police department soliciting reports   request and available at
 of bias incidents, including “Leafleting” and the use of slurs).      https://www.documentcloud.org/documents/3418430-
                                                                       Evergreen-State-College-April-19-2016-Flyers.html.	  	  



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      DISCUSSION
      	  
      Including media relations administrators is also                 offensive speech, as well as principles of
      concerning, because it suggests that a school’s                  academic freedom. That may explain why the
      decision to respond to offensive speech may be                   U n i v e r s i t y o f N o r t h e r n C o l o r a d o ’s Bias
      driven by the potential impact to the school’s                   Response Team warned at least one professor
      reputation. Where this is the case, it undermines                that he could face lengthy, intrusive
      the notion implicitly underlying Bias Response                   investigations for permitting students to debate
      Teams that universities are primarily concerned                  controversial issues in class.105
      with providing a safe environment.

      And there is reason to be concerned that                         B IA S R E S P ON S E T E A M S M A Y E X P OS E
      universities’ responses may be driven by a desire                U N IV E R S IT IE S T O FIR S T A M E N DM E N T
      to manage the institutions’ reputation at the                    L A W S U IT S
      expense of protecting freedom of expression. At
      the U n i v e r s i t y o f N e w M e x i c o , administrators   To date, FIRE is aware of no legal challenges to a
      wanted to rush to release a statement from the                   bias reporting system. It’s unclear whether a
                                                 Office of the         legal challenge could be mounted by a student or
                                                 President “rather     faculty member based on the mere existence of
                                                 than waiting for      such a system. However, each time a Bias
                                                 the media to get      Response Team embarks upon an investigation
                                                 ahold of” flyers      or intervention with the reported person, it risks
                                                 critical of the       exposing the institution and its administrators
                                                 university’s logo,    to claims under the First Amendment.
                                                 which included
                                                       conquistadors   That a university provides a mechanism for
                                                 but not Native        community members to share information
      Americans.104 These flyers were perceived by the                 concerning offensive speech may not, alone,
      Bias Response Team as a threat to Native                         amount to a justiciable First Amendment
      Americans because the mock logo incorporated                     controversy. In Laird v. Tatum (1972), the
      skulls and bones underneath the feet of                          Supreme Court of the United States held that the
      conquistadors—a rather obvious criticism of the                  “mere existence” of broad, intelligence-
      treatment of Native Americans in the New                         gathering programs does not, “without more,”
      Mexico area. Ultimately, it was faculty members                  impermissibly chill speech.106
      on the Diversity Council who placed the flyers in
      context. Without their intervention, it is                       The First Amendment, however, does not simply
      possible that administrators who erroneously                     restrict the government from expressly
      viewed the flyers as threatening could have                      penalizing or prohibiting speech. It also
      continued their investigation and initiated                      prohibits “adverse government action against an
      charges.                                                         individual because of First Amendment
                                                                       freedoms.”107 When universities depart from the
      In other words, the lack of faculty or student                   Laird baseline by mounting investigations or
      membership may deprive Bias Response Teams                       interventions with offending speakers, they
      of valuable insight into instances of purportedly                expose themselves to the possibility of a First

      104                                                              105
         See emails and photos produced to the Foundation for              Jillian Kay Melchior, Colorado ‘Bias Response Team’
      Individual Rights in Education by the University of New Mexico   Threatened Prof to Change His Lessons, HEAT STREET, July 5, 2016,
      in response to a public records request, available at            https://heatst.com/culture-wars/bias-response-team-
      https://www.documentcloud.org/documents/3234845-                 threatened-prof-with-title-ix-vii-probe/.
                                                                       106
      University-of-New-Mexico-What-Indians-Report.html.                   Laird v. Tatum, 408 U.S. 1, 10 (1972).
                                                                       107
                                                                           Izen v. Catalina, 398 F.3d 363, 367 (5th Cir. 2005).



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                                                                                                                       DISCUSSION
 	  
 Amendment retaliation claim. This exposure                             the institution, or to provide resources to a
 isn’t limited to legal action against the                              complaining student, these goals are
 university; because many First Amendment                               unobjectionable on First Amendment grounds.
 principles are so well established under the law,                      But the reality is that Bias Response Teams are
 members of a Bias Response Team risk being                             generally intended to deter offensive speech and
 held personally liable for their actions in some                       conduct. Their goal is to chill speech that the
 circumstances.                                                         institution or its constituents find offensive or
                                                                        unkind.111
 To mount a First Amendment retaliation claim,
 for example, an aggrieved party must                                   When Bias Response Teams intervene directly
 demonstrate three things: “first, that his speech                      with the reported student, the risk of exposing
 or act was constitutionally protected; second,                         the university to First Amendment claims
 that the defendant's retaliatory conduct                               increases. Bias Response Teams often submit
 adversely affected the protected speech; and                           speech to the review of police and campus
 third, that there is a causal connection between                       conduct administrators, who launch an
 the retaliatory actions and the adverse effect on                      “investigation”112 or bring “charges”113 against
 speech.”108 Whether government conduct has an                          the “respondent,”114 who may be summoned for
 adverse effect is determined by an objective                           a “hearing”115 and found “guilty”116 or be
 standard: if the retaliatory conduct “would likely                     provided with an “educational”117 reprimand—
 deter ‘a person of ordinary firmness’ from the                         or, in the case of L o n g w o o d U n i v e r s i t y ,
 exercise of First Amendment rights.”109 The                            “education sanctions.”118 This is the language of
 retaliatory conduct need not be successful, as                         punitive systems, not educators, and it is likely
 the cause of action is intended to address                             to be perceived as such by students and by
 “conduct that tends to chill [speech], not just                        courts. Simply calling a quasi-punitive response
 conduct that freezes it completely.”110                                system “educational” doesn’t make it so. After
                                                                        all, many institutions already describe at least
 To the extent that Bias Response Teams are used                        some of their punitive measures as “educational”
 to better understand students’ perspectives, to                        in nature.119
 prepare general programming to constituents of

 108
     Bennett v. Hendrix, 423 F.3d 1247, 1250 (11th Cir. 2005).          motivated incidents and the Tolerance Program and will give
 109
     Id.                                                                her/him the opportunity to respond to the report.”).
 110                                                                    115
     Constantine v. Rectors & Visitors of George Mason Univ., 411           See, e.g., Student Reporting of Bias-Related Incidents, supra note
 F.3d 474, 500 (4th Cir. 2005) (emphasis in original).                  113 (describing a “hearing with the Student Conduct
 111
     Rio Fernandes, In a Charged Climate, Colleges Adopt Bias-          Administrator”).
                                                                        116
 Response Teams, CHRON. OF HIGHER EDUC., Feb. 1, 2016,                      See, e.g., Difference Between a Hate Crime and a Bias Incident,
 http://www.chronicle.com/article/In-a-Charged-Climate-                 DAVIDSON COLLEGE, http://www.davidson.edu/student-
 Colleges/235120 (describing how Ohio State University formed a         life/multicultural-life/hate-crime-and-bias-incidents (last visited
 bias response team because “they needed a proactive means to           Jan. 30, 2017) (“Professors who make pejorative comments or
 prevent occurrences of offensive speech”).                             stereotypes about a protected class of people … are also guilty of
 112
     See, e.g., Discrimination Cases, Fall 2015, UNIV. OF CAL. DAVIS,   commiting [sic] a bias incident.”).
                                                                        117
 http://reporthateandbias.ucdavis.edu/fall_2015.html (last visited          See, e.g., Bias and Discrimination Response Protocol, COLUMBIA
 Jan. 30, 2017) (“Offensive classroom comments, course content”         COLLEGE, https://www.cc-
 resulted in an “Investigation”).                                       seas.columbia.edu/studentlife/bias/protocol (last visited Jan. 30,
 113
     See, e.g., Student Reporting of Bias-Related Incidents, STATE      2017) (“Columbia College and Columbia Engineering students
 UNIV. OF N.Y. GENESEO,                                                 involved in perpetrating a hate crime/ bias incident will be subject
 https://www.geneseo.edu/diversity/procedures (last visited Jan.        to an educational and/or disciplinary process determined by
 30, 2017) (in a “Level I” incident, “the accused student is made       Judicial Affairs.”).
                                                                        118
 aware of the charges and has a hearing with the Student Conduct            Bias & Hate Incidents, LONGWOOD UNIV.,
 Administrator”).                                                       http://www.longwood.edu/diversity/experiencing-bias/bias--
 114
     See, e.g., Tolerance Program Annual Report: 2014-2015, UNIV. OF    hate-incidents (last visited Jan. 9, 2017).
                                                                        119
 ILL. AT URBANA-CHAMPAIGN, at 4, available at                               See, e.g., Missouri State University, which promises not to
 http://www.conflictresolution.illinois.edu/tolerance/downloads/        “discipline” through its Bias Response Team, but instead “provide
 toleranceReport_1415.pdf (“If a meeting with the respondent(s)         educational opportunities for those engaging in speech contrary
 occurs, the assigned [Bias Incident Investigation Team] member         to … values [of diversity and inclusion.]” Its Code of Conduct,
 will provide her/him with general information about bias-              however, is also “intended to be educational in nature[.]” If



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      DISCUSSION
      	  
      Even the public pronouncement that an                                         and that no one has been prosecuted
      investigation is underway—particularly when                                   for their possession or sale. But though
      conducted by law enforcement—can itself have a                                the Commission is limited to informal
      chilling effect.120 While universities need not                               sanctions—the threat of invoking legal
      remain silent about offensive speech, going                                   sanctions and other means of
      “beyond simple vocal condemnation” and                                        coercion,        persuasion,         and
      implying that particular instances of protected                               intimidation—the       record      amply
      speech may be punished can amount to a                                        demonstrates that the Commission
      violation of the First Amendment.121                                          deliberately set about to achieve the
                                                                                    suppression of publications deemed
      The Supreme Court’s perspective in Bantam                                     “objectionable” and succeeded in its
      Books, Inc. v. Sullivan (1963) is instructive.                                aim. We are not the first court to look
      There, the state of Rhode Island established a                                through forms to the substance and
      commission whose goal was to, among other                                     recognize that informal censorship
      things, “educate the public” about books and                                  may sufficiently inhibit the circulation
      printed materials it viewed as obscene, acting as                             of publications … .
      a gatekeeper to “investigate and recommend the
      prosecution” of persons found to be distributing                        Bias Response Teams are arguably quite
      obscene     materials.122    The    commission                          comparable to the Rhode Island commission
      promulgated       lists   of     “objectionable”                        discussed in Bantam Books. While they might
      publications to police departments and, when                            protest that they are intended not to punish
      booksellers      were      reportedly     selling                       speech but to discourage speech contrary to the
      objectionable material, the commission sent                             values of the institution, even if that speech is
      them notices suggesting that the commission                             protected,    Bias    Response      Teams    are
      had the power to recommend prosecution if                               nevertheless intended to chill speech. By using
      materials were found to be obscene.123 The                              the language, tools, and administrators
      Supreme Court held that the commission’s claim                          associated with disciplinary systems, Bias
      that it simply “exhort[ed]” publishers to avoid                         Response Teams risk being perceived as
      distributing obscenity, and could not itself                            intimidating, not educating. While some
      punish booksellers, was “untenable”:124                                 systems strike an appropriate balance by, among
                                                                              other things, limiting their definitions of
             It is true that [the] books have                                 reportable conduct to speech unprotected by the
             not been seized or banned by the State,                          First Amendment,125 the vast majority do not.

      discipline can be described as educational, then an “educational”       freedom of political association, and freedom of communication
      response which is mandatory or lacks substance may be perceived         of ideas, particularly in the academic community.”); see also
      as disciplinary. Cf. Bias Response Team, MO. STATE UNIV.,               Coszalter v. City of Salem, 320 F.3d 968, 976 (9th Cir. 2003) (an
      https://www.missouristate.edu/dos/268885.htm (last visited Jan.         “unwarranted disciplinary investigation” alone amounted to an
      11, 2017); Code of Student Rights and Responsibilities, MO. STATE       adverse employment action in a First Amendment retaliation
      UNIV.,                                                                  case).
                                                                              121
      https://www.missouristate.edu/policy/G5_01_StudentRightsand                 Levin v. Harleston, 966 F.2d 85, 89-90 (2d Cir. 1992); but see
      Responsibilities.htm (last visited Jan. 11, 2017).                      Stolle v. Kent State Univ., 610 Fed. App’x 476, 482-83 (6th Cir.
      120
          See generally Adam Steinbaugh, The Chilling Effect of               2015) (faculty member verbally reprimanded for sending letter to
      Investigations, NEWSDESK, May 11, 2016,                                 legislator on university letterhead in violation of policy amounted
      https://www.thefire.org/the-chilling-effect-of-investigations/;         to “de minimus” act insufficient to deter person of ordinary
      see also Sweezy v. New Hampshire, 354 U.S. 234, 245 (1957)              firmness from First Amendment activities).
                                                                              122
      (“There is no doubt that legislative investigations, whether on a           Bantam Books, Inc. v. Sullivan, 372 U.S. 58, 59-60 (1963).
                                                                              123
      federal or state level, are capable of encroaching upon the                 Id. at 62-63.
                                                                              124
      constitutional liberties of individuals. It is particularly important       Id. at 66-67 (footnotes omitted).
                                                                              125
      that the exercise of the power of compulsory process be carefully           See, e.g., Azhar Majeed, UW-Madison Demonstrates What a
      circumscribed when the investigative process tends to impinge           ‘Green Light’ Definition of a Bias Incident Looks Like, NEWSDESK,
      upon such highly sensitive areas as freedom of speech or press,         Oct. 6, 2016, https://www.thefire.org/uw-madison-demonstrates-



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                                                                                                                     DISCUSSION
 	  

 The prospect of a retaliation claim should alarm                      DESPITE ACKNOW LEDGING FIRST
 colleges and universities. The central question of                    AMENDMENT TENSIONS, UNIVERSITIES
 such a claim—whether the conduct would deter                          PROVIDE LITTLE IF ANY TRAINING
 a person of ordinary firmness from continuing to
 speak—is fact-based, meaning it’s unlikely to be                      The First Amendment issues faced by Bias
 resolved before summary judgment, increasing                          Response Teams are complex, nuanced, and
 universities’ legal exposure.126 Additionally,                        fraught with potential pitfalls that may lead
 many of the scattered decisions on what meets                         public institutions into costly lawsuits. Leaving
 the “ordinary firmness” test are based in the                         aside legal risks, Bias Response Teams also risk
 context of government employment, where the                           conflicting with essential principles of academic
 government’s interest is given substantially                          freedom, freedom of expression, and freedom of
 more weight, than in the context of retaliation                       inquiry. Yet despite these risks, few Bias
 against a non-employee.127                                            Response Teams receive meaningful training, if
                                                                       any, on the contours of these issues.
 This is not to say that universities must refrain
 from criticizing or condemning offensive                              Of institutions surveyed, 84              (50.6%)
 conduct or speech. Criticism is not censorship,                       acknowledge a tension with freedom of speech,
 whether it is broadcast to the student body or                        freedom of inquiry, or academic freedom on
 public at large or instead sent directly to a                         their websites or in their policies. Of these, 50
 student. University officials retain their own                        are public institutions and 34 are private.
 First Amendment right to contribute to
 discourse on campus and can do so without                             While    Bias    Response      Team      training
 creating a substantial risk of a First Amendment                      requirements and materials were not part of
 retaliation claim.128 The tools universities                          FIRE’s survey, FIRE has utilized state public
 deploy in response to speech, how they are                            records requests to explore the types of training
 deployed, and how universities describe these                         required of members of Bias Response Teams.
 systems to students matter.                                           Although FIRE has issued or reviewed dozens of
                                                                       public records requests to universities seeking
 Finally, because universities often keep opaque                       training materials distributed to Bias Response
 records documenting their interventions with                          Teams, we’ve only seen materials from one
 reported     speakers     (discussed      below),                     school, Louisiana State University , that
 universities have a diminished ability to argue                       provided substantive training on First
 that such interventions provided meaningful                           Amendment issues.129
 education, as opposed to a chilling instruction to
 stop speaking.

 what-a-green-light-definition-of-a-bias-incident-looks-like           information to defend itself against any criticism by the dean was
 (definition of bias incidents consistent with standard for peer-on-   a reservation of “their own first amendment right to speak out,”
 peer hostile environment harassment standard in an educational        and the subjective chill resulting was insufficient to establish a
 setting, as set forth in Davis v. Monroe County Bd. of Educ., 526     justiciable controversy); see also, Nunez v. City of Los Angeles,
 U.S. 629, 651 (1999)).                                                147 F.3d 867, 875 (9th Cir. 1998) (concluding in the employment
 126
     Thompson v. Ohio State Univ., 990 F. Supp. 2d 801, 809 (S.D.      context that merely being “bad-mouthed and verbally threatened”
 Ohio) (retaliation claim against professor proper where the           by supervisors was insufficient, and that it “would be the height of
 professor allegedly filed charges against a student in retaliation    irony, indeed, if mere speech, in response to speech, could
 for criticism of a colleague, as issue of whether an action is        constitute a First Amendment violation”); but see De Leon v.
 sufficient to deter a person of ordinary firmness) (citing            Little, 1999 U.S. Dist. LEXIS 23091, at *13-14 (D. Conn. Sept. 29,
 Wurzelbacher v. Jones-Kelley, 675 F.3d 580, 584 (6th Cir. 2012)).     1999) (criticizing Nunez as inconsistent with Supreme Court
 127
     See generally Kinney v. Weaver, 367 F.3d 337, 358-60 (5th Cir.    precedent in that threats of dismissal can support First
 2004) (noting that First Amendment analyses proceed on a              Amendment retaliation claims).
                                                                       129
 “spectrum”).                                                              FIRE is currently sponsoring a First Amendment lawsuit
 128
     See, e.g., Samad v. Jenkens, 845 F.2d 660, 663 (6th Cir. 1988)    against Louisiana State University over its treatment of a former
 (university’s statement to outgoing dean that it would release



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      DISCUSSION
      	  
      Other institutions, despite acknowledging that                       “consequences” for bias incidents, asserted that
      identifying First Amendment issues can be                            there are “no laws for bias incidents” and that
      nuanced, do not appear to provide training. For                      the team doesn’t “get the firm backing through
      example, the U n i v e r s i t y o f C a l i f o r n i a , S a n     law or the institution in general about these
      D i e g o (U C S D ) notes on its website that “[i]ssues             topics.”133  A    contemporaneous       training
      pertaining to freedom of speech and expression                       slideshow indicated that Bias Response Team
      can be very complicated and confusing.”130 The                       members would be trained on “legal issues”
      university’s definition of “bias incidents”                          without elaboration.134 None of the materials
      likewise observes that the “protection of                            provided to FIRE indicate that any training on
      freedom of expression, including controversial                       First Amendment issues was provided.
      speech and sometimes even offensive or hurtful
      words, is vital to a community of teachers and
      learners” and that some “acts of bias may either                     A R E S IS T A N C E T O T R A N S P A R E N C Y
      not be severe enough to violate policy or be
      protected expressions of speech.”131 Yet despite                     With few exceptions, Bias Response Teams
      freedom of expression being both “complicated”                       suffer from a lack of transparency, and
      and “vital,” the University of California’s Office                   universities are too often willing to stonewall
      of the President, responding on UCSD’s behalf to                     public records requests concerning their teams.
      a public records request issued by FIRE, did not                     While protecting the privacy of both reporting
      produce any training materials relating to the                       and reported parties is important, this hesitance
      First Amendment at UCSD.                                             to engage in meaningful transparency is
                                                                           worrisome. The ways in which universities
      Another school, L o n g w o o d U n i v e r s i t y ,                respond to offensive speech and discrimination
      claimed as recently as August 2016 that because                      are of particular public concern,135 and doing so
      universities could not impose “campus judicial                       without being transparent, or being selectively
      codes that include specific prohibitions related                     transparent,136 risks being seen as an effort to
      to bias and hate” under the First Amendment, it                      hide incidents from the community.
      instead “train[s] board members to identify bias-
      related behavior and include appropriate                             Approximately 28% of institutions with bias
      education sanctions when a student is found                          reporting systems do not even disclose who
      responsible.”132 An August 2016 “Bias Response                       reviews the reports. If universities are unwilling
      Team Training” memorandum, in discussing                             to publicly identify who is responsible for

      faculty member, Teresa Buchanan, but the case does not involve       Education in response to a public records request, available at
      the school’s Bias Response Team.                                     https://www.documentcloud.org/documents/3288824-
                                                                           Longwood-University-Bias-Response-Team-Training.html.	  	  
      130
          Freedom of Speech and Expression at UC San Diego, UNIV. CAL.,
                                                                           135
      SAN DIEGO, https://students.ucsd.edu/student-                            See, e.g., Black Student Union, BSU Calls for Action, THE
      life/diversity/expression (last visited Dec. 29, 2016).              TOWERLIGHT, Apr. 18, 2016, http://thetowerlight.com/bsu-calls-
      131
          Frequently Asked Questions, UNIV. CAL., SAN DIEGO OFFICE FOR     for-action (student group, “disheartened by the lack of
      THE PREVENTION OF HARASSMENT & DISCRIMINATION,                       communication and transparency” concerning a student’s
      http://ophd.ucsd.edu/faq/index.html#What-are-bias-incidents?         conduct, calls upon administrators to take acts “to ensure that
      (last visited Dec. 29, 2016).                                        hate bias on this campus is heavily policed, reported, and made
      132
          Bias & Hate Incidents, LONGWOOD UNIV., archived on Aug. 26,      transparent”).
                                                                           136
      2016 and available at                                                    See, e.g., Lea Speyer, Anti-Israel Students at Connecticut College
      http://web.archive.org/web/20160826220917/http://www.longw           ‘Occupy’ Office of School President in Protest Over Investigation of
      ood.edu/diversity/45365.htm.                                         Mock Eviction Notices, THE ALGEMEINER, May 16, 2016,
      133
          Bias Response Team Training (Handout), LONGWOOD UNIV.,           http://www.algemeiner.com/2016/05/16/anti-israel-students-at-
      Aug. 11, 2016, produced to the Foundation for Individual Rights in   connecticut-college-occupy-office-of-school-president-in-
      Education in response to a public records request, available at      protest-over-investigation-of-mock-eviction-notices (students
      https://www.documentcloud.org/documents/3288823-                     protest, in part, over mass email concerning political protest
      Longwood-University-Bias-Response-Team-Training.html.                labeled as a bias incident, when other bias incidents weren’t
      134
          Bias Response Team Training (Slideshow), LONGWOOD UNIV.,         similarly announced).
      Aug. 11, 2016, produced to the Foundation for Individual Rights in



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                                                                   App.253
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                                                                                                                         DISCUSSION
 	  
 reviewing and responding to reports, then                                complaints; and the composition, policies, and
 students, faculty, and the public will be hindered                       training of their Bias Response Teams. While
 in holding public servants accountable.                                  most complied with both the letter and spirit of
 Similarly, a refusal to identify Bias Response                           the law,141 a number have resisted. Ominously,
 Team members does not instill confidence that                            even where schools produce records, those
 schools take complaints seriously by devoting                            records often fail to substantially document the
 capable people to overseeing them.                                       actions the university took in response to the
                                                                          report, instead stating that the respondent was
 And while many Bias Response Teams purport                               provided with “education.” This does not inspire
 to exist for the purpose of keeping statistics, the                      confidence that the response was meaningful
 statistics themselves are rarely published. The                          education, as opposed to a reprimand.
 U n i v e r s i t y o f C a l i f o r n i a , for example,
 developed its multi-campus reporting system in                           Justice Louis Brandeis famously opined that
 2010 with the “[p]rimary purpose” of “statistical                        sunlight was the best of disinfectants.142 But a
 reporting,”137 yet it appears to have never                              popular tactic of sunshine-shy administrators is
 published statistics. The University of California                       the employment of hefty fees to locate and
 Office of the President, in response to a public                         redact public records, notwithstanding open
 records request for all statistics,138 only provided                     records laws encouraging universities to reduce
 statistics last compiled in 2012 and apparently                          or waive fees when releasing documents that
 never published.139 Some institutions publish                            would serve the public interest. The U n i v e r s i t y
 statistics on periodic bases, with varying degrees                       o f N o r t h e r n C o l o r a d o attempted to charge
 of transparency. And while the Clery Act                                 FIRE hundreds of dollars for records eventually
 requires federally funded institutions to publish                        obtained by a media outlet, Heat Street, which
 statistics concerning hate crimes,140 most                               revealed that UNC’s Bias Response Team had
 schools define “bias incident” more broadly than                         discouraged professors from discussing subjects
 criminal acts. In any event, most institutions                           of debate raging in legislatures and the media.143
 publish neither statistics nor reports.                                  That blast of sunlight caused UNC to shutter its
                                                                          Bias Response Team.144
 FIRE has utilized public records requests under
 state law—similar to requests pursuant to the                            Similarly, the U n i v e r s i t y o f O r e g o n concluded
 federal Freedom of Information Act—to ask                                that releasing its records would not be in the
 dozens of schools to produce records relating to                         public interest,145 demanding that FIRE pay
 complaints; how they responded to those

 137                                                                      141
     Meg Carter & Jerlena Griffin-Desta, Campus Climate Project               Evergreen State College merits an honorable mention, having
 Requirements, UNIV. OF CAL., June 16, 2010, produced to the              produced over seven thousand pages of thorough records on a
 Foundation for Individual Rights in Education in response to a           timely basis, in a response to a records request by FIRE. Contrast
 public records request and available at                                  this with the University of California, which produced scant
 https://www.documentcloud.org/documents/3288857-                         records after months of delay and obfuscation.
                                                                          142
 University-of-California-Campus-Climate-Project.html.                        Louis D. Brandeis, Other People’s Money, HARPER’S WEEKLY,
 138
     California Public Records Act Request from Adam Steinbaugh           Dec. 20, 1913, at 92.
                                                                          143
 to the University of California Office of the President, Apr. 8, 2016,       Jillian Kay Melchior, Colorado ‘Bias Response Team’
 available at                                                             Threatened Prof to Change His Lessons, HEAT STREET, July 5, 2016,
 https://www.documentcloud.org/documents/3288861-2016-04-                 https://heatst.com/culture-wars/bias-response-team-
 08-Public-Records-Request-to-the.html.                                   threatened-prof-with-title-ix-vii-probe/.
 139                                                                      144
     Update on Universitywide Campus Climate Incidents Reporting              Adam Steinbaugh, University of Northern Colorado to End ‘Bias
 System, UNIV. OF CAL. ETHICS, COMPLIANCE AND AUDIT SERVICES,             Response Team,’ But What Next?, NEWSDESK, Sept. 9, 2016,
 Feb. 7, 2012, produced to the Foundation for Individual Rights in        https://www.thefire.org/university-of-northern-colorado-to-
 Education in response to a public records request and available at       end-bias-response-team-but-what-next/.
                                                                          145
 https://www.documentcloud.org/documents/3288860-                             See In Defense of Animals v. Oregon Health Sciences
 University-of-California-Feb-7-2012-Update-on.html.                      University, 112 P.3d 336, 354 (Or. Ct. App. 2004) (agencies may
 140
     Institutional Security Policies and Crime Statistics, 34 C.F.R.      reduce or waive fees if it determines that the records relate to a
 § 668.46(c)(1)(iii).                                                     matter which “affects the community or society as a whole, in
                                                                          contrast to a concern or interest of a private individual or entity”).



                                                                                                   2017 BIAS RESPONSE TEAM REPORT	                25
                                                                 App.254
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      DISCUSSION
      	  
      $1,483.30 to review its team’s records.146 The                     names—a task somehow accomplished without
      university’s steadfast refusal to acknowledge the                  complaint by dozens of other schools, many of
      public interest was plainly belied by criticism by                 which boast far fewer resources than the
      national media outlets,147 which spurred a                         University of California system.
      faculty inquiry into the team’s activities. When
      the records were eventually produced, Oregon
      was unable to locate records of some incidents,                    N OR M A T IV E C R IT IC IS M S OF B IA S
      including one pilloried in the media.148                           R E SP ONSE T E A M S

      Other institutions have been quick to delete or                    Given that reported incidents of perceived “bias”
      hide once-public websites documenting bias                         run the ideological gamut, subjecting campus
      incidents following public criticism. C o l b y                    speech     to   review     by     conflict-averse
      C o l l e g e placed its log of bias incidents behind a            administrators runs the risk of chilling speech
      password-protected field after it was publicly                     from any and every perspective. This illiberal
      criticized.149 So, too, did S k i d m o r e C o l l e g e .150     approach invites administrative intervention
      More alarmingly, several institutions responded                    whenever there are impolite words or
      to FIRE’s public records requests by initially                     disagreement of any sort. College campuses
      claiming that there were no records to produce.                    must remain open for vehement disagreement
      When FIRE issued additional requests seeking                       and impolite rhetoric lest they invite
      records of what efforts the school made to search                  administrators to limit speech and debate.
      for records, the originally-requested records
      were suddenly located and produced. This                           This view is not FIRE’s alone. Writing in the New
      suggests a certain lack of good faith from these                   Republic, Carleton College professors Jeffrey
      institutions in following their legal obligations.                 Aaron Snyder and Amna Khalid aptly observed
                                                                         the limitations of Bias Response Teams and their
      Other institutions found more creative ways to                     potential chilling effects on academic discourse
      stonewall. The U n i v e r s i t y o f C a l i f o r n i a ’s      and campus speech:
      Office of the President (UCOP), for example,
      intervened to respond on behalf of its subsidiary                        We do not want our campuses overrun
      campuses after FIRE issued records requests to                           with eager “see something, say
      each campus about its processes. Months later,                           something” “student informants.” Far
      UCOP professed that it would be too difficult for                        from empowering students with the
      the central office to locate records of how its                          requisite skills for having difficult
      campuses responded to reported incidents.                                conversations,        bias     response
      UCOP also refused to produce records of any                              initiatives, as a Boston College student
      reported incident whatsoever, claiming that it                           asserted, encourage “students to ask
      would be too difficult to redact students’                               the administration to solve problems

      146                                                                148
          Adam Steinbaugh, University of Oregon on ‘Bias Response            Conor Friedersdorf (@conor64), TWITTER (May 14, 2016, 12:29
      Team’: Nothing to See Here, NEWSDESK, May 27, 2016,                PM), https://twitter.com/conor64/status/731521764912730112.
                                                                         149
      https://www.thefire.org/university-of-oregon-on-bias-response-         Samantha Harris, Speech Code of the Month: Colby College,
      team-nothing-to-see-here/.                                         NEWSDESK, July 20, 2016, https://www.thefire.org/speech-code-
      147
          See, e.g., Catherine Rampell, College Students Run Crying to   of-the-month-colby-college/; Robby Soave, Saying ‘On the Other
      Daddy Administrator, WASH. POST, May 19, 2016,                     Hand’ Got a Student Reported to the Campus Bias Police, REASON,
      https://www.washingtonpost.com/opinions/college-students-          June 22, 2016, http://reason.com/blog/2016/06/22/saying-on-
      run-crying-to-daddy-administrator/2016/05/19/61b53f54-1deb-        the-other-hand-got-a-student-r.
                                                                         150
      11e6-9c81-4be1c14fb8c8_story.html?utm_term=.f2f5652cd55c;              Blake Neff, Skidmore College: ‘Make America Great Again’ Is A
      see also, e.g., Robby Soave, The University of Oregon’s Thought    ‘Racialized Attack’, THE DAILY CALLER, July 1, 2016,
      Police Investigate Students for Saying Anything, REASON, May 10,   http://dailycaller.com/2016/07/01/skidmore-college-maka-
      2016, http://reason.com/blog/2016/05/10/the-university-of-         america-great-again-is-a-racialized-attack/.
      oregons-thought-police.



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                                                                 App.255
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                                                                                                                 DISCUSSION
 	  
        instead of solving them amongst                                     If a person is able to report a peer,
        themselves.”                                                        professor, supervisor, or other
                                                                            community member for “speech code
        [...]                                                               violations,” and particularly if those
                                                                            reports result in punitive action
        Let us be clear: Bias and
                                                                            toward the offender, the system could
        discrimination are real and pressing
                                                                            shut down, rather than open up,
        concerns on campuses across the
                                                                            critically important dialogue. On a
        country. There must be channels for
                                                                            university campus with an implicit
        students, especially those from
                                                                            commitment to the free exchange of
        historically         underrepresented
                                                                            ideas, such a result must be considered
        populations, to communicate their
                                                                            unacceptable.
        concerns to administrators and their
        peers. Institutions need to keep on top
                                                                      Other institutions have recognized these risks.
        of “campus climate” concerns through
                                                                      In August 2016, the U n i v e r s i t y o f I o w a
        surveys      and      community-wide
                                                                      scrapped a planned Bias Response Team,
        discussions. But to institute a formal
                                                                      observing a “high failure rate in the [teams] at
        body that assesses the merits of bias
                                                                      other institutions” as they became “almost
        incident complaints is profoundly
                                                                      punitive in nature,” rendering them “scolding
        misguided.
                                                                      panels.” Although the University of Iowa’s
        [...]                                                         planned team did not involve a punitive
                                                                      component, the type of response undertaken by
        BRTs will result in a troubling silence:                      other BRTs “accomplishes nothing,” said one
        Students, staff, and faculty will be                          administrator.154
        afraid to speak their minds, and
        individuals or groups will be able to                         As academic freedom expert Donald Downs,
        leverage bias reporting policies to shut                      professor of political science, law, and
        down     unpopular       or   minority                        journalism at the University of Wisconsin—
                    151
        viewpoints.                                                   Madison, observed, Bias Response Teams
                                                                      attempt to strike a difficult balance: 155
 At J o h n C a r r o l l U n i v e r s i t y , a private, Catholic
 institution, Bias Response Team administrators                             In some telling respects, some of these
 acknowledged that critiques concerning                                     new policies [including Bias Response
 freedom of speech “must be taken seriously.”152                            Teams] do not overtly call for
 Troubled both by the potential for “malicious-                             censorship, as the old speech codes
 anonymous” abuse of the ability to anonymously                             did. Rather, they are meant to
 report others and by the possibility that the                              “educate” the academic community
 system might have a chilling effect on speech,                             about the negative impact that certain
 the university’s annual report observed:153                                types of speech can have. Such
                                                                            educational schemes can be consistent
                                                                            with the goals of higher education if

 151                                                                  154
     Jeffrey Aaron Snyder & Amna Khalid, The Rise of “Bias                Jeff Charis-Carlson, University of Iowa Changing Course on
 Response Teams” on Campus, THE NEW REPUBLIC, Mar. 30, 2016,          Bias Response Team, IOWA CITY PRESS-CITIZEN, Aug. 18, 2016,
 https://newrepublic.com/article/132195/rise-bias-response-           http://www.press-citizen.com/story/news/education/university-
 teams-campus.                                                        of-iowa/2016/08/18/university-iowa-changing-course-bias-
 152
     JOHN CARROLL UNIVERSITY, BIAS REPORTS 2014-2015, available       response-team/88962048.
                                                                      155
 at http://webmedia.jcu.edu/diversity/files/2015/12/2014-2015-            Donald Downs, The Good, the Less-Good, and the Path Forward:
 Bias-Report-web-version.pdf.                                         Thoughts on FIRE’s Annual Report, OPEN INQUIRY PROJECT, Jan.
 153
     Id.                                                              4, 2017, http://openinquiryproject.org/blog/thoughts-on-fires-
                                                                      annual-report/.



                                                                                             2017 BIAS RESPONSE TEAM REPORT	            27
                                                             App.256
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      DISCUSSION
      	  
             done right and in the right spirit.                       When setting parameters for their teams and
             There is nothing intrinsically wrong                      implementing responses, universities must be
             with educating students and others                        cognizant of the risks created by broad
             about the potential impacts of speech,                    definitions, anonymous reporting systems,
             so long as such educational endeavors                     unclear policies, and lack of training, and must
             are not smokescreens for informal or                      take steps to minimize or eliminate these risks.
             formal ideological bullying. However,                     While some Bias Response Teams have
             given the climates on many campuses                       demonstrated familiarity with freedom of
             today, such educational efforts too                       speech in their responses to reports of offensive
             often amount to speech codes in                           speech, such actions are too often not the result
             disguise. The new policies may not be                     of effective training and policies.
             overt speech codes, but they can
             accomplish censorship by other                            If bias reporting systems are to exist on
             means.                                                    campuses, they should describe reportable
                                                                       situations narrowly, excluding protected speech,
                                                                       or at the very least avoid characterizing the
      S T R IK IN G A B A L A N C E                                    teams and their responses in ways that convey a
                                                                       punitive message. Universities should also
      It is understandable that universities wish to                   recognize that even narrow definitions of bias
      monitor the climate for students on their                        are likely to result in reports of protected speech,
      campuses and to have support systems in place                    and provide accurate and impartial training to
      for students who, for one reason or another, may                 Bias Response Team members so that they are
      be struggling to feel at home on campus. But it                  able to identify protected speech.
      does not follow from these precepts that
      universities must effectively establish a                        Universities would do best to focus on how they
      surveillance state on campus where students                      can help the reporting student, not on the
      and faculty must guard their every utterance for                 reported speaker. Unless a community member
      fear of being reported to and investigated by the                has engaged in conduct unprotected by the First
      administration.                                                  Amendment or academic freedom, any
                                                                       institutional response to bias should avoid
      While not every Bias Response Team                               uninvited intervention with the speaker and
      impermissibly limits protected speech, the                       instead focus on providing resources to the
      reality is that it is extremely difficult to have a              reporting student. In doing so, they will help
      system in place for the reporting of protected                   encourage all community members to express
      speech without creating a risk that speech and                   themselves and participate in the marketplace of
      expression on campus will be chilled as a result.                ideas that our nation’s colleges and universities
      As lawyer, writer, and former FIRE President                     are uniquely suited to provide.
      David French wrote, universities with Bias
      Response Teams are playing a “dangerous
      constitutional game” by not explicitly
      prohibiting protected speech but creating a
      “process-is-punishment”        mechanism       that
      deters people from speaking out.156


      156
         David French, Campus Ideologues Double Down on                http://www.nationalreview.com/corner/430750/campus-
      Censorship—Beware the ‘Bias Response Team,’ NAT’L REVIEW, Feb.   ideologues-bias-response-teams-first-amendment.
      3, 2016,



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                                                               App.257
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                                                          APPENDIX A: CATEGORIES OF BIAS
 	  
 The following is the percentage of schools that promulgate the following categories of bias:

 Race and Culture                                   Ability, Disability, Health, or Physical
  Race: 100%                                        Attributes Unrelated to Race or Gender
  National Origin or Nationality: 94.5%              Disability: 99%
  Ethnicity or Ethnic Origin: 73%                    Age: 81.4%
  Color: 60.3%                                       Genetic Information: 19%
  Ancestry: 25.6%                                    Pregnancy: 15%
  Immigration Status or Citizenship: 14.1%           Mental Health: 7%
  Language or Accent: 2%                             Physical Appearance: 7%
  Culture: 2%                                        Medical Condition: 5%
  Geographic Origin: 1%                              Size: 2.5%
  Anti-Semitism: 0.50% (U. Vermont)                  Height: 2%
  Place of Birth: 0.50% (Middlebury)                 Weight: 2%
                                                     Shape: 0.50% (U. Northern Colorado)
 Religion or Existential Beliefs                     Atypical Heredity: 0.50% (Rutgers)
  Religion or Spiritual Beliefs: 100%                Cellular Blood Trait: 0.50% (Rutgers)
  Creed: 22%                                         Positive HIV-Related Blood Test Results:
  Spirituality: 0.50% (Middlebury)                       0.50% (Middlebury)
                                                     Intellectual Ability: 0.50% (Clemson)
 Sex, Gender, and Sexuality                          Emotional Ability: 0.50% (Clemson)
  Sexual Orientation: 99.5%                          Smoker Status: 0.50% (U. Kentucky)
  Gender Identity or Expression: 81%
  Gender: 61%                                       Views and Beliefs
  Sex: 41.2%                                         Political Affiliation: 14%
                                                     Membership Affiliation: 3.5%
 Military Service                                    Group Affiliation: 1.5%
  Veteran Status: 60%                                Intellectual Perspective: 0.50% (U. Central
  Military Status: 9%                                    Arkansas)
  National Guard Status: 0.50% (SUNY                 Participation in Lawful, Off-Campus Activity:
      Potsdam)                                           0.50% (North Dakota State U.)
                                                     Role: 0.50% (Macalester College)
 Family and Relationships                            Political Expression: 0.50% (Dartmouth)
  Marital Status: 36.2%                              Religious Expression: 0.50% (Dartmouth)
  Familial or Parental Status: 7%                    Social Affiliation: 1% (Syracuse, Longwood U.)
  Victim of Domestic Violence: 1%                    Social Standing: 0.50% (UNC Charlotte)
  Relationship Status: 0.50% (U. Nebraska—           Belief System: 0.50% (UNC Charlotte)
       Omaha)                                        Political Belief: 1% (U. Kentucky, U. Central
  Civil Union Status: 0.50% (Rutgers)                    Arkansas)
  Domestic Partnership: 0.50% (Rutgers)
  Spousal Relationship to Current Employee:         Income, Housing, and W elfare
       0.50% (N. Dakota State U.)                     Socioeconomic Status: 23.6%
  Childbirth: 0.50% (Grinnell College)                Public Assistance Status: 1.5%
                                                      Homelessness: 1 %
 Ex-Offender Status: 4%




                                           2017 SURVEY OF BIAS REPORTING SYSTEMS IN HIGHER EDUCATION	     29
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      APPENDIX A: CATEGORIES OF BIAS

      M i s c e l l a n e o u s C a t e g o r i e s o f B i a s 157
       Anti-Semitism: University of Vermont
       Atypical Heredity: Rutgers University
       Behavior: Macalester College
       Belief System: University of North Carolina, Charlotte
       Cellular Blood Trait: Rutgers University
       Characteristics: Macalester College
       Childbirth: Grinnell College
       Cultural: University of Wisconsin, Madison
       Emotional Ability: Clemson
       Intellectual Ability: Clemson
       Intellectual Perspective: University of Central Arkansas
       Major of Study: Missouri University of Science and Technology
       National Guard Status: SUNY Potsdam
       Participation in Lawful, Off-Campus Activity: North Dakota State University
       Place of Birth: Middlebury College
       Political Belief: University of Central Arkansas, University of Kentucky
       Political Expression: Dartmouth
       Positive HIV-Related Blood Test Results: Middlebury College
       Religious Expression: Dartmouth
       Role: Macalester College
       Shape: University of Northern Colorado
       Smoker Status: University of Kentucky
       Social Affiliation: Syracuse University, Longwood University
       Social Standing: University of North Carolina, Charlotte
       Spirituality: Middlebury College
       Spousal Relationship to Current Employee: North Dakota State University
       Victim of Domestic Violence: SUNY Potsdam, University of Denver




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            These categories of bias are unique to only one or two institutions. Some are identified in subcategories above and repeated here.



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          APPENDIX B: INSTITUTIONS WITH OBSERVED BIAS REPORTING SYSTEMS


 A la b a m a                                      Connec t i c u t
   University of Alabama at Birmingham              Central Connecticut State University
                                                    Connecticut College
 A la s k a                                         Trinity College
   None observed                                    University of Connecticut
                                                    University of New Haven
 A r i z ona
   Arizona State University                        Dela w a r e
   Northern Arizona University                      None observed
   University of Arizona
                                                   Flor i d a
 A r k a ns a s                                      Florida International University
   University of Central Arkansas                    Florida State University
                                                     Pensacola State College
 Ca li f or ni a                                     Stetson University
  California Polytechnic State University,           University of Central Florida
         San Luis Obispo                             University of Florida
  California State Polytechnic Institute,            University of West Florida
         Pomona
  California State University, Chico               Ge or gi a
  Humboldt State University                         Armstrong State University
  Loyola Marymount University                       Emory University
  Occidental College                                Georgia Southern University
  Pepperdine University                             Kennesaw State University
  Pomona College
  Sonoma State University                          Ha w a i i
  University of California, Berkeley                None observed
  University of California, Los Angeles
  University of California, Davis                  Id a h o
  University of California, Irvine                   Boise State University
  University of California, Merced
  University of California, Riverside              Il l i n oi s
  University of California, San Diego                 DePaul University
  University of California, San Francisco             Illinois State University
  University of California, Santa Barbara             Loyola University Chicago
  University of California, Santa Cruz                Northeastern Illinois University
  University of Southern California                   Northern Illinois University
  University of the Pacific                           Northwestern University
  Whittier College                                    Saint Xavier University
                                                      University of Chicago
 Color a d o                                          University of Illinois at Urbana—
  Colorado State University                                 Champaign
  University of Colorado at Boulder
  University of Denver                             In d i a n a
  University of Northern Colorado                    Ball State University
                                                     DePauw University
                                                     Indiana University—Bloomington
                                                     Purdue University


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      Iowa
        Coe College                                    Minnesota
        Grinnell College                                Carleton Collegei
        University of Northern Iowa                     Hamline University
                                                        Macalester College
      Kansas                                            Minnesota State University, Mankato
       Kansas State University                          University of Minnesota—Morris
                                                        University of Minnesota—Twin Cities
      Kentucky
       Georgetown College                              Mississippi
       Kentucky State University                        University of Mississippi
       University of Kentucky
       University of Louisville                        Missouri
                                                        Missouri State University
      Louisiana                                         Missouri University of Science and
       Louisiana State University—Baton Rouge            Technology
       Tulane University                                Saint Louis University
                                                        Southeast Missouri State University
      Maine                                             University of Central Missouri
       Bates College                                    University of Missouri—Columbia
       Bowdoin College                                  Washington University in St. Louis
       Colby College
       University of Southern Maine                    Montana
                                                        Montana State University
      Maryland                                          University of Montana
       St. Mary’s College of Maryland
       Towson University                               Nebraska
                                                        University of Nebraska—Lincoln
      Massachusetts                                     University of Nebraska—Omaha
       Babson College                                   University of Nebraska Medical Center
       Boston College
       Clark University                                Nevada
       Emerson College                                  None observed
       Framingham State University
       Harvard University                              New Hampshire
       Mount Holyoke College                            Dartmouth College
       Northeastern University                          Plymouth State University
       Smith College                                    University of New Hampshire
       Tufts University
       University of Massachusetts Amherst             New J ersey
       Williams College                                 Montclair State University
                                                        Rowan University
      Michigan                                          Rutgers University
       Grand Valley State University                    The College of New Jersey
       Michigan State University
       University of Michigan—Ann Arbor                New Mexico
                                                        University of New Mexico



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 New Y or k                                       Oh io
  Alfred University                                Bowling Green State University
  Bard College                                     Case Western Reserve University
  Buffalo State College                            John Carroll University
  Colgate University                               Kenyon College
  Columbia University                              Miami University of Ohio
  Cornell University                               The Ohio State University
  Empire State College                             University of Cincinnati
  Fordham University                               Wright State University
  Hamilton College
  Le Moyne College                                Ok la h om a
  New York University                              University of Oklahoma
  Skidmore College
  SUNY Binghamton                                 Or egon
  SUNY Buffalo                                     Lewis & Clark College
  SUNY Cobleskill                                  Oregon Institute of Technology
  SUNY Cortland                                    Oregon State University
  SUNY Fredonia                                    Portland State University
  SUNY Geneseo                                     Reed College
  SUNY New Paltz                                   Southern Oregon University
  SUNY Old Westbury                                University of Oregon
  SUNY Oneonta
  SUNY Oswego                                     P enns y lv a nia
  SUNY Potsdam                                      Albright College
  Syracuse University                               Allegheny College
  Union College                                     Bryn Mawr College
  University of Rochester                           Bucknell University
  Vassar College                                    Dickinson College
                                                    Gettysburg College
 Nor t h Ca r oli na                                Lafayette College
  Appalachian State University                      Lehigh University
  Davidson College                                  Muhlenberg College
  Duke University                                   Pennsylvania State University—
  Elon University                                    University Park
  Fayetteville State University                     Swarthmore College
  North Carolina State University—Raleigh           University of Pittsburgh
  University of North Carolina, Asheville           Villanova University
  University of North Carolina, Charlotte           West Chester University of Pennsylvania
  Wake Forest University                            Widener University
  Western Carolina State University
                                                  R h od e Is la n d
 Nor t h Da k ot a                                  Providence College
  North Dakota State University                     Rhode Island College
  Valley City State University                      University of Rhode Island




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      South Carolina                                                   W ashington, D.C.
       Clemson University                                               Georgetown University
       Furman University
       University of South Carolina
       Winthrop University                                             W est Virginia
                                                                          None observed
      South Dakota
         None observed                                                 W isconsin
                                                                        Marquette University
      Tennessee                                                         St. Norbert College
       Sewanee, The University of the South                             University of Wisconsin—Eau Claire
       University of Tennessee, Knoxville                               University of Wisconsin—Green Bay
                                                                        University of Wisconsin—La Crosse
      Texas                                                             University of Wisconsin—Madison
       Baylor University                                                University of Wisconsin—Milwaukee
       Southern Methodist University                                    University of Wisconsin—Oshkosh
       Texas A&M University—College Station                             University of Wisconsin—Platteville
       Texas Tech University                                            University of Wisconsin—River Falls
       University of Texas at Austin                                    University of Wisconsin—Stevens Point
                                                                        University of Wisconsin—Stout
      Utah                                                              University of Wisconsin—Whitewater
       University of Utah
                                                                       W yoming
      Vermont                                                             None observed
       Middlebury College
       University of Vermont

      Virginia
       George Mason University
       Longwood University
       University of Mary Washington
       University of Richmond
       University of Virginia
       Virginia Commonwealth University
       Virginia Polytechnic Institute
         and State University

      W ashington
       Central Washington University
       Evergreen State College
       Washington State University
       Western Washington University
       Whitman College


      i
       Correction: Carleton College was included due to a              has been updated to reflect minor changes in figures impacted
      misinterpretation of a proposed policy found on its website.     by the removal of Carleton College, but no findings were
      FIRE has since been informed that the proposal was rejected      significantly impacted.
      and was not implemented, and we regret the error. This report




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     SUITE 1250
     PHILADELPHIA, PA 19106


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     YOUTUBE.COM/THEFIREORG        @THEFIREORG          FACEBOOK.COM/THEFIREORG
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                      Exhibit 6




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The Rise of “Bias Response
Teams” on Campus
Colleges across America are creating shadowy groups to handle complaints. Will they
end up muzzling students instead?




Photo illustration by Adam Peck/Image via Shutterstock.com
Je!rey Aaron Snyder, Amna Khalid /
March 30, 2016




    “Trump 2016.” After this message was scrawled in chalk across the Emory


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    University campus earlier this month, some 40 students met with President James
    Wagner to express their “fear” and “frustration,” insisting that “Trump’s platform
    and his values undermine Emory’s values [of] diversity and inclusivity.” Wagner
    reassured the students that the university would review the footage from security
    cameras to identify the culprit. “If they’re students,” he said, “they will go through
    the conduct violation process.” In a subsequent campus-wide email, Wagner
    declared that Emory’s “commitment to respect, civility, and inclusion calls us to
    provide a safe environment.” He also emphasized that the school would make
    “immediate refinements” to the “procedural deficiencies” of its “bias incident and
    response process.”

    Bias incident reporting is not unique to Emory. More than 100 colleges and
    universities have Bias Response Teams, which aim to foster “a safe and inclusive
    environment” by providing “advocacy and support to anyone on campus who has
    experienced, or been a witness of, an incident of bias or discrimination.” These
    teams have multiple missions, including educational “prevention,” investigating
    alleged bias incidents, disciplining offenders, and organizing “coping events” after
    such incidents. Depending on the campus, these teams are known as BRTs,
    BARTs, BERTs or BIRTs. Students and faculty occasionally serve on BRTs, but they
    are largely composed of administrators, with sizable representation from
    Residential Life and Dean of Students offices. As committees with unelected
    members that meet behind closed doors, they lack both transparency and
    accountability.

    BRTs are rapidly becoming part of the institutional
    machinery of higher education, but have yet to face any
    real scrutiny.
    BRTs are rapidly becoming part of the institutional machinery of higher
    education, but have yet to face any real scrutiny. As Carleton College faculty
    members committed to “rigorous studies in the liberal arts disciplines” and the
    vitality of diverse campus communities, we believe that the proliferation of BRTs

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    is a grave mistake. They degrade education by encouraging silence instead of
    dialogue, the fragmentation of campuses into groups of like-minded people, and
    the deliberate avoidance of many of the most important—and controversial—
    topics across all academic disciplines. They are inherently anti-intellectual
    enterprises, fundamentally at odds with the mission of higher education. And
    ultimately they will undermine a bedrock principle of the modern university: that
    more diversity leads to better learning.




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    The dramatic diversification of the student body is one of the most significant
    trends in higher education over the past half-century. Circa 1965, about 94 percent
    of the nation’s college students were white and 61 percent were men; today, those
    figures have fallen to 59 percent and 43 percent, respectively.

    That shift was encouraged by the pivotal 1978 Supreme Court decision on
    affirmative action, Regents of the University of California v. Bakke, a 5-4 ruling that
    banned racial quotas for college admissions but deemed it permissible to include
    race as one of a broad “array of qualifications and characteristics” in a “highly
    individualized, holistic review of each applicant’s file.” (This is the policy under


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    consideration in Fisher v. University of Texas.) In his majority opinion, Justice
    Lewis Powell rejected the social justice rationale for affirmative action but
    endorsed the diversity rationale, asserting that an otherwise qualified student
    “with a particular background—whether it be ethnic, geographic, culturally
    advantaged or disadvantaged” may bring “outlooks and ideas” that enrich “the
    atmosphere of speculation, experiment and creation” on campus.

    Colleges and universities promote the benefits of a multicultural student body,
    calling diversity “a defining institutional value” that adds “depth, richness and
    excitement” to campus life. There has always been tension, though, between the
    rhetoric and the reality of diversity on college campuses—between the slogans
    that celebrate “differences” and how these differences really shape campus life. If
    the photographs of smiling students in college catalogs depict a multicultural
    utopia, the groups of students sitting in the cafeteria often tell a different story.
    Admissions officers would have you believe that campus life is a bubble, sealed off
    from the social inequities of the “real world” such as racism, sexism and
    homophobia. The news proves otherwise, whether it be the University of
    Oklahoma fraternity members singing a racist song or the explosion of student
    protests this past fall.

    From an administrative point of view, there is a pressing need to more effectively
    “manage” campus diversity, and BRTs are at the heart of this effort. (Ohio State
    University founded one of the first in 2007 after “racist letters” were distributed to
    students through campus mail. Most are only a few years old.) Public relations, not
    surprisingly, have spurred the growth of BRTs, with “institutional reputation” and
    the desire to “reassure campus communities that administrators [are] addressing
    bias” as main concerns.

    Definitions of bias incidents vary by campus but have the following key features:
    They encompass “any behavior or action directed towards an individual or group
    based upon actual or perceived identity characteristics.” These characteristics
    include “race, color, ethnicity, social class, national origin, religion, sexual

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    orientation, gender identity and/or expression, age, marital status, veteran status,
    and physical and mental health”—sometimes even “height” and “weight.”

    Last month, at the University of Michigan, a hall director
    reported a “phallic snow object.”
    A bias incident can occur “whether the act is intentional or unintentional,”
    meaning that “microaggressions” (subtle, often unintended slights) are squarely
    within bias incident territory. All “verbal, written or physical” conduct is fair
    game, whether it transpires in actual spaces such as cafeterias and classrooms or
    in the endless virtual world of social media. Examples include “symbols, language
    and imagery objectifying women” (University of Utah); “name calling,” “avoiding
    or excluding others” and “making comments on social media about someone’s
    political affiliations/beliefs,” (Syracuse); “I don’t see skin color,” “I was joking.
    Don’t take things so seriously,” and “Thanks, Sweetie.” (University of
    Oregon). Given the expansive definitions of bias incidents, it is no surprise that
    some dubious complaints are filed: Last month, at the University of Michigan, a
    hall director reported a “phallic snow object.” “It is the height of privilege and
    entitlement to be obsessively concerned with utterly inconsequential events such
    as this,” a member of the university’s residential staff said.

    Anyone can report a “bias incident,” including “faculty, staff, students, as well as
    parents, alumni and visitors to campus.” Reporters may be “victims,” “witnesses”
    or even “third parties”—and they may choose to remain anonymous. That opens
    the door to hoaxes. Indeed, more than 20 percent of all the bias incident reports
    filed at one university during a single academic year were “pranks,” the
    investigation of which “occupied a great deal of time and attention for multiple
    staff members and senior level administrators.”

    We do not want our campuses overrun with eager “see something, say something”
    “student informants.” Far from empowering students with the requisite skills for
    having difficult conversations, bias response initiatives, as a Boston College

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    student asserted, encourage “students to ask the administration to solve problems
    instead of solving them amongst themselves.” At University of California, Santa
    Cruz, a student filed a bias incident complaint that a single poster advertising a
    college “mafia” game was “extremely offensive to me as an Italian American
    woman” and “could result in harassment of Italian American students on
    campus”; the poster was removed. As the aforementioned Boston College student
    lamented, BRTs create “a false, and dangerous impression that the administration
    can/should police speech on campus to ensure everyone is ‘comfortable.’”

    “Police” is an apt word. A vice chancellor at University of California, Santa Barbara
    encouraged students to report “hate crimes or bias incidents” to the campus police
    department and the Office of Judicial Affairs. (Santa Clara University even
    instructed students to call 911 if a “bias incident is in progress or just occurred,” a
    policy subsequently revised.) A study based on extensive interviews with BRT
    members representing 17 colleges and universities found they devoted more time
    to “punishing and condemning the perpetrators of specific acts” than to
    community-wide education. A criminal justice framework informs much of the
    work done by BRTs, with terms such as “victim,” “perpetrator” and “offender”
    being used. Punishment was swift indeed in the recent “ethnic stereotyping”
    brouhaha at Bowdoin, where students who hosted a “fiesta” featuring tequila and
    mini-sombreros were forced to move out of their room, placed on social probation,
    and required to complete future educational programming. The college president
    described the party as an “act of bias.”



    Let us be clear: Bias and discrimination are real and pressing concerns on
    campuses across the country. There must be channels for students, especially
    those from historically underrepresented populations, to communicate their
    concerns to administrators and their peers. Institutions need to keep on top of
    “campus climate” concerns through surveys and community-wide discussions.
    But to institute a formal body that assesses the merits of bias incident complaints

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    is profoundly misguided. They run counter to the basic conviction that we learn
    best through experimental trial-and-error: changing our minds voluntarily, not
    because we are told to. Nothing quite kills intellectual exploration like the fear of
    causing offense. “How are students supposed to feel empowered to share their
    honest opinions on social issues,” a student at UC Santa Barbara asked about the
    campus’ BRT, “when they run the risk of being accused of ‘undermining our
    culture of inclusivity?’”

    Peer learning, the hallmark of a residential liberal arts campus, is immeasurably
    better when students are not mirror images of one another. But diversity works its
    magic only through meaningful contact between people with varying “identity
    characteristics.” Contact, by definition, will sometimes lead to conflict. Imagine a
    conversation between an evangelical student and a gay student on same-sex
    marriage, or a discussion about U.S. drone policy between a dove and a hawk. Such
    conversations are invaluable. But without the space to debate and argue, students
    won’t ever be forced to confront the underlying assumptions framing their
    worldviews. BRTs threaten to drive students into their own corners with peers who
    look and think like them, reducing the potency of diversity to a glib slogan on
    admissions brochures.

    In addition to threatening the vitality of informal peer learning, BRTs pose a threat
    to the basic integrity of classroom teaching. Among the most frequently reported
    bias incidents are classroom comments perceived as “derogatory” or “insensitive.”
    Apart from flagging intentionally fraudulent reports, BRTs rarely determine that a
    particular complaint does not qualify as a “bias incident.” At the very least, then,
    “accused” professors will need to have a “professional development” conversation
    with a BRT member as a result. At the most extreme, they may find themselves in
    the position of University of Colorado, Boulder sociologist Patricia Adler, who
    faced pressure to resign after some students complained about a prostitution
    lecture she regularly delivered. Faculty, of course, are not paragons of virtue and
    will no doubt sometimes make obtuse comments, but BRTs will prevent us from
    doing our jobs the best way we know how.

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    Much of what we teach and how we teach could come
    under fire with BRTs in place.
    Much of what we teach and how we teach could come under fire with BRTs in
    place. They would, for instance, undermine co-author Amna’s strategic use of
    provocation, a pedagogical device that yields some of the best educational
    moments in her course. In a class on women in South Asia, Amna screens the
    controversial film Bandit Queen—a biopic of Phoolan Devi, a low-caste woman
    who endured extreme sexual violence, ultimately becoming a Robin Hood-esque
    outlaw. Amna uses the film knowing that students will be outraged by both the
    content and the director’s approach. Students’ strong reactions, in fact, lay the
    necessary groundwork for a critical discussion about the politics of representation.
    Does the film exploit—or challenge—stereotypical depictions of “third-world”
    women? Is there a limit to artistic license when a creative work is presented as a
    true story?

    The advent of academic tracking in the early twentieth-century is a key topic in
    co-author Jeff’s field, the history of American education. It requires a close look at
    Stanford University psychologist Lewis Terman (1877-1956), chief architect of the
    first intelligence tests used to place students in different educational programs
    (college prep, vocational ed. and the like). Terman was a card-carrying eugenicist
    who believed that “racial differences in general intelligence” could not be “wiped
    out by any scheme of mental culture.” “Mexicans,” “Indians” and “negroes,”
    according to Terman, were innately “dull,” destined to be the “world’s hewers of
    wood and drawers of water.” When students engage with Terman’s work, they
    begin to understand how powerful social currents such as racism, Social
    Darwinism, and anti-immigration sentiment informed IQ testing, academic
    tracking, and the shape of the modern high school.

    More broadly, this example speaks to the kind of imaginative critical analysis
    essential to history as a discipline. We have to contemplate and discuss how it is
    possible that people in the past held views we find morally reprehensible today, an

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    undertaking rife with “bias incident” pitfalls. Just imagine tentative answers to
    the following question: Why do you think Terman and other highly educated
    people of his generation found racial hierarchies so attractive? We would not feel
    comfortable posing questions like this knowing that one student’s response might
    result in a bias incident complaint from a peer. This would only ramp up the all-
    too-common student fear of saying “the wrong thing.”

    Bias reporting policies blur the all-important distinction between articulating a
    position and endorsing it—a distinction many no longer see. At Dartmouth,
    student activists demanded that the college ban from campus the use of “any
    racially-charged term” such as “illegal immigrants.” Similarly, the BRT at Oregon
    suggests faculty add the following “classroom behavior” statement to their syllabi:
    “no racist, ableist, transphobic, xenophobic, chauvinistic or otherwise derogatory
    comments will be allowed.”

    A recent draft report on Title IX by the American Association of University
    Professors concludes that universities sometimes “overreach and seek to punish
    protected academic speech” in adjudicating sexual harassment charges. There is
    “a tendency,” for example, “to treat academic discussion of sex and sexuality as
    contributing to a hostile environment.” Consider too last year’s controversy at the
    University of Minnesota over a poster advertising a panel discussion about free
    speech, which featured a Charlie Hebdo cover illustration of the Prophet
    Muhammad. In response to a petition signed by over 300 people condemning the
    “blasphemous” use of the image, the university’s Equal Opportunity and
    Affirmative Action office held a formal investigation and concluded that
    “university members should condemn insults made to a religious community in
    the name of free speech.”

    Bias reporting puts at undue risk those of us who teach in the humanities and
    social sciences, fields that explicitly address “identity characteristics” such as race,
    social class, and sexual orientation. In an Inside Higher Ed piece on the flaws of
    trigger warnings, seven humanities professors maintain that “faculty of color,

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    queer faculty, and faculty teaching in gender/sexuality studies, critical race theory,
    and the visual/performing arts will likely be disproportionate targets of student
    complaints about triggering, as the material these faculty members teach is by its
    nature unsettling.” The same could be said about the faculty most likely to be
    subject to bias incident complaints. At a community college in Minnesota three
    years ago, a female African American professor was reprimanded by the
    administration for “offending” three white male students during a discussion of
    “structural racism” in a communications course. With BRTs in place, white
    students will be more likely to file complaints against faculty of color as well as
    students of color for “offensive” remarks and actions. There is a real danger that
    these policies will boomerang to harm the very groups they were intended to
    protect. (This, for example, is a recent BRT complaint from John Carroll
    University: “Anonymous student reported that African-American Alliance’s
    student protest was making white students feel uncomfortable.”)

    At the University of Richmond in the spring of 2008, a black doll was found
    hanging from a noose in a campus theater, with a note that read, “Art is dead. Long
    live art.” In the aftermath of this incident, Glyn Hughes—sociologist and
    administrator—led the effort to create a BRT and formulate the university’s “bias
    incident protocol.” As chair of the Richmond BRT, Hughes mediated bias
    incidents on campus, while also closely following national BRT policies and
    trends. In a candid essay, Hughes explained how he became increasingly skeptical
    of BRTs overwhelming public relations function. Incidents were presented as
    “scandals,” isolated instances of “hatred or ignorance” perpetrated by bad apples,
    he wrote. Through BRTs, campus communities could profess that everybody was
    “shocked” and congratulate themselves on taking a righteous stand, all the while
    ignoring institutionalized prejudice and discrimination. Hughes’s damning
    conclusion: “diversity and social justice efforts” such as BRTs too often “reproduce
    rather than challenge systemic inequities.”

    BRTs are fatally flawed. Adjudicating “he said, she said” incidents is a logistical
    nightmare, if not downright impossible for thinly stretched administrators. There

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The Rise of “Bias Response Teams” on Campus | The New Republic                        1/4/23, 12:26 PM
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    will no doubt be examples of injustice where the “accused” are investigated—even
    penalized—over paltry evidence, or where the discipline meted out is far too harsh
    for the alleged “crime.” What’s more, BRTs will result in a troubling silence:
    Students, staff, and faculty will be afraid to speak their minds, and individuals or
    groups will be able to leverage bias reporting policies to shut down unpopular or
    minority viewpoints. BRTs will substitute diktats for debate when what we need
    most is constant, frank conversation. By almost any measure, colleges and
    universities are more diverse today than they have ever been, and that’s the
    paradox: BRTs will turn the genuine, transformative educational power of diverse
    voices into a farce.

    Correction: A previous version of this article incorrectly stated that Glyn Hughes is
    an administrator in the University of Richmond’s Office of Multicultural Affairs. He
    is the director of the school’s Common Ground initiative.


    Je!rey Aaron Snyder

    Je!rey Aaron Snyder is assistant professor in the Educational Studies department at Carleton
    College. He is completing a book titled Making Black History: The Color Line, Culture, and Race
    in the Age of Jim Crow, to be published by the University of Georgia Press.



    Amna Khalid

    Amna Khalid is assistant professor in the History department at Carleton College. She
    specializes in modern South Asian history and is currently working on a book manuscript on
    pilgrimage and disease in British India.



    Read More: Education, Political Correctness, Higher Education, College, Race, Diversity, Culture




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                      Exhibit 7




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    OKLAHOMA STATE UNIVERSITY(HTTPS://GO.OKSTATE.EDU/)Quicklinks / Search                              APPLY(HTTPS://GO.OKSTATE.EDU/APPLY/)



                           ADMINISTRATION AND FINANCE                                            (/)



                           FINANCIAL STATEMENTS(/FINANCIAL-STATEMENTS.HTML)               INCENTIVE PLANS(/INCENTIVES/INDEX.HTML)

                           POLICIES AND PROCEDURES(/POLICIES/INDEX.HTML)          DEPARTMENTS(/DEPARTMENTS.HTML)

                           SENIOR VPAF STAFF(/STAFF.HTML)




  POLICIES, PROCEDURES, AND FORMS


  APPROPRIATE USE POLICY
  3-0601 ADMINISTRATION & FINANCE Information Technology
  February 2021                                                                                           Search Policies
     Download(/site-files/documents/policies/appropriate-use-                                              Find the policy that you're looking for...
             policy.pdf)

                                                                                                            SEARCH (/)
  PURPOSE
  1.01                                                                                                      BACK (/POLICIES/INDEX.HTML)
  As an institution of higher learning, Oklahoma State University encourages, supports,
  and protects freedom of expression, the free exchange of ideas, and an open
  environment that facilitates the pursuit of scholarly inquiry. The purpose of this policy
  is to outline, in general terms, the University’s philosophy about acceptable use of
  information technology resources, with the overall objective of remaining consistent
  with other OSU A&M policies, and respecting the rights and obligations of academic
  freedom while protecting the rights of others.

  1.02
  As a public University, the resources of Oklahoma State University, discussed in this
  policy, are intended for use by users with no expectation of privacy. In this context,
  this policy addresses this intent and responsibility of the University to the public.



  SCOPE
  2.01
  This policy applies to all University owned or controlled information technology
  resources whether individually controlled or shared, stand alone or networked.



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  2.02
  This policy applies to the users of University information technology resources,
  whether
  such persons are students, sta", faculty, or authorized third-party users.

  2.03
  This policy applies to all information technology resource facilities owned, leased,
  operated, or contracted by the University

  2.04
  This Policy applies equally to all University-owned or University-leased information
  technology resources.



  DEFINITIONS
  3.01
  A user is a person, whether authorized or not, who makes use of University information
  technology resources from any location.

  3.02
  Information technology resources – Technology and/or computer resources including,
  but not limited to, personal computers, workstations, mainframes, mobile devices
  (laptops, tablets, smart phones, etc.), printing equipment, and all associated
  peripherals and software, and electronic mail accounts, regardless of whether the
  resource is used for administration, research, teaching, or other purposes.



  POLICY
  4.01 User Responsibility and Expectations
  Within the following sections, examples of acts or omissions, though not covering
  every situation, are included to specify some of the responsibilities that accompany
  computer use at Oklahoma State University, and to outline acts or omissions that are
  considered unethical and unacceptable, and which may result in immediate revocation
  of privileges to use the University's computing resources and/or just cause for taking
  disciplinary action up to and including discharge, dismissal, expulsion, and/or legal
  action, which may include referral for criminal investigation and/or prosecution.

  4.02 Use Purposes
 A. Appropriate use of OSU’s computing and networking resources includes purposes
    such as instruction, independent study, authorized research, independent research,
    communications and o#cial work of the o#ces, units, recognized student and
    campus organizations of Oklahoma State University. University computing facilities,
    systems, accounts and network resources are to be used for University-related
    activities for which they are assigned. At all times, use of the University’s
    information technology resources must comply with federal and state law, and
    University policies.



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 B. University information technology resources are not intended to be used for
    generating or accessing obscene material as defined by Oklahoma or federal law and
    acceptable community standards or for creating a hostile work and/or educational
    environment.
 C. Incidental personal use of University information technology resources is permitted,
    but must not interfere with a user’s performance of o#cial University business,
    result
    in direct costs to the University, expose the University to unnecessary risks, or
    violate
    applicable laws or other University or Board policy. Users shall have no expectation
    of privacy in any personal information stored by a user on a University information
    technology resource, including University electronic mail accounts. Storage of any
    electronic mail messages, voice messages, file, or documents created by incidental
    personal use by a user must be nominal.

  4.03 Personal Devices and Systems
  Users who connect to the University’s information technology resources using
  privately owned personal computers, or other privately owned devices, consent to
  being scanned by the University’s scanning programs for security purposes, such as
  malicious network tra#c, while connected to those technology resources.

  4.04 System Abuse and Disruptive Use
 A. Users are expected to report suspected illegal activity or abuse, especially if related
    to       any     damage         to      or     problems        with      their        files,   to
    abuse@okstate.edu(mailto:abuse@okstate.edu) or Ethics Point. Any defects
    discovered in the system accounting or system security are to be reported, as well,
    so that steps can be taken to investigate and solve the problem. The cooperation of
    all users is needed to ensure prompt action. System administrators are required to
    report suspected unlawful or improper activities to the proper University authorities.
    Users have an a#rmative duty to cooperate with system administrators in
    investigations of system abuse.
 B. It is a violation of this policy to use the University’s information technology
    resources
    for transmitting political campaigning, commercial or personal advertisements,
    solicitations, promotions, or programs, to libel, harass, threaten, or without
    authorization, invade the privacy or impersonate the identity of other individuals.
    O#ces utilizing applications that send communications on behalf of an employee
    have the responsibility to ensure the employee is aware of this activity. It is also a
    violation to use University information technology resources for the purpose of
    introducing a malicious program into the network, any server or any computer
    connected to the network. The use of any unauthorized or destructive program may
    result in legal civil action for damages or other punitive action by any injured party,
    including the University, as well as criminal action. This policy prohibits both the
    circumvention of mechanisms which protect private or restricted information,
    systems, or networks, as well as use of University resources for unauthorized
    access to private or restricted systems or networks and/or damage to software or
    hardware components of those systems or networks.



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 C. Modifying or removing computer equipment, software, or peripherals without proper
    authorization is a violation of this policy. Users will use great care to ensure that
    they
    do not use programs or utilities which interfere with other users or which modify
    normally protected or restricted systems, networks or user accounts. It is
    inappropriate to encroach on others' use of the University's computers, via
    intended, unintended or negligent behaviors including but not limited to: sending of
    excessive electronic communications (‘spam’), either locally or o"-campus; printing
    excess copies of documents, files, data, or programs; running grossly ine#cient
    programs when e#cient alternatives are known to be available; unauthorized
    modification of system facilities, operating systems, or disk partitions; attempting to
    crash or tie up a
    University computer; damaging or vandalizing University computing facilities,
    equipment, software, or computer files.
 D. Interfering with the intended use of information resources or without authorization,
    destroying, altering, dismantling, disfiguring, preventing rightful access to or
    otherwise interfering with the integrity of electronic information and/or information
    systems are not all, but further examples of systems abuse.

  4.05 User Accounts and Passwords
  A. The integrity of most systems is maintained by password protection of accounts.
  Users are responsible for assisting in the protection of the systems they use. The
  integrity and secrecy of an individual’s password is a key element of that responsibility.
  The security of your user account is your responsibility. Users are responsible for
  ensuring account passwords are strong according to best practices and by not using:
      1. passwords from other accounts such as social media, external email, or other
      web sites


      2. dictionary words


      3. personal names


      4. computer system names


      5. adjacent keyboard combinations such as ‘qwerty’, ‘asdzxc’ or ‘12345’


  B. Users may use only their own computer accounts and are personally responsible for
  all use of their computer account(s). Users who have been authorized to use
  computing
  resources (by provision of a user account) may be subject to both criminal and civil
  liability, as well as University discipline, if the user discloses a password or otherwise
  makes those resources available to others without the permission of the system
  administrator.


  C. Gaining, or attempting to gain access to the account of another user either by using
  programs or devices to intercept or decode passwords or similar access control
  information or by using any other means is prohibited. The negligence or naiveté of
  another user in revealing an account name or password is not considered authorized


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  use. Convenience of file or printer sharing is not su#cient reason for sharing a
  computer account. Intentionally allowing or assisting others to gain unauthorized
  access to information technology resources is prohibited, regardless of whether the
  computer, software, data, information, or network in question is owned by the
  University. Abuse of the networks to which the University belongs or the systems at
  other sites connected to those networks will be treated as an abuse of Oklahoma State
  University information technology resources privileges.

  4.06 System Logging, Reviews, Privacy
 A. Users of the University’s information technology resources are placed on notice that
    all computer systems maintain audit logs and/or file logs within the computer and
    that user information is backed up periodically. Information collected and stored
    may
    include, but is not limited to, user identification, date and time of the session,
    software used/accessed, files used/accessed, internet use and access, when
    requested and deemed necessary. The University reserves the right to view or scan
    any file or software stored on the computer or passing through the network, and will
    do so periodically to verify that software and hardware are working correctly, to look
    for particular kinds of data or software (such as computer viruses), or to audit the
    use of University resources. For example, analysis of audit files may indicate why a
    particular data file is being erased, when it was erased, and what user identification
    has erased it.
 B. Users should be aware that information transmitted via the Internet may be
    intercepted by others. Accordingly, the privacy of electronic mail, voicemail and
    similar data should not be presumed. With regard to all information system data,
    users should also be aware that the University, as an agency of the State of
    Oklahoma, and as its o#cers and employees, are subject to the provisions of the
    Oklahoma Open Records Act, 51 Okla. Stat. § 24A.1, et seq.

  4.07 Additional Responsibilities
  Some departments may have additional use restrictions and it is the user’s
  responsibility to adhere to them. Individual units within the University may define
  "conditions of use" for information resources under their control. These statements
  must be consistent with this overall Policy but may provide additional detail, guidelines
  and/or restrictions. Such policies may not relax or subtract from, this policy.

  4.08 Email Use
  A. General Purpose Use

      1. As with other University resources, electronic mail (email) is made available to
      faculty, sta" and students, to further the teaching, research, service, and
      Extension/outreach goals and mission of the University. Use of University email
      services, therefore, is intended to be in furtherance of such goals and mission.
      Incidental personal use of electronic mail is permitted, but must not interfere with
      a user’s performance of o#cial University business, result in direct costs to the
      University, expose the University to unnecessary risks, or violate applicable laws
      or other University or Board policy. Users shall have no expectation of privacy in




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      any personal information sent, received, or stored by a user using University
      electronic mail accounts. Storage of any electronic mail messages created by
      incidental personal use by a user must be nominal.


      2. Users shall respect the purpose and charters of electronic mailing lists
      (including
      local or network news groups and social media). It is the responsibility of any user
      of an electronic mailing list to determine the purpose of the list before sending
      messages to the list or receiving messages from the list. Persons subscribing to an
      electronic mailing list will be viewed as having solicited any material delivered by
      the list as long as that material is consistent with the purpose of the list. Persons
      sending to a mailing list any materials which are not consistent with the purpose of
      the mailing list will be viewed as having sent unsolicited material to the mailing
      list.


      3. Graduates and retirees are granted life-long use of their institutional email
      accounts with the understanding that they will adhere to the same policies and
      procedures which apply to students, faculty and sta". This privilege can be
      revoked by the University if use of the account results in a violation of policies or
      procedures, or if the account is needed for business continuity by the area which it
      served.

  B. Reporting O!ensive Email
  The University provides email services to the University to support the academic and
  administrative activities, and email is used as an o#cial form of communication. As
  members of the University’s community, all users are expected to demonstrate good
  taste and sensitivity to others in their communications. However, the University
  cannot
  protect individuals against the existence or receipt of material that may o"end them,
  and users are warned that they may willingly or unwillingly come across, or be
  recipients of, material they find o"ensive. To report material received via email, send
  a complaint to abuse@okstate.edu(mailto:abuse@okstate.edu) or Ethics Point.

  C. University Access to User Email
      1. Users should be aware that the University, as an agency of the State of
      Oklahoma,
      as well as its o#cers and employees, are subject to the provisions of the Oklahoma
      Open Records Act. There is no privacy associated with use of University email
      resources. The University owns, and has right of access to, for any purpose, the
      contents of all computing information transmitted through or stored on its
      systems.
      The University may access and disclose any, or all, of the following:
              a. Data transmitted through or stored on its electronic mail and Internet access
              systems, regardless of the content of the data,


              b. Information related to the use of electronic communication.
    2. If an occasion arises when a University o#cer or supervisor believes that access
    to
    an individual's email account is required for the conduct of University business, the


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    University individual is not available (i.e., death, disability, illness or separation
    from the University), and a system administrator is required to access the
    individual's email account, the following procedure shall be followed:
          a. The University o#cial or supervisor shall secure permission to access the
          email account from the Provost and Senior Vice President (Provost) or the
          designee of such o#cer.


          b. If the Provost approves the request, he/she will provide written authorization
          to the Information Security O#cer (ISO), who will direct the system
          administrator to access the email account.


          c. When email communications from a specific individual’s University email
          account are requested by a third party pursuant to the Oklahoma Open Records
          Act, as part of an internal University investigation, or pursuant to court order or
          other legal proceeding, the University may, when reasonable and allowed by
          law, make a reasonable and timely e"ort to notify the individual whose email
          account is accessed. However, the University is not required to make such
          notification.

  D. Email Content Classification
      It is the responsibility of email users to follow the OSU Data Classifications Policy
      regarding email content classification and restrictions, protections, or other
      applicable limitations on email distribution and storage.

  4.09 Digital Media Communications / Social Media
  Use
  A. Digital Media Defined
  This section applies to any faculty, employee or associate involved in creating,
  contributing to or distributing University-related information via digital media
  communication channels often times referred to as Social Media platforms. The term
  digital media refers to any communications facilitated by technology. This can include
  online channels, phone/app-based communications and more.

  B. Professional and Personal Use
      1. The University utilizes social media technologies to enhance more direct
      communications with its faculty, sta", students, alumni, and prospective students.


      2. University employees that use social media should use caution when using their
      personal social media accounts for business purposes. Specifically:
          a. Individuals should not use their personal account to act or be perceived as
          acting as representatives of a University, their college, school division, etc.
          unless given the expressed authority to do so by University Communications.
          This will help prevent the perception that published personal content is an
          expression of an o#cial University position. See OSU Policy 1-0103, Use of
          University Name, for more information.


          b. Individuals should never share proprietary or confidential information or
          comment on anything related to legal matters without the appropriate
          approval.


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            c. Content shared via social media platforms must also adhere to OSU and OSU
            A&M policies and procedures as well as state and federal regulations, including
            though not limited to, FERPA, HIPAA, PCI DSS and NCAA limitations.

  C. Registering Digital Media Accounts
      1. Any person that would like to register a digital media account on behalf of an
      OSU
      A&M organization, department or college must request access to the o#cial
      registration form and work with the O#ce of Communications to ensure accounts
      are set up properly. All registered digital media accounts also must adhere to the
      Digital Media Policy above and University Social Media Guidelines.


      2. For questions concerning the use of OSU trademarks, including the OSU logo,
      please visit, https://trademarks.okstate.edu/(https://trademarks.okstate.edu/).

  4.10 Network Usage
  Excessive or inappropriate use of the network and network resources may result in
  network access restriction, revocation of access privileges entirely, or further
  sanctions covered in Section 4.12 regarding Non-Compliance.

  A. Prohibited Devices on Network
      1. Users of University information technology resources, specifically those using
      the
      University’s network are authorized to use only network devices authorized by the
      campus Information Technology department. Specifically, prohibited devices
      include, but are not limited to, hubs, switches, repeaters, routers, network modems
      and wireless access points. These devices may be incorrectly configured or
      incompatible with the University network causing outages and reliability problems
      to all or part of the network. Devices not approved for use on the network will be
      disabled to ensure the stability and availability of the network.
      2. For more information on network use, reference the OSU Network Policy at
      it.okstate.edu/policies.(http://it.okstate.edu/policies)

  4.11 Software Licenses and Copyrights
  A. Software Licenses
      Violating any software license agreement or copyright, including copying or
      redistributing copyrighted computer software, data, or reports without proper,
      recorded authorization is prohibited. Software protected by copyright shall not be
      copied except as specifically stipulated by the owner of the copyright. Protected
      software is not to be copied into, from, or by any University facility or system,
      except by license. The number and distribution of copies must be handled in such a
      way that the number of simultaneous users in a department does not exceed the
      number of original copies purchased by that department, unless otherwise
      stipulated in the purchase contract.

  B. General Use of Copyright Material
      1. All users of University technology resources are required to abide by and comply
      with all state and federal laws governing software license, leasing, or copyright
      agreements.

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      2. More information on copyright compliance can be found through the United
      States copyright O#ce, the Copyright Clearance Center, or the OSU A&M Libraries
      Copyright pages.

  4.12 Non-Compliance
  Violations of this policy may result in immediate revocation of privileges to use the
  University's computing resources and/or just cause for taking disciplinary action up to
  and including discharge, dismissal, expulsion, and/or legal action, which may include
  referral for criminal investigation and/or prosecution.



  Approved:
  E-Team, June 2017
  Board of Regents, June 2017
  E-Team, February 2021
  Board of Regents, March 2021

  Revised:
  February 2021




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          N C MMENT

       Public Universities' Social Media Use
            and the First Amendment




                                        @thefireorg
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            • The customized blacklist
            • Blocking functions
            • Manual removal
          3 Twitter’s tools
            • Blocking function
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          3 The First Amendment limits public actors’ use of filtering tools
            • What is the public forum doctrine?
            • What are the different standards for different public forums?
            • How does the public forum doctrine apply to social media?
          7 Public institutions are using Facebook and Twitter tools to violate the First Amendment
            • Most public colleges use Facebook’s ‘profanity’ filters, secret blacklists of words that risk violating the First
               Amendment.
            • Facebook’s customizable blacklists are used to restrain speech critical of government institutions and their
               corporate partners, or speech on matters of public concern.
            • Not just words: Public universities block thousands of Facebook and Twitter users.
            • The extent of manual removal of posts and comments is unknown.
          14 How private and government actors can mitigate the risk of censoring speech on social media
            • Public actors and private colleges must avoid censoring speech on social media.
            • Social media companies can discourage government actors from abusing tools to censor online
               speech.
          15 Conclusion

  16 Appendix A: List of surveyed institutions, their responses, and survey data

  23 Appendix B: Exceptions to survey methodology

  24 Appendix C: Example of a public records request

  25 Appendix D: Customized blocked words




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                                              Executive Summary
In October 2019, Facebook founder and chief executive                              shielding criticism of itinerant preachers, controversial
officer Mark Zuckerberg spoke at Georgetown University,                            faculty, politicians, and sports teams.
extolling the virtues of freedom of expression and noting
in particular the importance of college students’ ability                          Even without these tools, public actors can prune their
to “express who they were and what mattered to them,”                              Facebook comments, manually hiding comments to
including through “challeng[ing] some established ways of                          manipulate and shape the apparent public discourse.
doing things on campus.”1                                                          Wright State University, for example, deleted comments
                                                                                   supporting a faculty strike from its Facebook page, leaving
Because Facebook is a private entity, the First Amendment—                         behind a community “forum” that largely (and falsely)
which only limits government actors—does not require it                            appeared supportive of the university’s administration and
to honor expressive freedom. Zuckerberg’s endorsement                              critical of striking faculty.
of freedom of expression as a principle is a welcome and
encouraging development.                                                           Because Facebook doesn’t alert a user when their post has
                                                                                   been removed, or tell the public that comments have been
It is, however, at odds with the fact that Facebook provides                       censored, these commenters (and other users) may never
governments the tools to censor. These actors include                              know their words have vanished.
public universities and colleges which are bound by the
First Amendment—those very campuses where students                                 Further, both Facebook and Twitter allow government
have “challenged some established ways of doing things.”                           actors to block members of the public from participating in
                                                                                   these public forums.
These tools include Facebook’s automated content filters,
which allow state institutions to automatically “hide” users’                      These automated methods of censorship are not only
comments if they contain words included on Facebook’s                              contrary to a commitment to freedom of expression,
undisclosed list of offensive words or the government                              but also provide government actors with tools that—in
actor’s customized list of prohibited words. These tools                           light of recent federal court rulings concerning President
enable public universities—and other government actors—                            Trump’s Twitter feed—violate the government actors’ legal
to quietly remove critical posts, transforming the Facebook                        obligations under the First Amendment.
pages into less of a forum and more of a vehicle for positive
publicity.
                                                                                                Half of the surveyed institutions choose to
                                                                                                use Facebook’s strong profanity filter and
This censorship has deleterious effects on campus and                                                   27.8% use the medium filter.
public discourse. Using public records requests, FIRE
surveyed over 200 public universities and colleges across
47 states and the District of Columbia. Half of the surveyed
institutions choose to use Facebook’s “strong” profanity
filter, and nearly a third—55, or 27.8%—use the medium
filter. This means that 77.4% of surveyed institutions choose
to employ a blacklist of prohibited words not disclosed to
the public.

Additionally, nearly a third of the universities surveyed (59,
or 30.3%) use a custom blacklist, collectively censoring
1,825 unique words and phrases. These range from familiar
profanities to words relating to matters of local and
national concern—for example, blocking animal rights
activists’ criticism of food vendors, curbing discussion of                                             Strong filter               Medium filter
what to do about a campus Confederate monument, and


1
  Mark Zuckerberg, Standing for Voice and Free Expression, Georgetown University (Oct. 17, 2019) (transcript available at https://www.facebook.com/notes/mark-
zuckerberg/standing-for-voice-and-free-expression/10157267502546634).

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                                                                     Methodology
       FIRE issued public records requests to five institutions in                            Our public records requests identified the official Facebook
       each state where public institutions of higher education                               and Twitter account for the institution and asked the
       are subject to public records laws, which are similar to                               institution to provide to FIRE the Facebook settings, list of
       the commonly known federal Freedom of Information Act                                  blocked Facebook users, and list of blocked Twitter users.
       (FOIA).                                                                                An example of a representative request may be found
                                                                                              in Appendix C. We encourage journalists or interested
       The five institutions per state were divided into two                                  members of the public to adapt our request to ask other
       categories:                                                                            public institutions—not just universities—about their
                                                                                              records.
               1. The three public, four-year institutions with the largest
                  undergraduate enrollment; and                                               The calculation of the number of words on institutions’
                                                                                              customized blacklists excludes duplicates. Thus, if two
               2. The two public, two-year institutions with the largest                      institutions blocked the word “dog,” that word is counted
                  undergraduate enrollment.                                                   only once. However, the calculation of the number of
                                                                                              blocked Facebook users, as well as the number of blocked
       Our approach has some logistical limitations. Some states,                             Twitter users, did not exclude duplicates. Accordingly, if
       like Delaware and Pennsylvania, exempt some or all of their                            one user were blocked by two universities, she would be
       institutions of higher education from their public records                             counted twice.
       laws, or limit the scope of the laws to specific expenditures.
       Other states’ public records laws expressly limit their public
       records laws to requests made by citizens of the state.2 In
       other states, there are fewer than five institutions, or fewer
       than the three four-year and two two-year institutions this
       survey sought to cover. Finally, some institutions could not
       be contacted due to the potential for conflict with a pending
       FIRE lawsuit against the institution. In those cases, the
       institution was replaced with
       the public institution with the                 FIRE issued public records to 224 public universities and colleges. 198
       next-highest enrollment. A                                  institutions provided substantive responses.
       full list of exceptions may be
       found in Appendix B.

       Altogether, FIRE’s survey
       issued      public    records
       requests to 224 public
       universities and colleges
       in 47 states and the
       District     of    Columbia.
       198 institutions provided
       substantive responses. A full
       list of surveyed institutions
       may be found in Appendix
       A, which also identifies the
       institutions which failed or
       refused to produce records
       and includes data compiled                                                  Substantive responses        Non-substantive responses
       from the survey.

       2
           This limitation has been upheld by the Supreme Court. McBurney v. Young, 569 U.S. 221, 224 (2013).


2 | Foundation for Individual Rights in Education
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                                                                  Discussion
FACEBOOK’S TOOLS                                                                                 no longer be able to publish to [the page], like or
                                                                                                 comment on your . . . posts, message [you] or like
Facebook allows institutions, entities, organizations, and                                       your [page].”6
government actors to establish pages, operating as a forum
where the public can share their thoughts with or about the                                   4. Manual removal. An administrator may manually hide
organization. This includes public officials and government                                      specific posts or comments.
entities, ranging from the President of the United States to
the City of North Pole, Alaska. As described below, public                              A user may not know that their comment has been hidden,
actors are bound by the First Amendment when they use                                   as it remains visible to the poster.
tools provided by private entities.
                                                                                         TWITTER’S TOOLS
When a business, organization, government entity, or
public figure creates a “page,” Facebook allows them to                                 Twitter offers fewer methods of regulating user interactions
create posts on their own page, gives the option of allowing                            with government accounts:
others to add their own posts, and allows Facebook users
to add comments to those posts.                                                               1. The blocking function. Twitter users can block others
                                                                                                 from interacting with them.7
Facebook provides page owners with four tools to limit user
content:                                                                                      2. The muting function. Twitter users can mute users
                                                                                                 and terms, but this function does not prevent those
          1. The profanity filter. Facebook’s “profanity filter”                                 users from interacting with the account, and a muted
             automatically hides visitors’ posts if they contain                                 user’s tweets can still be seen by other visitors.8
             words on one of two lists—one for the “medium”
             setting and one for the “strong” setting.3 The words                        THE FIRST AMENDMENT LIMITS PUBLIC ACTORS’
             on these lists are not publicly disclosed, but are                          USE OF FILTERING TOOLS
             composed of “the most commonly reported words
             and phrases marked offensive” by Facebook users.4                          With the emergence of the internet and social media,
             The profanity filter is turned off by default.                             courts have increasingly been called upon to apply the First
                                                                                        Amendment to the digital realm. As the Supreme Court
          2. The customized blacklist. The “page moderation”                            of the United States recently observed, “in the past there
             filter allows an administrator to establish a custom                       may have been difficulty in identifying the most important
             list of blocked words.5 Like the profanity filter, this                    places (in a spatial sense) for the exchange of views,” but
             filter automatically hides posts or comments if they                       the answer today is “clear”: “It is cyberspace . . . and social
             contain a phrase on the custom list.                                       media in particular.”9

          3. The blocking function. An administrator of the page                        Accordingly, a wide range of courts across the country have
             may ban particular accounts, after which “they’ll                          held government actors’ social media sites,10 including those

3
 Facebook, Moderate Your Facebook Page, Dec. 7, 2015, https://www.facebook.com/facebookmedia/blog/moderating-your-facebook-page; see also Facebook, How
can I proactively moderate content published by visitors on my Page?, https://www.facebook.com/help/131671940241729 (last visited Apr. 15, 2020).
4
    Id.
5
    Id.
6
    Facebook, How do I ban or unban someone from my Page?, https://www.facebook.com/help/185897171460026 (last visited Apr. 15, 2020).
7
    Twitter, How to control your Twitter experience, https://help.twitter.com/en/safety-and-security/control-your-twitter-experience (last visited Apr. 15, 2020).
8
 This function does not infringe on a user’s First Amendment rights: One has a right to speak at or about the government, but the government is not obligated to pay
attention to that speech. Accordingly, FIRE’s survey did not ask about muted users or content.
9
 Packingham v. North Carolina, 137 S. Ct. 1730, 1735 (2017); see also Knight First Amendment Inst. at Columbia Univ. v. Trump, 928 F.3d 226, 237 (2d Cir. 2019)
(“Knight”) (“[S]ocial media is entitled to the same First Amendment protections as other forms of media.”).
10
   To be sure, the First Amendment does not restrict the use of Facebook or Twitter by private actors, such as businesses or private colleges. Nor do Facebook or
Twitter themselves violate the First Amendment by providing these tools.

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       on Facebook and Twitter, to be subject to First Amendment                                  “strict scrutiny”—that is, any limits must be necessary to
       limitations.11 The most prominent of these decisions thus                                  address a compelling government interest and narrowly
       far is a successful challenge to President Trump’s practice                                tailored to serve that interest.
       of blocking critics from his Twitter account.12 These rulings
       only limit government actors’ use of social media tools;                                   Meanwhile, a meeting space set up by a government entity
       the First Amendment does not impose legal obligations on                                   for discussion of particular subjects or use by particular
       social media sites like Facebook and Twitter, nor on other                                 groups might be a “limited public forum.” For example,
       private parties when they use social media.13                                              school board meetings at which members of the public can
                                                                                                  speak are limited public forums, as they’re set aside for a
       A. What is the public forum doctrine?                                                      particular purpose.16 In these spaces, government has a
                                                                                                  freer hand to regulate the subject matter of speech or who
       The general thrust of the cases addressing public actors’ use                              may utilize the space, but can’t exclude people or speech
       of social media is that the “interactive space” constitutes a                              based on the viewpoint expressed. Even if a particular space
       “public forum.” This is a term of art in First Amendment law,                              is privately owned, it is a public forum when a government
       setting forth a “metaphor . . . first used in constitutional free                          actor exercises control over it, such as when a city leases a
       speech cases as a way of explaining why the government                                     private theater.17
       cannot engage in . . . content discrimination with regard                                  Public forum doctrine distinguishes between speech by the
       to speaking, picketing, or leafleting on city parks and                                    government and its employees—“government speech”—
       sidewalks.”14                                                                              and speech by others that the government regulates.18

       A public forum is most often seen as a physical site. For                                  B. What are the different standards for different public
       example, a public sidewalk or park would likely be seen as a                                  forums?
       “traditional public forum”: places where members of the
       public may freely gather and talk about whatever is on their                               Not every space opened to expression is a free-for-all in
       minds.15 In those places, attempts to limit viewpoint are                                  which anything goes. Different standards attach to the
       never permissible, and attempts to limit content must meet                                 forum depending on its purpose, and the extent to which
       11
         See, e.g., Robinson v. Hunt Cty., 921 F. 3d 440, 447–49 (5th Cir. 2019) (assuming a sheriff’s Facebook page is a public forum and holding that a policy of deleting
       “inappropriate” comments was viewpoint discriminatory); Davison v. Randall, 912 F.3d 666, 681–87 (4th Cir. 2019) (county official’s Facebook page was a public
       forum); Lloyd v. City of Streetsboro, No. 18-3485, 2018 U.S. App. LEXIS 36090, at *9–14 (6th Cir. 2018) (unpublished opinion reversing sua sponte dismissal of
       complaint alleging viewpoint discrimination on city’s official Facebook page); Report and Recommendations, Clark v. Kolkhorst, No. A-19-cv-0198-LY-SH, *11–12
       (W.D. Tex. Feb. 5, 2020), ECF No. 36 (recommending denial of motion to dismiss First Amendment claim); American Atheists, Inc. v. Rapert, No. 4:19-cv-17, at *43–44
       (W.D. Ark. Sept. 30, 2019), ECF No. 27 (plaintiffs had “fair chance” of showing state legislator’s Twitter and Facebook blocks were viewpoint discrimination); Garnier
       v. Poway Unified Sch. Dist., No. 17-cv-2215-W (JLB), U.S. Dist. LEXIS 167247, at *14–21 (S.D. Cal. Sept. 26, 2019), ECF No. 42 (denying motion for summary judgment
       and finding that the interactive portions of school board members’ Facebook and Twitter accounts were designated, not limited, public forums); Order of Dismissal,
       Landman v. Scott, No. 19-cv-01367 (D. Colo. Sept. 10, 2019), ECF No. 27 (state legislator agrees to unblock Facebook and Twitter critic, pay $25,000); Findings of Fact
       and Conclusions of Law, Campbell v. Reisch, No. 2:18-cv-4129-BCW, 2019 U.S. Dist. LEXIS 138881, at *9–15 (W.D. Mo. Aug. 16, 2019), ECF No. 55 (interactive space
       created by state representative’s tweets was a designated public forum); Windom v. Harshbarger, No. 1:19-cv-24, 2019 U.S. Dist. LEXIS 95080, at *13–18 (N.D.W. Va.
       June 6, 2019), ECF No. 18 (First Amendment challenge survives motion to dismiss where constituent blocked from legislator’s “politician” Facebook page); Hyman v.
       City of Walnut Ridge, No. 2:18-cv-02138, 2019 U.S. Dist. LEXIS 90509, at *4–5 (E. D. Ark. May 30, 2019), ECF No. 17 (interactive portion of police department’s Facebook
       page was not government speech); One Wisconsin Now v. Kremer, 354 F. Supp. 3d 940 (W.D. Wis. Jan. 18, 2019) (legislators blocking critic on Twitter); People for
       the Ethical Treatment of Animals, Inc. v. Young, No. 4:18-cv-01547 (S.D. Tex. Sept. 10, 2018), ECF No. 31 (summary order denying motion to dismiss First Amendment
       claims premised on keyword-based content filters on public university’s Facebook page); Leuthy v. LePage, No. 17-cv-00296, 2018 U.S. Dist. LEXIS 146894, *36–43 (D.
       Me. Aug. 29, 2018) (governor’s Facebook page was limited public forum); Price v. City of New York, No. 15-cv-5871, 2018 U.S. Dist. LEXIS 105815, *25–46 (S.D.N.Y. June
       25, 2018) (where NYPD precinct blocked Twitter user, whether the forum was a “public, designated, or nonpublic forum” was immaterial, as “viewpoint discrimination
       that results in the intentional, targeted expulsion of individuals . . . is unlawful in any forum,” including nonpublic forums); Dingwell v. Cossette, No. 3:17-cv-01531,
       2018 U.S. Dist. LEXIS 95832 (D. Conn. June 7, 2018) (critic blocked from police Facebook page); Davison v. Plowman, No. 1:16-cv-180, 2017 U.S. Dist. LEXIS 4348, at *10
       (E.D. Va. Jan. 10, 2017) (county’s policy and practice of encouraging comments on its Facebook page created a limited public forum).
       12
            Knight First Amendment Inst. at Columbia Univ. v. Trump, 302 F. Supp. 3d 541, 549 (S.D.N.Y. May 23, 2018) (upheld on appeal by the Second Circuit in Knight).
        See, e.g., Prager Univ. v. Google LLC, No. 18-15712, 2020 U.S. App. LEXIS 5903, at *7 (9th Cir. Feb. 26, 2020) (no First Amendment claim that YouTube “censored”
       13

       speech because the free speech clause “prohibits the government—not a private party—from abridging speech.”).
       14
            Aaron H. Caplan, Invasion of the Public Forum Doctrine, 46 Willamette L. Rev. 647, 647 (2009-2010).
       15
            ACLU of Nev. v. City of Las Vegas, 333 F.3d 1092, 1099 (9th Cir. 2003) (the “quintessential traditional public forums are side-walks, streets, and parks.”).
       16
         See, e.g., Lowery v. Jefferson Cty. Bd. of Educ., 586 F.3d 427, 432 (6th Cir. 2009) (school board meetings give “citizens a chance to express their views to the board,
       [but] cannot accommodate the sort of uninhibited, unstructured speech that characterizes a public park.”).
        Se. Promotions, Ltd. v. Conrad, 420 U.S. 546, 555 (1975) (government-leased theater “under [the] control” of public officials); Denv. Area Educ. Telecomm.
       17

       Consortium, Inc. v. F.C.C., 518 U.S. 727, 749 (1996).
       18
          Government actors have sought to frame visitors’ Facebook or Twitter comments as government speech, arguing that because the government hasn’t removed
       those comments, it is effectively publishing the comments as the government’s own speech. Most people, however, would not view a Facebook comment or tweet as
       government-endorsed simply because it hasn’t been removed.


4 | Foundation for Individual Rights in Education
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government actors may regulate expression within that                                          • If a policy is established and consistently enforced25
forum depends on the forum’s purpose and the expression                                            to limit use of the forum for particular people or
at issue:                                                                                          discussion of certain subjects, the space is more
                                                                                                   likely to be treated as a limited public forum, in
           • Government actors can almost always limit                                             which the government has greater leeway to regulate
             expression that falls into one of the historic,                                       speech.26 There, restrictions need not be content-
             narrowly-defined exceptions to the First Amendment:                                   neutral, but must be viewpoint-neutral, “reasonable
             “incitement, obscenity, defamation, speech integral                                   in light of the purpose served by the forum,”27 and
             to criminal conduct, so-called ‘fighting words,’ child                                must “comport with the definition of the forum”28—
             pornography, fraud, [and] true threats.”19 This is true in                            that is, the government cannot exclude speech for
             all forums: traditional, designated, and limited.                                     which, or speakers for whom, the forum was opened.

           • Government actors can never limit expression                                  These standards are also important for evaluating whether
             because of its “point of view”20 or where the “specific                       the regulation of online expression is permissible under the
             motivating ideology or the opinion or perspective of                          First Amendment.
             the speaker is the rationale for the restriction.”21 This
             is also true in all forums.                                                   C. How does the public forum doctrine apply to social
                                                                                              media?
           • If no effort is made to set aside the space for discussion
             by particular people or about particular subjects, the                        While public forums are most easily conceptualized as
             space is likely to be treated as a designated or “open”                       physical spaces—such as open areas, meeting rooms, and
             public forum.22 In that case, restrictions on the “time,                      bulletin boards29—the public forum doctrine has also been
             place, and manner of expression” are permissible only                         applied by the Supreme Court to forums which consist
             if they are “content-neutral, are narrowly tailored to                        “more in a metaphysical than in a spatial or geographic
             serve a significant government interest, and leave                            sense.”30 For example, the same principles have been
             open ample alternative channels of communication.”23                          applied to—albeit with varying outcomes—student activity
             If a burden on speech is content-based, the regulation                        fees pooled for student organizations,31 schools’ internal
             is permissible only if it is “necessary to serve a                            mailing systems,32 and email systems.33 As governments
             compelling state interest and that it is narrowly drawn                       have ventured into cyberspace, courts have applied
             to achieve that end.”24                                                       these principles to government websites, distinguishing

19
     United States v. Alvarez, 567 U.S. 709, 709 (2012).
20
     Rodriguez v. Maricopa Cty. Cmty. College Dist., 605 F.3d 703, 710 (9th Cir. 2009).
21
  Rosenberger v. Rector & Visitors of Univ. of Va., 515 U.S. 819, 829–30 (1995). This is true even if the interactive space of the social media page is deemed a non-public
forum, as access even to a non-public forum may only be “restricted as long as the restrictions are ‘reasonable and [are] not an effort to suppress expression merely
because public officials oppose the speaker’s view.’” Cornelius v. NAACP Legal Def. & Educ. Fund, Inc., 473 U.S. 788, 800 (1985) (quoting Perry Educ. Ass’n v. Perry
Local Educators’ Ass’n, 450 U.S. 37, 46 (1983)).
22
   Good News Club v. Milford Cent. Sch., 533 U.S. 98, 106 (2001) (distinguishing “traditional or open” public forums from “limited” public forums); Garnier v. Poway
Unified Sch. Dist., No. 17-cv-2215-W (JLB), U.S. Dist. LEXIS 167247, at *14–21 (S.D. Cal. Sept. 26, 2019), ECF No. 42 (interactive portions of school board members’
Facebook and Twitter accounts were designated, not limited, public forums); One Wisconsin Now v. Kremer, 354 F. Supp. 3d 940, 953–55 (W.D. Wis. Jan. 18, 2019)
(interactive portions of legislators’ Twitter accounts were designated public forums).
23
     Perry Educ. Ass’n, 450 U.S. at 45.
24
     Id.
25
     Garnier, U.S. Dist. LEXIS 167247 at *20–21.
26
  Faith Center Church Evangelistic Ministries v. Glover, 480 F. 3d 891, 908 n.8 (9th Cir. 2006) (A “limited public forum is a sub-category of the designated public
forum, where the government opens a nonpublic forum but reserves access to it for only certain groups or categories of speech.”).
27
     Good News Club, 533 U.S. at 106–07 (quoting, in part, Rosenberger v. Rector & Visitors of Univ. of Va., 515 U.S. 819, 829 (1995)).
28
     OSU Student All. v. Ray, 699 F.3d 1053, 1062 (9th Cir. 2012).
29
  See, e.g., Lister v. Def. Logistics Agency, 482 F.Supp.2d 1003, 1009­­–11 (S.D. Ohio 2007) (government agency’s bulletin board had “some aspects of a limited
public forum” because it was “open to all employees” to “post matters addressing a broad range of topics or meetings,” rendering removal of religious materials
unconstitutional).
30
     Rosenberger v. Rector & Visitors of Univ. of Va., 515 U.S. 819, 830 (1995).
31
     Id.
32
     Perry Educ. Ass’n v. Perry Local Educators’ Ass’n, 450 U.S. 37, 46­–49 (1983).
33
     Rodriguez v. Maricopa Cty. Cmty. College Dist., 605 F.3d 703, 710 (9th Cir. 2009).

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       government-published websites from websites that allow                                  expressed. That means that—at a minimum—government
       members of the public to exchange views.34                                              actors cannot block users,36 remove posts,37 or otherwise
                                                                                               “burden” speech38 because they find the expression
       Courts have used the legal framework provided by public                                 offensive, disagreeable, or wrong.
       forum doctrine to analyze government social media use.
       While the government actor has control over its own posts                               That does not mean that every digital space associated with
       (which are quintessential “government speech”), the                                     a government actor is a free-for-all forum where any content
       “interactive space” that follows those posts and allows for                             may be shared. How government actors characterize
       response from the public constitutes a public forum subject                             and treat digital spaces is important, as regulations on
       to the First Amendment’s protection.35 In other words, while                            interactive spaces will be analyzed based on whether they
       a public university student or faculty member might have                                are—as with physical spaces—traditional, dedicated, or
       a right to post a relevant comment on an existing thread,                               limited public forums.
       they could not compel the university to “share” their post in
       the same manner as the university publishes its own posts.                              If the interactive space is a limited public forum, some
                                                                                               restrictions will be permissible. For example, a prohibition
       Because the First Amendment protects users’ speech in                                   on “clearly off topic” comments is a “self-evidently
       these interactive spaces, government actors like public                                 viewpoint-neutral” regulation “limiting a forum to
       colleges and universities cannot censor user comments                                   discussion of selected topics,” and is “reasonably related —
       in that space because they disagree with the viewpoint                                  indeed, integral — to the forum’s purpose.”39 As such, these

                            Here’s a visual demonstration of how “government speech” and the interactive digital spaces work on
                                                             Facebook (left) and Twitter (right):




                                                                                 University’s post:
                                                                                government speech.




                                                                                 Interactive space:
                                                                                 First Amendment
                                                                                      applies.




       34
          Compare Putnam Pit, Inc. v. City of Cookeville, 221 F.3d 834, 844 (6th Cir. 2000) (city’s website listing links to other sites was a non-public forum, not a public forum,
       because it was not structured to allow “dialogue between users,” but primarily “to convey information to the reader”) with Page v. Lexington Cty. Sch. Dist. One, 531
       F.3d 275, 284 (4th Cir. 2008) (school district’s website was not a public forum, but “the issue would, of course, be different” if the website were a “type of ‘chat room’
       or ‘bulletin board’ in which private viewers could express opinions or post information”).
       35
            Knight First Amendment Inst. at Columbia Univ. v. Trump, 302 F. Supp. 3d 541, 572–73 (S.D.N.Y. May 23, 2018).
       36
         Davison v. Randall, 912 F.3d 666, 687–88 (4th Cir. 2019) (official who blocked constituent because of his critical viewpoint was viewpoint discrimination, which is
       “prohibited in all forums.”).
       37
            Robinson v. Hunt Cty., 921 F. 3d 440, 447 (5th Cir. 2019).
       38
            Knight at 238–39.
       39
            Davison v. Plowman, 247 F.Supp.3d 767, 777 (E.D. Va. 2017).


6 | Foundation for Individual Rights in Education
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kinds of viewpoint-neutral limitations are constitutionally                            effectuate online censorship.
permissible and do not violate the First Amendment.
                                                                                        PUBLIC INSTITUTIONS ARE USING FACEBOOK
But the government’s ability to regulate speech in a                                    AND TWITTER TOOLS TO VIOLATE THE FIRST
limited public forum has boundaries. If, in crafting a policy                           AMENDMENT
governing social media content, the policy affords too much
discretion to the institution’s content moderators, those                              It has long been settled law that the First Amendment is
standards will inevitably be abused to censor criticism of                             binding on public colleges and universities, including
the institution. The University of Connecticut’s policy,                               when they act to regulate the otherwise-protected speech
for example, reserves to officials “the right” to remove                               of students, faculty, and organizations comprised of
comments they believe to be “offensive,” expression that                               students or faculty members, such as student clubs or
“aligns with hate speech,” or posts that are “otherwise                                faculty unions.42 When public universities open digital
objectionable.”                                                                        spaces for discussion by faculty, students, and the general
                                                                                       public, regulations of those digital spaces must meet First
These types of broad, ambiguous policies will lead to                                  Amendment scrutiny.
viewpoint discrimination and may render the policy
itself unconstitutional.40 For example, Wright State                                   Beginning in October 2018, FIRE issued requests under
University created “guidelines” barring comments                                       public records laws to 224 public universities and colleges
deemed to be “propaganda,” “foul,” “trolling,” “offensive,”                            in 47 states, plus the District of Columbia. The selected
or “inflammatory,” giving staff members—overseen                                       institutions represent the three four-year institutions and
by university administrators—unfettered discretion to                                  the two two-year institutions with the highest enrollment
manually hide comments criticizing the administration’s                                in the state.43
positions during a faculty strike, such as those disclosing
senior administrators’ salaries.41 (At the time of publication,                        Of the 224 institutions surveyed, 198 (or 88.4%) provided
Wright State officials had communicated to FIRE that the                               substantive responses.
university was conducting an internal review of its Facebook
guidelines in response to a letter from FIRE raising concerns                          FIRE found that many public universities and colleges are
about the policy.)                                                                     using automated tools to regulate online expression in
                                                                                       ways that do not comport with the First Amendment.
In addition to the ability to limit expression by policy and
manual enforcement, Facebook provides a variety of                                     A. Most public colleges use Facebook’s ‘profanity’
automated content-policing tools to administrators of                                    filters, secret blacklists of words that risk violating
Facebook pages.                                                                          the First Amendment.

However, the tools provided by Facebook are not                                        Half of the responding institutions—99 of 198—use
adequately tailored and do not respect the contours                                    Facebook’s “strong” profanity filter, and nearly a third—55,
of the First Amendment, and their use by government                                    or 27.8%—use the platform’s "medium" filter. This means
actors will almost certainly lead them to violate the First                            that 77.8% of surveyed institutions use some version of the
Amendment rights of students, faculty, and the general                                 profanity filter.
public. When used by public institutions, Facebook’s tools
amount to always-on sentinels tasked with identifying and                              Because Facebook does not disclose the list of words or
automatically censoring student and faculty speech—and,                                phrases on either the “medium” or “strong” profanity filters,
for years, government actors have been using these tools to                            it is not clear what content is automatically scrubbed from

40
  See, e.g., Crowder v. Hous. Auth. of Atlanta, 990 F.2d 586, 591 (11th Cir. 1993) (a restriction vesting unfettered discretion in a government actor “opens the way to
arbitrary suppression of particular points of view.”).
41
   Greg Harold Greubel, Public records reveal Wright State used unconstitutional Facebook page policy to censor pro-union speech during historic faculty strike,
Found. for Indiv. Rights in Educ., Jan. 24, 2020, https://www.thefire.org/public-records-reveal-wright-state-used-unconstitutional-facebook-page-policy-to-
censor-pro-union-speech-during-historic-faculty-strike; see also, Letter from Greg Harold Greubel, Staff Attorney, Foundation for Individual Rights in Education to
Larry Y. Chan, General Counsel, Wright State University, Jan. 23, 2020, available at https://www.thefire.org/fire-letter-to-wright-state-university-january-23-2020.
42
  Healy v. James, 408 U.S. 169, 180 (1972) (there is “no room for the view that . . . First Amendment protections should apply with less force on college campuses than
in the community at large”).
43
   As discussed in the methodology section of this report and in the appendices, some states or institutions could not be surveyed, failed to respond at all, sought
exorbitant fees, or cited exceptions to open records laws, ranging from arguments that they cannot be required to “create” records to claims that revealing Facebook
blacklists creates a risk to public safety.

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       the pages of institutions that utilize the filters created by                          views and sensibilities are more likely to be majoritarian
       Facebook. (The custom filters, described below, can be                                 or mainstream. As the Supreme Court observed in holding
       identified through public records requests.)                                           that burning the American flag is protected expression,
                                                                                              “[i]f there is a bedrock principle underlying the First
       Facebook, again, does not violate the First Amendment                                  Amendment, it is that the government may not prohibit the
       when it creates these filters and offers them to their users.                          expression of an idea simply because society finds the idea
       Instead, the First Amendment protects the rights of private                            itself offensive or disagreeable.”47
       entities like Facebook to decide what speech to publish or
       refuse.44                                                                              The use of these databases may also, incidentally, inure to
                                                                                              the detriment of minority speakers. One recent study, for
       However, when a government agency uses these tools to                                  example, found that “tweets by African American authors
       filter particular words or phrases, it raises serious First                            are 1.5 times more likely to be labeled ‘offensive,’” and
       Amendment concerns. The premise underlying this type                                   tweets in African American English are “more than twice as
       of restriction—that blocking individual words is justifiable                           likely to be labeled as ‘offensive’ or ‘abusive.’”48 As a result,
       under the First Amendment because it will improve public                               automated means of identifying human speech, when
       discourse—has been expressly rejected by the Supreme                                   relying on human-generated data, may introduce “human
       Court. In Cohen v. California, the Court held that a jacket                            biases [which] can easily result in a skewed distribution in
       emblazoned with the words “Fuck the Draft,” worn in a                                  the training data,” yielding “unintended bias in the resulting
       courthouse hallway populated with “women and children,”                                models, and therefore potentially unfair applications.”49
       was protected speech.45 “[W]e cannot indulge the facile                                Because datasets of offensive language may yield a
       assumption that one can forbid particular words without                                “systemic racial bias,” they may “have a disproportionate
       also running a substantial risk of suppressing ideas in the                            negative impact” on minority communities, effectively
       process,” the Court explained, as “governments might                                   creating systems that “may discriminate against the groups
       soon seize upon the censorship of particular words as a                                who are often the target of the abuse we are trying to
       convenient guise for banning the expression of unpopular                               detect.”50
       views.”46
                                                                                              Second, an automated system is unlikely to interpret the
       This risk is most colorfully illustrated by institutions’ use                          context and meaning of uses of words that may be offensive
       of customized blacklists to suppress discussion of local                               in some contexts and inoffensive in others. Content
       controversies, as discussed below. However, the broader                                “moderation is, inherently, a subjective practice,” rendering
       use of Facebook’s own profanity filters—a secret list of                               “content moderation at scale . . . impossible to do well.”51
       disapproved words automatically compiled from Facebook
       users’ feedback—will have the same effect, while failing to                            As a journalist reporting on recent studies on attempts to
       meaningfully protect equitable, civil discourse.                                       create filtering mechanisms for offensive speech observed:

       First, because the list is generated by compiling the terms                                   [W]hat is considered offensive depends on social
       “most commonly reported” as offensive, it necessarily                                        context. Terms that are slurs when used in some
       limits speech that is in the greatest need of protection                                     settings — like the “n-word” or “queer” — may
       from censorship because it is disapproved by those whose                                     not be in others. But algorithms — and content


       44
         See, Miami Herald Pub. Co., Div. of Knight Newspapers Inc. v. Tornillo, 418 U.S. 241, 256–57 (1974) (a “[g]overnment-enforced right of access” in the form of a statute
       compelling newspapers to publish rebuttals “operates as a command in the same sense as” a rule prohibiting speech, violating the First Amendment). This right is
       fortified by statute shielding providers of an “interactive computer service” from civil liability for removing content they deem “objectionable.” 47 U.S.C. § 230(c)(1).
       45
            Cohen v. California, 403 U.S. 15, 16 (1971).
       46
            Id. at 26.
       47
            Texas v. Johnson, 491 U.S. 397, 414 (1989).
        Maarten Sap, Dallas Card, Saadia Gabriel, Yejin Choi, and Noah A. Smith, 2019, The Risk of Racial Bias in Hate Speech Detection. In Proceedings of the 57th Annual
       48

       Meeting of the Association for Computational Linguistics at 1668–78, available at https://homes.cs.washington.edu/~msap/pdfs/sap2019risk.pdf.
        Lucas Dixon, John Li, Jeffrey Sorensen, Nithum Thain, and Lucy Vasserman. 2018. Measuring and Mitigating Unintended Bias in Text Classification. In Proceedings of
       49

       AAAI/ACM Conference on Artificial Intelligence, Ethics, and Society at 67, available at https://dl.acm.org/doi/pdf/10.1145/3278721.3278729.
       50
         Thomas Davidson, Debasmita Bhattacharya, and Ingmar Weber, 2019, Racial Bias in Hate Speech and Abusive Language Detection Datasets, available at https://
       arxiv.org/pdf/1905.12516.pdf.
       51
         Mike Masnick, Masnick’s Impossibility Theorem: Content Moderation At Scale Is Impossible To Do Well, Techdirt, Nov. 20, 2019, https://www.techdirt.com/
       articles/20191111/23032743367/masnicks-impossibility-theorem-content-moderation-scale-is-impossible-to-do-well.shtml.

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                                                                                   App.297
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         moderators who grade the test data that teaches                                 tolerable infringement on” freedom of expression.55 The risk
         these algorithms how to do their job — don’t                                    prior restraints present to freedom of expression is so great
         usually know the context of the comments they’re                                that the “chief purpose” in adopting the First Amendment
         reviewing.52                                                                    was to prevent their use.56 Prior restraints are permissible
                                                                                         only where they are bound by “narrow, objective, and
Similarly, automated systems are incapable of making                                     definite standards”57 and where the authorities’ review and
value judgments, resulting in the suppression of speech                                  determination must be made within a specific period of
that makes use of offensive words in order to appropriate                                time.58 Absent these procedural safeguards, which FIRE has
or report on that speech. While a filter may be intended                                 not observed at any surveyed institution, a prior restraint is
to prevent, for example, the use of a racial slur directed                               unconstitutional.
to another user, it will also suppress posts by a student
who, targeted by use of that same slur, posts about their                                An automated system that bars specific words does not
experience on their university’s Facebook page to call on                                differentiate between offensive uses of a word or uses of
the university to take action. Activists utilizing offensive                             profound public importance. While it may serve a college
language or imagery in order to report on or criticize their                             or university’s public relations goals to police public-facing
use may not anticipate automated filtering, but a user                                   expression by students and faculty for civility, it undermines
dedicated to using the language or imagery in order to                                   the institution’s commitment to freedom of expression and
harass others may be more likely to devise workarounds, or                               obligations under the First Amendment.
use language less likely to be caught in a filter.
                                                                                         B. Facebook’s customizable blacklists are used to
Third, the use of blacklists almost certainly fails First                                   restrain speech critical of government institutions
Amendment scrutiny under either a designated or limited                                     and their corporate partners, or speech on matters
public forum analysis. Facebook’s profanity filter is                                       of public concern.
expressly premised on feedback identifying which words or
phrases users find offensive. A limitation on this basis is not                          Nearly a third of the public colleges and universities FIRE
viewpoint-neutral, rendering its use fatal in any forum.53                               surveyed (60, or 30.3%) use a customized blacklist on
Further, it is unlikely that a public institution will be able                           their Facebook pages, collectively censoring 1,825 unique
to bear its burden—to demonstrate that its restriction                                   words and phrases. These range from the words populating
is reasonable—if it cannot identify the words that it is                                 George Carlin’s famous list of “Filthy Words”59 to words and
restricting. Similarly, an undisclosed list of prohibited                                phrases pertaining to political and social matters of local
terms necessarily means that members of the public do not                                and national concern. Together, these customized lists
have notice as to what speech is permitted or prohibited,                                evidence use of Facebook’s technology to automatically
ensuring that the restriction will “trap the innocent by not                             censor criticism of institutions, corporate partners, campus
providing fair warning” about what is prohibited.54                                      controversies, and even sports-related chest-thumping.

An automated blacklist also fails First Amendment scrutiny                               These filters are not likely to pass First Amendment
because it automatically hides speech unless it is reviewed                              scrutiny. Moreover, many of these filters evidence viewpoint
by an administrator of the page, effectuating a system of                                discrimination, as they are specifically designed to hide
prior restraints on speech, “the most serious and the least                              terms closely associated with particular criticisms. For

52
   Shirin Ghaffary, The algorithms that detect hate speech online are biased against black people, Vox, Aug. 15, 2019, https://www.vox.com/
recode/2019/8/15/20806384/social-media-hate-speech-bias-black-african-american-facebook-twitter.
53
   See, e.g., Matal v. Tam, 137 S. Ct. 1744, 1763 (2017) (striking down regulation barring trademark registration for “any mark that is offensive to a substantial percentage
of the members of any group” because it amounted to viewpoint discrimination, and observing that “[g]iving offense is a viewpoint”).
54
     Grayned v. City of Rockford, 408 U.S. 104, 108 (1972).
55
     Neb. Press Ass’n v. Stuart, 427 U.S. 539, 559 (1976).
56
     Near v. Minnesota, 283 U.S. 697, 713 (1931).
57
     Shuttlesworth v. Birmingham, 394 U.S. 147, 151 (1969).
58
   See, e.g., Pan Am v. Municipality of San Juan, No. 3:18-cv-1017 (PAD), 2018 U.S. Dist. LEXIS 208014, at *21–24 (D.P.R. Dec. 10, 2018) (surveying the procedural and
substantive strands of the doctrine of prior restraint); see also, Covenant Media of S.C., LLC v. City of N. Charleston, 493 F.3d 421, 431 (4th Cir. 2007) (“A prior restraint
on speech that imposes no time limitations on the decision-making process plainly fails” First Amendment scrutiny when the prior restraint is based on content.).
59
   In the Matter of a Citizen’s Complaint Against Pacifica Foundation Station WBAI (FM), New York, New York, 56 F.C.C.2d 94, 109, Declaratory Order (Feb. 21,
1975) (Transcript of George Carlin’s “Filthy Words” monologue, prepared by the Federal Communications Commission), archived at https://web.archive.org/
web/20110123114427/http://www.law.umkc.edu/faculty/projects/ftrials/conlaw/filthywords.html.

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       example, restrictions on posting about “chickens” at the                                  automatically scrubbed, would encounter difficulty if they
       University of Kentucky are inarguably intended to suppress                                mentioned their favored (or disfavored) candidates’ names
       criticism by animal rights activists, even if a supporter of                              in response to the schools’ posts about getting out the
       the university’s vendor would also face restrictions because                              vote.64
       of a post containing the same term.
                                                                                                 These restrictions, even where they are viewpoint neutral,
       Even where a filter is not likely to amount to viewpoint                                  are not “reasonable in light of the purpose served by the
       discrimination, its use is not likely to be sufficiently                                  forum”65 because they burden relevant, on-topic expression
       tailored to meet the institution’s obligations under the First                            in a medium intended to operate in real-time. Instead, they
       Amendment.                                                                                effectuate a system of prior review on particular terms,
                                                                                                 and institutions are not likely to provide the procedural
       For example, a student at the University of North                                         protections required by the First Amendment.
       Carolina at Chapel Hill might want to respond to a                                        FIRE’s survey revealed that public institutions are using
       university post about Black History Month60 to raise                                      the customized blacklist feature to limit a wide range of
       questions about “Silent Sam,” a Confederate monument                                      criticism, or to blunt discussion of local controversies:
       that until recently stood on UNC’s campus. But they could
       not have done so if their comment used the monument’s                                          • The University of Kentucky blocks the words “birds,”
       name, because that phrase was on UNC’s                                                             “chicken,” “chickens,” and “filthy.” The university
       Facebook blacklist.61 Or, similarly, when the                                                      explained to FIRE that it instituted this restriction
       university posted a message announcing                                                             “around the time that Aramark came on campus”
       the removal of the monument’s pedestal,62                                                          and activists began posting “highly graphic videos of
       comments containing the words “Silent Sam”                                                         chicken slaughter.” In 2014, the university announced it
       would unquestionably be relevant. Yet none                                                         was entering into a 15-year contract worth $250 million
       of the hundreds of visible comments contain                                                        with Aramark.66 Similarly, Mississippi State University
       those words—almost certainly because of                                                            blocks mentions of “Aramark” and terms related to its
       the blacklist. Similarly, students who used the phrases                                            dining facilities.
       “9/11” or “terrorism” in responding to the university’s post
       memorializing the September 11 attacks63 would not reach                                       • Texas A&M University blocked terms in an effort
       their intended audience—again, almost certainly because                                            to bar criticism by animal rights activists, including
       of the blacklist. Yet each of these comments would be on-                                          People for Ethical Treatment of Animals, over research
       topic and not otherwise fall within a categorical exception                                        conducted on dogs. These terms include “peta,”
       to the First Amendment.                                                                            “abuse,” “abusers,” and “lab.” PETA and the Electronic
                                                                                                          Frontier Foundation sued Texas A&M in 2018 over the
       Similarly, students at schools like Oklahoma State                                                 censorship.67 Santa Monica College likewise bars
       University, where the names of political candidates are                                            “cats,” “dissecting,” “torture,” and “killing” following a



       60
         See, e.g., Univ. of N.C. at Chapel Hill, Recognizing Carolina’s black pioneers, Facebook (Feb. 23, 2018), https://www.facebook.com/uncchapelhill/
       videos/10155430896997709.
       61
          After a letter from FIRE, UNC removed some of the terms on its customized list, but it is not clear what terms remain. Letter from Kara E. Simmons, Associate Vice
       Chancellor and Senior Univ. Counsel, Univ. N.C., to Adam Steinbaugh, Director, Individual Rights Defense Program, Found. for Indiv. Rights in Educ. (Sept. 13, 2019)
       (on file with author).
        Univ. of N.C. at Chapel Hill, Chancellor Folt announces resignation…, Facebook (Jan. 15, 2019), https://www.facebook.com/uncchapelhill/
       62

       posts/10156120737537709.
       63
          Univ. of N.C. at Chapel Hill, Carolina community gathers in remembrance of 9/11, Facebook (Sept. 11, 2018), https://www.facebook.com/uncchapelhill/
       videos/1925944624166629.
       64
         See, e.g., Oklahoma State Univ., It’s Election Day, Cowboys! Get out and VOTE!, Facebook (Nov. 8, 2016), https://www.facebook.com/okstate/
       photos/a.145735572306/10153859326792307.
       65
            Good News Club v. Milford Cent. Sch., 533 U.S. 98, 106–07 (2001) (quoting, in part, Rosenberger v. Rector & Visitors of Univ. of Va., 515 U.S. 819, 829 (1995)).
       66
         Jay Blanton, Dining Partnership Will Transform Vital Service to UK Campus, Univ. of Ky., June 13, 2014, https://uknow.uky.edu/campus-news/dining-partnership-
       will-transform-vital-service-uk-campus.
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          Adam Schwartz, EFF Lawsuit Ends Censorship Against PETA on Public University’s Facebook Page, Electronic Frontier Found., Feb. 4, 2020, https://www.eff.
       org/deeplinks/2019/12/eff-ends-censorship-against-peta-public-universitys-facebook-page; see also Adam Steinbaugh, Texas A&M: Our secret list of naughty words
       you can’t say on our Facebook page doesn’t offend the First Amendment, Found. for Indiv. Rights. In Educ., Aug. 23, 2018, https://www.thefire.org/texas-am-our-
       secret-list-of-naughty-words-you-cant-say-on-our-facebook-page-doesnt-offend-the-first-amendment.


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           PETA campaign critical of cat dissection in an anatomy                               including the name of a professor criticized for
           course.68                                                                            calling Republicans “racist scum,” the word “turtle”
                                                                                                (apparently because of a student’s poll of his
       • During protests over the “Silent Sam” Confederate                                      classmates, which was reported in the press, about
           monument, the University of North Carolina at                                        purposefully driving over turtles). Clemson also blocks
           Chapel Hill blocked posts containing the phrase                                      the words “boycott” and “Nike”—a company with
           “Silent Sam,” as well as mentions of “Nazis.” The                                    which the university has entered into a $58 million
           university also blocked mentions of the terms “9/11,”                                contract.72 Similarly, the university blocked the words
           “terrorist,” “terrorism,” and the name of a professor                                “senators,” “pledge,” and “anthem,” likely relating to
           whose teaching about the September 11, 2001, terrorist                               students who protested by sitting during the pledge
           attacks drew national media coverage when a student,                                 of allegiance during a student government meeting.73
           who had not read any of the materials,69 publicly                                    Clemson also blocked the word “balloonsblow,”
           complained about the materials read in the course.70                                 referring to environmental activists who called on
           The university also barred terms relating to sexual                                  the university to end its practice of releasing balloons
           assault.                                                                             during football games.74 Ominously, Clemson also
                                                                                                blocked the words “rape” and “rapeculture.” In
       • The University of Arizona automatically removes                                        response to FIRE’s records request, Clemson removed
           posts containing the word “rape” or the name of an                                   the blocked terms and implemented “measures so
           itinerant preacher known for holding signs reading                                   that blocks of protected speech do not occur” in the
           “You Deserve Rape,” which has drawn media                                            future.75
           criticism.71 This restriction presumably removes
           complaints about the preacher.                                                   • The once-popular awareness campaign “Kony”76
                                                                                                cannot be found on Auburn University’s Facebook
       • Suffolk County Community College (NY) blocks                                           page, because comments containing that word are
           posts concerning inclement weather closures, and                                     automatically deleted.
           includes terms that demonstrate that the purpose
           is to inhibit criticism, barring the words “blizzard,”                           • The University of Mississippi prohibits mentions of
           “snow,” “dangerous,” “slip,” “scared,” “irresponsible,”                              its former mascot, “Colonel Reb,” a “caricature of an
           “tragedy,” and “accident.” They also block “apologize,”                              antebellum Southern plantation owner” no longer
           “resign,” and “disgrace.”                                                            used by the university.77

       • Clemson University blocked mentions of Harambe,                                    • The University of Washington blocks a pejorative pun
           a meme about a gorilla that had previously generated                                 on its team name, the Huskies (“Fuskies”), as well as
           controversy on campus when a residential employee                                    references to its football rivals: “Cougars,” “Ducks,”
           sought to bar students from referencing the meme                                     “Bruins,” and “Beavers.” Texas A&M University blocks
           on their dormitory doors. Clemson also blocked                                       references to the “hook em” horn gesture of their
           phrases referring to other controversies on campus,                                  University of Texas at Austin rivals, the Longhorns.
68
  Press Release, Secret Student Video Exposes Dissection of Pregnant Cat at Santa Monica College, People for Ethical Treatment of Animals, Sept. 7, 2016,
https://www.peta.org/media/news-releases/secret-student-video-exposes-dissection-pregnant-cat-santa-monica-college.
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     Neel Ahuja, Distorting the study of 9/11 at UNC, News & Observer, Sept. 19, 2015, https://www.newsobserver.com/opinion/op-ed/article35735889.html.
70
  Jane Stancill, UNC course on 9/11 criticized in conservative publications, Charlotte Observer, Sept. 1, 2015, https://www.charlotteobserver.com/news/local/
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university/article215700140.html.
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     Robbie Brown, Ole Miss Shelves Mascot Fraught With Baggage, N.Y. Times, Sept. 19, 2019, https://www.nytimes.com/2010/09/20/us/20mascot.html.

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                  Oklahoma State University blocks mentions of its                              87%) blocked users on Facebook or Twitter. Together,
                  rival football team, including the phrases “boomer                            these institutions blocked 13,197 Facebook users and 4,065
                  sooner” (OU’s fight song), “university of oklahoma,”                          Twitter users from interacting with their posts, pages, or
                  and “sooners.”                                                                tweets. Accordingly, an institution that blocks at least
                                                                                                one user blocks an average of 76 Facebook users and 23.5
              • Not to be outdone by its rival, the University of                               Twitter users.
                  Oklahoma blocks an emoji:             🖕.    78


                                                                                                     87% of public colleges and universities that responded
              • The University of Central Florida blocks the words                                   to FIRE's survey blocked users on Facebook or Twitter.
                  “terrorist” and “sexual.”

              • Oakland Community College in Michigan blocks
                  mentions of the name of a disgruntled former
                  professor.

              • Mississippi State University blocks the term “fail
                  state,” a play on its “Hail State” motto.79
                                                                                                                                      87%
              • A number of institutions, including Portland State
                  University, Oklahoma State University, the
                  University of Arizona, the University of North
                  Carolina at Chapel Hill, blocked the names of political
                  candidates, such as “Trump,” “Bernie,” or “Hillary.”                          Because Facebook and Twitter do not keep records of the
                  Others, such as Arizona State University, restrict                            reason for blocking a particular account, and because
                  pejorative versions of their names or supporters, such                        institutions’ records reveal only the name of the blocked
                  as “Trumptards” and “NObama.”                                                 user (not what they posted), it’s unclear how many of
                                                                                                these users were blocked for viewpoint-discriminatory
              • West Virginia University blocks mentions of “couch                              reasons. It’s possible many were blocked for violating
                  burning,” a tradition long disfavored by the university’s                     constitutionally-defensible regulations.
                  administration and Morgantown residents.80
                                                                                                However, government actors cannot restrict access to a
       These lists were largely generated before 2020. While some                               public forum based on an objection to the viewpoint of the
       institutions have since modified their blacklists to remove                              speaker. Many blocked accounts relate to political, social,
       some terms, it is also likely that some have added new terms                             or religious movements, including many critical of the
       to limit expression concerning more recent controversies                                 institution, raising the possibility that they were blocked for
       or political events. FIRE encourages student journalists to                              advocating a particular viewpoint.
       use the sample public records request in Appendix C to ask
       their own (or other) institutions for updated records.                                   For example:

       C. Not just words: Public universities block thousands                                        • The University of Kansas blocks “Boycott Koch
          of Facebook and Twitter users.                                                                Industries,” a Facebook account referencing
                                                                                                        America’s second-largest privately-held company,81
       FIRE’s records requests reveal that of the 198 public colleges                                   which is based in Kansas and is a major donor to the
       and universities that responded to FIRE’s survey, 173 (or                                        university.82 On Twitter, the university blocks accounts

       78
            Extending the middle finger is expression protected by the First Amendment. Swartz v. Insogna, 704 F.3d 105, 111 (2d Cir. 2013).
       79
         Jason Kirk, Some moron spray-painted ‘Fail State,’ ‘Go Rebs,’ and more on Mississippi State’s campus, SBNation, Dec. 17, 2016, https://www.sbnation.com/college-
       football/2016/12/17/13994290/mississippi-state-stadium-vandalized-spraypaint.
       80
         Jesse Wright, With Hopes to Curb Couch Burning, Morgantown Passes Outdoor Furniture Ban, W.Va. Pub. Broad., Apr. 7, 2015, https://www.wvpublic.org/post/
       hopes-curb-couch-burning-morgantown-passes-outdoor-furniture-ban.
       81
            America’s Largest Private Companies, Forbes, https://www.forbes.com/largest-private-companies/list (last visited Apr. 15, 2020).
       82
         Press Release, Koch Industries Gift of $1M Establishes Business, Engineering Scholarship Funds, Univ. of Kan. (Sept. 8, 2016), https://news.ku.edu/2016/09/08/
       koch-industries-gift-1m-establishes-business-engineering-scholarship-funds. FIRE also receives funding from the Charles Koch Foundation. FIRE does not accept
       money from donors who seek to alter our mission or interfere with our case work.

12 | Foundation for Individual Rights in Education
                                                                                      App.301
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          related to the Westboro Baptist Church, which had                                 of its former “Colonel Reb” mascot on its Facebook
          pledged to picket the university’s graduation.                                    page, also blocks a “Colonel Reb” Twitter account
                                                                                            operated by an organization (which also has a
       • Georgia State University blocked a “Georgia                                        registered student chapter at the university) that
          for Bernie” Twitter account. The university also                                  advocates for the mascot’s return.85
          complained to Twitter about a tweet from the account
          criticizing the university’s police because the tweet                          • The University of Utah blocks animal rights activists,
          listed the public contact information of the university’s                         including PETA, former University of Utah student
          president and police chief.                                                       Jeremy Beckham, and “Animal Welfare News.”
                                                                                            Activists, including PETA and Beckham, have criticized
       • The University of New Hampshire blocked a                                          research conducted at the university’s labs.86
          Twitter account belonging to “UNH Students for Gary
          Johnson,” a Libertarian Party presidential candidate,                          • The University of Alaska Anchorage blocked an
          and blocked the Twitter account of Breitbart News—                                “Alaskans4Trump” account that had disparaged
          and other Twitter critics—after the outlet wrote about                            activist Shaun King in response to a tweet announcing
          professors who called for the expulsion of counter-                               that King would be speaking at the university.87
          protesters who dressed as Harambe and Richard
          Nixon.83 Other accounts appear to have been blocked                       The reason users have been blocked is not always clear
          because they criticized the university for employing                      from the records produced to FIRE. (The University of
          Seth Abramson, whose Twitter criticisms of President                      North Dakota, for example, blocks a Facebook group
          Trump have gone viral.                                                    entitled “Dog Enthusiasts of North Dakota, no posers, only
                                                                                    real dog lovers.”) Most institutions block only a handful of
       • The University of Montana blocked a Twitter account,                       users, blocking an average of 76 Facebook users and 23.5
          @UMRape, which was being used to follow “the                              Twitter users. Others wield the tool more liberally. Indiana
          #UMRape crisis that has been plaguing” the university.                    University blocks the most Facebook users (1488), trailed
                                                                                    closely by the University of Washington (1162), with the
       • Mississippi State University blocks “Legalize                              University of California, Los Angeles in a distant third
          Marijuana in Mississippi.”                                                (691). When it comes to blocked Twitter users, Portland
                                                                                    State University blocks the most users (883), more than
       • A number of universities block accounts supporting                         double that of Central Connecticut State University
          the “Occupy” movement. For example, Ball State                            (307) and Arizona State University (253).
          University blocks “Occupy Indiana,” Ivy Tech
          Community College in Indiana blocks “Occupy                               D. The extent of manual removal of posts and
          Richmond Indiana,” the University of Maryland-                               comments is unknown.
          College Park blocks “Occupy Baltimore,” and the
          University of North Carolina blocks “Occupy Raleigh”                      FIRE’s survey did not reveal information about the extent
          on Facebook.                                                              to which institutions utilize their ability to manually hide
                                                                                    individual Facebook posts or comments after they’ve been
       • Idaho State University blocked a Facebook page                             posted. However, if institutions are utilizing tools to prevent
          critical of a university employee whose photographs                       content from being posted, it is certain that they are also
          of big game hunting in South Africa went viral.84                         removing content after it has been posted. Recall, for
                                                                                    example, that at Ohio’s Wright State University, a public
       • The University of Mississippi, which blocks mentions                       records request revealed that administrators hid hundreds


83
   Katherine Rodriguez, University of New Hampshire Professors Call for Trump Supporters to Be Expelled, Breitbart, Nov. 21, 2016, https://www.breitbart.com/
politics/2016/11/21/university-new-hampshire-professors-call-trump-supporters-expelled.
84
  Michael H. O’Donnell, ISU accountant on safari becomes social media target, Idaho St. J., Aug. 5, 2015, https://www.idahostatejournal.com/members/isu-
accountant-on-safari-becomes-social-media-target/article_f46ff95c-3b87-11e5-9f24-93c2ba7f4656.html.
85
  Colonel Reb Found., About Us, http://www.colonelreb.org/saving-colonel-reb (last visited Apr. 15, 2020); see also Univ. of Miss., Colonel Reb Found., https://
olemiss.campuslabs.com/engage/organization/colonel-reb-foundation (recognized student organization webpage) (last visited Apr. 15, 2020).
 Courtney Tanner, University of Utah can’t charge PETA a $5K ‘prepayment’ for records on lab animal deaths, committee rules, Salt Lake Trib., Nov. 14, 2018, https://
86

www.sltrib.com/news/education/2018/11/14/university-utah-cant.
87
     @Alaskans4Trump, Twitter (Feb. 7, 2017, 1:30 AM), https://twitter.com/Alaskans4Trump/status/828913792993988608.

                                                                          App.302 No comment: Public Universities’ Social Media Use and the First Amendment | 13
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       of posts concerning an ongoing faculty union strike.88                                              lead to the appearance of bias, and may demonstrate
       Unfortunately, this type of content removal is difficult to                                         unlawful viewpoint discrimination.90 Further, at least
       detect through broad public records requests.                                                       one court has determined that, because policies
                                                                                                           were inconsistently enforced, a Facebook page was
       HOW PRIVATE AND GOVERNMENT ACTORS CAN                                                               a designated public forum, not a limited public
       MITIGATE THE RISK OF CENSORING SPEECH ON                                                            forum, meaning that it was subject to a stricter First
       SOCIAL MEDIA                                                                                        Amendment analysis.91

       Government actors and social media companies navigating                                         • Train staff on First Amendment principles. Make
       the application of the First Amendment to the digital realm                                         sure your staff members tasked with regulating and
       can both take steps to avoid infringing on fundamental civil                                        responding to online speech know what they can and
       liberties.                                                                                          can’t do, and make sure they ask for help when they’re
                                                                                                           not sure.92
       A. Public actors and private colleges must avoid
          censoring speech on social media.                                                            • Keep records. If you block a user for posting the same
                                                                                                           comment repeatedly, or for using unprotected speech,
       For administrators and staff at public universities and                                             keep a record of it. This will facilitate supervision and
       colleges—as well as at private institutions that promise                                            correction if a user is blocked for an improper reason.
       freedom of expression to students and faculty—there are a
       variety of ways to reduce the risk of censorship.                                           B. Social media companies can discourage government
                                                                                                      actors from abusing tools to censor online speech.
       For example:
                                                                                                   Social media companies can also take steps to discourage
              • Don’t filter. Turn off Facebook’s filters.                                         government actors from misusing or purposely abusing
                                                                                                   their moderation tools to effectuate unlawful censorship.
              • Don’t block users. Don’t block users based on
                  their viewpoint. If they repeatedly violate a policy,                            For example:
                  document it and give them an opportunity to contest
                  any limits on their access.                                                          • Distinguish between government and non-
                                                                                                           government accounts. If a user identifies themselves
              • Craft clear, publicly available policies. Be clear                                         as a government actor, make that information
                  about the purpose of your social media pages. Is your                                    public, and require government officials to designate
                  page open for comments only from students or faculty,                                    themselves as such in order to create verified pages
                  or is it open to the public? If you place limits on the                                  or accounts.
                  content of speech, make sure they’re published,
                  reasonable, narrow, and objective. A vague policy that                               • Require government actors to establish public-
                  leaves your staff with a wide range of discretion is a                                   facing policies. Restrict government actors’
                  recipe for trouble. Some universities have begun to                                      moderation tools unless they have created a public
                  formulate new policies.89                                                                policy concerning user content.

              • Consistently enforce policies once in place. A failure                                 • Keep filters “off” by default, and only permit their
                  to enforce policies consistently may lead to First                                       use if the government actor has established a public-
                  Amendment liability even if the policy itself is clear,                                  facing content policy.
                  objective, and reasonable. Selective enforcement will

       88
         Greg Harold Greubel, Public records reveal Wright State used unconstitutional Facebook page policy to censor pro-union speech during historic faculty strike,
       Found. for Indiv. Rights in Educ., Jan. 24, 2020, https://www.thefire.org/public-records-reveal-wright-state-used-unconstitutional-facebook-page-policy-to-
       censor-pro-union-speech-during-historic-faculty-strike.
       89
            See, e.g., Northern Arizona University and the University of North Carolina at Chapel Hill.
       90
         Thomas v. Chi. Park Dist., 534 U.S. 316, 325 (2002) (granting “waivers to favored speakers” or “denying them to disfavored speakers” would “of course be
       unconstitutional”); see, e.g., Business Leaders in Christ v. Univ. of Iowa, 360 F.Supp.3d 885, 907 (S.D. Iowa 2019) (disparate enforcement of nondiscrimination policy
       violated the First Amendment).
       91
            Garnier v. Poway Unified Sch. Dist., No. 17-cv-2215-W (JLB), U.S. Dist. LEXIS 167247, at *20 (S.D. Cal. Sept. 26, 2019), ECF No. 42.
       92
            To its credit, Wayne State University started training its social media staff after receiving a records request from FIRE.

14 | Foundation for Individual Rights in Education
                                                                                        App.303
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   • Alert users when their comment has been filtered
      on a government actor’s page. If a user does not
      know that their speech has been hidden, they cannot
      remedy that censorship.

   • Make public the words contained on the profanity
      filters. Government actors should not be able to make
      use of a list of forbidden words hidden from the public.

   • Provide tools and reminders for government
      accounts. If an account is designated as belonging to a
      government actor, provide warnings alongside filtering
      or blocking tools that their use may have ramifications
      under the First Amendment. If a government actor
      blocks a user, require them to set forth their reason
      for doing so.

CONCLUSION

Freedom of expression is often one of the few tools available
to people to defend themselves. As more of our public
discourse takes place online, and not on the sidewalk or
in the pages of newspapers, it is critical that public and
private institutions alike vigorously defend expressive
rights, and remain vigilant to the impact censorship will
have on individuals, groups, and communities.

FIRE stands ready to assist students, student organizations,
faculty members, and faculty organizations in defending
their rights—online or off. If you believe your rights may be
jeopardized, contact FIRE at https://thefire.org/alarm.




                                                         App.304 No comment: Public Universities’ Social Media Use and the First Amendment | 15
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                                                                   Appendix A:
                                                 Surveyed Institutions and Response Data

       The following is a simplified version of our survey results data. A more comprehensive version of this data may be found
       at https://cutt.ly/firesms.

       Institutions in blue provided adequate responses. Copies of the records are hyperlinked.

       Institutions marked in red failed to produce sufficient documents for the reasons specified in the accompanying footnote
       or hyperlinked document.


                                  Name                    State Response           Profanity Filter            Custom Blacklist       Blocked Users

                                                                            Off       Medium          Strong   Uses List   Entries   Facebook Twitter
                                    TOTAL                          198      44           55            99         60       3389       13197    4065
                                  Percentages                     88.39%   22.2%       27.8%          50.0%    30.30%                 76.3%    23.5%
           University of Alaska, Anchorage                   AK    Yes                                Strong      No         0          23       3
           University of Alaska, Fairbanks                   AK    Yes                                Strong      No         0          18       0
           University of Alaska, Southeast                   AK    Yes                                Strong   Unknown                  8
           Kenai Peninsula College       1
                                                             AK    No
           Iḷisaġvik College  2
                                                             AK    No
           University of Alabama     3
                                                             AL    No
           Troy University4
                                                             AL    No
           Auburn University                                 AL    Yes                                Strong     Yes         6         289       29
           Calhoun Comm’ty College5                          AL    No
           Jefferson State Comm’ty College6                  AL    No
           Arizona State University                          AZ    Yes                                Strong     Yes         76        136      253
           Northern Arizona University                       AZ    Yes                                Strong      No         0          14       42
           University of Arizona                             AZ    Yes                                Strong     Yes         17        347       79
           Pima Comm’ty College                              AZ    Yes                                Strong      No         0          0        1
           Mesa Comm’ty College                              AZ    Yes                                Strong     Yes         5          1        2
           University of California, Los Angeles             CA    Yes                                Strong     Yes         46        691       10
           California State University, Fullerton            CA    Yes                Medium                      No         0          6        25
           University of California, Berkeley                CA    Yes                                Strong      No         0          0        0
           Santa Monica College                              CA    Yes                                Strong     Yes         9          7        4
           American River College                            CA    Yes                                Strong     Yes        308         62       0
           University of Colorado, Boulder                   CO    Yes                                Strong      No         0          27       3
           University of Colorado, Denver                    CO    Yes      Off                                   No         0          94       2



       1
           Surveyed in October 2019. Failed to respond.
       2
           Surveyed in October 2019. Failed to respond.
       3
           Refused: records only open to Alabama citizens.
       4
           Failed to respond.
       5
           Refused: records only open to Alabama citizens.
       6
           Refused: records only open to Alabama citizens.

16 | Foundation for Individual Rights in Education
                                                                           App.305
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                          Name                       State Response                      Profanity Filter            Custom Blacklist       Blocked Users

    Colorado State University                         CO          Yes                         Medium                   No          0          47         1
    Front Range Comm’ty College                       CO          Yes            Off                                   No          0          3         23
    Pikes Peak Comm’ty College                        CO          Yes                                       Strong     No          0          12        16
    Central Connecticut State University               CT         Yes                                       Strong     No          0          29       307
    Southern Connecticut State University              CT         Yes                                       Strong     Yes         2          13         4
    Gateway Comm’ty College                            CT         Yes            Off                                   Yes         9          29         6
    Manchester Comm’ty College                         CT         Yes            Off                                   No          0          17         4
    University of Connecticut                          CT         Yes            Off                                   No          0          71        18
    Delaware State University    7
                                                       DE         No
    University of Delaware   8
                                                       DE         No
    Delaware Technical Comm’ty College                 DE         Yes                                       Strong     No          0          3          4
    University of Central Florida                      FL         Yes                                       Strong     Yes         43        381        14
    Florida International University                   FL         Yes                                       Strong     Yes         4         231         9
    University of Florida                              FL         Yes                                       Strong     No          0          0          0
    Miami Dade College                                 FL         Yes            Off                                   No          0          62         4
    Broward College                                    FL         Yes                                       Strong     No          0         64         10
    Georgia State University                          GA          Yes                                       Strong     No          0          32        24
    University of Georgia                             GA          Yes                                       Strong     Yes         2         433         3
    Kennesaw State University                         GA          Yes                                       Strong     Yes         25         19         3
    Central Georgia Technical College                 GA          Yes                                       Strong     No          0          1          1
    Chattahoochee Technical College                   GA          Yes                                       Strong     No          0          71         4
    University of Hawai’i at Manoa          9
                                                       HI         No
    University of Hawai’i at Hilo      10
                                                       HI         No
    University of Hawai’i Maui College          11
                                                       HI         No
    Kapi'olani Comm’ty College         12
                                                       HI         No
    Leeward Comm’ty College       13
                                                       HI         No
    Idaho State University                             ID         Yes                         Medium                   No          0         48         10
    University of Idaho                                ID         Yes                         Medium                   No          0          28        10
    Boise State University                             ID         Yes                                       Strong     No          0          12        33
    College of Southern Idaho                          ID         Yes                                       Strong     No          0          5          4
    College of Western Idaho                           ID         Yes                                       Strong     No          0          1          3
    University of Iowa                                 IA         Yes                         Medium                   Yes         5          0          0
    University of Northern Iowa                        IA         Yes                         Medium                   No          0         330         0
    Des Moines Area Comm’ty College                    IA         Yes                                       Strong     No          0          6         229




7
     Refused: Delaware State University exempt from Delaware’s FOIA.
8
     Refused: Delaware FOIA is limited to records relating to expenditures of public funds.
9
     Provided only partial records.
10
     Provided only partial records.
11
     Provided only partial records.
12
     Provided only partial records.
13
     Failed to respond.

                                                                               App.306 No comment: Public Universities’ Social Media Use and the First Amendment | 17
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                                Name                       State Response                      Profanity Filter                   Custom Blacklist      Blocked Users

        Kirkwood Comm’ty College14                            IA         No
        University of Illinois, Urbana-Champaign              IL        Yes                                          Strong          Yes          21     517       5
        University of Illinois, Chicago                       IL        Yes                                          Strong          No           0      137      54
        Northern Illinois University                          IL        Yes                                          Strong          Yes           5     78       39
        College of DuPage                                     IL        Yes                                          Strong          No            0     0         0
        College of Lake County                                IL        Yes                                          Strong          No            0     11        6
        Purdue University                                    IN         Yes            Off                                           No            0    435       12
        Indiana University                                   IN         Yes            Off                                           No            0    1488      197
        Ball State University                                IN         Yes                                          Strong          No            0     78        2
        Ivy Tech Comm’ty College                             IN         Yes                                          Strong          Yes          145    319       2
        Vincennes University      15
                                                             IN         Yes                                          Strong          Yes           6     13        2
        University of Kansas                                 KS         Yes                                          Strong          Yes          14    621        8
        Kansas State University16                            KS         Yes                         Medium                           Yes          53     0         0
        Wichita State University                             KS         Yes            Off                                           No           0      13        1
        Johnson County Comm’ty College                       KS         Yes                                          Strong          No           0      2         0
        Barton County Comm’ty College          17
                                                             KS          No
        University of Kentucky                               KY         Yes            Off                                           Yes           4     82        3
        Western Kentucky University                          KY         Yes                         Medium                           No           0      69        4
        University of Louisville       18
                                                             KY         Yes                                          Strong          Yes           7     0         0
        Jefferson Comm’ty and Technical College              KY         Yes            Off                                           No           0       1       36
        Bluegrass Comm’ty and Technical College              KY         Yes                                          Strong          No           0      4         5
        University of Louisiana, Lafayette                   LA         Yes                                          Strong          No            0    234       17
        Southeastern Louisiana University                    LA         Yes                                          Strong          No            0     33        0
        Louisiana Tech University                            LA         Yes                         Medium                           No            0    100       54
        Delgado Comm’ty College                              LA         Yes                                          Strong          Yes           5     21        0
        Baton Rouge Comm’ty College                          LA         Yes                                          Strong          No            0     0        15
        University of Massachusetts, Amherst                 MA         Yes                                          Strong          No            0     73       12
        University of Massachusetts, Lowell                  MA         Yes            Off                                           No            0     15        9
        University of Massachusetts, Boston                  MA         Yes                                          Strong          Yes           3     20        5
        Bunker Hill Comm’ty College                          MA         Yes            Off                                           No            0     3         0
        Middlesex Comm’ty College                            MA         Yes                         Medium                           No            0     10        0
        University of Maryland, University College           MD         Yes                                          Strong          No            0     0         0
        University of Maryland, College Park                 MD         Yes                         Medium                           Yes          43    105        5
        Towson University                                    MD         Yes                                          Strong          No            0     24        5
        Montgomery College                                   MD         Yes                                          Strong          No            0     15        3
        Comm’ty College of Baltimore County19                MD          No


       14
            Requested $80.00.
       15
            A copy of these records was sent via mail but cannot be located at this time because the author’s office is inaccessible due to COVID-19.
       16
            Requested $12.50.
       17
            Failed to produce records after acknowledging request.
       18
            Requested $5.00.
       19
            Failed to produce records after acknowledging request.


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                                                                                      App.307
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                       Name                         State Response                     Profanity Filter             Custom Blacklist       Blocked Users

 University of Maine                                 ME          Yes                        Medium                    No          0          3          1
 University of Southern Maine                        ME          Yes                                      Strong      No          0          18        13
 University of Maine at Augusta                      ME          Yes                                      Strong      No          0          6          1
 Southern Maine Comm’ty College                      ME          Yes           Off                                    No          0          5          1
 Eastern Maine Comm’ty College                       ME          Yes                        Medium                    No          0          2          0
 Michigan State University        20
                                                      MI         No
 University of Michigan, Ann Arbor                    MI         Yes                        Medium                    No          0         352         0
 Wayne State University                               MI         Yes           Off                                    No          0          21       203
 Oakland Comm’ty College                              MI         Yes                                      Strong      Yes         15         23         6
 Macomb Comm’ty College                               MI         Yes           Off                                    No          0          36        30
 University of Minnesota, Twin Cities                MN          Yes           Off                                    Yes         2          37        15
 St. Cloud State University                          MN          Yes                                      Strong      No          0         48         31
 Minnesota State University, Mankato                 MN          Yes                        Medium                                           42         1
 Normandale Comm’ty College21                        MN          No
 Century College                                     MN          Yes           Off                                    No          0          0          0
 Missouri State University, Springfield              MO          Yes                        Medium                    No          0          0          4
 University of Missouri, Columbia       22
                                                     MO          No
 University of Missouri, St. Louis     23
                                                     MO          No
 St. Louis Comm’ty College                           MO          Yes                        Medium                    No          0          9         24
 Metropolitan Comm’ty College, Kansas
                                                     MO          Yes                                      Strong      No          0          3          4
 City
 University of Mississippi                           MS          Yes                                      Strong      Yes         11        100        65
 Mississippi State University                        MS          Yes                        Medium                    Yes        430         87         5
 University of Southern Mississippi                  MS          Yes                                      Strong      No          0          16         3
 Hinds Comm’ty College                               MS          Yes                                      Strong      No          0          23        38
 Mississippi Gulf Coast Comm’ty College              MS          Yes           Off                                    No          0          4          2
 Montana State University                            MT          Yes           Off                                    No          0          0          0
 Montana State University, Billings                  MT          Yes                                      Strong      No          0          5          0
 University of Montana                               MT          Yes                        Medium                    No          0          39         2
 Flathead Valley Comm’ty College            24
                                                     MT          No
 Great Falls College MSU                             MT          Yes           Off                                    No          0          4          0
 North Carolina State University, Raleigh            NC          Yes                                      Strong      No          0          0          0
 University of North Carolina, Charlotte             NC          Yes           Off                                    No          0          1          2
 University of North Carolina, Chapel Hill           NC          Yes                                      Strong      Yes         46        156        16
 Central Piedmont Comm’ty College                    NC          Yes                        Medium                    No          0          1          5
 Wake Technical Comm’ty College                      NC          Yes                                      Strong      Yes         10         0          0
 University of North Dakota                          ND          Yes                                      Strong      No          0          71        103
 North Dakota State University                       ND          Yes           Off                                    No          0          34         0

20
     Refused, citing public safety and cybersecurity, and an exemption created in response to 9/11.
21
     Failed to produce records after acknowledging request.
22
     Refused: claimed producing records would amount to “creating” a document.
23
     Refused: claimed producing records would amount to “creating” a document.
24
     Requested $20 for records.

                                                                              App.308 No comment: Public Universities’ Social Media Use and the First Amendment | 19
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                              Name                        State Response                     Profanity Filter                  Custom Blacklist          Blocked Users

        Bismarck State College                              ND         Yes                        Medium                          No           0           8         0
        North Dakota State College of Science               ND         Yes                                        Strong          Yes         438          9         2
        Lake Region State College                           ND         Yes                        Medium                          No           0           0         0
        University of Nebraska, Lincoln       25
                                                            NE         No
        University of Nebraska, Omaha         26
                                                            NE         No
        University of Nebraska, Kearney            27
                                                            NE         No
        Metropolitan Comm’ty College          28
                                                            NE         No
        Southeast Comm’ty College        29
                                                            NE         No
        University of New Hampshire                         NH         Yes                        Medium                          Yes          4          122        76
        Plymouth State University                           NH         Yes                        Medium                          No           0           0         6
        Keene State College                                 NH         Yes           Off                                          No           0           49        12
        NHTI, Concord’s Comm’ty College                     NH         Yes                                        Strong          No           0           4         0
        Manchester Comm’ty College                          NH         Yes           Off                                          No           0            7        0
        Thomas Edison State College                         NJ         Yes                        Medium                          No                                 0
        Rowan University                                    NJ         Yes                        Medium                          Yes          5           20        21
        Montclair State University                          NJ         Yes           Off                                          No           0           11        2
        Bergen Comm’ty College                              NJ         Yes           Off                                          Yes          12          27        0
        Brookdale Comm’ty College                           NJ         Yes           Off                                          Yes          3           9         5
        New Mexico State University                        NM          Yes                        Medium                          No           0           52        39
        Eastern New Mexico University                      NM          Yes                                        Strong          No           0            3        1
        University of New Mexico                           NM          Yes                        Medium                          No           0           49        9
        San Juan College                                   NM          Yes                                        Strong          No           0           8         1
        Central New Mexico Comm’ty College                 NM          Yes                        Medium                          No           0           24        3
        Western Nevada College                              NV         Yes                                        Strong          No           0           0         0
        University of Nevada, Las Vegas                     NV         Yes                                        Strong          Yes          1           16        10
        University of Nevada, Reno                          NV         Yes                                        Strong          No           0           53        92
        Truckee Meadows Comm’ty College                     NV         Yes                        Medium                          No           0           16        39
        College of Southern Nevada                          NV         Yes                                        Strong          No           0           0         0
        University at Buffalo                               NY         Yes                                        Strong          No           0           27        0
        CUNY Hunter College                                 NY         Yes                        Medium                          Yes         422          28        6
        Stony Brook University                              NY         Yes                        Medium                          Yes          4           33        5
        Suffolk County Comm’ty College                      NY         Yes                                        Strong          Yes          81          0         47
        Nassau Comm’ty College                              NY         Yes                                        Strong          No           0          390        0
        The Ohio State University                           OH         Yes                        Medium                          Yes          9            1        3
        University of Cincinnati                            OH         Yes                                        Strong          No           0           28        3
        Kent State University                               OH         Yes                        Medium                          Yes          10         126        1
        Columbus State Comm’ty College                      OH         Yes                                        Strong          No           0           0         0


       25
            Same as the University of Nebraska, Kearney. Response here.
       26
            Same as the University of Nebraska, Kearney. Response here.
       27
            Refused: claimed “settings information is design or setup information” and “not a record.” Produced incomplete records, limited to some blocked users.
       28
            Refused: claimed social media account information does not belong to the college.
       29
            Refused: claimed producing records would amount to “creating” a document.

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                        Name                          State Response                      Profanity Filter                      Custom Blacklist   Blocked Users

 Cuyahoga Comm’ty College                              OH          Yes            Off                                             No        0       12          2
 University of Oklahoma                                OK          Yes                         Medium                            Yes        1      543         18
 Oklahoma State University                             OK          Yes                         Medium                            Yes        8      189         39
 University of Central Oklahoma         30
                                                       OK          No
 Tulsa Comm’ty College                                 OK          Yes                                          Strong            No        0        1         0
 Oklahoma City Comm’ty College                         OK          Yes            Off                                             No        0       12          1
 Portland State University         31
                                                       OR          Yes                                          Strong           Yes        9       17         883
 Oregon State University                               OR          Yes            Off                                             No        0       0          0
 University of Oregon                                  OR          Yes                                          Strong           Yes        96      99         0
 Portland Comm’ty College                              OR          Yes                         Medium                            Yes        10      11         0
 Chemeketa Comm’ty College                             OR          Yes            Off                                             No        0       4          0
 Comm’ty College of Allegheny County                   PA          Yes                                          Strong            No        0        1         0
 Harrisburg Area Comm’ty College                       PA          Yes            Off                                             No        0       3          16
 Rhode Island College                                   RI         Yes            Off                                             No        0       22          5
 University of Rhode Island                             RI         Yes            Off                                             No        0       0           3
 Comm’ty College of Rhode Island                        RI         Yes                                          Strong                              11          1
 Clemson University                                    SC          Yes                                          Strong            Yes       44      48          5
 College of Charleston                                 SC          Yes                         Medium                             No        0       0          0
 Coastal Carolina University                           SC          Yes                         Medium                             No        0       20          5
 Trident Technical College                             SC          Yes                         Medium                             No        0       28          2
 Greenville Technical College                          SC          Yes                         Medium                             No        0       12          5
 South Dakota State University                         SD          Yes                                          Strong            No        0       20          1
 University of South Dakota                            SD          Yes                                          Strong            No        0       7           3
 Black Hills State University                          SD          Yes            Off                                             No        0       21          1
 Southeast Technical Institute                         SD          Yes            Off                                             No        0       5           1
 Lake Area Technical Institute                         SD          Yes                         Medium                             No        0       4           2
 University of Texas, Austin                            TX         Yes                         Medium                             Yes       1       18         40
 University of Texas, Arlington                         TX         Yes            Off                                             No        0       4           3
 Texas A&M University32                                TX          Yes                         Medium                            Yes        31                 82
 Lone Star College System                              TX          Yes                         Medium                            Yes        3       3           2
 Houston Comm’ty College                               TX          Yes                                          Strong            No        0       0           2
 University of Utah                                    UT          Yes            Off                                             No        0      307         17
 Utah State University                                 UT          Yes                                          Strong           Yes        6       20          1
 Weber State University       33
                                                       UT          No
 Snow College                                          UT          Yes                         Medium                             No        0       0           3
 Salt Lake Comm’ty College                             UT          Yes                         Medium                             No        0        1          1
 University of Vermont                                 VT          Yes            Off                                             No        0       8          13
 Castleton State College                               VT          Yes                                          Strong           Yes        6       8           7


30
     Produced incomplete records.
31
     First requested $1,331.18 for records. Ultimately charged $49.76 to provide a list with all individuals’ names redacted.
32
     Refused to produce records identifying who is blocked from the university’s Facebook page, as that issue was then being litigated.
33
     Refused: claimed producing records would “require us to create a custom record” and was not required to produce a record that “does not already exist.”

                                                                                App.310 No comment: Public Universities’ Social Media Use and the First Amendment | 21
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                            Name                     State Response         Profanity Filter            Custom Blacklist   Blocked Users

        Northern Vermont University, Johnson          VT     Yes      Off                                 No        0       10        0
        Comm’ty College of Vermont                    VT     Yes               Medium                     No        0       4        10
        Vermont Technical College                     VT     Yes               Medium                     No        0       8         0
        University of Washington                     WA      Yes               Medium                    Yes        31     1162      64
        Washington State University                  WA      Yes                               Strong    Yes        4       0         0
        Bellevue College                             WA      Yes                               Strong     No        0        1        0
        Everett Comm’ty College                      WA      Yes               Medium                     No        0       12       17
        Edmonds Comm’ty College                      WA      Yes               Medium                    Yes        6       3        44
        University of Wisconsin, Milwaukee            WI     Yes                               Strong    Yes        8       7        62
        University of Wisconsin, Oshkosh              WI     Yes               Medium                     No        0       6        11
        University of Wisconsin, Madison              WI     Yes                               Strong     No        0       0         0
        Madison Area Technical College                WI     Yes                               Strong     Yes       3       0         0
        Milwaukee Area Technical College              WI     Yes                               Strong     No        0       5         5
        West Virginia University                     WV      Yes                               Strong     Yes       25      0         0
        Marshall University                          WV      Yes               Medium                     No        0       13       11
        Fairmont State University                    WV      Yes      Off                                 No        0       8         1
        Blue Ridge Comm’ty and Technical
                                                     WV      Yes                               Strong     Yes       731     0         0
        College
        Pierpont Comm’ty and Technical College       WV      Yes                               Strong     No        0       0         0
        University of Wyoming                         WY     Yes      Off                                 No        0       33        1
        Laramie County Comm’ty College                WY     Yes               Medium                     No        0        1        7
        Sheridan College                              WY     Yes      Off                                 No        0       0         0
        University of the District of Columbia        DC     Yes                               Strong     No        0       7        12




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                                                  Appendix B:
                                     Exceptions to Survey Methodology

The survey sought to cover two sets of institutions within           • The Naval War College was not surveyed because
each state, plus the District of Columbia: the three four-              its relationship with the armed services may change
year institutions with the highest enrollment and the two               the First Amendment calculus. It was not replaced
two-year institutions with the highest enrollment. This                 because there are only three, four-year institutions in
would amount to 255 institutions, but not every state has               the state. (-1 institution).
qualifying institutions, some states’ public records laws
do not extend to those institutions, and some institutions           • Rhode Island only has one two-year institution. (-1
cannot be surveyed due to a legal conflict. What follows is             institution).
a list of states or institutions falling under an exception or
conflict:                                                            • South Carolina: The University of South Carolina could
                                                                        not be surveyed due to litigation conflict. Replaced by
   • Arkansas: Public records law limited to citizens of                Coastal Carolina University.
      Arkansas. (-5 institutions).
                                                                     • Tennessee: FOIA limited to citizens of Tennessee. (-5
   • California: East Los Angeles College could not be                  institutions).
      contacted due to litigation conflict. Replaced by
      American River College.                                        • Virginia: FOIA limited to citizens of Virginia. (-5
                                                                        institutions).
   • Delaware:
                                                                     • Washington, D.C.:
   • Only two four-year institutions, and only one two-year
      institution qualified. (-2 institutions).                      • There’s only one public, four-year institution in
                                                                        Washington, D.C., that is not affiliated with the
   • The qualifying four-year institutions (Delaware State              military. (-2 institutions).
      University and the University of Delaware) are largely
      exempt from Delaware’s public records law. (-2                 • There are no public two-year institutions. (-2
      institutions).                                                    institutions).

   • Iowa: Iowa State University could not be contacted              • Wyoming: There is only one public, four-year
      due to litigation conflict. Cannot be replaced by                 institution. (-2 institutions).
      another four-year institution because there are
      only three public four-year institutions in Iowa. (-1
      institution).

   • Louisiana: Louisiana State University could not be
      contacted due to litigation conflict. Replaced by
      Louisiana Tech.

   • New Jersey: Rutgers University could not be contacted
      due to possibility of litigation conflict. Replaced with
      Rowan University.

   • Pennsylvania: The Right to Know law largely exempts
      four-year institutions, but does not exempt two-year
      institutions. (-3 institutions).

   • Rhode Island:

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       Appendix C:

       The following is a lightly edited version of the request sent to Michigan State University:
       This is a request for records pursuant to the Michigan Freedom of Information Act (Mich. Comp. Laws Ann. §§ 15.231 et
       seq.). If you are not the records custodian for MSU, please identify the correct person to contact.

       This request seeks records relating to restrictions and settings concerning the official Facebook and Twitter accounts for
       MSU, and should be directed to the person responsible for operating those accounts.

        RECORDS REQUESTED

       I request the following records:


            1.. A copy of the settings for the Facebook page maintained by Michigan State University (available
               at https://www.facebook.com/spartans.msu). This list is accessible by (A) logging into the
               Facebook page as an administrator, and then (B) clicking “Settings” at the top of the official page.
               The URL should look like: https://www.facebook.com/spartans.msu/settings/?tab=settings.


            2.. A copy of the list of people or pages banned from the Facebook page referenced above. This list is accessible by: (A)
               logging into the Facebook page as an administrator, (B) clicking “Settings” at the top of the official page, (C) clicking
               “People and Other Pages” in the left column, and (D) selecting "Banned People and Pages" from the drop-down menu.
               The final URL should look like: https://www.facebook.com/spartans.msu/settings/?tab=people_and_other_pages.


            3.. A list of the "blocked accounts" by the Twitter account maintained by Michigan State University (available at https://
               twitter.com/michiganstateu). This list is accessible by navigating to this URL while logged into the account: https://
               twitter.com/settings/blocked.


       Fee waiver request: This request concerns a matter of public interest. The social media restrictions imposed by public
       institutions and officials — including the president, governors, and public universities — have been challenged on First
       Amendment grounds. This survey seeks to explore the extent to which public colleges and universities have similar
       restrictions.

       The public interest would be well-served by granting a fee waiver. The request is not being sought for a commercial
       purpose, but is instead sought by a nonprofit organization to provide the public with information concerning the conduct
       of government actors as that conduct pertains to civil liberties in higher education.

       If a fee waiver is not granted, please apprise me if the estimated costs will exceed $10.

       Request for expedited processing: Completion of this survey depends on the institution with the slowest response time.
       We request that Michigan State University produce responsive records on an expedited basis. As you may be aware, a
       public body has five business days to respond. (Mich. Comp. Laws. Ann § 15.235(2)).

       Appeal information: If you deny any portion, or all, of this request, please provide me with a written explanation of the
       reason(s) for your denial, including a citation to each specific statutory exemption you believe justifies the refusal to
       release the information and notify me of the appeal procedures available to me under the law. If you conclude that portions
       of the records that I request are exempt from disclosure, please release the remainder of such records for inspection and

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                                                      Appendix D:
                                                    Customized Blocked Words

The surveyed institutions blocked the following unique words using Facebook’s customizable blacklist. Duplicates were

removed.                                            appleguru                                    assrammer
100                                                 applelovers                                  asswipe
9/11                                                applemusiclist                               asswipes
9-11                                                apps                                         attention
:))                                                 aramark                                      auto
@$$                                                 areola                                       awaay
#cocksoutforharambe                                 areole                                       awayy
#dicksoutforharambe                                 arian                                        ayir
<--- ♥ us ♥                                         arrrrr                                       azazel
🖕                                                   arschloch                                    azz
$                                                   arse                                         azzhole
$hit                                                artificially generated       stampede        b-s
2's!!!                                              awareness foundation                         b!+ch
2004toyota 4runner                                  aryan                                        b!tch
5g                                                  ash0le                                       b*tch
5t                                                  asholes                                      b00bs
a$$                                                 asl                                          b17ch
a55                                                 asla                                         b1tch
a55hole                                             ass                                          b1tches
abcreports                                          ass hole                                     babe
abuse                                               ass monkey                                   babes
abusers                                             assault                                      baboon
accident                                            assbang                                      bad
aeolus                                              assbanged                                    balloon
africant                                            assbangs                                     balloonsblow
aggy                                                asses                                        balls
agsaf                                               assface                                      ballsack
ahole                                               assfuck                                      baloons
ahuja                                               assfucker                                    bammer
alert                                               assh0le                                      bammers
amazing                                             assh0lez                                     ban
amcik                                               asshat                                       bang
ame law                                             assho1e                                      banger
a m e r i c a n a d v a n t a ge l a w g ro u p @   asshoel                                      banned
lawyer.com                                          asshole                                      barf
anal                                                assholery                                    bart
analprobe                                           assholes                                     bassterds
andskota                                            assholz                                      bastard
anilingus                                           asskisser                                    bastards
annoying                                            asslick                                      bastardz
anthem                                              asslicker                                    basterds
anus                                                asslickers                                   basterdz
apartment                                           asslicks                                     bawdy
apologize                                           assmaster                                    bdsm
apple                                               assmunch                                     beaner

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       bearded clam                      bloody                 browntown              call                   cntz
       beardedclam                       blow                   bruins                 camel jockey           cobia
       beastial                          blow job               bs                     camelfucker            cocain
       beastiality                       blowjob                buceta                 cameljockey            cocaine
       beastility                        blowjobs               bucket bull bullshit   cameltoe               cock
       beat-off                          blue waffle            bug                    cancel                 cock sucker
       beatch                            bod                    bugger                 canceled               cock-head
       beater                            bodily                 bukkake                cancelled              cock-sucker
       beating beat sucking              boffing                bull shit              cannooot               cock-sucking
       beating-off                       boink                  bull-shit              canoe                  cockblock
       beatoff                           boiolas                bullsh*t               carpet muncher         cockhead
       beaver                            bollock                bullshit               carpetmuncher          cockholster
       beavers                           bollocks               bullshits              cashcars               cockknocker
       beavs                             bollok                 bullshitted            cawk                   cocks
       beecher                           bone                   bullturds              cawks                  cocksauce
       beer                              boned                  bullying               cazzo                  cocksmoker
       beeyotch                          bonehead               bum                    centsy                 cocksoutforharambe
       before                            boner                  bung                   cervix                 cocksuck
       believee                          boners                 bung hole              change org             cocksucked
       belly whacker                     bong                   burt                   cheap                  cocksucker
       beotch                            boob                   business               check this out         cocksucking
       bernie                            boobies                busty                  chegg                  cocksucks
       bert                              boobs                  butch                  chicken                coital
       bestial                           booby                  butt                   chickens               col
       bestiality                        booger                 butt breath            chilango               col.
       bfd                               bookie                 butt fuck              chinc                  col. reb
       bi+ch                             boomer                 butt-pirate            chincs                 colonel mascot
       bi7ch                             boomer sooner          buttface               chink                  commie
       biatch                            bootee                 buttfuck               chode                  condom
       biche                             bootie                 buttfucker             chodes                 coochi
       big beoyotch                      booty                  butthead               chola                  coon
       big tits                          booze                  butthole               cholo                  coons
       bigleaguepolitics.com             boozer                 butthurt               chraa                  cooter
       bigtits                           boozy                  button                 chuj                   corksucker
       bimbo                             bort                   buttpicker             cialis                 cost-free
       bing                              bosom                  buttplug               cipa                   couch burning
       bings                             bosomy                 buttwipe               circle jerk            coug
       birds                             boss                   buy online             citylife               cougars
       birt                              bowel                  byob                   cl1t                   cougs
       bitcard                           bowels                 bytch                  class                  cowfuck
       bitch                             boycott                c-0-c-k                cleared                cowfucker
       bitchass                          bra                    c-o-c-k                click on advertisement cowfuckers
       bitched                           brassiere              c-u-n-t                climax                 crabs
       bitcher                           breast                 c.0.c.k                clinton                crack
       bitchers                          breasts                c.o.c.k.               clit                   cracker
       bitches                           britney sprays video   c.u.n.t                clitoris               crackwhore
       bitchin                           broken                 c0ck                   clitorus               crap
       bitching                          brokenn                c0cks                  clits                  crappy
       bitchs                            brokeon                c0k                    clittie                crash
       bitchy                            brokken                ca-ca                  clitty                 crs
       blizzard                          brother dean           cabron                 close                  cruel
       blocked                           brown eye              caca                   closed                 csc
       blondehot videos                  browneye               cahone                 cnts                   cuck

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cuckservative   death             dkendrick                  emergency                    fart
cum             deez              doggie dirty sanchez       enculer                      farted
cum stain       defriended        doggie-style               enema                        farting
cumdumpster     dego              doggy style                enlargement                  fartknocker
cummer          delay             doggy-style                enter to win                 farts
cummin          derka             doingg                     erect                        farty
cumming         deserve youtube   doinng                     erection                     fat
cums            deviant           dominatricks               erotic                       fat fatass
cumshot         diaper double d   dominatrics                error                        fatso
cumshots        dic               dominatrix                 esad                         fcuk
cumslut         dick              dong                       essohbee                     feces
cumstain        dick-ish          doofus                     extacy                       feck
cunilingus      dickbag           doosh                      extasy                       feg
cunillingus     dickdipper        dope                       fuck                         felatio
cunnilingus     dickface          dopey                      f-u-c-k                      felch
cunny           dickflipper       dotard                     f.u.c.k                      felcher
cunt            dickhead          douch3                     f**cking                     felching
cuntface        dickheads         douche                     f**k                         fellate
cunthunter      dickish           douche bag                 f**king                      fellatio
cuntlick        dickless          douchebag                  f*cking< f*ck                feltch
cuntlicker      dickripper        douchebags                 facebook.com                 feltcher
cuntlicking     dicks             douchecanoe                fack                         feltching
cuntpunch       dicksipper        douches                    faen                         feminazi
cuntpuncher     dickwad           douchey                    fag                          ficken
cunts           dickweed          drive                      fag1t                        filthy
cuntsucker      dickwhipper       drumpf                     faget                        fingerfuck
cunty           dickzipper        drunk                      fagg                         fingerfucked
cuntz           diddle            ducks                      fagg1t                       fingerfucker
cya             die               dumass                     fagged                       fingerfuckers
cyberfuc        dies              dumbass                    fagget                       fingerfucking
cyberfuck       dike              dumbasses                  fagging                      fingerfucks
cyberfucked     dild0             dummy                      faggit                       fire
cyberfucker     dild0s            dupa                       faggot                       fishbucket
cyberfuckers    dildo             durka                      faggots                      fisted
cyberfucking    dildos            dyke                       faggott                      fistfuck
d's             diligaf           dykes                      faggotty                     fistfucked
d0ng            dilld0            dyko                       faggoty                      fistfucker
d0uch3          dilld0s           dziwka                     faggs                        fistfuckers
d0uche          dillweed          eff                        faggy                        fistfucking
d1ck            dilweed           effin                      fagit                        fistfuckings
d1ld0           dimwit            effs                       fagot                        fistfucks
d1ldo           dingle            ejackulate                 fagots                       fisting
d4mn            dingleberry       ejactulated                fags                         fisty
dago            dining services   ejaculate                  fagz                         fitt
dagos           dink              ejaculates                 faig                         flange
damage          dinks             ejaculating                faigs                        flikker
dammit          dipship           ejaculatings               faigt                        flipping bird
damn            dipshit           ejaculation                fail state                   floozy
damned          dirsa             ejakulate                  failstate                    foad
damnit          disckwad          ekrem                      fairy                        foag
dangerous       discount          ekto                       fanculo                      fondle
dawgie-style    disgrace          embarassing                fanny                        foobar
daygo           diversity room    embarrassing               fannybandit                  food

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       forefreedelivered                             furburger                goldenshower
       foreskin                                      fuskies                  gonad
       fotze                                         futkretzn                gonads
       fournier                                      fux0r                    goo.gl
       free                                          fvck                     gook
       freee                                         fxck                     gooks
       freeed                                        g-spot                   gooo
       freeee                                        g00k                     gop
       freex                                         gae                      gorilla
       friedcatz                                     gag reflex               gorillalivesmatter
       frigg                                         gai                      gorunner
       frigga                                        gamesplaystoplay.co.cc   gov
       fu                                            gamesplaytoplay          govgrantmoney
       fu(                                           gangbang                 goyfa
       fu*k                                          gangbanged               grades
       fubar                                         gangbanger               greaser
       fuck                                          gangbangers              greee
       fuck-tard                                     gangbangs                grinder
       fuckass                                       ganja                    gringo
       fucked                                        gay                      grooniu
       fucker                                        gay sex                  grooniu?zcgshpndpzruqjcyurch
       fuckers                                       gayboy                   groonsiu
       fuckface                                      gayest                   gspot
       fuckin                                        gaygirl                  gtfo
       fucking                                       gays                     guido
       fuckings                                      gaysex                   guiena
       fuckme                                        gayz                     guinne
       fucknugget                                    gazongers                gypsies
       fucknut                                       gey                      gypsy
       fucko                                         gfy                      h.c.c.
       fuckoff                                       ghay                     h00r
       fuckos                                        ghey                     h0ar
       fucks                                         giftcard                 h0m0
       fucktard                                      gigolo                   h0mo
       fuckup                                        gina                     h0r
       fuckwad                                       gink                     h0re
       fuckwit                                       giving                   h4x0r
       fudge packer                                  givingg                  haaha
       fudge-packer                                  givng                    haha
       fudge-packing                                 givving                  hahahahha
       fudgepacker                                   glans                    hahatodayfbs.net.tc
       fudgepacking                                  glitch                   hair
       fuk                                           glitching                hand fudge packer
       fukah                                         glory god goddamn        hand-job
       fuken                                         goatse                   handjob
       fuker                                         God damn                 harambe
       fukin                                         God Goddamn              harambe!
       fukk                                          god-damned               harass
       fukkah                                        godamn                   hard on
       fukken                                        godamnit                 hardcoresex
       fukker                                        goddam                   hardee
       fukkin                                        goddammit                harmbe
       fuks                                          goddamn                  haughwout

28 | Foundation for Individual Rights in Education
                                                                 App.317
             Case 5:23-cv-00029-J Document 32-13 Filed 03/24/23 Page 32 of 36
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haunt                  horniest                      illuminati              jerkoff                      kumming
hcc                    horny                         im                      jersey                       kums
he11                   horrendous                    inbred                  jersey store                 kunilingus
hebe                   horseshit                     incest                  jetblue                      kunt
heeb                   hotsex                        injun                   jewpidily                    kunts
heil                   housatonic                    insurance               jigaboo                      kuntz
heimey                 houston community intercourse                         jihad                        kurac
hell                   college                       ipaaaad                 jisim                        kurwa
hells                  http                          ipaaad                  jism                         kusi
helme                  http://apps.facebook. ipaaad twoooosss                jiss                         kyke
helvete                com                           ipaaadd                 jiz                          kyrpa
hemp                   https                         ipaaadd2                jizm                         l3i+ch
heree                  h t t p s : / / ipaaaddd                              jizz                         l3itch
heroin                 s o u n d c l o u d . c o m / ipaad                   jizzed                       laate
herp                   allnentertainmentt            ipaad2                  junkie                       lab
herpes                 huevon                        ipaad2's                junky                        labia
herpy                  hui                           ipaads                  ker                          lame
hershey highway        hump                          ipad                    kaffer                       lampshade
hey                    humped                        ipad2                   kaffir                       late
hey there university   humping                       ipad2entry              kanker                       latee
hick                   hurry                         ipad2s                  kawk                         lech
hicks                  hussy                         ipadd                   kido                         leper
hiddenpicz             hymen                         ipads                   kike                         leppo
hillary                i padds                       ipadss                  kikes                        lesbian
himey                  i-paaaad                      iphon5                  kill                         lesbians
hitler                 i-paaaadd                     iphone                  killary                      lesbo
hiv                    i-paaadd                      iphone 5                kills                        lesbos
hoar                   ice                           iphone5                 kinky                        lez
hobag                  icrazy                        iphones                 kkk                          lezbian
hoer                   idiocy                        ippaaaadtwoo            klan                         lezbians
holocaust              idiot                         ippaad                  klootzak                     lezbo
hom0                   idiots                        ippad                   kma                          lezbos
homey                  ifree                         ippads                  kmia                         lezzian
homo                   igiveaway                     iq                      knijnenburg                  lezzie
homoey                 iipaaaad                      iq score                knob                         lezzies
homophobic             iipaaaadd                     irresponsible           knob end                     lezzy
homos                  iipaaaaddd                    isis                    knobend                      libtard
honkey                 iipaaaadddtwos                j3rk0ff                 knobs                        libtards
honkie                 iipaaaaddtwos                 jack                    knobz                        life
honky                  iipaaad                       jack off                knulle                       like
hooch                  iipaaadd                      jack-off                Kock                         like pls. :)
hood rat               iipaaadd2s                    jackass                 kondum                       linthead
hoodrat                iipaaaddtwo's                 jackhole                kondums                      lipshits
hook                   iipaad                        jacking jackoff         kony                         lipshitz
hookah                 iipad                         jackoff                 kooch                        listofapples
hookem                 iipad 2's                     jambo                   kooches                      lmao
hooker                 iipad2                        jap                     kootch                       lmbo
hoor                   iipad2s                       japs                    kracker                      lmfao
hoore                  iipad2ss                      jerk                    kraut                        loin
hootch                 iipads                        jerk jerkoff            kuk                          loins
hooter                 iipads2                       jerk-off                kuksuger                     lube
hooters                iippaaaaad2                   jerk0ff                 kum                          lucky
hore                   ike likeeeeee                 jerked                  kummer                       lusty

                                                       App.318 No comment: Public Universities’ Social Media Use and the First Amendment | 29
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       m-fucking                         motehrfucking         napalm         oral          peenus
       Mafucka                           motha mother-fucker   nappy          orally        peepee
       mamhoon                           mothafuck             nastt          orangeman     peinus
       mams                              mothafucka            naugatuck      organ         pen1s
       manigger                          mothafuckas           nazi           orgasim       penas
       marijuana                         mothafuckaz           nazis          orgasims      penetrate
       masochits                         mothafucked           nazism         orgasm        penetration
       masokist                          mothafucker           neel           orgasmic      penial
       massa                             mothafuckers          negro          orgasms       penile
       massterbait                       mothafuckin           negroes        orgasum       penis
       masstrbait                        mothafucking          nepesaurio     orgies        penis-breath
       masstrbate                        mothafuckings         ner            orgy          penises
       masterbaiter                      mothafucks            newinbox       oriface       penus
       masterbat                         mother fucker         news           orifice       penuus
       masterbat3                        motherfuck            newsfeedz      orifiss       perse
       masterbate                        motherfucka           newzfeed       orospu        perversion
       masterbates                       motherfucked          nfw            ou            peta
       masterbating                      motherfucker          nice share     ovary         petition
       masterbation                      motherfuckers         nig            ovum          peyote
       masturbat                         motherfuckin          nigga          ovums         phalli
       masturbate                        motherfucking         niggah         p.u.s.s.y.    phallic
       masturbating                      motherfuckings        niggas         p0rn          phone phonesex
       masturbation                      motherfucks           niggaz         packi         phuc
       maxi                              motos                 nigger         packie        phuck
       md                                motss                 niggers        packing       phuk
       mears                             mouliewop             niggle         packy         phuked
       menses                            mountainqueer         niggs          pad           phuker
       menstruate                        mountainqueers        night          paddy         phuking
       menstruation                      ms                    niglet         page          phukked
       merd                              msu dining            nigs           pagee         phukker
       merde                             mtherfucker           nigur          paki          phukking
       messing                           mthrfucker            niiger         pakie         phuks
       messng                            mthrfucking           niigr          paky          phuq
       messsin                           muff                  nike           pantie        picka
       messsing                          muffdiver             nimrod         panties       picture
       meth                              muie                  ninny          panty         pierdol
       mexcrement                        mulkku                nipple         park          piicture
       mexican't                         murder                nobama         parking       pillow biter
       mexicant                          muschi                nooky          partyvid      pillow-biter
       mibun                             mutha n1gr            notmanyleft    paska         pillowbiter
       mick                              muthafuckaz           nowayjoesez    pastie        pillu
       middlesex                         muthafucker           nutsack        pasty         pimmel
       migger                            mutherfucker          nutz           pcp           pimp
       minee                             mutherfucking         nvcc           pecker        pimpis
       mofo                              muthrfucking          nympho         pedo          pinko
       molest                            my erotic videoss     odumbo         pedobear      piss
       money                             myn                   offer          pedophile     piss-off
       monkleigh                         myne                  omg            pedophilia    pissed
       moolie                            n'er                  oout           pedophiliac   pissers
       moron                             nad                   open           pedos         pisses
       morons                            nads                  opiate         pee           pissin
       moshky                            nagur                 opium          peeenus       pissing
       moss                              naked                 orafis         peeenuss      pissoff

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                                                                    App.319
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pissrr          puta             rofll                     semen                        silent sam
pita            puto             roflmao                   senators                     sissy
pizda           puuke            rotflmaotid               sendng                       site
pjaavpietrab    puuker           rotflolapmp               sex                          sitee
pledge          qahbeh           rtard                     sexual                       skag
plow            queaf            rtfm                      sexy                         skanck
plssss          queef            rtwfq                     sh!+                         skank
plug            queefs           rum                       sh!t                         skankee
pmp             queer            rump                      sh*t                         skankey
pms             queero           rumprammer                sh1t                         skanks
polac           queers           ruski                     sh1ter                       skanky
polack          queerz           s hit                     sh1ts                        skeet
polak           quicky           s-h-1-t                   sh1tter                      skittle
pollock         quim             s-h-i-t                   sh1tz                        skittles
poon            qweers           s-o-b                     shamedame                    skrib
poonani         qweerz           s.h.i.t.                  sharmuta                     skype
poontang        qweir            s.o.b                     sharmute                     skypes
poontsee        r-tard           s.o.b.                    sheister                     slags
poop            racy             s0b                       shemale                      slave
poor            rag head         sadism                    shi+                         sleaze
porn            raghead          sadist                    shipal                       sleazy
porno           ragheads         sale                      shit                         slip
pornography     rape             sales                     shit face                    slut
pos             rapeculture      sandnigger                shite                        slutdumper
pot             raped            scag                      shiteater                    slutkiss
potty           raper            scank                     shited                       sluts
ppictureeee     rapist           scantily                  shitface                     slutty
ppiicctureeee   rapists          scared                    shitfucker                   smart
pr0n            raunch           scat                      shitfull                     smegma
pr1c            rautenberg       schaffer                  shithead                     smut
pr1ck           really           scheiss                   shithold                     smuts
pr1k            rebel            schizo                    shithole                     smutty
preteen         recieved         schlampe                  shithouse                    snatch
prick           recktum          schlong                   shiting                      snigger
pricks          rectal           schmuck                   shitings                     sniper
prig            rectum           screw                     shits                        snow
profile         rectus           screwed                   shitshow                     snowflake
prostitute      redneck          screwin                   shitt                        snowflakes
prude           rednecks         screwing                  shitted                      snuff
pube            reefer           scrog                     shitter                      sodom
pubic           reetard          scrot                     shitters                     sol
pubis           reich            scrote                    shittin                      son-of-a-bitch
pula            republican       scrotum                   shitting                     sooners
pule            resign           scrud                     shittings                    sorry
punkass         retard           scrwing                   shitty                       souse
punky           retarded         scum                      shity                        soused
puss            retards          seaman                    shitz                        sperm
pusse           revue            seamen                    shiz                         spic
pussee          rim-job          seduce                    shot                         spick
pussies         rimjob           seks                      shyt                         spik
pussy           rimming          self                      shyte                        spiks
pussypounder    ritard           sell                      shytty                       splooge
pussys          roads            selling                   shyty                        spooge

                                     App.320 No comment: Public Universities’ Social Media Use and the First Amendment | 31
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       sprays                            titslut                  urine                 weewee               zcgshpndpzruqjcyurch
       spraysvideo!!!!..                 titt                     uterus                weiner               zeeb
       spunk                             tittiefucker             uyuo                  weirdo               zigaboo
       stalker                           titties                  uzi                   wench                zoophile
       steamy                            titty                    v1agra                weree
       stfu                              tittyfuck                va1jina               wetback
       stiffy                            tittyfucker              vag                   wh00r
       stoned                            toe                      vag1na                wh0re
       street                            toke                     vagiina               wh0reface
       strip                             tomorrow                 vagina                whack titties
       stroke                            toots                    vaginas               whack-off
       stupid                            top10 unviersities       vaj1na                whatt
       suck                              tosser                   vajina                whipping
       sucked                            towel-head               valium                white boy
       sucking                           towelhead                viagra                whitey
       sucks                             towhead                  victoria's secret     whiz
       sucky                             tragedy                  video watch           whoar
       sumofabiatch                      tramp                    video!!!!             whoralicious
       sumshots                          trannsy                  videoo                whore
       sutz                              tranny                   videooo               whorealicious
       t1t                               transsexual              videoooo              whored
       taint                             trashy                   videooooo             whoreface
       tampon                            trevillian               videos pls            whorehopper
       tard                              truck                    virgin                whorehouse
       tards                             truebloodx               vixen                 whores
       tawdry                            trump                    vodka                 whoring
       teabagging                        trumptards               vomit                 wigger
       teat                              tubgirl                  voyeur                womb
       teets                             turd                     vulgar                woody
       teez                              turtle                   vullva                wop
       terd                              turtles                  vulva                 wowreallly
       terrible                          tush                     vvideoo               wtf
       terroists                         twat                     vviideoo              wtfiyp
       terrorism                         twats                    w00se                 wth
       terrorist                         twink                    w0p                   wut
       teste                             two                      wad                   www.bruinslist.com
       testee                            two's                    walkways              www.bruinspokerclub.
       testes                            twoo's                   wang                  com
       testical                          twoos.                   wank                  x-rated
       testicle                          twos!!                   wanker                xrated
       testis                            ugly                     watt                  xxx
       the colonel                       um                       wazoo                 xxxx
       theyre                            umm                      weathe                yabbo
       thisi                             ummm                     web                   yabbos
       thiss                             ummmm                    webpage               yahoo
       thisss                            undies                   webpagee              yahoos
       thrust                            undrgrndsound            website is messing up yaun
       thug                              university of oklahoma   right now             ybya
       tinkle                            unwed                    websitee              ybysa
       tit                               up                       wedgie                yeasty
       titfuck                           update                   weeabo                ykyarw
       titi                              upp                      weed                  yobbo
       tits                              urinal                   weenie                you

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                                                                       App.321
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                                      App.322
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                      Exhibit 9




                                   App.323
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Bias Incident Response | Oklahoma State University                                      1/4/23, 12:27 PM
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    OKLAHOMA STATE UNIVERSITY(HTTPS://GO.OKSTATE.EDU/)Quicklinks / Search                                  APPLY(HTTPS://GO.OKSTATE.EDU/APPLY/)

                             STUDENT
                             AFFAIRS
                                                (/)



                             WHO WE ARE(/WHO-WE-ARE/INDEX.HTML)                STUDENTS(/STUDENTS/INDEX.HTML)           STRATEGIC PLANNING


                             GIVE(/GIVE/INDEX.HTML)         INFO FOR


  Student A!airs(https://studenta!airs.okstate.edu/)    /   Students(https://studenta!airs.okstate.edu/students/)   /

  Bias Incident Response(bias-incident-response.html)




  Oklahoma State Bias
  Incident Response                                                                                        Contact
  Oklahoma State University respects and values the diversity of individual                                O!ce of Vice President for (/who-we-
  beliefs and opinions. The Bias Incident Response Team aims to support                                    Student A"airs              are/index.html)
  individuals that have experienced a bias incident.                                                       201 Whitehurst Oklahoma State University
                                                                                                           Stillwater, OK 74078
                                                                                                           (405) 744-5328(tel:4057445328)
                                                                                                           vpsao@okstate.edu(mailto:vpsao@okstate.edu)


  What is bias?
  Bias is a disproportionate weight in favor of or against an idea or thing, usually
  in a way that is closed-minded, prejudicial, or unfair. Biases can be innate or
  learned. People may develop biases for or against an individual, a group, or a
  belief.




  What is bias incident?
  A bias incident involves actions committed against or directed toward a
  person or property that are motivated, in whole or in part, by a bias against a
  person or group of persons who possess common characteristics.


  The University urges anyone who has experienced or witnessed a bias incident
  to report it.




      REPORT HERE (HTTPS://CM.MAXIENT.COM/REPORTINGFORM.PHP?
                OKLAHOMASTATEUNIV&LAYOUT_ID=20)




https://studentaffairs.okstate.edu/students/bias-incident-response.…an%20investigative%20or,extent%20of%20the%20committee's%20authority           Page 1 of 3

                                                                             App.324
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Bias Incident Response | Oklahoma State University                                    1/4/23, 12:27 PM
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  For all reports containing contact information, a member of the Bias Incident
  Response Team will contact the reporting person and if desired, o"er a
  meeting to discuss the incident in detail to explore a plan for resolution.
  During this meeting, the reporting person can expect to obtain information
  about related University policies, procedures, and resources.


  The Bias Response Team will:
  ·     Review all reports with due diligence
  ·     Create a space for students/employees to process their experiences
  ·     Aim to reassure students or employees that their feelings are valid
  ·     Ensure reported bias incidents are properly recorded so that they may
  assess the campus climate on an ongoing basis
  ·     Coach students/employees through di#cult conversations and/or
  written correspondence
  ·     Provide follow-up training and educational opportunities
  ·     Collaborate with the reporter to explore options for informal resolution


  The Bias Incident Response Team is not an investigative or disciplinary body.
  The committee will brainstorm viable solutions to all incidents. Suggestions for
  redress made by the reporter will be considered to the fullest extent of the
  committee's authority. In the case where disciplinary or corrective action is a
  possibility the reporter will be referred to Human Resources or Student
  Conduct. The Bias Incident Response Team will receive incoming reports to
  review for action steps necessary on the information submitted. Extended
  team members will listen to students and employees concerns, o"er
  resources, and assist in responding to the concerns.


  To talk to someone about the team please contact:
  ·     Aleigha Mariott(mailto:aleigh.marriot@okstate.edu), Ph.D. Director of
  Student Support & Conduct, (405) 744-5470(tel:4057445470)
  ·     Clyde Wilson(mailto:clyde.wilson@okstate.edu), Ph.D. Assistant Vice
  President/Director of TRIO programs, (405) 744-5288(tel:4057445288)
  ·     Jackson Landrum(mailto:jackson.landrum@okstate.edu), Director of
  Equal Opportunity, (405) 744-9153(tel:4057449153)




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                                                                                                      (https://social.okstate.edu)

                                                                                                        (https://www.facebook.com/pages/Oklahoma-
                                                                                                        State-University/39013362306)




https://studentaffairs.okstate.edu/students/bias-incident-response.…an%20investigative%20or,extent%20of%20the%20committee's%20authority   Page 2 of 3

                                                                    App.325
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Bias Incident Response | Oklahoma State University                                       1/4/23, 12:27 PM
             Appellate Case: 23-6054 Document: 010110864065 Date Filed: 05/23/2023 Page: 113
                                                               O!ce of Vice President for Student
                                                               A"airs (/)
                                                               201 Whitehurst
                                                               Oklahoma State University
                                                               Stillwater, OK 74078
                                                               (map) (https://map.okstate.edu/?
                                                               id=1842#!m/522177)
                                                               (405) 744-5328 (tel:4057445328) |
                                                               Contact Us (mailto:vpsao@okstate.edu?
                                                               subject=)




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https://studentaffairs.okstate.edu/students/bias-incident-response.…an%20investigative%20or,extent%20of%20the%20committee's%20authority             Page 3 of 3

                                                                                   App.326
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                    Exhibit 10




                                   App.327
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       Bias Incident Report

  Oklahoma State University respects and values the diversity of individual beliefs
  and opinions. The University urges anyone who has experienced or witnessed a
  bias incident to report it.


  Do not use this form to report events presenting an immediate threat to life or
  property. Reports submitted through this form may not receive an immediate
  response. If you require emergency assistance, please contact the police by dialing
  911.


  You can submit this report anonymously but understand that this could limit the
  university's ability to respond to the reported concerns. For all reports containing
  contact information, a member of the Bias Incident Response Team will contact the
  reporting person and if desired, offer a meeting to discuss the incident in detail to
  explore a plan for resolution. During this meeting, the reporting person can expect
  to obtain information about related University policies, procedures, and resources.


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                                                                    App.328
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  The Bias Incident Response Team is not an investigative or disciplinary body. The
  committee will brainstorm viable solutions to all incidents. Suggestions for redress
  made by the reporter will be considered to the fullest extent of the committee's
  authority. In the case where disciplinary or corrective action is a possibility, the
  reporter will be referred to Human Resources or Student Conduct.

    Background Information


  Enable additional features by logging in.  (https://cm.maxient.com/reportingform.php?
  OklahomaStateUniv&layout_id=20&promptforauth=true)

  Your full name:




  Your position/title:




  Your phone number:




  Your email address:




  Date of incident (Required):


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                                                                    App.329
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    01/04/2023


  Time of incident:




  Location of incident (Required):


    Please select a location ...


  Specific location:




    Involved Parties


        Name or Organization




        ID Number




        Phone number




        Email address




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                                                                    App.330
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        Add another party




    Report


    Nature of the Incident: Again, please check all types of conduct involved in the incident. Please
    also be sure to fully describe the incident in the section below. (Required)

         Comment in Class or Assignment Comment in Person

         Comment in Writing

         Comment on the Internet/Social Media

         Comment via Email

         Comment via Text Message

         Comment via Phone/Voicemail

         Harassment

         Hazing

         Incorrect name or pronoun usage

         Intimidation

         Offensive Picture or Image

         Physical Assault

         Property Damage/Destruction

         Pursuit/Chase

         Theft of Property

         Threat(s)

         Vandalism or Graffiti


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                                                                    App.331
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         Verbal Assault

         Other



    Description/Narrative: Please provide a detailed description of the incident/concern using
    specific, concise, objective language. (Required)




    Person completing this form: How were you involved? (Required)

         Target of behavior

         Witness to the incident

         Friend/Family/Partner of the target

         University employee



    Was the incident reported to a police agency? (Required)

            Yes

            No


    Supporting Documentation

    Photos, video, email, and other supporting documents may be attached below.
    5GB maximum total size.
    Attachments require time to upload, so please be patient after submitting this


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                                                                    App.332
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    form.

       Choose files to upload                                                         Choose Files



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                                                             Submit report

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                    Exhibit 11




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              2022
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                                    ABOUT SPEECH FIRST

Speech First is a membership association of students, parents, faculty, alumni, and concerned citizens
committed to restoring the freedom of speech on college campuses through advocacy, education,
and litigation. Launched in 2018, Speech First is dedicated to preserving the free and open discourse
essential to a comprehensive education and counteracting the increasingly toxic censorship culture
on college campuses.




                LETTER FROM THE EXECUTIVE DIRECTOR

Colleges and universities routinely threaten their students’ speech rights. Those who fight back are
met with open hostility from campus administrators, professors, and peers. As a result, students
across campus are often denied the opportunity to express their views in open debate.

One increasingly popular method of quelling campus speech and enforcing ideological uniformity
is the adoption of Bias Reporting Systems (BRSs), which schools often create under the guise of
“Diversity, Equity, and Inclusion.” BRSs actively chill student speech through fear and intimidation.
Sadly, the students themselves often anonymously report their peers for alleged infractions. By
creating a tattle-tale culture, students are empowered to enforce agendas on others.

I could give you countless examples of brave students who stand up for what they believe in. But
the prospect of standing up to a college or university can be overwhelming, expensive, and time-
consuming (not to mention awkward, since the student still wants a diploma at the end of the day).
That’s why many students stay silent.

The prospect of speaking freely looks less daunting when students are supported by like-minded
individuals from all over the country and have the partnership and support of an organization with
the resources to fight back. That’s why Speech First exists. We’ve created a nationwide community
of free speech supporters so that students won’t have to go at it alone. We provide support every
step of the way: on campus, in the media, and in court.

Speech First is restoring the freedom of speech on college campuses because when students are
exposed to different and challenging ideas, they emerge stronger, smarter, and more resilient. That’s
the point of education, after all. And that’s why we’re putting colleges and universities on notice that
we’ll be there whenever they censor, shut down, or unjustly punish speech.
We hope you’ll join us.


Cherise Trump
Executive Director, Speech First




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                               EXECUTIVE SUMMARY

Free speech is under attack. Today, higher education is ground zero for testing out dangerous forms of
censorship that instill fear, propel viewpoint discrimination, and restrict vital academic discourse.

One increasingly popular tactic is the Bias Reporting System (BRS). These elaborate schemes are
designed to silence dissenters, stifle open dialogue, and encourage students to report speech they
deem unacceptable. Two federal courts of appeals have already recognized the chilling effect of BRSs.
In 2019 the Sixth Circuit stated that BRSs impose an “objective chill” on speech because they “act by
way of implicit threat of punishment and intimidation to quell speech.” 1 Similarly, in 2020, the Fifth
Circuit agreed, stressing that BRSs “represent the clenched fist in the velvet glove of student speech reg-
ulation.”2

This 2022 Report, ‘Free Speech in the Crosshairs: Bias Reporting on College Campuses,’ is the first
comprehensive report covering these issues in nearly five years. Speech First’s report provides updated
data, trends, and reflections in order to provide new insights into the rapid growth of bias
reporting systems.

         456 BIAS REPORTING SYSTEMS             We evaluated 824 institutions of higher
                                                education and found that the majority
                                                of them (56%) have Bias Reporting
200       249                                   Systems. In total, we identified 456 Bias
150
           PUBLIC
                            207                 Reporting Systems (BRSs)3 at public
                             PRIVATE            and private institutions of higher education
100
                                                across the country. Of these, 249 were found
 50
                                                in public institutions and 207 in private
                                                institutions – and 53% of the most egregious
 0
                                                forms4 of BRSs were housed in Diversity, Equity,
                                                and Inclusion (DEI) offices.

Before this Report, the primary data available on this issue was the 2017 report from the Foundation for
Individual Rights in Education (FIRE),5 which identified 232 Bias Reporting Systems (BRSs) on American
college campuses. The FIRE report predicted that this number would “grow rapidly.”6 FIRE’s prediction
turned out to be correct. In this report, Speech First identifies 456 BRSs, twice as many as identified by
FIRE just five years ago. Moreover, this report is largely based on information that universities
publicly report. It is very likely that some BRSs are not publicized, and so these reporting
systems are far more pervasive than we know.

In short, our data shows that Bias Reporting Systems have been spreading rapidly. Our report outlines
the scope of this problem and includes an appendix of all the schools we found with identified BRSs.

Tackling BRSs will require some combination of the following:
  • Legal action – Hold universities accountable for their bad policies in the court of law.
  • Public pressure – Parents, students, and alumni should inform state and national legislators as
    well as the media about free speech concerns on their campuses.
  • Engage alumni and donors – Donors should demand transparency from the universities they give to.
  • Use state and federal funding to apply pressure – Tax-payer funded institutions are beholden to
    the people.
  • Empower students – Students should know their rights and recognize when those rights are
    being violated.



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              “For the people to rule
              wisely, they must be
              free to think and
              speak without fear
              of reprisal.”
              James Madison




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               WHAT ARE BIAS REPORTING SYSTEMS?

FIRE’s 2017 Report defined a bias reporting system        university is keeping records—records that could
‘as any system identified as such, or that provides’:7    follow them well beyond college and into their
                                                          professional careers.
 1. a formal or explicit process for or solicitation of
                                                          The University of Maryland’s description of its BRS
 2. reports from students, faculty, staff, or the
                                                          is emblematic:
    community
                                                           The primary role of the Hate-Bias Response
 3. concerning offensive conduct or speech that
                                                           Team is to review hate-bias incidents, to provide
    is protected by the First Amendment or
                                                           appropriate responses based on the nature of
    principles of expressive or academic freedom.
                                                           the incident and to work collaboratively to
Bias Reporting Systems are university teams or             provide educational outreach to the campus ...
procedures that are specifically designated to             Bias Incident Support Services (BISS) is charged
solicit, receive, investigate, and respond to reports      with addressing hate-bias incidents targeting
of “bias incidents” or other similar speech at their       UMD students, faculty and staff. The program
institutions. Typically, BRSs invite students and          responds, educates and reports to the campus
faculty to report speech that is “biased” on the           community about bias, its impact, as well as
basis of some protected characteristic such as race,       protocols related to bias ... [BISS] is committed to
religion, sex, sexual orientation, gender identity/        holistically addressing hate-bias incidents that
expression, age, disability.8 Many even include            target UMD community members by focusing
“bias” against someone’s “political affiliation.”9         on incident response and support, proactive
Students, faculty, and staff who believe they have         training and education initiatives, and data
experienced or witnessed a “bias incident” can             collection and distribution ... BISS staff collects
usually report the incident to their college or            and analyzes data related to hate-bias incidents
university through an online reporting form. In            which allows for the evaluation of trends, the
most of these forms, the reporter can choose to            assessment of training needs and strategizing of
remain anonymous.                                          prevention efforts.

BRSs are typically staffed by the university’s senior     Similarly, the University of Tennessee at Knoxville
faculty and staff. And some include a police officer      describes its BRS (what it calls the “Bias Education
on the team itself—a literal speech police.               and Response Team,” or BERT) as using the
                                                          following protocol:
After receiving a complaint about an alleged “bias
incident,” the BRS reviews the incident report and         The team members will review incident reports
will either conduct an “educational intervention” 10       and meet with affected students to facilitate
with the accused student or forward the complaint          services such as counseling, health services,
to another university department for further               or other referrals as needed to address safety
review. Some BRSs maintain a public log of                 concerns and to provide assistance and
reported bias incidents, sometimes with enough             comfort to those impacted ... [and] develop an
detail that others on campus can deduce who                appropriate plan to initiate communication with
was involved. And virtually all universities claim         the broader community and make referrals to
that these processes are designed to assess the            the Office of Student Conduct and Community
campus climate and monitor “patterns” of hate              Standards, Office of Equity and Diversity, or the
and bias to help the university improve its                University of Tennessee Police Department
trainings, programs, or policies. Students reported        if the incident appears to violate a university
to these systems do not know whether or not the            policy or state/federal law ... Any student found to




                                                    App.340
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 be responsible for an act of bias, which violates      teams. Recent data shows that only 32% of college
 university Standards of Conduct or criminal law,       students feel that it is very or extremely clear that
 will be subject to disciplinary sanctions up to        their college administration protects free speech
 and including permanent dismissal from the             on campus.11
 university.
                                                        Apart from the reporting teams described above,
BRSs frequently define “bias incidents” in vague        BRSs can often arise as vague online systems
and overbroad terms, making them difficult for          embedded within other boards or committees
students to interpret and easy for administrators       already established on campus — systems
to employ at their discretion. Nevertheless, all        soliciting reports of incidents concerning speech
of the definitions make one thing clear: they           that is biased, offensive, unwanted, discriminatory,
apply to student speech. As a result, students          hateful, or a “microaggression.”
often self-censor to avoid running afoul of these




                                THE DANGERS OF BRSs

BRSs intimidate and silence students whose              to speak freely and offer their perspectives on
viewpoints do not conform to the dominant social,       historical and current events and ideas. As Speech
political, and cultural narratives on campus. By        First warned in its case against the University of
design, these teams create an environment of fear       Michigan, “[u]nder the plain text of [the BRS’s]
that chills speech and dialogue between students        definitions, a student may be deemed to have
of diverse beliefs and perspectives, ultimately         acted with ‘bias’ if, for example, she gives a speech
silencing speech through self-censorship. This          sharply criticizing the Catholic Church and its
chilling effect was confirmed by a 2021 joint           adherents for not allowing women to become
study conducted by FIRE, College Pulse, and             priests; this student has expressed a ‘negative
RealClearPolitics, which found that more than           opinion’ or ‘attitude’ about a certain group of
80% of college students in the U.S. self-censor.12      people based on their ‘cultural experience’ of
The result of this climate of intimidation and          religion.” 13 Such rich and valuable discourse
self-censorship is a campus environment that            should not be discouraged through university
fosters fearful silence instead of a healthy            intimidation.
back-and-forth in the classroom, in dorms, at
                                                        BRSs also frequently combine immense power
club events, and in social settings.
                                                        with a lack of oversight or accountability. Many
The broad definition of “bias” allows universities      BRSs can either initiate disciplinary actions against
to burden a broad range of constitutionally             students or refer allegations to other university
protected expression. And a lack of clear and           departments with disciplinary authority. But even
meaningful standards opens the door to arbitrary        when a BRS disclaims any formal disciplinary
or discriminatory enforcement.                          authority, the mere presence of a team consisting
                                                        of senior administrators responsible for monitoring
The definition of a “bias incident” at most
                                                        student expression inevitably chills speech.
universities is so broad that it encompasses even
                                                        The simple fear of being anonymously reported
political speech. Common definitions include
                                                        to university authorities and subjected to process-
speech that is “motivated by a bias against a
                                                        is-punishment investigations (which often include
person in part because of that person’s ... political
                                                        university officials and law enforcement), diversity
affiliation ... or intellectual perspective” (the
                                                        and anti-bias trainings, and public stigmatization is
University of Mississippi), or biased expressions
                                                        a present and powerful force on campuses across
“based on ... perceived political ideas” (Eastern
                                                        the country.
Mennonite University). But students must be able



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              Bias reporting systems
              “represent the
              clenched fist in the
              velvet glove of student
              speech regulation.”
              Fifth Circuit Court Opinion
              in Speech First, Inc. v. Fenves
              (2020)




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With these powerful, unaccountable systems              mission of higher education.” 15
and broad definitions in place, universities solicit
                                                        Paradoxically, BRSs undermine the very
complaints from students about their classmates’
                                                        diversity that the proponents of BRSs claim to
speech. Put differently, they ask students to report
                                                        seek. Diversity of all kinds, including diversity of
one another simply for expressing disagreement
                                                        thought, is central to educational excellence. As
with or an alternative perspective from the
                                                        a result, BRSs present a formidable threat to
dominant social, political, or cultural narrative
                                                        educational excellence. As Khalid and Snyder
on campus.
                                                        correctly feared, bias response systems:
BRSs ultimately contribute to a culture on campus
                                                           undermine a bedrock principle of the modern
that prevents students from voicing unpopular
                                                           university: that more diversity leads to better
beliefs about the most important issues of the
                                                           learning ... [D]iversity works its magic only
day — topics like racial inequality, abortion,
                                                           through meaningful contact between
gender identity, gun control, or contemporary
                                                           people with varying ‘identity characteristics.’
socio-political phenomena like the George
                                                           Contact, by definition, will sometimes lead
Floyd protests.14
                                                           to conflict. Imagine a conversation between
That’s why these policies undermine the very               an evangelical student and a gay student on
foundational purpose of our educational                    same-sex marriage, or a discussion about U.S.
institutions. As Amna Khalid and Jeff Snyder,              drone policy between a dove and a hawk. Such
professors of History and Educational Studies at           conversations are invaluable. But without the
Carleton College, have warned, BRSs “degrade               space to debate and argue, students won’t
education by encouraging silence instead of                ever be forced to confront the underlying
dialogue, the fragmentation of campuses into               assumptions framing their worldviews. BRTs
groups of like-minded people, and the deliberate           threaten to drive students into their own
avoidance of many of the most important — and              corners with peers who look and think like
controversial — topics across all academic                 them, reducing the potency of diversity to a
disciplines. They are inherently anti-intellectual         glib slogan on admissions brochures.16
enterprises, fundamentally at odds with the



                                      METHODOLOGY

The Colleges and Universities in this Report            reports from students, faculty, staff, or the
                                                        community concerning offensive conduct or
We evaluated the leading four-year colleges and
                                                        speech that is protected by the First Amendment
universities in every state, generating a significant
                                                        or principles of expressive or academic freedom.” 19
pool of both private and public schools. Ultimately,
                                                        Similarly, in Speech First’s report, an institution is
our study covered 444 private schools (which
                                                        deemed to have a Bias Reporting System if it
represent 23%17 of all private four-year colleges in
                                                        houses an established system (a devoted incident
the U.S.), and 380 public schools (which represent
                                                        report form and adjudicating team/council/board)
49%18 of all public four-year colleges in the U.S.),
                                                        that explicitly solicits reports of speech that is:
for a total of 824 institutions.
                                                          • Biased                • Discriminatory
In 2016, FIRE defined a Bias Reporting System as
                                                          • Offensive             • Hate/hateful
“any system identified as such, or that provides
                                                          • Unwanted              • A microaggression
a formal or explicit process for or solicitation of




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                                            RESULTS

We found 456 Bias Reporting Systems at four-year public and private institutions of higher
education across the country (56% of the total 824 schools examined in our report). Of these, 207 were
found in private institutions and 249 in public institutions (46% of all private schools and 66% of all
public schools examined in our report thus have a BRS).

Our report thus found 230% more BRSs at private universities and 175% more BRSs at public
universities than FIRE did just five years ago (FIRE found 89 and 143 BRSs, respectively). Considering
our report only examined 49% of public four-year colleges and 23% of private four-year colleges, the
number of BRSs would swell if we were to examine every university.

Nearly every reporting system allows for anonymous reporting, and 53% of the most expansive forms20
of these systems were housed in Diversity, Equity, and Inclusion (DEI) offices.

In total, we identified twice as many BRSs as FIRE did in 2017 (456 identified in our report, versus 232
identified in FIRE’s 2017 survey).

An appendix of all 456 schools with BRSs can be found in our Appendix of Universities with BRSs
on p. 15.



                                    456 BIAS REPORTING SYSTEMS



                  200
                                249
                   150
                                  PUBLIC
                                                                 207
                                                                   PRIVATE
                  100


                   50



                    0




                              PRIVATE                          PUBLIC

                           230%
                             More BRSs
                                                             175%
                                                              More BRSs
                             identified                       identified


                                 OVER PAST 5 YEARS

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   INSTITUTIONS WITH BIAS REPORTING SYSTEMS



                             BRSs FOUND IN 2017                  21




                            BRSs FOUND IN 2022




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              “Students across the nation
              are self-censoring for fear of
              being suspended, failing to
              be hired for a job, or being
              ostracized from society. We
              see this because practical
              policy ideas are often turned
              into these outrageous
              questions of good and evil
              – if someone disagrees with
              you politically, you do not
              just disagree, but you are
              now a bad person.”
              Emma Blair, Grand Canyon
              University




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                                 WHAT CAN BE DONE

Since our nation’s founding, Americans have           taxpayer-funded institutions and are thus
placed a high value on the fundamental freedoms       answerable to the people. Even private universities
to speak, inquire, and learn, freedoms enshrined      receive state and federal grants and, as a condition
in the First Amendment. These freedoms not only       of receiving those funds, must comply with the
infuse the spirit of the liberal arts, but are also   applicable regulations to the same degree as
essential to the continued health and existence       public universities.22 At the federal level, the
of our nation. Central to liberal democracy and       Department of Education needs to monitor the
the republican form of government is a spirit of      campus speech policies of schools that receive
political participation that requires curious,        federal funding. Moreover, if a university applying
engaged citizens who can speak and think freely       for a federal grant has policies that appear to
with one another. As is a basic tolerance for         facially restrict student speech, its application
opposing viewpoints and a vigilance against           should be paused for further investigation.
tyranny in all of its obvious and subtle forms.
                                                      State governments can also play an important
The dangerous effects of BRSs must be                 role. They can enact legislation to enhance
confronted and addressed. It’s not just about         transparency at state universities and provide
defending essential freedoms, but also about          oversight to ensure that public institutions comply
creating and sustaining a society in which we         with those requirements. State legislatures could,
can exercise them. These policies do not cultivate    for example, require public universities to conduct
a space of inclusion and diversity. Instead, they     annual student surveys evaluating the free speech
compromise students’ fundamental rights to            climates on their campuses. States could mandate
free speech and inquiry, profoundly weaken the        that freshmen orientations include courses on
academy, and threaten our constitutional republic     the First Amendment and exercising free speech.
and our relentless pursuit of a more perfect union.   Additionally, because most BRSs are housed in
                                                      university DEI departments, state legislators
Several steps can and should be taken, in
                                                      could mandate increased disclosures from DEI
conjunction, to address BRSs.
                                                      departments about their BRS procedures. A recent
Take legal action. Speech First holds universities    report from the Idaho Freedom Foundation23 lists
accountable for their actions. We have been on        several additional ways lawmakers can reform
the front lines of the fight against bias reporting   college campuses, such as designating all outdoor
policies from the beginning, and many of our          areas on public universities as public forums
cases have involved the activities of BRSs and        open to free speech and requiring colleges and
their chilling effects on student speech. To date,    universities to disclose how their policies protect
Speech First is the only organization to prevail      free speech on their campuses. These types
in litigation against a bias reporting system,        of policies incentivize transparency and
effectively ending the systems at the University      encourage universities to aim for open discourse
of Michigan and University of Texas. If you’re        and free speech on their campuses.
interested in taking action on your own campus
                                                      Apply public pressure. Parents, students, and
to stop a BRS from censoring student speech,
                                                      alumni should regularly engage with their state
you should reach out to Speech First or other
                                                      legislators, congressional representatives and staff,
public-interest groups who protect students’ First
                                                      and university boards of trustees. Public pressure
Amendment rights.
                                                      can not only alert policymakers to the gravity of
Monitor and revoke state and federal funding          the issue but also inspire them to champion
for universities that violate students’ First         campus free speech issues. Lawmakers often don’t
Amendment rights. Public universities are             see a spirited push about student free speech



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rights from their constituents, but the more that      faculty, and peers try to shut down speech.
constituents emphasize this issue, the greater the     Finally, students who support free speech on
pressure to take action will become. Alumni must       campus should consider running for Student
also emphasize to university boards of trustees        Government, founding or joining clubs that
that initiatives like BRSs will damage the prestige    advocate for the First Amendment, or writing
of their institutions and weaken their                 for the campus paper or other news and media
academic reputations.                                  outlets.

Engage alumni donors. Alumni should exert              Below is advice from students who are on
pressure on their alma maters. Major donors            campuses now and facing similar challenges:
should take a closer look at how the universities
                                                       “The best advice I can give to the next generation
they love and support have changed from when
                                                       of college students is to stand firm in your values
they were last on campus. Millions of dollars of
                                                       and don’t allow yourself to be silenced.” – Olivia
alumni donations are being spent on DEI
                                                       Gallegos, Wichita State
departments and other misguided efforts that
lead to speech restrictions on campus.24               “The biggest piece of advice I would offer is to
                                                       become so extraordinarily educated on your
Empower students. Finally, students must
                                                       beliefs and opinions that you become confident
recognize the responsibility they have to
                                                       enough to speak up and out against those
themselves. Self-censorship, avoiding discussions
                                                       silencing you. And when you are met with
and debates, and other forms of complacency
                                                       opposition and the stifling of your speech, fight
will not lead to more open discourse on campus.
                                                       back with facts.” – Adam Fairchild, University of
Instead, it will embolden those who wish to
                                                       Colorado- Boulder
eliminate dissenting voices. Students must know
their constitutional rights, federal and state laws,   “My best advice to college students and beyond is
and campus policies. Students should note any red      to always remember that the Constitution is on
flags when reading student handbooks and reach         your side. We need more students who are willing
out to organizations like Speech First when they       to stand up in their classrooms, challenge
encounter policies that chill speech on campus.        colleges and universities when they attempt to
Because Speech First will be there every step of       silence them and encourage their peers to do the
the way, students can have the courage to speak        same.”– Kiara Kincaid, University of Oklahoma
whenever and wherever campus administrators,




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              “The best advice
              I can give to the
              next generation of
              college students is
              to stand firm in your
              values and don’t
              allow yourself to
              be silenced.”
              Olivia Gallegos, Wichita State




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              APPENDIX OF UNIVERSITIES WITH BRSs
This appendix lists every university in our report that maintains a BRS and links to their respective
webpages. As outlined in the What are Bias Reporting Systems? section on p. 5, these systems use
a wide array of language and procedures, but they all have one thing in common—unnecessarily
chilling speech student speech that is outside of the mainstream.


Alabama                              UC, San Diego                       Georgia
Auburn University                    UC, San Francisco                   Agnes Scott College
Birmingham-Southern College          UC, Santa Barbara                   Berry College
Huntingdon College                   UC, Santa Cruz                      Emory University
Jacksonville State University        University of Southern California   Georgia Institute of Technology
Spring Hill College                  Colorado                            University of West Georgia
University of Alabama                Colorado Mesa University            Hawaii
University of South Alabama          Colorado School of Mines            Brigham Young University -
Arizona                              Colorado State University           Hawaii
University of Arizona                Colorado State University, Pueblo   University of Hawaii at Hilo
                                     Regis University
Arkansas                                                                 Idaho
                                     University of Colorado Boulder
Henderson State University                                               Boise State University
                                     University of Denver
University of Central Arkansas                                           The College of Idaho
                                     Connecticut                         University of Idaho
California
                                     Central Connecticut State
California Polytechnic State                                             Illinois
                                     University
University                                                               Augustana College - Illinois
                                     Connecticut College
California State University, Chico                                       Eastern Illinois University
                                     Fairfield University
California State University, East                                        Illinois Institute of Technology
                                     Sacred Heart University
Bay                                                                      Illinois State University
                                     Southern Connecticut State
California State University,         University                          Illinois Wesleyan University
Northridge                                                               Lake Forest College
                                     Trinity College - Connecticut
California State University,                                             Loyola University Chicago
                                     University of Connecticut
Sacramento                                                               Northern Illinois University
                                     University of New Haven
California State University,                                             Northwestern University
San Marcos                           University of Saint Joseph
                                     Wesleyan University                 Southern Illinois University at
Harvey Mudd College                                                      Carbondale
Humboldt State University            Yale University
                                                                         Southern Illinois University at
Pomona College                       Florida                             Edwardsville
San Francisco State University       Florida A&M University              University of Chicago
San Jose State University            Florida Gulf Coast University       University of Illinois at Chicago
Santa Clara University               Florida International University    Wheaton College - Illinois
Scripps College                      Florida State University
Stanford University
                                                                         Indiana
                                     Rollins College
                                                                         Ball State University
Sonoma State University              Stetson University
                                                                         Butler University
UC, Berkeley                         University of Central Florida
                                                                         Depauw University
UC, Davis                            University of Florida
                                                                         Earlham College
UC, Irvine                           University of Miami
                                                                         Hanover College
UC, Los Angeles                      University of North Florida
                                                                         Indiana State University
UC, Merced                           University of Tampa
                                                                         Indiana University, Bloomington
UC, Riverside


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Indiana University, East        Tulane University            Michigan
Indiana University, Kokomo         University of New Orleans            Albion College
Indiana University, Northwest      Xavier University of Louisiana       Andrews University
Indiana University - Purdue                                             Aquinas College - Michigan
                                   Maine
University Indianapolis                                                 Calvin University
                                   Bates College
Indiana University, South Bend                                          Central Michigan University
                                   Bowdoin College
Indiana University, Southeast                                           College for Creative Studies
                                   Colby College
Purdue University                                                       Grand Valley State University
                                   Husson University
Purdue University Fort Wayne/                                           Hope College
Indiana University Fort Wayne      University of Maine
                                                                        Kalamazoo College
University of Evansville           University of New England
                                                                        Lawrence Technological
University of Notre Dame           University of Southern Maine
                                                                        University
University of Southern Indiana     Maryland                             Michigan State University
Valparaiso University              Frostburg State University           Michigan Technological
Wabash College                     Goucher College                      University
                                   Hood College                         Saginaw Valley State University
Iowa
                                   Johns Hopkins University             Spring Arbor University
Coe College
                                   Loyola University Maryland           University of Michigan - Ann
Cornell College
                                   McDaniel College                     Arbor
Drake University
                                   Stevenson University                 University of Michigan -
Grinnell College                                                        Dearborn
Iowa State University              Towson University
                                                                        University of Michigan - Flint
Luther College                     University of Maryland
                                                                        Western Michigan University
University of Iowa                 Washington College
                                                                        Minnesota
University of Northern Iowa        Massachusetts
                                                                        Bemidji State University
Kansas                             Amherst College
                                                                        Carleton College
Baker University                   Babson College
                                                                        Concordia College
Friends University                 Boston College
                                                                        Gustavus Adolphus College
Pittsburg State University         Boston University
                                                                        Macalester College
Sterling College                   College of the Holy Cross
                                                                        Minnesota State University,
Wichita State University           Fitchburg State University
                                                                        Mankato
                                   Framingham State University
Kentucky                                                                Minnesota State University,
                                   Harvard University                   Moorhead
Bellarmine University              Massachusetts Institute of           North Central University
Centre College                     Technology
                                                                        Saint Cloud State University
Eastern Kentucky University        Massachusetts Maritime
                                                                        St. Catherine University
Morehead State University          Academy
                                                                        St. Olaf College
Northern Kentucky University       Northeastern University
                                                                        University of Minnesota - Morris
Transylvania University            Salem State University
                                                                        University of Minnesota - Twin
University of Kentucky             Tufts University
                                                                        Cities
University of Louisville           University of Massachusetts -
                                   Amherst                              University of St. Thomas -
Western Kentucky University
                                                                        Minnesota
                                   University of Massachusetts
Louisiana                          Dartmouth                            Mississippi
Centenary College of Louisiana     University of Massachusetts          Jackson State University
Dillard University                 at Lowell                            Mississippi College
Grambling State University         Wellesley College                    Mississippi State University
Louisiana State University         Westfield State University           University of Mississippi
Loyola University New Orleans      Williams College
Southeastern Louisiana             Worcester State University           Missouri
University                                                              Drury University



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Fontbonne University                 Stevens Institute of Technology     University of North Carolina -
Maryville University                 Stockton University                 Chapel Hill
Missouri State University            The College of New Jersey           University of North Carolina –
Missouri University of Science       William Paterson University         Charlotte
and Technology                                                           University of North Carolina -
                                     New Mexico                          Greensboro
Saint Louis University
                                     University of New Mexico            Wake Forest University
Southeast Missouri State
University                           New York                            Western Carolina University
University of Missouri - Columbia    City College of New York            North Dakota
University of Missouri – Kansas      Colgate University                  North Dakota State University
City                                 College of Staten Island            University of North Dakota
University of Missouri - Rolla       Columbia University
University of Missouri - St. Louis                                       Ohio
                                     Cornell University
Washington University in St.                                             Bowling Green State University
                                     CUNY, Hunter College
Louis                                                                    Cleveland State University
                                     Hamilton College
William Jewell College                                                   Case Western Reserve University
                                     New York University
                                                                         College of Wooster
Montana                              Skidmore College
                                                                         Denison University
Carroll College                      Stony Brook University
                                                                         John Carroll University
                                     SUNY Albany
Nebraska                                                                 Keene State College
                                     SUNY Binghamton
Bellevue University                                                      Miami University of Ohio
                                     SUNY Brockport
Creighton University                                                     Oberlin College
                                     SUNY Buffalo
Doane University                                                         Ohio University
                                     SUNY Cobleskill
Hastings College                                                         The Ohio State University
                                     SUNY Cortland
Nebraska Wesleyan University                                             University of Cincinnati
                                     SUNY Environmental Science
University of Nebraska - Lincoln                                         University of Dayton
                                     and Forestry
University of Nebraska Omaha                                             Wright State University
                                     SUNY Empire
Nevada                                                                   Youngstown State University
                                     SUNY Fredonia
University of Nevada, Reno           SUNY Geneseo                        Oklahoma
New Hampshire                        SUNY Morrisville                    Oklahoma State University
Colby-Sawyer College                 SUNY New Paltz                      University of Central Oklahoma
Dartmouth College                    SUNY Old Westbury                   University of Oklahoma
                                     SUNY Oneonta
Franklin Pierce University                                               Oregon
Southern New Hampshire               SUNY Oswego
                                                                         George Fox University
University                           SUNY Plattsburgh
                                                                         Lewis & Clark College
University of New Hampshire          SUNY Potsdam
                                                                         Linfield University
                                     University of Rochester
New Jersey                           Vassar College
                                                                         Oregon Institute of Technology
Drew University                                                          Oregon State University
Kean University                      North Carolina                      Pacific University Oregon
Monmouth University                  Appalachian State University        Portland State University
Montclair State University           Davidson College                    Reed College
New Jersey Institute of              Duke University                     Southern Oregon University
Technology                           Elizabeth City State University     University of Oregon
Princeton University                 Elon University                     University of Portland specifically
Rider University                     Fayetteville State University       School of Nursing
Rowan University                     High Point University               Western Oregon University
Rutgers University – New             North Carolina State University     Willamette University
Brunswick                            University of North Carolina –
Seton Hall University                Asheville



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Pennsylvania                  Furman University            James Madison University
Bryn Mawr College                  Presbyterian College                 Liberty University
Bucknell University                University of South Carolina         Longwood University
California University of           Winthrop University                  Norfolk State University
Pennsylvania                       Wofford College                      Radford University
Carnegie Mellon University                                              Roanoke College
                                   South Dakota
Cheyney University of                                                   Shenandoah University
                                   Augustana University
Pennsylvania                                                            The College of William and Mary
                                   South Dakota State University
Clarion University of                                                   The University of Virginia’s
Pennsylvania                       Tennessee                            College at Wise
East Stroudsburg University        East Tennessee State University      University of Mary Washington
of Pennsylvania                    Lipscomb University                  University of Richmond
Edinboro University of             Middle Tennessee State               University of Virginia
Pennsylvania (Linked with          University                           Virginia Polytechnic Institute and
Clarion)                           Rhodes College                       State University
Franklin & Marshall College        Sewanee - The University of          Washington and Lee University
Indiana University of              the South
Pennsylvania                                                            Washington
                                   Union University
Kutztown University of                                                  Central Washington University
                                   University of Tennessee -
Pennsylvania                                                            Eastern Washington University
                                   Knoxville
Lafayette College                                                       Evergreen State College
Lehigh University                  Texas                                Gonzaga University
Lock Haven University of           Baylor University                    Pacific Lutheran University
Pennsylvania                       Rice University                      Saint Martin’s University
Mansfield University of            Southern Methodist University        Seattle Pacific University
Pennsylvania                       Tarleton State University            Seattle University
Millersville University of         Texas A&M University                 University of Puget Sound
Pennsylvania                       Texas Christian University           University of Washington
Pennsylvania State University -    Texas State University               University of Washington Bothell
University Park
                                   Texas Tech University                Western Washington University
Shippensburg University of
                                   Texas Woman’s University             Whitworth University
Pennsylvania
                                   Trinity University                   Whitman College
Swarthmore College
                                   University of Texas at San
University of Pennsylvania
                                   Antonio                              Washington D.C.
University of Pittsburgh                                                American University
Villanova University               Utah                                 Georgetown University
West Chester University of         Southern Utah University             George Washington University
Pennsylvania                       University of Utah
                                   Utah Valley University               West Virginia
Rhode Island                                                            Bethany College - West Virginia
                                   Weber State University
Brown University                                                        Davis & Elkins College
                                   Westminster College - Utah
Bryant University
Providence College                 Vermont                              Wisconsin
Rhode Island College               Champlain College                    Alverno College
Rhode Island School of Design      Middlebury College                   Beloit College
Roger Williams University          Saint Michael’s College              Concordia University - Wisconsin
University of Rhode Island         Sterling College - Vermont           Lawrence University
                                   University of Vermont                Marquette University
South Carolina                                                          Milwaukee Institute of Art and
Clemson University                 Virginia                             Design
Coastal Carolina University        Eastern Mennonite University         Mount Mary University
College of Charleston              George Mason University              St. Norbert College



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University of Wisconsin –                              University of Wisconsin -                              University of Wisconsin –
Eau Claire                                             Milwaukee                                              Stevens Point
University of Wisconsin -                              University of Wisconsin -                              University of Wisconsin – Stout
Green Bay                                              Oshkosh                                                University of Wisconsin -
University of Wisconsin -                              University of Wisconsin –                              Whitewater
La Crosse                                              Platteville
                                                                                                              Wyoming
University of Wisconsin –                              University of Wisconsin -
Madison                                                River Falls                                            University of Wyoming




                                                                ENDNOTES

1   This was in reference to the University of Michigan’s BRS, in Speech First, Inc. v. Schlissel, 939 F.3d 756, 765 (6th
    Cir.2019). https://speechfirst.org/wp-content/uploads/2019/10/Michigan-Decision.pdf
2   This was in reference to the University of Texas’s BRS, in Speech First, Inc. v. Fenves, 979 F.3d 319, 338 (5th Cir. 2020).
    https://speechfirst.org/wp-content/uploads/2020/10/UT-opinion.pdf
3   We define a BRS as any system that solicits reports of incidents concerning speech protected by the First
    Amendment, such as speech that is “biased,” “offensive,” “unwanted,” “discriminatory,” “hateful,” or “microaggressive.”
4   These BRSs are formalized, coherent teams explicitly devoted to the solicitation and review of bias incident reports by a
    designated group of cross-departmental members, university officials and often campus security or law enforcement.
5   “2017 Report on Bias Reporting Systems.” FIRE. Accessed September 30, 2021. www.thefire.org/research/publications/bias
    response-team-report-2017/report-on-bias-reporting-systems-2017
6   Ibid.
7   Ibid.
8   Ibid.
9   Ibid.
10 https://www.thefire.org/speech-code-of-the-month-university-of-vermont/
11 FIRE. “The 2021 College Free Speech Rankings.”
12 Ibid.
13 https://legalinsurrection.com/wp-content/uploads/2018/05/Speech-First-v.-U.-Michigan-Complaint.pdf
14 These are, according to the FIRE/CollegePulse/RealClearPolitics 2021 report, the most difficult topics of discussion on campuses today.
15 Snyder, Jeffrey Aaron, and Amna Khalid. “The Rise of ‘Bias Response Teams’ on Campus.” The New Republic, March 30, 2016. https://newrepublic.
   com/article/132195/rise-bias-response-teams-campus.
16 Ibid.
17 “Digest of Education Statistics, 2020.” National Center for Education Statistics (NCES) Home Page, a Part of the U.S. Department of Education.
   Accessed November 23, 2021. https://nces.ed.gov/programs/digest/d20/tables/dt20_317.20.asp.
18 Ibid.
19 “2017 Report on Bias Reporting Systems.” FIRE.
20 These BRSs are formalized, coherent teams explicitly devoted to the solicitation and review of bias incident reports by a designated group
   of cross-departmental members, university officials and often campus security or law enforcement.
21 Data from FIRE’s 2017 Report on Bias Reporting Systems
22 See Department of Education, Free inquiry Rule, 85 Fed. Reg. 59916 (Sept. 23, 2020), https://bit.ly/3iROiq8.
23 “Social Justice in Idaho Higher Education, University of Idaho - Idaho Freedom.” Accessed February 4, 2022. https://idahofreedom.org/research/
   social-justice-in-idaho-higher-education-university-of-idaho/.
24 “Greene, Jay P. “Diversity University: DEI Bloat in the Academy.” The Heritage Foundation. Accessed February 4, 2022. https://www.heritage.org/
   education/report/diversity-university-dei-bloat-the-academy.




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                    Exhibit 12




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       CONNORS STATE
       COLLEGE             EXTRACURRICULAR USE OF
       (HTTPS://CONNORSSTATE.EDU/)

       LANGSTON
                           INSTITUTIONAL FACILITIES, AREAS
       UNIVERSITY
                           OR MEDIA FOR THE PURPOSE OF
       (HTTPS://WWW.LANGSTON.EDU/)

       NEO A&M
       COLLEGE
                           EXPRESSION
       (HTTP://WWW.NEO.EDU/)
                                             3.13
       OK PANHANDLE
       STATE
       UNIVERSITY
       (HTTP://WWW.OPSU.EDU/)
                                             1. Philosophy and Scope
       OKLAHOMA
       STATE
       UNIVERSITY             A. Philosophy
       (HTTPS://GO.OKSTATE.EDU/)

                                                       i. A goal of the faculty, students, administration, staﬀ and Board
                                                           is for the institutions governed by the Board to be superior
                                                           educational centers for the preservation, transmission and
                                                           discovery of knowledge. The wide variety of Extracurricular
                                                           activities at the institutions governed by the Board represent
                                                           one way this goal is achieved. Therefore, these activities are an
                                                           integral part of the total educational mission of the Board’s
                                                           institutions.



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                                                      ii. The Board and its institutions recognize and protect free
                                                           inquiry and free Expression as indispensable components of
                                                           the critical examination of philosophies and ideas. Given the
                                                           unique mission of public educational institutions in a
                                                           democratic society, this inquiry should be open and vigorous,
                                                           and should consequently have greater protection than in
                                                           society at large, provided that such inquiry does not infringe
                                                           upon the rights of others. Commitment to free inquiry and
                                                           Expression creates a strong presumption against prohibition of
                                                           Expression based upon its content. This philosophy is
                                                           intended to apply to all forms of Expression occurring at the
                                                           Board’s institutions and any uncertainty regarding the
                                                           application or operation of this Policy shall be resolved in a
                                                           manner consistent with this philosophy.


                                                 B. Scope


                                                       i. This Policy shall be applicable only to the Extracurricular use
                                                           of any institutional-controlled facility, area or medium used as
                                                           a forum generally open to members of the institutional
                                                           community and others for the purpose of Expression.
                                                             Institutional aﬃliated newspapers, radio stations or cable
                                                           television channels are not presently subject to this Policy.


                                                      ii. Any institutional policy providing for conditions or limitations
                                                           on Extracurricular Expression shall be consistent with this
                                                           Policy.


                                                      iii. The procedures in this Policy apply only to scheduling the
                                                           Extracurricular use of institutional-controlled facilities or areas
                                                           for the purpose of Expression.


                                             2. Definitions



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                                                 A. Authorized Designee. Each institution is expected to designate a
                                                       person or persons who have the authority to schedule the use of
                                                       a particular institutional facility or area.


                                                 B. Campus Community. Students, administrators, faculty and staﬀ
                                                       at the institution and their invited guests.


                                                 C. Expression. Any communication, discussion, acquisition,
                                                       manifestation, representation or indication, whether clear or
                                                       unclear, ambiguous or unambiguous, of attitudes, information,
                                                       ideals, beliefs, opinions or ideas on any subject by any student,
                                                       faculty or other member of the academic community, outside
                                                       speaker or act, process or instance of representation in any
                                                       media. The media of expression may include, but shall not be
                                                       limited to, speech, publications, literature or documents, art,
                                                       cinema, theater or music, electronic emissions, audio or visual
                                                       recording in any medium or media, or recordings in any medium
                                                       or media that combine audible, visible or other sensory
                                                       expression, whether expressed, transmitted, presented or
                                                       sponsored individually or by a group.


                                                 D. Extracurricular. All activities outside the institution’s instruction,
                                                       research, extension and related academic functions.


                                                 E. Harassment. Expression that is unwelcome, so severe, pervasive
                                                       and subjectively and objectively oﬀensive that a student is
                                                       eﬀectively denied equal access to educational opportunities or
                                                       benefits provided by the institution.


                                                  F. Materially and Substantially Disrupts. When a person, with the
                                                       intent to or with knowledge of doing so, significantly hinders
                                                       another person’s or group’s expressive activity, prevents the
                                                       communication of the message or prevents the transaction of the
                                                       business of a lawful meeting, gather or procession by:

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                                                       i. Engaging in fighting, violent or other unlawful behavior, or


                                                      ii. Physically blocking or using threats of violence to prevent any
                                                           person from attending, listening to, viewing or otherwise
                                                           participating in an expressive activity.


                                                           Conduct that “materially disrupts” shall not include conduct
                                                           protected under the Oklahoma Constitution or the United
                                                           States Constitution.


                                                           Protected conduct includes, but is not limited to, lawful
                                                           protests in the outdoor areas of campus generally accessible
                                                           to the members of the public, except during times when those
                                                           areas have been reserved in advance for other events, or
                                                           minor, brief or fleeting nonviolent disruptions of events that are
                                                           isolated and short in duration.


                                                 G. Outdoor Areas of Campus. The generally accessible outside
                                                       areas of campus where members of the campus community are
                                                       commonly allowed, such as grassy areas, walkways or other
                                                       similar common areas. Outdoor Areas of Campus does not
                                                       include outdoor areas where access is restricted from a majority
                                                       of the campus community.


                                             3. Public Forum


                                                  All Outdoor Areas of Campuses as defined herein are deemed
                                                  public forums for the Campus Community. Institutions may
                                                  maintain and enforce reasonable time, place, and manner
                                                  restrictions narrowly tailored in service of a significant institutional
                                                  interest only when such restrictions employ clear, published,
                                                  content- and viewpoint-neutral criteria and provide for ample
                                                  alternative means of expression.

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                                             4. Time, Place or Manner Considerations


                                                 A. Expression may be limited or restricted with respect to time,
                                                       place or manner only as provided for in this Policy and other
                                                       related statements of policy, such as the Student Code of
                                                       Conduct: Student Rights and Responsibilities Governing Student
                                                       Behavior. For Outdoor Areas of Campus, such limitations shall
                                                       be narrowly tailored to serve a significant interest (such as
                                                       avoiding disruption of regular classes, prohibiting conduct that
                                                       Materially and Substantially Disrupts another person’s or group’s
                                                       expressive activity, prohibiting Harassment, avoiding the
                                                       scheduling of two events at the same time in the same facility
                                                       and the protection of the public order) and to assure compliance
                                                       with applicable local, state and federal laws. Any limitations must
                                                       be both reasonable and content-neutral, the latter term meaning
                                                       that they shall be applied without regard to the content of the
                                                       Expression or the purpose of the assembly.


                                                 B. Limitations may include requiring scheduling and planning with
                                                       the appropriate Authorized Designee, restricting or prohibiting the
                                                       use of certain areas (i.e., ingress and egress areas, instructional
                                                       classrooms, laboratories, etc.), limiting amplification within a
                                                       certain distance of academic buildings when classes are in
                                                       session, and reimbursing the institution for any costs and
                                                       damages associated with the use of a facility, area or medium.


                                             5. Content Considerations


                                                  The First Amendment of the Constitution protects and guarantees
                                                  freedom of speech by prohibiting any law that would serve to deny
                                                  or limit Expression. Through the Fourteenth Amendment, this
                                                  prohibition is extended to all actions of state government, including
                                                  those of publicly-supported institutions. Expression may not be

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                                                  denied or limited, based upon content, unless it has been
                                                  determined in state or federal court precedent that such speech or
                                                  Expression is not protected by the Constitution.


                                             6. Disclaimer Regarding Expression


                                                 A. Given the wide diversity of Expression that occurs at higher
                                                       education institutions, the use of any institutionally-controlled
                                                       facility, area or medium for any Expression shall not constitute or
                                                       suggest endorsement by the Board, the institution, its
                                                       administration, staﬀ, faculty, student body or any individual
                                                       member of these constituencies.
                                                 B. Individuals and groups utilizing institutional property shall assume
                                                       full responsibility for any violation of law they commit while on
                                                       institutional property.


                                             7. Procedure for Scheduling Institutional Areas or Facilities for
                                                  Extracurricular Expression


                                                 A. Requests for the Use of a Scheduled Institutional Facility or Area


                                                       i. The Extracurricular use of any scheduled institutional-
                                                           controlled facility or area for the purpose of Expression shall
                                                           be preceded by a request made to an Authorized Designee. A
                                                           request shall contain the name of the requestor and how
                                                           he/she can be contacted; the proposed date, time and
                                                           location for the contemplated activity; the expected size of the
                                                           audience; and any other information that may be necessary to
                                                           accommodate the needs associated with the activity.


                                                      ii. The request should be made as far in advance as possible to
                                                           provide for orderly scheduling of facilities or areas. Barring
                                                           extraordinary circumstances, the Authorized Designee shall
                                                           take one of the following actions:

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                                                           a. Grant the request. This will be the routine action taken on
                                                                the vast majority of requests. The Authorized Designee
                                                                should work with the requestor in preparing or revising a
                                                                request so that it may be granted. If the Authorized
                                                                Designee has any question about whether to grant the
                                                                request, he/she should consult with his/her administrative
                                                                supervisor(s). When a request has been granted, such
                                                                action shall be final and the requestor shall be promptly
                                                                notified.


                                                          b. Deny/Limit the Request. An Authorized Designee may
                                                                recommend that a request be denied if it is determined after
                                                                appropriate inquiry (including consultation with the Board’s
                                                                Oﬃce of Legal Counsel) that the proposed Expression is
                                                                unprotected. For protected Expression, an Authorized
                                                                Designee may recommend that a request be limited based
                                                                on Time, Place or Manner Considerations pursuant to
                                                                Paragraph (3) above. In determining whether to make such
                                                                recommendations, full and adequate consideration should
                                                                be given to the educational mission of the institution and
                                                                specifically the responsibility of the institution and its
                                                                oﬃcials to actively encourage free and open inquiry by
                                                                avoiding and resisting limitations of Expression. Any
                                                                recommendation to deny or limit a request, and the reasons
                                                                upon which it is based, shall be stated in writing.


                                                      iii. No final arrangements or advertising should be made for the
                                                           proposed use of the facility or area prior to the granting of the
                                                           request for the use of the facility or area.


                                                 B. Limitations based upon Time, Place or Manner Considerations


                                                       i. If a request is limited based on time, place or manner

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                                                           considerations (see (4) above), the requestor shall be promptly
                                                           informed of such decision. A written statement of the reasons
                                                           for the limitation shall be provided upon request.


                                                      ii. The requestor may appeal denials or limitations by filing a
                                                           written statement with the President of the institution or his/her
                                                           designee. The statement shall set forth the reason(s) for
                                                           appealing the denial or limitation. A final decision should be
                                                           made in time to allow the requestor to carry out final
                                                           arrangements for the proposed Expression in the event the
                                                           President, or his/her designee, reverses the Authorized
                                                           Designee and grants the request.


                                             8. Availability and Training on Expression Policies


                                                 A. Each institution shall make its policies related to Expression
                                                       available to the public and their students.


                                                 B. Each institution shall provide materials to and conduct training for
                                                       employees with responsibility for discipline or education of
                                                       students on the institution’s policies related to Expression.


                                             9. Compliance with State Law. Each institution shall post on its
                                                  website and submit annually to the Governor and the Legislature a
                                                  report in compliance with the provisions of Oklahoma State law.



                                             Amended Date:
                                             June 22, 2018
                                             September 13, 2019




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   manual/section-3/policy-manual-extracurricular-use-institutional-facilities-areas-or-media-purpose-expression.pcf)
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   BOARD OF REGENTS FOR THE OKLAHOMA AGRICULTURAL AND MECHANICAL COLLEGES
   900 N. Portland Avenue
   Oklahoma City, OK 73107
   ph: 405-945-3263
   fax: 405-945-3345
   email: board@okstate.edu (mailto:board@okstate.edu)


   Ethics Point (https://secure.ethicspoint.com/domain/media/en/gui/10933/index.html)




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                    Exhibit 13




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   INTERIM                                                          NEW POLICY
   TITLE IX - SEXUAL MISCONDUCT                                     NUMBER GENERAL
   POLICY                                                           UNIVERSITY June 2020


  OVERVIEW

  Oklahoma State University is committed to providing an educational, living and working
  environment that is free from Sexual Misconduct, as defined herein, for all members of its
  community to include students, faculty, staff, contractors, and visitors.

  The purpose of this Policy is to provide the OSU community with a clearly articulated set of
  behavioral standards, common understanding of definitions and key concepts, and descriptions
  and examples of prohibited conduct, including sexual harassment, sexual violence, stalking, and
  domestic and dating violence. All members of the community are expected to adhere to the
  requirements of this Policy and to the standards of the University’s community. It is intended to
  guide students, faculty, staff and other OSU employees who have been affected by sexual
  harassment or misconduct, whether as a Complainant, Respondent, or a third party.

  This Policy prohibits Sexual Misconduct, as defined herein, including all forms of sexual or sex-
  based harassment, discrimination, sexual violence, sexual assault, and stalking. Misconduct of this
  nature is contrary to the University’s institutional values and prohibited by state and federal law,
  as referenced by Title VII of the Civil Rights Act of 1964 and Title IX of the Education
  Amendments of 1972 and its implementing regulations.

  The University will review this Policy periodically in order to ensure compliance with legal
  requirements and improve the institutional response, including support services and resources.
  Additionally, the University may modify this Policy and the procedures set forth herein at any time
  as deemed appropriate for compliance with federal, state, and local law and/or applicable guidance.

  In the event this Policy conflicts with any other policy or procedure, this Policy shall control.
  POLICY

  1.01   APPLICABILITY

  This Policy applies to all campus community members, including students, faculty, staff,
  contractors, and visitors within the University’s control. It applies to conduct that occurs on
  University-owned or controlled premises, in an educational program or activity, including
  University sponsored or supported events, in buildings owned or controlled by student
  organizations officially recognized by the University, or off-campus when the conduct potentially
  affects a person’s education or employment with the University or potentially poses a risk to the
  safety of other members of the University community. This Policy applies regardless of the sex,
  gender, gender identity, or sexual orientation of the parties. In accordance with regulations issued
  by the United States Department of Education, this Policy does not apply to conduct occurring
  against a person outside the United States or conduct that is not specifically addressed herein.



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  Alleged conduct reported pursuant to this Policy, whether or not the conduct constitutes a violation
  of this Policy, may violate other University policies. The University reserves the right to take
  disciplinary action for conduct reported under this Policy that constitutes a violation of any other
  University Policy.

  1.02     DEFINITIONS 1

           a.       Advisor – both the Complainant and Respondent are entitled to be accompanied to
                    any meeting or hearing under this Policy by an Advisor of their choice, who may,
                    but need not be, an attorney. If a Complainant or Respondent does not select an
                    Advisor for a hearing under this Policy, the University will provide the party with
                    an Advisor, at no cost to the party, for the sole purpose of conducting cross-
                    examination at the hearing.

           b.       Complainant – the individual who is alleged to be the victim of any prohibited
                    conduct under this Policy, or, in limited circumstances, the University.

           c.       Consent – effective consent is informed, freely and actively given, using mutually
                    understandable words or actions that indicate a willingness to participate in
                    mutually agreed upon sexual activity. Initiators of sexual activity are responsible
                    for obtaining effective consent. Silence or passivity is not effective consent. The
                    use of intimidation, coercion, threats, force, or violence negates any consent
                    obtained. Consent is not effective if obtained from an individual who is incapable
                    of giving consent due to lack of consciousness, age, mental disability, or
                    incapacitation due to the use of drugs or alcohol.

            d.      Dating Violence – dating violence is committed by a person who is or has been in
                    a social relationship of a romantic or intimate nature with another person. The
                    existence of such a relationship shall be determined based on consideration of the
                    following factors:

                             i. The length of relationship;
                             ii. The type of relationship;
                             iii. The frequency of interaction between the persons involved in the
                                  relationship.

                    Dating Violence includes, but is not limited to, sexual or physical abuse or the
                    threat of such abuse. Dating Violence does not include acts that meet the definition
                    of domestic violence. Any incident meeting this definition is considered a crime for
                    the purposes of Clery Act reporting.




  1
    The definitions provided in this Policy are the definitions adopted by the University. State law definitions, as
  applicable, are included in Appendix A for the Oklahoma statutory definition. In the event a criminal investigation is
  conducted by law enforcement, the state law definition will apply.




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        e.   Decision-Maker – the individual(s) charged with determining whether or not a
             Respondent violated this Policy.

        f.   Domestic Violence – domestic violence is felony or misdemeanor crime of
             violence committed by a:

                     i. current or former spouse or intimate partner of the victim;
                     ii. person with whom the victim shares a child in common;
                     iii. person who is cohabitating with or has cohabited with the victim as a
                          spouse or intimate partner;
                     iv. person similarly situated to a spouse of the victim under the domestic or
                          family violence laws of Oklahoma;
                     v. any other person against an adult or youth victim who is protected from
                          that person’s acts under the domestic or family violence laws of
                          Oklahoma.

             Domestic violence is a pattern of abusive behavior in any relationship that is used
             by one partner to gain or maintain power and control over another intimate partner.
             Domestic violence can be physical, sexual, emotional, economic, or psychological
             actions, or threat of actions that influence another person. Any incident meeting this
             definition is considered a crime for the purposes of Clery Act reporting.

        g.   Formal Complaint – a document filed by a Complainant or signed by the Title IX
             Coordinator or Deputy Title IX Coordinator alleging sexual harassment against a
             Respondent and requesting the University investigate the allegation of sexual
             harassment.

        h.   Incapacity/Incapacitation – occurs when an individual is incapable, temporarily
             or permanently, to give cosent because the individual is mentally and/or physically
             helpless, either volnarly or involuntarily, or the individual is unconscious, asleep,
             or othrwise unaware that the sexual activity is occurring. An individual may be
             incapacitated if they are unaware at the time of the incident of where they are, how
             they got there, or why or how they became engaged in a sexual interaction.

        i.   Indecent Exposure – the act of intentionally exposing one’s genitals in public or
             in front of others, for the purpose of sexual gratification or causing offense.
             Allegations of Indecent Exposure will be evaluated to determine if the meet the
             severe, pervasive and objectively offensive standard required to meet the definition
             of Sexual Harassment.

        j.   Preponderance of the Evidence – the standard of evidence to be used in making
             a determination as to whether a violation of this Policy occurred is Preponderance
             of the Evidence. Under this standard, the burden of proof is met when evidence
             exists or is presented that establishes that it is “more likely than not” that a violation
             occurred. This standard is often described as requiring a showing that there is a
             greater than fifty percent (50%) chance that the claim is true.




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        k    Respondent – an individual who has been reported to be the perpetrator of conduct
             that could constitute a violation of this Policy.

        l.   Sexual Assault – an offense that meets the definition of rape, fondling, incest, or
             statutory rape:

                    i. Rape – the penetration, no matter how slight, of the vagina or anus with
                         any body part or object, or oral penetration by a sex organ of another
                         person, without the consent of the victim;
                    ii. Fondling – the touching of the private body parts of another person for
                         the purpose of sexual gratification, without the consent of the victim,
                         including instances where the victim is incapable of giving consent
                         because of his/her age or because of his/her temporary or permanent
                         mental incapacity;
                    iii. Incest – sexual intercourse between persons who are related to each
                         other within the degrees wherein marriage is prohibited by law;
                    iv. Statutory Rape – sexual intercourse with a person who is under the
                         statutory age of consent.

        m.   Sex Discrimination – occurs when an individual is treated less favorably on the
             basis of that person’s sex (including gender), which may also include on the basis
             of sexual orientation, gender identity or expression, pregnancy or pregnancy-
             related condition, or a sex stereotype. Sexual harassment, as defined in this Policy,
             is a form of Sex Discrimination.

        n.   Sexual Exploitation – conduct where an individual takes non-consensual or
             abusive sexual advantage of another for their own benefit, or to benefit anyone
             other than the one being exploited. Examples of sexual exploitation include, but are
             not limited to, engaging in voyeurism; sharing of pornographic or other sexually
             inappropriate material; the intentional removal of a condom or other contraceptive
             barrier during sexual activity without the consent of a sexual partner; and any
             activity that goes beyond the boundaries of consent, such as recording of sexual
             activity, letting others watch consensual sex, or knowingly transmitting a sexually
             transmitted disease (STD) to another. Allegations of Sexual Exploitation will be
             evaluated to determine if the meet the severe, pervasive and objectively offensive
             standard required to meet the definition of Sexual Harassment.

        o.   Sexual Harassment – conduct on the basis of sex that satisfies one or more of the
             following:

                    i. A person acting on behalf of the University in a position of authority
                       conditioning the provision of any aid, benefit, or service of the recipient
                       on an individual’s participation in unwelcome sexual conduct (quid pro
                       quo);




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                    ii. Unwelcome conduct determined by a reasonable person to be so severe,
                         pervasive, and objectively offensive that it effectively denies a person
                         equal access to the University’s education program or activity;
                    iii. Unwelcome sexual advances, requests for sexual favors, and other
                         verbal or physical conduct that explicitly or implicitly affects an
                         individual's employment, unreasonably interferes with an individual's
                         work performance, or creates an intimidating, hostile, or offensive work
                         environment;
                     iv. Sexual assault as defined herein;
                      v. Dating violence as defined herein;
                     vi. Domestic violence as defined herein; or
                    vii. Stalking as defined herein.

             Subsections (i) and (iii)-(vii) in this definition are not evaluated for severity,
             pervasiveness, offensiveness, because such conduct is sufficiently severe to deny
             access to the University’s education program or activities. Any instance of quid pro
             quo sexual harassment, sexual assault, dating violence, or stalking are considered
             Sexual Harassment under this Policy.

        p.   Sexual Misconduct – the term used to encompass Sex Discrimination, Sexual
             Harassment, Domestic Violence, Indecent Exposure, Sexual Assault, Sexual
             Exploitation, and Stalking.

        q.   Stalking – refers to one who engages in a course of conduct directed at a specific
             person that would cause a reasonable person to fear for their safety or the safety of
             others or suffer substantial emotional distress.

                    i.   Course of conduct means two or more acts, including, but not limited
                         to, acts in which the stalker directly, indirectly, or through third parties,
                         by any action, method, device, or means, follows, monitors, observes,
                         surveils, threatens, or communicates to or about a person, or interferes
                         with a person’s property.
                    ii. Reasonable person means a person under similar circumstances and
                         with similar identities to the victim.
                    iii. Substantial emotional distress means significant mental suffering or
                         anguish that may, but does not necessarily, require medical or other
                         professional treatment or counseling.

        r.    Supportive Measures – non-disciplinary, non-punitive individualized services
              offered as appropriate, as reasonably available, and without fee or charge to the
              Complainant or the Respondent before or after the filing of a Formal Complaint
              or where no Formal Complaint has been filed. Such measures are designed to
              restore or preserve equal access to the University’s education program or activity
              without unreasonably burdening the other party, including measures designed to
              protect the safety of all parties or the University’s educational environment, or
              deter Sexual Harassment. Supportive Measures may include counseling,




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                 extensions of deadlines or other course-related adjustments, modifications of work
                 or class schedules, campus escort services, mutual restrictions on contact between
                 the parties, changes in work or housing locations, leaves of absence, increased
                 security and monitoring of certain areas of the campus, and other similar measures.

  REPORTING INCIDENTS AND/OR FILING A FORMAL COMPLAINT

  2.01   DISTINCTION BETWEEN REPORT AND FORMAL COMPLAINT

         This Policy distinguishes between reporting incidents of Sexual Harassment and filing a
         Formal Complaint regarding an incident of Sexual Harassment. Reporting incidents of
         Sexual Harassment informs the University of the incident, allowing the University to
         provide Supportive Measures to the Complainant and does not necessarily result in the
         initiation of the grievance process (as described in Section 4.03 of this Policy).
         Complainants who report incidents of Sexual Harassment will be offered individualized
         Supportive Measures. If a Complainant wishes to initiate the grievance process, they
         should file a Formal Complaint.

  2.02   REPORTING

         All forms of Sexual Misconduct should be reported to the University, no matter the
         severity. Oklahoma State University’s primary concern is safety; therefore, individuals
         should not be deterred from reporting for any reason, even if the use of alcohol or other
         drugs was involved. The University encourages those impacted by Sexual Misconduct to
         talk to someone about what happened so they can receive support and the University can
         respond appropriately. The University offers both confidential services and non-
         confidential reporting options, as outlined below.

         a.     Reporting to the University

                i.     Confidential Reporting Options – Confidential service options provide
                       students and employees with the ability to confidentially share and discuss
                       an incident of Sexual Misconduct without the reporting party’s information
                       being shared with the University. Please be aware that reporting to
                       confidential services limits the University’s ability to respond to incidents.
                       While these individuals are not required to report to the University, they
                       may have reporting or other obligations under state law, such as mandatory
                       reporting to law enforcement in cases involving minors, imminent harm to
                       self or others, or requirements to testify if subpoenaed in a criminal case.

                       a. Professional Counselors – Professional and licensed counselors who
                          provide mental-health counseling (including those who act in that role
                          under the supervision of a licensed counselor) are not required to report
                          any information. Included in this category are counselors at the
                          University Counseling Center, Psychological Services Clinic and those
                          provided by the Employee Assistance Plan.




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                   b. OSU Victim Advocates – Individuals may visit with a Victim Advocate
                      to learn about resources available on campus. A Victim Advocate is not
                      required to report any information about an incident to the Title IX
                      Coordinator or the Deputy Title IX Coordinator unless the victim
                      provides permission. However, the Victim Advocate will report
                      incidents, without personally identifiable information, to the OSU
                      Police for the purpose of compliance with the Clery Act. Contact
                      information for the Victim Advocates is available at
                      http://1is2many.okstate.edu.

                   c. University Health Providers – University Health service providers are
                      a confidential service option. University Health Services can be
                      contacted at 1202 W. Farm Road or by phone at 405-744-7665.

             ii.   Non-Confidential Reporting Options – Any person may report an
                   incident, whether or not the individual reporting is the person alleged to be
                   the victim of the incident. Reports may be verbal or in writing to the Title
                   IX Coordinator or Deputy Title IX Coordinator:

                          Title IX Coordinator
                          Office of Equal Opportunity
                          419-A General Academic Building (GAB)
                          405-744-9153
                          Email: eeo@okstate.edu

                          Deputy Title IX Coordinator
                          Office of Student Conduct
                          328 Student Union
                          405-744-5470
                          Email: student.conduct@okstate.edu

                   a. Campus Security Authorities – In compliance with the Clery Act,
                      some employees are identified as a Campus Security Authority
                      (“CSA”). CSAs are identified through the Clery Act and outlined in the
                      University’s Annual Safety Report, available on the University’s
                      website. These individuals are required to report instances of Sexual
                      Misconduct, along with other misconduct, to OSU Police for statistical
                      purposes. CSAs must report all relevant details about the allegations
                      shared by the victim, including names, date, time, and specific location
                      of the alleged incident to the OSU Police and to the Title IX Coordinator
                      or the Deputy Title IX Coordinator.

                   b. Responsible Employees – Responsible Employees are those who are
                      mandated to report to the Title IX Coordinator or the Deputy Title IX
                      Coordinator when they become aware of an incident of Sexual




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                         Misconduct. University employees in a supervisory role over
                         employees or students are considered Responsible Employees.
                         Employees with supervisory authority include, but are not limited to:
                         unit heads, academic administrators, faculty members engaged in
                         supervising student workers, intercollegiate athletic administrators and
                         coaching staff members. Responsible Employees who become aware of
                         developing situations, or who desire assistance in appropriately
                         responding to such situations, may seek assistance from the Title IX
                         Coordinator or the Deputy Title IX Coordinator. Failure by a
                         Responsible Employee to promptly report or seek assistance regarding
                         Sexual Misconduct may result in corrective action.

                     c. All Employees – When an incident of Sexual Misconduct is reported to
                         any employee, the employee is strongly encouraged, if not required, to
                         report the incident to the Title IX Coordinator or the Deputy Title IX
                         Coordinator.

         b.   Reporting to Law Enforcement – The University strongly encourages individuals
              to report Sexual Misconduct that may be a criminal offense, and any other criminal
              offenses, to the police. Reporting to the police does not commit a victim to proceed
              with prosecution, but will allow the gathering of information and evidence, which
              can preserve future options regarding criminal prosecution, University
              conduct/grievance actions, and/or civil actions against the perpetrator.

              On-campus incidents should be reported to the OSU Police Department, 104 USDA
              Building (224 North Orchard Street), or by phone to 405-744-6523. If the incident
              occurred elsewhere in Stillwater, it can be reported to the Stillwater Police
              Department at 723 S. Lewis or by phone at 405-372-4171. If the incident happened
              anywhere else, it can be reported to local law enforcement with jurisdiction in the
              location where it occurred.

         c.   Reporting to External Entities – Individuals who have experienced or are
              experiencing sex-based harassment or discrimination also have the right to file a
              formal grievance with government authorities:

              Office for Civil Rights (OCR)         U.S. Department of Justice, Civil
              One Petticoat Lane                    Rights Division
              1010 Walnut Street, Suite 320         950 Pennsylvania Avenue, N.W.
              Kansas City, MO 64106                 Educational Opportunities Section, PHB
              Phone: (816) 268-0559                 Washington, D.C. 20530
              Facsimile: (816) 268-0559             Email: education@usdoj.gov
              TTY: (800) 877-8339                   Phone: (202) 514-4092
              Email: OCR.KansasCity@ed.gov          Toll-Free: (877) 292-3804
              Web: http://www.ed.gov/ocr            Facsimile: (202) 514-8337

  2.03   FILING A FORMAL COMPLAINT




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         Complainants may file a Formal Complaint with the Title IX Coordinator or the Deputy
         Title IX Coordinator. In order for corrective or disciplinary action to be taken against a
         University employee or student, it may be necessary for a signed Formal Complaint to be
         filed and for the Complainant to cooperate with the University’s investigative process.
         However, even without filing a Formal Complaint, a Complainant will be offered
         individualized Supportive Measures. A signed Formal Complaint can be provided to the
         Title IX Coordinator or Deputy Title IX Coordinator by mail, email or in person. The
         Formal Complaint must include the specific allegations and name of the Respondent(s).

  SUPPORTIVE MEASURES

  3.01   OSU offers Supportive Measures for students and employees impacted by an occurrence
         of sex-based misconduct. A Formal Complaint does not need to be submitted for
         Supportive Measures to be put in place. The University will maintain confidentiality to the
         extent possible. Supportive Measures are non-disciplinary and non-punitive measures that
         do not unreasonably burden the other party. Supportive Measures may include, but are not
         limited to:

         •   Assistance in reporting: Support in filing a complaint with the University and/or the
             appropriate law enforcement agencies.
         •   Emergency Protective Order: Support in filing for an Emergency Protective Order in
             court with Wings of Hope. This is a court-ordered petition that prohibits contact
             between the Complainant and Respondent.
         •   No contact order: A no contact order can be put into place between the Complainant
             and the Respondent, to prohibit contact or limit contact between both parties through
             any means of communication, as well as prohibit others from making contact on their
             behalf.
         •   Safety measures: Coordination of any reasonable arrangements that are necessary for
             ongoing safety. This includes transportation arrangements or providing an escort.
         •   Work schedule adjustments: Assistance in changing on-campus work schedules,
             work assignments, supervisor responsibilities, or other work arrangements.
         •   Leaves of absence: A pre-approved defined period away from the work environment.
             (employees only)
         •   Living arrangements: Assistance in changing on-campus living arrangements to
             ensure a comfortable living situation.
         •   Academic arrangements: Assistance in adjusting academic schedules as well
             providing access to academic support services. (students only)
         •   Other supportive measures: Coordination of other reasonable arrangements to
             address the effects of the Sexual Misconduct, including connecting individuals with
             counseling or health care.

  FORMAL COMPLAINT PROCESS

  4.01   REPORTING




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         Oklahoma State University is obliged to act when it receives “actual knowledge” of
         allegations of Sexual Harassment. Persons who believe they have been subject to
         prohibited Sex Discrimination or Sexual Harassment are encouraged to seek assistance, to
         directly report such conduct to appropriate supervisors, or to directly report such conduct
         to the Title IX Coordinator or Deputy Title IX Coordinator. In instances involving alleged
         violations of this Policy engaged in by students, the Title IX Coordinator will refer such
         matters to the Deputy Title IX Coordinator for review and other processing.

  4.03   EMERGENCY REMOVALS

         Applicable only to students, an emergency removal is a removal, either partially or entirely,
         of a student from the University and its activities on an emergency basis when an
         individualized safety and risk analysis has determined an immediate threat to the physical
         health or safety of any student or other individual arising from the allegations justifies
         removal. The individualized risk assessment will be conducted by the Deputy Title IX
         Coordinator, in conjunction with the Behavioral Consultation Team using its standard risk
         assessment procedures. A removed student will receive a written notice of the decision,
         which notice will include information about how the student may challenge the removal
         decision.

  4.04   INITIAL ASSESSMENT

         Upon receiving a Formal Complaint, the Title IX Coordinator (in cases involving a faculty
         or staff Respondent) or Deputy Title IX Coordinator (in cases involving a student
         Respondent) will conduct an initial assessment and provide information about Supportive
         Measures. At the conclusion of the preliminary inquiry, the Title IX Coordinator will
         provide the Complainant with information regarding the appropriate procedural process.
         The Complainant will be advised if the information discovered during the preliminary
         inquiry warrants proceeding with the grievance process as outlined in this Policy or if the
         allegations, if true, may constitute a violation of another University Policy. If the
         information does not warrant proceeding under this Policy, the case will be dismissed under
         this Policy (see Section 4.07 for more information on dismissals).

  4.05   INVESTIGATION NOTICE

         If it is determined there is sufficient evidence to proceed with an investigation, a written
         notice and copy of the grievance procedure will be provided to the Complainant and
         Respondent. The notice will detail the allegations, to include, if known, the identities of
         the parties, the date and location of the incident, and the specific alleged Policy violation(s).
         The notice will also state the Respondent is presumed not to be responsible until a
         determination. The notice will advise both parties of their right to have an Advisor of their
         own choosing. Finally, the notice will include information related to the Board of Regents
         for the Oklahoma Agricultural and Mechanical Colleges Policy 3.06, Non-Retaliation.




                                               App.375
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         a. Employee Respondents – When the Respondent is an employee, the notice will also
            be provided to the Respondent’s supervisor and the appropriate senior administrator,
            with sensitivity to protect the privacy of the Complainant and Respondent.

  4.06   INVESTIGATION

         A trained investigator, or multiple trained investigators if necessary, will be assigned. The
         investigator(s) will conduct a fair, thorough and impartial investigation. The Respondent
         is entitled to a presumption of innocence unless a finding is determined. Both parties will
         have an equal opportunity to present facts, witnesses and evidence to support their
         positions, with no restrictions on the parties’ ability to discuss the investigation. Both
         parties will have an equal opportunity to attend any proceedings, along with their
         Advisor. Reasonable efforts will be made to conduct interviews with all parties and
         relevant witnesses in a timely fashion.

         a. Delaying Investigation – When a law enforcement agency is conducting its own
            investigation into the alleged conduct, the University’s investigation may be delayed
            temporarily to meet the specific needs of the criminal investigation.

         b. Investigation Notice – A notice will be sent to the parties prior to each investigation
            meeting. In all instances, the University, not the Complainant, will bear the
            responsibility for investigating and taking appropriate action, including the decision to
            seek disciplinary action against a Respondent.

         c. Amended Notice – In the event new allegations or potential violations of Policy arise
            during the investigation that were not included in the initial investigation notice, an
            amended notice will be sent to the parties outlining the additional allegations.

         d. Role of the Advisor – During participation in the investigative process, the
            Complainant and Respondent may have their own Advisor of choice. The Advisor’s
            role is to assist the Complainant and Respondent in understanding and navigating
            through the investigative process. An Advisor may not be a witness in the same
            investigation, or whose participation will create a conflict of interest. The Advisor will
            not speak, act, or answer questions on behalf of the Complainant or Respondent or
            impede or act in a manner that obstructs or disrupts the investigative process.

  4.07   INVESTIGATION REPORT

         Upon conclusion of the investigation, the investigator will prepare a report summarizing
         their findings. The investigation report will be provided to the Complainant and
         Respondent. To confirm accuracy, both the Complainant and Respondent will have ten
         (10) business days to review the investigation report and provide feedback to the
         investigator about their account of information.

  4.08   DISMISSAL PRIOR TO HEARING




                                              App.376
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        During the initial assessment or during the course of an investigation, a determination may
        be made that issues surrounding the case do not rise to a violation of this Policy.

        a. Pursuant to applicable law, the Complaint must be dismissed in the following
           circumstances:

               i.      The conduct alleged does not meet the definition of any prohibited conduct
                       under this Policy;
               iii.    The alleged conduct did not occur on University-owned or controlled
                       premises;
               iv.     The alleged conduct did not occur in the University’s education program or
                       activity;
               v.      The alleged conduct did not occur against a person in the United States; or
               vi.     If at the time of a Formal Complaint, the Complainant is not participating
                       in or attempting to participate in the University’s education program or
                       activity.

        b. At the discretion of the Title IX Coordinator or Deputy Title IX Coordinator the
           following are additional grounds for dismissal:

               i.      If the Complainant requests in writing to dismiss a Formal Complaint or
                       any allegations therein;
               ii.     The Respondent is no longer enrolled in or employed by the University; or
               iii.    Any specific circumstances exist which prevent the University from
                       gathering evidence sufficient to reach a determination as to the Formal
                       Complaint or any allegations therein; or

        c. If a Formal Complaint is dismissed for any of the above reasons, the Complainant and
           Respondent will be provided a written notice of the dismissal and the reason(s) for
           dismissal. In addition, if the alleged misconduct may be addressed by another
           University Policy or process, that information will be included in the written notice of
           dismissal.

               i.      For Employee Respondents – If a Formal Complaint against an employee
                       Respondent is closed, the Title IX investigation will be closed
                       administratively, and all parties, including the appropriate supervisor or
                       Department Head and Administrator, will be notified in writing of the
                       administrative closure. The findings and determination as to any non-Title
                       IX Policy violation will be forwarded to Human Resources Consultant
                       Services for review and subsequent actions.

               ii.     For Student Respondents – A Formal Complaint being dismissed under
                       this Policy does not preclude it from being addressed through the Student
                       Code of Conduct.




                                            App.377
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         d. A Complainant or Respondent may appeal a dismissal by following the procedures
            outlined in Section 6.

  HEARING PROCEDURES

  5.01   TITLE IX HEARING (EMPLOYEE RESPONDENT)

         Upon the conclusion of an investigation involving a non-student University employee as a
         Respondent, the Complainant and Respondent will be notified in writing with the name
         and contact information of a trained Decision Maker assigned to conduct a live hearing that
         will be recorded by audio or audio visual means. The Complainant and Respondent will be
         provided the scheduled date, time and location of the hearing, as well as written
         information regarding the hearing process. Within ten (10) business days of receipt of the
         notification, both parties may provide the Decision Maker with the name and contact
         information of their Advisor for the hearing, supporting evidence and a list of witnesses. If
         either the Complainant or Respondent is unable or chooses not to name an Advisor, one
         will be provided by the University. At any time during the process, requests for extensions
         to provide information or to reschedule hearings may be made and approved by the
         Decision Maker in their sole discretion. Any request for an extension must be in writing,
         no later than two (2) days prior to the applicable due date. All parties and Advisors will be
         notified of approved extensions in writing.

                a.      Title IX Hearing Location – The privacy of both parties is taken into
                        consideration when determining the location of the hearing. A request by
                        either party may be made that both parties will participate in the hearing
                        from separate rooms. The designated rooms will be furnished with audio
                        and visual equipment to allow both parties to see and hear each other during
                        the hearing process.

                b.      Attendance at Title IX Hearing – While information from the
                        Complainant, Respondent, and witnesses to the incident may be included in
                        the Investigation Report, if a party or witness does not appear at the Title
                        IX Hearing to be available for cross-examination, the Decision Maker
                        cannot rely on any statement of that party or witness in reaching a
                        determination regarding responsibility. The Decision Maker also may not
                        draw an inference about the determination regarding responsibility based
                        solely on the absence of a party or witness. It is the responsibility of the
                        parties to arrange for the attendance of any witnesses; the University cannot
                        compel or mandate attendance at the Title IX Hearing.

                c.      Title IX Hearing Process – At the beginning of the hearing, the Decision
                        Maker shall set forth the rules of procedure for the hearing. Each party is
                        allowed a reasonable time to present their opening statement. The
                        Complainant will present their case first in all phases of the hearing.




                                              App.378
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                   Each party is allowed to ask relevant questions of their respective witnesses,
                   followed by cross-examination by the other party’s Advisor. Cross-
                   examination must be conducted by the other party’s Advisor. The parties
                   may not under any circumstances conduct cross-examination. If necessary,
                   a party will be allowed additional time for follow-up questions of their
                   witness, followed by additional time for cross-examination by the other
                   party’s Advisor. The Decision Maker will determine whether questions
                   asked during cross-examination by an Advisor are relevant.

                   The Decision Maker may also ask questions of the parties and witnesses for
                   clarification.

                   The process will be repeated until all testimony is concluded.

                   The party’s Advisor may only participate to the extent set forth above.

             d.    Standard of Evidence – The standard of evidence to be used to make a
                   determination is Preponderance of the Evidence.

             e.    Title IX Hearing Determination – Following the hearing, the Decision
                   Maker will issue a written determination, generally within five (5) business
                   days. In the event circumstances require more time to issue a written
                   determination, the Decision Maker will notify the parties. This document
                   will include the following elements:

                   i. the allegations made against the Respondent;
                   ii. a description of the procedural steps undertaken, including
                        notifications to parties, interviews and site visits, methods used to
                        gather evidence, and hearings;
                   iii. findings of fact that support the determination;
                   iv. an explanation regarding the result of each allegation, including a
                        determination as to whether the Respondent did or did not violate this
                        Policy as to each allegation;
                   v. any disciplinary actions/sanctions against the Respondent, and any
                        remedies to be provided to the Complainant; and
                   vi. procedures and bases for appeal.

             f.    Effect of Hearing Determination – The determination will become final
                   one (1) day after the appeal deadline set in Section 6.01. The Title IX
                   Coordinator will coordinate the implementation of any remedies. Copies
                   of the written determination will be provided to both parties, and their
                   respective department heads to include the Deans, the Provost’s office,
                   and/or Vice Presidents.

  5.02   TITLE IX HEARING PROCEDURE (STUDENT RESPONDENT)




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         All cases involving a student Respondent will follow the procedures set forth in the Student
         Code of Conduct, available at https://studentconduct.okstate.edu/code, with the following
         additions:

                a.      Advisor – The Complainant and Respondent may have their own Advisor
                        of choice. If either the Complainant or Respondent is unable or chooses not
                        to name an Advisor, the University will provide an Advisor. During the
                        hearing, questions asked to the other party must be asked through the
                        participant’s Advisor. If the participant’s Advisor does not act in
                        accordance of the hearing and the Advisor’s privileges are withdrawn or
                        they are barred from the hearing, Student Conduct Education and
                        Administration will appoint an Advisor to assist in asking questions to other
                        participants.

  5.03   VIOLATION OF POLICY

         If the Decision Maker determines by a Preponderance of the Evidence that Respondent has
         engaged in Sexual Misconduct as defined in this Policy, Respondent will be deemed
         responsible for a Title IX violation.

  APPEALS

  6.01   APPEALS INVOLVING EMPLOYEE RESPONDENTS

                a.      Time for Appeal – A Complainant or Respondent may appeal in writing
                        either a dismissal of a Formal Complaint or the Title IX Hearing
                        Determination within ten (10) days of notification of such determination on
                        the grounds set forth in Section 6.01(b).

                b.    Grounds for Appeal – A Complainant or Respondent may appeal either a
                      dismissal of a Formal Complaint or the Title IX Hearing Determination for
                      the following reasons:

                      i.   A procedural irregularity occurred that affected the outcome of the
                          matter;
                      ii. New evidence that was not reasonably available at the time the Title IX
                          Hearing Determination or dismissal was made, that could affect the
                          outcome of the matter; or,
                     iii. The Title IX Coordinator, Deputy Title IX Coordinator, investigator(s),
                          or Decision Maker had a conflict of interest or bias for or against
                          complainants or respondents generally or the individual Complainant or
                          Respondent that affected the outcome of the matter.

                c.   Appeal Process – Upon receiving a written appeal, the Title IX Coordinator
                     or Deputy Title IX Coordinator will notify the other party. The non-appealing
                     party will have seven (7) days from the notification of appeal to submit a




                                             App.380
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                   written response. An Appellate Officer, who is not the same person as the Title
                   IX Coordinator, investigator(s), or Decision Maker in the Title IX Hearing,
                   will be assigned. The Appellate Officer will consider the appeal, any response
                   submitted, and the record of the Title IX Hearing and make a written
                   determination within ten (10) days, which determination will be sent to both
                   parties and will be final.

                  i.            If the Appellate Officer finds there is no merit to any of the grounds
                                cited in the appeal, it will issue a finding as such and that decision will
                                be final.
                  ii.           If the Appellate Officer finds there was a procedural irregularity that
                                affected the outcome of the matter, the matter may be remanded to a
                                new Title IX Hearing.
                  iii.          If the Appellate Officer finds new evidence exists that was not
                                reasonably available that could affect the outcome, the matter may be
                                remanded to the original Title IX Hearing Decision Maker.
                  iv.           If the Appellate Officer finds that the Title IX Coordinator,
                                investigator(s), or Decision Maker had a conflict of interest or bias for
                                or against the parties (generally, or specifically in this matter) that
                                affected the outcome of the matter, the case may be remanded to a new
                                Title IX Hearing.

  6.02   APPEALS INVOLVING STUDENT RESPONDENTS

             a.          Time for Appeal – A Complainant or Respondent may appeal in writing
                         either a dismissal of a Formal Complaint or the Title IX Hearing
                         Determination within seven (7) days of notification of such determination
                         on the grounds set forth in Section 6.02(b).

             b.          Grounds for Appeal – A Complainant or Respondent may appeal either a
                         dismissal of a Formal Complaint or the Title IX Hearing Determination for
                         the following reasons:

                         i.        A procedural irregularity occurred that affected the outcome of the
                                   matter;
                         ii.       New evidence that was not reasonably available at the time the Title
                                   IX Hearing Determination or dismissal was made, that could affect
                                   the outcome of the matter;
                         iii.      The Title IX Coordinator, Deputy Title IX Coordinator,
                                   investigator(s), or Decision Maker had a conflict of interest or bias
                                   for or against complainants or respondents generally or the
                                   individual Complainant or Respondent that affected the outcome of
                                   the matter; or
                         iv.       The sanction is not appropriate for the violation. This provision is
                                   intended to be utilized when a determined sanction is inherently
                                   inconsistent with University procedures or precedent. Simple




                                                  App.381
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                                dissatisfaction is not grounds for overturning a sanction under this
                                provision.

  RETALIATION

  7.01   RETALIATION

         Retaliation is any adverse action taken against a person because of that person’s
         participation in protected activity. In accordance with the Oklahoma Agricultural and
         Mechanical Colleges Policy 3.06, Non-Retaliation, the University strictly prohibits
         retaliation against any person for making any good faith report of discrimination,
         harassment, or sexual misconduct or for filing, testifying, assisting, or participating in any
         investigation or proceeding involving allegations of discrimination, harassment, or sexual
         misconduct. Any person who engages in such retaliation shall be subject to disciplinary
         action, up to and including termination, in accordance with applicable procedures. Any
         person who believes they have been subjected to retaliation is encouraged to promptly
         notify the Title IX Coordinator. The University will promptly investigate all claims of
         retaliation.

  RECORDKEEPING

  8.01   RECORDS

         In implementing this Policy, records of all complaints, investigations, and resolutions will
         be kept by the Title IX Coordinator (or designee) depending on the nature of the complaint.
         The records will be kept for a minimum of seven (7) years following final resolution.

  8.02   OSU ANNUAL SECURITY REPORTS

         Oklahoma State University disseminates a public annual security report Annual Security
         Report (ASR) to employees and students every October 1st. The ASR includes statistics of
         campus crime for the preceding 3 calendar years, plus details about efforts taken to improve
         campus safety. The report includes: definitions of sexual harassment, what to do if you are
         victimized, support services, on and off campus resources, preventive measures and the
         sex offender registration. Additionally, there are Policy statements regarding crime
         reporting, campus facility security and access, incidence of alcohol and drug use, and the
         prevention of/response to sexual assault, domestic and dating violence, and stalking. The
         OSU Annual Security Report can be located at: https://police.okstate.edu/annual-security-
         reports.

  TRAINING

  9.01   TRAINING

         Oklahoma State University will ensure the Title IX Coordinator, Deputy Title IX
         Coordinator, Title IX Investigators, and Decision Makers do not have conflicts of interest




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        or any bias for or against the Complainant or Respondent. Each person will receive
        mandatory training on the topics of sexual harassment, and Sexual Misconduct, to include
        how to conduct investigations, how to conduct hearings and appeals, and how to remain
        impartial throughout the process. Title IX and Title VII training is mandatory for all
        University administrators, faculty and staff.




                                           App.383
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                                               Appendix A
                                          State Law Definitions

  Consent: The term “consent” means the affirmative, unambiguous and voluntary agreement to
  engage in a specific sexual activity during a sexual encounter which can be revoked at any time.
  Consent cannot be:

                 1.        Given by an individual who:
                           a.      is asleep or is mentally or physically incapacitated either through the
                                   effect of drugs or alcohol or for any other reason, or
                           b.      is under duress, threat, coercion or force; or
                 2.        Inferred under circumstances in which consent is not clear including, but
                           not limited to:
                           a.      the absence of an individual saying “no” or “stop”, or
                           b.      the existence of a prior or current relationship or sexual activity.

  21 Okla. Stat. § 113

  Dating violence is not defined by the state of Oklahoma; however, violence against a person with
  whom the perpetrator is in a dating relationship is considered domestic violence, defined below.
  A dating relationship is defined as: an intimate association, primarily characterized by affectionate
  or sexual involvement. For purposes of this act, a casual acquaintance or ordinary fraternization
  between persons in a business or social context shall not constitute a dating relationship.

  22 Okla. Stat. § 60.1.

  Domestic violence is not defined in Oklahoma law. However, the criminal definition of domestic
  abuse is defined as: Any act of physical harm, or the threat of imminent physical harm which is
  committed by an adult, emancipated minor, or minor child thirteen (13) years of age or older
  against another adult, emancipated minor or minor child who is currently or was previously an
  intimate partner or family or household member. “Family or household members” means: (a)
  parents, including grandparents, stepparents, adoptive parents and foster parents, (b) children,
  including grandchildren, stepchildren, adopted children and foster children, and (c) persons
  otherwise related by blood or marriage living in the same household. “Intimate partner” means:
  (a) current or former spouses, (b) persons who are or were in a dating relationship, (c) persons who
  are the biological parents of the same child, regardless of their marital status or whether they have
  lived together at any time, and (d) persons who currently or formerly lived together in an intimate
  way, primarily characterized by affectionate or sexual involvement. A sexual relationship may be
  an indicator that a person is an intimate partner, but is never a necessary condition.

  22 Okla. Stat. § 60.1.

  Sexual assault:

     a. rape, or rape by instrumentation, as defined in Sections 1111, 1111.1 and 1114 of [Title
        21], or




                                                 App.384
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     b. forcible sodomy, as defined in Section 888 of [Title 21].
        21 Okla. Stat. § 142.20.

  Rape (as used in the definition for “sexual assault”):

     A. Rape is an act of sexual intercourse involving vaginal or anal penetration accomplished
        with a male or female who is not the spouse of the perpetrator and who may be of the same
        or the opposite sex as the perpetrator under any of the following circumstances:

         1. Where the victim is under sixteen (16) years of age;
         2. Where the victim is incapable through mental illness or any other unsoundness of mind,
            whether temporary or permanent, of giving legal consent;
         3. Where force or violence is used or threatened, accompanied by apparent power of
            execution to the victim or to another person;
         4. Where the victim is intoxicated by a narcotic or anesthetic agent, administered by or
            with the privity of the accused as a means of forcing the victim to submit;
         5. Where the victim is at the time unconscious of the nature of the act and this fact is
            known to the accused;
         6. Where the victim submits to sexual intercourse under the belief that the person
            committing the act is a spouse, and this belief is induced by artifice, pretense, or
            concealment practiced by the accused or by the accused in collusion with the spouse
            with intent to induce that belief. In all cases of collusion between the accused and the
            spouse to accomplish such act, both the spouse and the accused, upon conviction, shall
            be deemed guilty of rape;
         7. Where the victim is under the legal custody or supervision of a state agency, a federal
            agency, a county, a municipality or a political subdivision and engages in sexual
            intercourse with a state, federal, county, municipal or political subdivision employee
            or an employee of a contractor of the state, the federal government, a county, a
            municipality or a political subdivision that exercises authority over the victim; or the
            subcontractor or employee of a subcontractor of the state or federal government, a
            county, a municipality or a political subdivision that exercises authority over the victim;
         8. Where the victim is at least sixteen (16) years of age and is less than twenty (20) years
            of age and is a student, or under the legal custody or supervision of any public or private
            elementary or secondary school, junior high or high school, or public vocational school,
            and engages in sexual intercourse with a person who is eighteen (18) years of age or
            older and is an employee of the same school system; or
         9. Where the victim is nineteen (19) years of age or younger and is in the legal custody of
            a state agency, federal agency or tribal court and engages in sexual intercourse with a
            foster parent or foster parent applicant.

     B. Rape is an act of sexual intercourse accomplished with a male or female who is the spouse
        of the perpetrator if force or violence is used or threatened, accompanied by apparent power
        of execution to the victim or to another person.

  21 Okla. Stat. § 1111




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  Rape by instrumentation (as used in the definition of “sexual assault”):

  Rape by instrumentation is an act within or without the bonds of matrimony in which any inanimate
  object or any part of the human body, not amounting to sexual intercourse is used in the carnal
  knowledge of another person without his or her consent and penetration of the anus or vagina
  occurs to that person. Provided, further, that at least one of the circumstances specified in Section
  1111 of this title has been met; further, where the victim is at least sixteen (16) years of age and is
  less than twenty (20) years of age and is a student, or under the legal custody or supervision of any
  public or private elementary or secondary school, junior high or high school, or public vocational
  school, and engages in conduct prohibited by this section of law with a person who is eighteen
  (18) years of age or older and is an employee of the same school system, or where the victim is
  under the legal custody or supervision of a state or federal agency, county, municipal or a political
  subdivision and engages in conduct prohibited by this section of law with a federal, state, county,
  municipal or political subdivision employee or an employee of a contractor of the state, the federal
  government, a county, a municipality or a political subdivision that exercises authority over the
  victim, consent shall not be an element of the crime. Provided, further, that at least one of the
  circumstances described in Section 1111 of this title has been met; further, where the victim is
  nineteen (19) years of age or younger and in the legal custody of a state agency, federal agency or
  tribal court and engages in conduct prohibited by this section of law with a foster parent or foster
  parent applicant. Except for persons sentenced to life or life without parole, any person sentenced
  to imprisonment for two (2) years or more for a violation of this section shall be required to serve
  a term of post-imprisonment supervision pursuant to subparagraph f of paragraph 1 of subsection
  A of Section 991a of Title 22 of the Oklahoma Statutes under conditions determined by the
  Department of Corrections. The jury shall be advised that the mandatory post-imprisonment
  supervision shall be in addition to the actual imprisonment.

  21 Okla. Stat. § 1111.1.

  Forcible sodomy (as used in the definition of “sexual assault”):

     A. Any person who forces another person to engage in the detestable and abominable crime
        against nature, pursuant to Section 886 of this title, upon conviction, is guilty of a felony
        punishable by imprisonment in the custody of the Department of Corrections for a period
        of not more than twenty (20) years. Except for persons sentenced to life or life without
        parole, any person sentenced to imprisonment for two (2) years or more for a violation of
        this subsection shall be required to serve a term of post-imprisonment supervision pursuant
        to subparagraph f of paragraph 1 of subsection A of Section 991a of Title 22 of the
        Oklahoma Statutes under conditions determined by the Department of Corrections. The
        jury shall be advised that the mandatory post-imprisonment supervision shall be in addition
        to the actual imprisonment. Any person convicted of a second violation of this section,
        where the victim of the second offense is a person under sixteen (16) years of age, shall
        not be eligible for probation, suspended or deferred sentence. Any person convicted of a
        third or subsequent violation of this section, where the victim of the third or subsequent
        offense is a person under sixteen (16) years of age, shall be punished by imprisonment in
        the custody of the Department of Corrections for a term of life or life without parole, in the
        discretion of the jury, or in case the jury fails or refuses to fix punishment then the same




                                               App.386
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         shall be pronounced by the court. Any person convicted of a violation of this subsection
         after having been twice convicted of a violation of subsection A of Section 1114 of this
         title, a violation of Section 1123 of this title or sexual abuse of a child pursuant to Section
         843.5 of this title, or of any attempt to commit any of these offenses or any combination of
         the offenses, shall be punished by imprisonment in the custody of the Department of
         Corrections for a term of life or life without parole.

     B. The crime of forcible sodomy shall include:

         1. Sodomy committed by a person over eighteen (18) years of age upon a person under
            sixteen (16) years of age;
         2. Sodomy committed upon a person incapable through mental illness or any unsoundness
            of mind of giving legal consent regardless of the age of the person committing the
            crime;
         3. Sodomy accomplished with any person by means of force, violence, or threats of force
            or violence accompanied by apparent power of execution regardless of the age of the
            victim or the person committing the crime;
         4. Sodomy committed by a state, county, municipal or political subdivision employee or
            a contractor or an employee of a contractor of the state, a county, a municipality or
            political subdivision of this state upon a person who is under the legal custody,
            supervision or authority of a state agency, a county, a municipality or a political
            subdivision of this state; or the subcontractor or employee of a subcontractor of the
            contractor of the state or federal government, a county, a municipality or a political
            subdivision of this state;
         5. Sodomy committed upon a person who is at least sixteen (16) years of age but less than
            twenty (20) years of age and is a student of any public or private secondary school,
            junior high or high school, or public vocational school, with a person who is eighteen
            (18) years of age or older and is employed by the same school system;
         6. Sodomy committed upon a person who is at the time unconscious of the nature of the
            act, and this fact should be known to the accused; or
         7. Sodomy committed upon a person where the person is intoxicated by a narcotic or
            anesthetic agent administered by or with the privity of the accused as a means of forcing
            the person to submit.
         8. Sodomy committed upon a person who is at least sixteen (16) years of age but less than
            eighteen (18) years of age by a person responsible for the child’s health, safety or
            welfare. “person responsible for a child’s health, safety or welfare” shall include, but
            not be limited to: (a) a parent, (b) a legal guardian, (c) a custodian, (d) a foster parent,
            (e) a person eighteen (18) years of age or older with whom the child’s parent
            cohabitates, (f) any other adult residing in the hold of the child, (g) an agent or
            employee of a public or private residential home, institution, facility or day treatment
            program as defined in Section 175.2 of Title 10 of the Oklahoma Statutes, or (h) an
            owner, operator or employee of a child care facility, as defined by Section 402 of Title
            10 of the Oklahoma Statutes.

  21 Okla. Stat. § 888 (effective June 6, 2016).




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  Stalking:

  Any person who willfully, maliciously, and repeatedly follows or harasses another person in a
  manner that:

     1. Would cause a reasonable person or a member of the immediate family of that person as
        defined in subsection F of this section to feel frightened, intimidated, threatened, harassed,
        or molested; and
     2. Actually causes the person being followed or harassed to feel terrorized, frightened,
        intimidated, threatened, harassed, or molested, shall, upon conviction, be guilty of the
        crime of stalking, which is a misdemeanor punishable by imprisonment in a county jail for
        not more than one (1) year or by a fine of not more than One Thousand Dollars ($1,000.00),
        or by both such fine and imprisonment

     F. For purposes of this section:

         1. “Harasses” means a pattern or course of conduct directed toward another individual
            that includes, but is not limited to, repeated or continuing unconsented contact, that
            would cause a reasonable person to suffer emotional distress, and that actually causes
            emotional distress to the victim. Harassment shall include harassing or obscene phone
            calls as prohibited by Section 1172 of this title and conduct prohibited by Section 850
            of this title. Harassment does not include constitutionally protected activity or conduct
            that serves a legitimate purpose;
         2. “Course of conduct” means a pattern of conduct composed of a series of two or more
            separate acts over a period of time, however short, evidencing a continuity of purpose.
            Constitutionally protected activity is not included within the meaning of “course of
            conduct”;
         3. “Emotional distress” means significant mental suffering or distress that may, but does
            not necessarily require, medical or other professional treatment or counseling;
         4. “Unconsented contact” means any contact with another individual that is initiated or
            continued without the consent of the individual, or in disregard of that individual's
            expressed desire that the contact be avoided or discontinued. Constitutionally protected
            activity is not included within the meaning of unconsented contact. Unconsented
            contact includes but is not limited to any of the following:

              a. following or appearing within the sight of that individual,
              b. approaching or confronting that individual in a public place or on private property,
              c. appearing at the workplace or residence of that individual,
              d. entering onto or remaining on property owned, leased, or occupied by that
                 individual,
              e. contacting that individual by telephone,
              f. sending mail or electronic communications to that individual, and
              g. placing an object on, or delivering an object to, property owned, leased, or occupied
                 by that individual.




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         5. “Member of the immediate family,” for the purposes of this section, means any spouse,
            parent, child, person related within the third degree of consanguinity or affinity or any
            other person who regularly resides in the household or who regularly resided in the
            household within the prior six (6) months.
         6. “Following” shall include the tracking of the movement or location of an individual
            through the use of a Global Positioning System (GPS) device or other monitoring
            device by a person, or person who acts on behalf of another, without the consent of the
            individual whose movement or location is being tracked; provided, this shall not apply
            to the lawful use of a GPS device or other monitoring device or to the use by a new or
            used motor vehicle dealer or other motor vehicle creditor of a GPS device or other
            monitoring technology, including a device containing technology used to remotely
            disable the ignition of a motor vehicle, in connection with lawful action after default of
            the terms of a motor vehicle credit sale, loan or lease, and with the express written
            consent of the owner or lessee of the motor vehicle.

  21 Okla. Stat. § 1173.




                                              App.389
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                    Exhibit 14




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                                                                           Spotlight on
                                           SPEECH CODES
 FIG. 1
                                                    2021
                                                              The State of Free Speech
                                                             on Our Nation’s Campuses




                       56                              312                            102




FIG. 2                            FIG. 3                          FIG. 4


                                            App.391
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EXECUTIVE SUMMARY



                                          For the thirteenth
                                          year in a row, the
                                          percentage of red
                                          light schools has
                                          declined.




                                                                                        24.2%

                                                                                                21.3%




           2009   2010   2011   2012   2013   2014   2015   2016   2017   2018   2019   2020    2021




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                            Most college students in the United States should         Though these improvements in policy are heartening,
                            be able to expect that freedom of expression will be      free speech on campus remains under threat. Demands
                            upheld on their campuses. After all, public institutions  for censorship of student and faculty speech—
                            are legally bound by the First Amendment, and the vast    whether originating on or off campus—are common,
                            majority of private colleges and universities promise     and universities continue to investigate and punish
                            their students commensurate free speech rights.           students and faculty over protected expression. FIRE
                                                                                      surveyed 478 schools and found 21.3% maintain red
                            In spite of this legal landscape, far too many colleges light policies.
                            across the country fail to live up to their free speech
                            obligations in policy and in practice. Often, this This year, schools across the country moved classes
                            occurs through the implementation of speech codes: online and set forth new regulations in response to
                            university policies that restrict expression protected the COVID-19 pandemic, presenting a new set of
                            by the First Amendment.                                   challenges for campus free speech advocates.1 These
                                                                                      new challenges, combined with an increase in social
                            For our 2021 report, FIRE surveyed the written policies justice protests and anti-racism activism on campuses,
                            of 478 colleges and universities, evaluating their resulted in FIRE’s busiest summer ever. Indeed, in
                            compliance with First Amendment standards. Overall, the month of June, FIRE’s Individual Rights Defense
                            21.3% of surveyed colleges maintained at least one Program reviewed 287 cases of alleged violations of
                            severely restrictive policy that earned FIRE’s worst, student and faculty rights, while the previous two years
                            “red light” rating, meaning that the policy both clearly saw an average of just 49 cases each June.2
                            and substantially restricts protected speech. This is the




                                                                                                                                                                                                                                         The State of Free Speech on Our Nation’s Campuses
                            thirteenth year in a row that the percentage of schools It is imperative that those who care about free speech
                            earning a red light rating has gone down; last year, on campus stay vigilant. The decrease in restrictive
                            24.2% of schools earned a red light rating.               speech codes and the proliferation of free speech
                                                                                      policy statements are the result of the tireless work
                            The majority of institutions surveyed (65.3%) earned an of free speech advocates at FIRE and elsewhere. But we
                            overall “yellow light” rating, meaning they maintained must ensure that new national and global challenges
                            at least one yellow light policy. Yellow light policies do not result in such progress being lost. We must
                            are either clear restrictions on a narrower range of continue to work to ensure that students have the
                            expression or policies that, by virtue of vague wording, opportunity to pursue their education, and that faculty
                            could too easily be applied to restrict protected are able to teach with the greatest possible foundation
                            expression. While the steady decline in red light for free expression in place.
                            institutions is cause for optimism, FIRE will continue
                            to work with colleges and universities to ensure that        FIRE surveyed 478 schools and found 21.3%
                            yellow light institutions improve to earn our highest,                 maintain red light policies
                            “green light” rating.

                            A green light rating indicates that none of a university’s
                            written policies seriously imperil protected expression.
                            A total of 56 colleges and universities (11.7% of those
                            surveyed) earned an overall green light rating, up from
                            50 schools as of last year’s report.

                            In further good news, more and more colleges
                            and universities are adopting policy statements in
                            support of free speech modeled after the “Report
                            of the Committee on Freedom of Expression” at the
                            University of Chicago (the “Chicago Statement”). As
                            of this writing, 76 universities, university systems, or
                            faculty bodies have endorsed a version of the “Chicago
                            Statement,” with six adoptions since last year’s report.

1
    See FIRE statement on COVID-19 restrictions on expressive and associational rights, Found. for Individual Rights in Educ. (Sept. 8, 2020), thefire.org/fire-statement-on-covid-19-restrictions-on-expressive-and-associational-rights.
2
    Adam Steinbaugh, This has been FIRE’s busiest summer ever. What happened?, Found. for Individual Rights in Educ. (Sept. 14, 2020), thefire.org/this-has-been-fires-busiest-summer-ever-what-happened.




                                                                                                          App.395                                                                                                                           2
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           METHODOLOGY




       FIRE believes that free speech is not only a
       moral imperative, but an essential element
       of a college education.




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                         For this report, FIRE surveyed publicly available                    Yellow Light: A yellow light institution
                         policies at 372 four-year public institutions and 106                maintains policies that could be interpreted
                         of the nation’s most prestigious private institutions.               to suppress protected speech or policies
                         Our research focuses in particular on public universities            that, while clearly restricting freedom
                         because, as explained in detail below, public                        of speech, restrict relatively narrow
                         universities are legally bound to protect students’                  categories of speech.
                         right to free speech and can be successfully sued in
                         court when they do not.                                   For example, a policy banning “verbal abuse” has broad
                                                                                   applicability and poses a substantial threat to free
                         FIRE rates colleges and universities as “red light,” speech, but it is not a clear violation because “abuse”
                         “yellow light,” or “green light” institutions based on might refer to unprotected speech and conduct,
                         how much, if any, protected expression their written such as threats of violence or unlawful harassment.
                         policies governing student conduct restrict. The speech Similarly, while a policy banning “profanity on residence
                         code ratings do not take into account a university’s “as- hall door whiteboards” clearly restricts speech, it is
                         applied” violations of student speech rights or other relatively limited in scope. Yellow light policies are
                         cases of censorship, student- or faculty-led calls for typically unconstitutional when maintained by public
                         punishment of protected speech, and related incidents universities,3 and a rating of yellow light rather than red
                         and controversies. Monitoring and rating such incidents light in no way means that FIRE condones a university’s
                         consistently across 478 institutions with accuracy is restrictions on speech. Rather, it means that in FIRE’s
                         not feasible and is beyond the scope of this report. judgment, those restrictions do not clearly and
                                                                                   substantially restrict speech in the manner necessary




                                                                                                                                                                                                                                        The State of Free Speech on Our Nation’s Campuses
                         The speech code ratings are defined as follows:           to warrant a red light rating.

                                            Red Light: A red light institution maintains
                                            at least one policy both clearly and                Green Light: If FIRE finds that a university’s
                                            substantially restricting freedom of speech,        policies do not seriously threaten campus
                                            or bars public access to its speech-related         expression, that college or university
                                            policies by requiring a university login and        receives a green light rating. A green light
                                            password for access.                                rating does not necessarily indicate that a
                                                                                     school actively supports free expression in practice;
                         A “clear” restriction unambiguously infringes on it simply means that the school’s written policies do
                         protected expression. In other words, the threat to free not pose a serious threat to free speech.
                         speech at a red light institution is obvious on the face
                         of the policy and does not depend on how the policy
                         is applied. A “substantial” restriction on free speech is               Warning: FIRE believes that free speech is
                         one that is broadly applicable to campus expression.                    not only a moral imperative, but an essential
                         For example, a ban on “offensive speech” would be a                     element of a college education. However,
                         clear violation (in that it is unambiguous) as well as a                private universities, as private associations,
                         substantial violation (in that it covers a great deal of possess their own right to free association, which
                         what is protected under First Amendment standards). allows them to prioritize other values above the right
                         Such a policy would earn a university a red light.          to free speech if they wish to do so. Therefore, when a
                                                                                     private university clearly and consistently states that
                         When a university restricts access to its speech-related it holds a certain set of values above a commitment
                         policies by requiring a login and password, it denies to freedom of speech, FIRE gives it a Warning rating
                         prospective students and their parents the ability to in order to warn prospective students and faculty
                         weigh this crucial information prior to matriculation. members of this fact.4 Eight schools surveyed for this
                         At FIRE, we consider this denial to be so deceptive and report meet these criteria.5
                         serious that it alone warrants an overall red light rating.




3
  See, e.g., Gooding v. Wilson, 405 U.S. 518, 519, 528 (1972) (holding that a Georgia statute prohibiting “opprobrious words or abusive language” was unconstitutional because those terms, as commonly understood, encompass
speech protected by the First Amendment). Under this and related precedents, a public university maintaining a ban on “verbal abuse” and similar expression would be constitutionally deficient.
4
  For example, Brigham Young University’s “Church Educational System Honor Code” provides: “Brigham Young University and other Church Educational System institutions exist to provide an education in an atmosphere consistent
with the ideals and principles of The Church of Jesus Christ of Latter-day Saints. . . . By accepting appointment, continuing in employment, being admitted, or continuing class enrollment, each member of the BYU community
personally commits to observe these Honor Code standards approved by the Board of Trustees . . . including the avoidance of profane and vulgar language.” Church Educational System Honor Code, Brigham Young Univ.,
policy.byu.edu/view/index.php?p=26 (last visited Oct. 7, 2020). It would be clear to any reasonable person reading this policy that students are not entitled to unfettered free speech at BYU.
5
  FIRE has designated the following colleges and universities as “Warning” schools: Baylor University, Brigham Young University, Pepperdine University, Saint Louis University, the United States Military Academy, the United States
Naval Academy, Vassar College, and Yeshiva University.

                                                                                                        App.397                                                                                                                            4
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                       FINDINGS



       The number of green light institutions has
     continued to increase this year, from 50 to 56.




                                        App.398
                                                                                                                                  FIRE reviewed policies at 478
                    Case 5:23-cv-00029-J Document 32-19 colleges and universities.
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                           Of the 478 schools reviewed by FIRE, 102, or 21.3%,                                                                             RED LIGHT
                           received a red light rating. 312 schools received a yellow
                           light rating (65.3%), and 56 received a green light rating
                           (11.7%). Eight schools earned a Warning rating (1.7%).6

                           This marks the thirteenth year in a row that the
                                                                                                                                                               21.3%
                           percentage of universities with an overall red light
                           rating has fallen, this year from 24.2% to 21.3%.
                           The continued reduction in red light institutions is
                           encouraging: Just over a decade ago, red light schools
                           encompassed about 75% of the report’s findings.7

                           However, this year’s numbers also reveal an increase
                                                                                                                                                       YELLOW LIGHT
                           in yellow light institutions, as 63.9% of schools earned
                           an overall yellow light last year, compared to 65.3%
                           this year. While yellow light policies are not as clearly
                           and substantially restrictive as red light policies on
                           their face, they nevertheless impose impermissible
                           restrictions on expression.                                                                                                        65.3%

                           The number of green light institutions has continued to




                                                                                                                                                                                                                                                 The State of Free Speech on Our Nation’s Campuses
                           rise this year, from 50 institutions last year to 56 now.8
                           At 11.7%, the percentage of green light schools is at
                           an all-time high, with more than one million students
                           across the country enrolled at green light colleges
                           and universities.9                                                                                                           GREEN LIGHT

                           In total, 27 schools improved their overall ratings this
                           year.10


                                                                                                                                                                11.7%



                                                  FIRE reviewed
                                                  policies at 478
                                                  colleges and                                                                                             WARNING
                                                  universities.



                                                                                                                                                                1.7%




6
   See Appendix A for a full list of schools by rating.
7
  The 2009 report and all other past Spotlight on Speech Codes reports are available at thefire.org/spotlight/reports.
8
   Colorado Mesa University, Fayetteville State University, Florida State University, Jackson State University, and the University of Colorado Boulder all joined the ranks of green light schools since last year’s report. Emory University,
which went from an overall green light rating to an overall red light rating last year by password-protecting certain policies, resolved this issue over the past year, restoring its green light status.
9
   Press Release, Found. for Individual Rights in Educ., One million students now attend colleges with FIRE’s highest free speech rating (Feb. 26, 2019),
thefire.org/one-million-students-now-attend-colleges-with-fires-highest-free-speech-rating.
10
   See Appendix B for a full list of rating changes over the 2019–20 academic year.
11
   The remaining 0.5% of public institutions in the database earn FIRE’s Warning rating. The Warning rating is typically reserved for private universities that clearly prioritize other values above students’ free speech, such that
students do not have a reasonable expectation of free speech rights. However, despite their public status as federal service academies, the United States Military Academy and the United States Naval Academy earn the Warning
rating because they place other institutional priorities above free speech.
                                                                                                             App.399                                                                                                                                6
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                                                     PUBLIC COLLEGES AND
                                                     UNIVERSITIES

                                                     The percentage of public schools with a red light rating
                                                     dropped again, from 18.3% last year to 14.5% this year.
                                                     Overall, of the 372 public universities reviewed for           All of the four-year public universities
                                                     this report, 54 received a red light rating (14.5%), 264       in Arizona now earn FIRE’s highest
                                                     received a yellow light rating (71%), and 52 received a
                                                     green light rating (14%). As a result, public colleges and     rating, making Arizona the only state
                                                     universities will soon reach a significant turning point:      able to claim this distinction.
                                                     There are nearly the same number of public green light
                                                     schools as public red light schools. As just nine public
                                                     schools earned the green light rating a decade ago,
                                                     this milestone reveals significant progress.

                                                     This year, FIRE was pleased to welcome Colorado
                                                     Mesa University, Fayetteville State University, Florida
                                                     State University, Jackson State University, and the
                                                     University of Colorado Boulder to the list of green
                                                     light institutions.
Foundation for Individual Rights in Education




                                                     Notably, Florida State University and the University of
                                                     Colorado Boulder bring more than 30,000 students
                                                     each to the green light list. Both are flagship institutions
                                                     in their state, a status we hope to leverage into further
                                                     policy reform with other schools in their respective                  LAST YEAR                   THIS YEAR
                                                     university systems.

                                                     In the coming year, FIRE will continue to work
                                                     strategically to reform policies at public university
                                                     systems across the country.




                                                                       Red light ratings of public schools
                                                                       dropped from 18.3% to 14.5% this year.




                   7
                                                                                                           App.400
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     Private Colleges and Universities

     Of the 106 private colleges and universities reviewed,
     47 received a red light rating (44.3%). 49 received a
     yellow light rating (46.2%), four received a green light
     rating (3.8%), and six earned a Warning rating (5.7%).

     The percentage of private universities earning a
     red light rating, which stood at 44.8% last year,
     continued to decrease, coming in at 44.3% this year.
     This progress, albeit slight, is hard-earned given that
     private universities are not legally bound by the First
     Amendment, which regulates only government actors.
     For this reason, it is gratifying that these colleges are
     closer to fulfilling their institutional commitments to
     free expression.

     FIRE will continue to work with private colleges and
     universities to improve policies so that they better meet
     institutional commitments to protecting students’ free




                                                                                                      The State of Free Speech on Our Nation’s Campuses
     speech rights.


                                                      Of the 106 private schools reviewed by FIRE,
                                                      47 received a red light rating, 49 received a
                                                      yellow light rating, 4 received a green light
                                                      rating, and 6 earned a Warning rating.




                                                        App.401                                          8
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                DISCUSSION




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                           Speech Codes on Campus: Background and Legal Challenges

                           Speech codes—university regulations prohibiting
                           expression that would be constitutionally protected
                           in society at large—gained popularity with
                           college administrators in the 1980s and 1990s. As
                           discriminatory barriers to education declined, female
                           and minority enrollment increased. Concerned that
                           these changes would cause tension and that students
                           who finally had full educational access would arrive
                           at institutions only to be offended by other students,
                           college administrators enacted speech codes.

                           In the mid-1990s, the phenomenon of campus
                           speech codes converged with the expansion of Title
                           IX, the federal law prohibiting sex discrimination in
                           educational institutions receiving federal funds.12 Under
                           the rationale of the obligation to prohibit discriminatory
                           harassment, unconstitutionally overbroad harassment




                                                                                                                                                                                                                                                    The State of Free Speech on Our Nation’s Campuses
                           policies banning subjectively offensive conduct
                           proliferated. (This Title IX enforcement history is
                           covered in further detail in this report’s “Spotlight on:
                           New Title IX Regulations” feature.)

                           In enacting speech codes, administrators ignored or
                           did not fully consider the philosophical, social, and
                           legal ramifications of placing restrictions on speech,
                           particularly at public universities. As a result, federal
                           courts have overturned speech codes at numerous
                           colleges and universities over the past several
                           decades.13

                           Despite the overwhelming weight of legal authority
                           against speech codes, a large number of institutions—
                           including some of those that have been successfully
                           sued on First Amendment grounds—still maintain
                           unconstitutional and illiberal speech codes. It is with
                           this unfortunate fact in mind that we turn to a more
                           detailed discussion of the ways in which campus
                           speech codes violate individual rights and what can
                           be done to challenge them.




12
   Title IX of the Education Amendments of 1972, 20 U.S.C. § 1681, provides that: “No person in the United States shall, on the basis of sex, be excluded from participation in, be denied the benefits of, or be subjected to
discrimination under any education program or activity receiving Federal financial assistance.” See generally Jacob E. Gersen & Jeannie Suk, The Sex Bureaucracy, 104 Cal. L. Rev (2016) (discussing evolution of Title IX
requirements).
13
   McCauley v. Univ. of the V.I., 618 F.3d 232 (3d Cir. 2010); DeJohn v. Temple Univ., 537 F.3d 301 (3d Cir. 2008); Dambrot v. Cent. Mich. Univ., 55 F.3d 1177 (6th Cir. 1995); Univ. of Cincinnati Chapter of Young Am. for Liberty v. Williams,
2012 U.S. Dist. LEXIS 80967 (S.D. Ohio Jun. 12, 2012); Smith v. Tarrant Cty. Coll. Dist., 694 F. Supp. 2d 610 (N.D. Tex. 2010); Coll. Republicans at S.F. St. Univ. v. Reed, 523 F. Supp. 2d 1005 (N.D. Cal. 2007); Roberts v. Haragan, 346
F. Supp. 2d 853 (N.D. Tex. 2004); Bair v. Shippensburg Univ., 280 F. Supp. 2d 357 (M.D. Pa. 2003); Booher v. N. Ky. Univ. Bd. of Regents, No. 2:96-CV-135, 1998 U.S. Dist. LEXIS 11404 (E.D. Ky. July 21, 1998); Corry v. Leland Stanford
Junior Univ., No. 740309 (Cal. Super. Ct. Feb. 27, 1995) (slip op.); UWM Post, Inc. v. Bd. of Regents of the Univ. of Wis., 774 F. Supp. 1163 (E.D. Wisc. 1991); Doe v. Univ. of Mich., 721 F. Supp. 852 (E.D. Mich. 1989). In addition,
numerous institutions have voluntarily modified their speech codes as part of settlement agreements. See, e.g., Press Release, Found. for Individual Rights in Educ., VICTORY: Speech rights of 150,000 students to be restored as
Los Angeles Community College District settles lawsuit, will abandon Pierce College’s tiny free speech zone (Dec. 13, 2018), thefire.org/victory-speech-rights-of-150000-students-to-be-restored-as-los-angeles-community-college-
district-settles-lawsuit-will-abandon-pierce-colleges-tiny-free-speech-zone [hereinafter Pierce College Press Release]; Press Release, Found. for Individual Rights in Educ., VICTORY: Student detained for passing out political flyers
settles lawsuit with Illinois College (Apr. 18, 2018), thefire.org/victory-student-detained-for-passing-out-political-flyers-settles-lawsuit-with-illinois-college; Press Release, Found. for Individual Rights in Educ., Victory: Texas College
                                                                                                             App.403
Settles Free Speech Lawsuit After Telling Student that Gun Rights Sign Needs ‘Special Permission’ (May 4, 2016), thefire.org/victory-texas-college-settles-free-speech-lawsuit-after-telling-student-that-gun-rights-sign-needs-special-
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                                                                  Public Universities vs. Private Universities

                                                                  With limited, narrowly defined exceptions, the First                                        Freedom of Expression at the University of Chicago.18
                                                                  Amendment prohibits the government—including                                                Since our last report, six more institutions have adopted
                                                                  governmental entities such as state universities—                                           policy statements in support of free speech modeled
                                                                  from restricting freedom of speech. A good rule                                             after the “Chicago Statement.” Notably, Colorado
                                                                  of thumb is that if a state law would be declared                                           Mesa University adopted the Chicago Statement in
                                                                  unconstitutional for violating the First Amendment,                                         conjunction with revising all of its speech codes to
                                                                  a similar regulation at a state college or university is                                    earn an overall green light rating, further underscoring
                                                                  likewise unconstitutional.                                                                  its commitment to free speech.19

                                                                  The guarantees of the First Amendment generally do
                                                                  not apply to students at private colleges because the                                          The First Amendment prohibits the
                                                                  First Amendment regulates only government conduct.14
                                                                  Moreover, although acceptance of federal funding does                                          government—including governmental
                                                                  confer some obligations upon private colleges (such                                            entities such as state universities—
                                                                  as compliance with federal anti-discrimination laws),                                          from restricting freedom of speech.
                                                                  compliance with the First Amendment is not one of
                                                                  them.

                                                                  This does not mean, however, that students and faculty FIRE will continue to encourage institutions, private
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                                                                  at all private schools are not entitled to free expression. and public alike, to adopt a similar policy statement
                                                                  In fact, most private universities explicitly promise over the course of the next year.
                                                                  freedom of speech and academic freedom in their
                                                                  official policy materials.

                                                                  Middlebury College, for example, states in its student
                                                                  handbook that it “recognizes and affirms that free
                                                                  intellectual inquiry, debate, and constructive dialogue
                                                                  are vital to Middlebury’s academic mission and must
                                                                  be protected even when the views expressed are
                                                                  unpopular or controversial.”15 Likewise, Princeton
                                                                  University, echoing the Chicago Statement, “guarantees
                                                                  all members of the University community the broadest
                                                                  possible latitude to speak, write, listen, challenge, and
                                                                  learn” and explains that “it is not the proper role of the
                                                                  University to attempt to shield individuals from ideas
                                                                  and opinions they find unwelcome, disagreeable, or
                                                                  even deeply offensive.”16 Yet both of these institutions,
                                                                  along with most other private colleges and universities,
                                                                  maintain policies that prohibit the very speech they
                                                                  promise to protect.17

                                                                  This year, both private and public institutions, including
                                                                  statewide systems, have continued to adopt policy
                                                                  statements in support of free speech modeled after
                                                                  the one produced in January 2015 by the Committee on




                                                permission; Press Release, Found. for Individual Rights in Educ., Victory: Lawsuit Settlement Restores Free Speech Rights at Dixie State U. After Censorship of Bush, Obama, Che Flyers (Sept. 17, 2015), thefire.org/victory-lawsuit-
                                                settlement-restores-free-speech-rights-at-dixie-state-u-after-censorship-of-bush-obama-che-flyers.
                                                14
                                                   California maintains a law that applies the protections of the First Amendment to private, nonsectarian institutions of higher education in the state. Section 94367 of the California Education Code—the so-called “Leonard Law”—
                                                provides: “No private postsecondary educational institution shall make or enforce a rule subjecting a student to disciplinary sanctions solely on the basis of conduct that is speech or other communication that, when engaged in
                                                outside the campus or facility of a private postsecondary institution, is protected from governmental restriction by the First Amendment to the United States Constitution or Section 2 of Article I of the California Constitution.” The
                                                code further provides that the law “does not apply to a private postsecondary educational institution that is controlled by a religious organization, to the extent that the application of this section would not be consistent with the
                                                religious tenets of the organization.” Cal. Educ. Code § 94367(a).
                                                15
                                                   B.1.b. Non-Discrimination Investigations & Resolutions Procedure, Middlebury Handbook, http://www.middlebury.edu/about/handbook/policies-for-all/non-discrim-policies/anti-harassment-discrimin (last visited Oct. 23,
                                                2020).

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                                                16
                                                                                                                                                 App.404
                                                   Statement on Freedom of Expression, Princeton Univ. Rights, Rules, Responsibilities 2020, rrr.princeton.edu/university#comp113 (last visited Oct. 15, 2020).
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                          What Exactly Is “Free Speech,” and How Do Universities Curtail It?

                          What does FIRE mean when we say that a university
                          restricts “free speech”? Do people have the right to say
                          absolutely anything, or are certain types of expression
                          unprotected?

                          Simply put, the overwhelming majority of speech is
                          protected by the First Amendment. Over the years,
                          the Supreme Court has carved out a limited number of
                          narrow exceptions to the First Amendment, including
                          speech that incites reasonable people to immediate                                               The exceptions are often misapplied
                          violence; so-called “fighting words” (face-to-face
                          confrontations that lead to physical altercations);                                              and abused by universities to punish
                          harassment; true threats and intimidation; obscenity;                                            constitutionally protected speech.
                          and defamation. If the speech in question does not
                          fall within one of these exceptions, it most likely is
                          protected.

                          The exceptions are often misapplied and abused




                                                                                                                                                                                                                                        The State of Free Speech on Our Nation’s Campuses
                          by universities to punish constitutionally protected
                          speech. There are instances where the written policy
                          at issue may be constitutional—for example, a
                          prohibition on “incitement”—but its application may
                          not be. In other instances, a written policy will purport
                          to be a legitimate ban on a category of unprotected
                          speech like harassment or true threats, but (either
                          deliberately or through poor drafting) will encompass
                          protected speech as well. Therefore, it is important
                          to understand what these narrow exceptions to free
                          speech actually mean in order to recognize when they
                          are being misapplied.




                                                                PROTECTED                                                          NOT
                                                                                                                                PROTECTED




17
   Middlebury College and Princeton University both earn overall red light ratings. See School Spotlight: Middlebury College, Found. for Individual Rights in Educ., thefire.org/schools/middlebury-college (last visited Oct. 16,
2020); School Spotlight: Princeton University, Found. for Individual Rights in Educ., thefire.org/schools/princeton-university (last visited Oct. 16, 2020).
18
   Committee on Freedom of Expression at the University of Chicago, Report of the Committee on Freedom of Expression, available at provost.uchicago.edu/FOECommitteeReport.pdf. For a complete list of institutions that have
adopted a version of the Chicago Statement, see thefire.org/chicago-statement-university-and-faculty-body-support.
19
   Press Release, Found. for Individual Rights in Educ., Colorado Mesa University earns nation’s top free speech rating for colleges (Sept. 30, 2020), thefire.org/colorado-mesa-university-earns-nations-top-free-speech-rating-for-
colleges.




                                                                                                          App.405                                                                                                                          12
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                                                                          Threats and Intimidation

                                                                          The Supreme Court has defined “true threats” as                                            anniversary of the massacre at Tiananmen Square, he
                                                                          “statements where the speaker means to communicate                                         posted a photo of himself holding a gun in his backyard
                                                                          a serious expression of an intent to commit an act                                         with the caption, “Don’t tread on me.”
                                                                          of unlawful violence to a particular individual or
                                                                          group of individuals.”20 The Court also has defined                                        In a letter to Fordham, FIRE explained that his conduct
                                                                          “intimidation,” of the type not protected by the First                                     did not approach the actual legal standards for a true
                                                                          Amendment, as a “type of true threat, where a speaker                                      threat or intimidation:
                                                                          directs a threat to a person or group of persons with
                                                                          the intent of placing the victim in fear of bodily harm                                           It appears that Tong’s discipline is based on his
                                                                          or death.” 21                                                                                     benign photo of himself holding of a firearm
                                                                                                                                                                            and his apparent criticism of protests for racial
                                                                          Neither term would encompass, for example, a vaguely                                              justice in his post about David Dorn. However,
                                                                          worded statement that is not directed at anyone in                                                neither of his Instagram posts approximate a
                                                                          particular. Nevertheless, far too many institutions                                               threat of any sort. Neither post was directed at
                                                                          fail to properly define these legal standards in their                                            a specific individual or group of individuals, and
                                                                          written policies.                                                                                 neither post on its face or in context indicates
                                                                                                                                                                            Tong intended to engage in any form of violence.
                                                                          For example:                                                                                      Fordham’s consideration of Tong’s social media
                                                                                                                                                                            post of him holding a gun and his comment
                                                                            • California State University – Monterey Bay defines
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                                                                                                                                                                            on David Dorn to be a “threat” demonstrates
                                                                                 threats as “[a]ny threat or action of physical,                                            an abandonment of any reasonable or fair
                                                                                 emotional, or verbal harm in any form.”22                                                  understanding of the term.26
                                                                            • Southern Illinois University at Carbondale’s Tong sued Fordham, and the university argued in
                                                                                 student conduct code defines intimidation as response that it has the “prerogative to limit a student’s
                                                                                 “[i]mplied threats or acts that cause a reasonable free expression rights,”27 despite repeatedly promising
                                                                                 fear of harm in another.”23                           to protect students’ free speech in its policies.28 As
                                                                            •    Southern Oregon University bans “[t]hreatening a result, the Department of Education sent a letter
                                                                                 communication,” defined as “[t]hreats made notifying Fordham that it is investigating whether the
                                                                                 online or through electronic communication with university has misrepresented its commitment to the
                                                                                 sufficient content such that it causes fear of injury protection of students’ expression.
                                                                                                                                                                           29


                                                                                 or other harm.” 24



                                                                          Further, universities frequently misapply policies
                                                                          prohibiting threats and intimidation so as to infringe
                                                                          on protected speech, citing generalized concerns about
                                                                          safety with no regard to the boundaries of protected
                                                                          speech.

                                                                          This year, Fordham University placed a student
                                                                          on probation over two social media posts, finding
                                                                          his actions constituted a violation of its “Threats /                                      As Fordham’s treatment of Tong demonstrates,
                                                                          Intimidation” policy.25 The student’s first post was a                                     universities that are bound by the First Amendment
                                                                          photo of retired St. Louis Police captain David Dorn, a                                    or that promise their students free speech must revise
                                                                          police officer killed by looters during unrest following                                   their policies so that they track the applicable First
                                                                          the killing of George Floyd, with the caption “Y’all                                       Amendment legal standards, and must enforce the
                                                                          a bunch of hypocrites.” In the second post, on the                                         policies accordingly.


                                                20
                                                    Virginia v. Black, 538 U.S. 343, 359 (2003).
                                                21
                                                   Id. at 360.
                                                22
                                                   Behavioral Health, and/or Safety of Self/Others, Student Housing & Residential Life Community Standards and Conduct Process Overview, d2jtc9c99zuy7w.cloudfront.net/TJ9un1suS72Vzs2Ws5uw_SHRL%20
                                                Community%20Standards%204.12.19.pdf (last visited Oct. 17, 2020).
                                                23
                                                    Threatening Behaviors, Southern Illinois Univ. Carbondale Student Conduct Code at 66 (updated Aug. 14, 2020), srr.siu.edu/_common/Student_Conduct_Code.pdf.
                                                24
                                                   Threatening Conduct, Code of Student Conduct at 21 (updated Sept. 18, 2020), inside.sou.edu/assets/policies/Code_of_Student_Conduct_091820.pdf.
                                                25
                                                   Austin Tong Sanction Letter, Found. for Individual Rights in Educ. (July 17, 2020), thefire.org/austin-tong-sanction-letter-july-14-2020.
                                                26
                                                   See Letter from Lindsie Rank, Program Officer, Individual Rights Defense Program, Found. for Individual Rights in Educ., to Father Joseph M. McShane, S.J., President, Fordham Univ. (July 17, 2020), d28htnjz2elwuj.cloudfront.net/
                                                wp-content/uploads/2020/07/17105352/FIRE-letter-to-Fordham-University-July-17-2020.pdf.

       13
                                                27
                                                                                                                                                         App.406
                                                  Adam Goldstein, Analysis: Department of Education investigates Fordham over broken speech promises in Austin Tong case, Found. for Individual Rights in Educ. (Aug. 25, 2020), thefire.org/analysis-department-of-education-
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                          Incitement

                          There is also a propensity among universities to                                            For instance, in Hess v. Indiana, the Supreme Court held
                          restrict speech that offends other students on the                                          that a man who had loudly stated “We’ll take the fucking
                          basis that it constitutes “incitement.” The basic                                           street later” during an anti-war demonstration did not
                          concept, as administrators too often see it, is that                                        intend to incite or produce immediate lawless action.33
                          offensive or provocative speech will anger those                                            The Court found that “at worst, it amounted to nothing
                          who disagree with it, perhaps                                                                                   more than advocacy of illegal action
                          so much so that it moves them                                                                                   at some indefinite future time,” and
                          to violence. While preventing                                                                                   that the man could therefore not be
                          violence is necessary, this is an                                                                               convicted under a state disorderly
                          impermissible misapplication of                                                                                 conduct statute.34 The fact that the
                          the incitement doctrine.                                                                                        Court ruled in favor of the speaker
                                                                                                                                          despite the use of such strong and
                          Incitement, in the legal sense,                                                                                 unequivocal language underscores
                          does not refer to speech that                                                                                   the narrow construction that has
                          may lead to violence on the part                                                                                traditionally been given to the
                          of those opposed to or angered                                                                                  incitement doctrine, and its dual
                          by it, but rather to speech that                                                                                requirements of likelihood and
                          will lead those who agree with it                                                                               immediacy. Nonetheless, college




                                                                                                                                                                                                                                           The State of Free Speech on Our Nation’s Campuses
                          to commit immediate violence.                                                                                   administrations have been all too
                          In other words, the danger is                                                                                   willing to abuse or ignore this
                          that certain speech will convince                                                                               jurisprudence, often using the term
                          sympathetic, willing listeners to                                                                               in policies in a colloquial manner.
                          take immediate unlawful action.
                                                                                                                      For example:
                          The paradigmatic example of incitement is a person
                          standing on the steps of a courthouse in front of a                                           • The University of California system’s “intolerance
                          torch-wielding mob and urging that mob to burn down                                                report form” encourages students to report
                          the courthouse immediately. Misapplying the doctrine                                               instances of “hate speech,” defined as “any
                          to encompass an opposing party’s reaction to speech                                                speech, gesture or conduct, writing, or display
                          they dislike converts the doctrine into an impermissible                                           that may incite violence or prejudicial action
                          “heckler’s veto,” where violence threatened by those                                               against someone” based on their actual or
                          angry about particular speech is used as a reason                                                  perceived personal characteristic.35
                          to censor that speech. As the Supreme Court has
                          observed, speech cannot be prohibited because it                                              • Western Illinois University bans public decorations
                          “might offend a hostile mob” or because it may prove                                               in the residence halls that “are deemed to be
                          “unpopular with bottle throwers.”30                                                                racist, sexist, indecent, scandalous, illegal,
                                                                                                                             inciting, or in any way oppressive in nature.”36
                          The legal standard for incitement was announced in • Indiana State University explains that prohibited
                          the Supreme Court’s decision in Brandenburg v. Ohio.31    harassment can be expressed or implied,
                          There, the Court held that the state may not “forbid      “creating and/or inciting a foreseeable hostile
                          or proscribe advocacy of the use of force or of law       environment.”37
                          violation except where such advocacy is directed to
                          inciting or producing imminent lawless action and is
                          likely to incite or produce such action.”32 This is an Nonetheless, college administrations
                          exacting standard, as evidenced by its application in
                                                                                 have been all too willing to abuse or
                          subsequent cases.
                                                                                                                      ignore this jurisprudence.


investigates-fordham-over-broken-speech-promises-in-austin-tong-case.
28
   See, e.g., Mission Statement, Fordham Univ. (Apr. 28, 2005), fordham.edu/info/20057/about/2997/mission_statement (“Fordham strives for excellence in research and teaching, and guarantees the freedom of inquiry required by
rigorous thinking and the quest for truth.”); Demonstration Policy, Fordham Univ. Student Handbook, fordham.edu/info/21684/university_regulations/3709/demonstration_policy (last visited Oct. 29, 2020) (“Each member of the
University has a right to freely express their positions and to work for their acceptance whether they assent to or dissent from existing situations in the University or society.”); Bias-Related Incidents and/or Hate Crimes, Fordham
Univ. Student Handbook, fordham.edu/ info/21684/university_regulations/6566/bias-related_incidents_andor_hate_crimes (last visited Oct. 29, 2020) (“[T]he University values freedom of expression and the open exchange of
ideas. The expression of controversial ideas and differing views is a vital part of University discourse.”).
29
   Goldstein, supra note 27.
30
   Forsyth Cty. v. Nationalist Movement, 505 U.S. 123, 134–35 (1992).
31
   395 U.S. 444 (1969).
32
   Id. at 447 (emphasis in original).
                                                                                                         App.407                                                                                                                              14
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                                                                       Obscenity

                                                                       The Supreme Court has held that obscene expression,                                  “the mere dissemination of ideas—no matter how
                                                                       to fall outside of the protection of the First Amendment,                            offensive to good taste—on a state university campus
                                                                       must “depict or describe sexual conduct” and must                                    may not be shut off in the name alone of ‘conventions
                                                                       be “limited to works which, taken as a whole, appeal                                 of decency.’”41
                                                                       to the prurient interest in sex, which portray sexual
                                                                       conduct in a patently offensive way, and which, taken as                             Nonetheless, many colleges erroneously believe
                                                                       a whole, do not have serious literary, artistic, political,                          that they may lawfully prohibit profanity and vulgar
                                                                       or scientific value.”38                                                              expression. For example:

                                                                       This is a narrow standard applicable only to certain                                   • Alabama A&M University bans “[i]ndecent,
                                                                       highly graphic sexual material. It does not encompass                                       obscene, immoral behavior and/or profanity,”
                                                                       profanity, even though profane words are often                                              including “the use of obscene gestures” and
                                                                       colloquially referred to as “obscenities.” In fact, the                                     “vulgar language.”42
                                                                       Supreme Court has explicitly held that profanity is
                                                                       constitutionally protected. In Cohen v. California,                                    • The University of Louisiana at Lafayette’s conduct
                                                                       the defendant, Paul Robert Cohen, was convicted                                             code prohibits “[p]ublic [p]rofanity,” defined as
                                                                       in California for wearing a jacket bearing the words                                        “[p]rofanity or abusive or foul language directed
                                                                       “Fuck the Draft” in a courthouse.39 The Supreme                                             toward a person or persons.”43
                                                                       Court overturned Cohen’s conviction, holding that the                                  • Frostburg State University prohibits the
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                                                                       message on his jacket, however vulgar, was protected                                        placement of flyers in the residence halls
                                                                       speech.                                                                                     “containing content that would be considered
                                                                                                                                                                   offensive to a reasonable person (e.g. nudity,
                                                                                                                                                                   obscenities, etc.).”44




                                                                       Similarly, in Papish v. Board of Curators of the University
                                                                       of Missouri, the Court determined that a student’s
                                                                       expulsion for distributing a student newspaper
                                                                       containing an article titled “Motherfucker Acquitted”
                                                                       violated the First Amendment.40 The Court wrote that

                                                33
                                                   414 U.S. 105 (1973).
                                                34
                                                   Id. at 108–09.
                                                35
                                                   Campus Climate, Univ. of California, ucsystems.ethicspointvp.com/custom/ucs_ccc/default.asp (last visited Oct. 17, 2020).
                                                36
                                                   Decorating Your Room, Residence Hall Student Handbook at 18, wiu.edu/student_services/housing/living_on_campus/pdf/ResidenceHallHandbook2020.pdf (last visited Oct. 17, 2020).
                                                37
                                                   Misconduct against Persons, Code Of Student Conduct, indstate.edu/code-of-student-conduct/prohibited-conduct/against-persons (last visited Oct. 17, 2020).
                                                38
                                                   Miller v. California, 413 U.S. 15, 24 (1973).
                                                39
                                                   403 U.S. 15 (1971).
                                                40
                                                    410 U.S. 667 (1973).
                                                41
                                                   Id. at 670.

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                                                42
                                                                                                                                                 App.408
                                                   Code of Conduct Offenses and Sanctions, Ala. A&M Univ. Student Handbook (revised 2019), aamu.edu/about/administrative-offices/student-affairs/student-handbook/_documents/aamu-student-handbook.pdf.
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                          Harassment

                          Hostile environment harassment, properly defined,                                             standing alone. Others provide multiple definitions
                          is not protected by the First Amendment. In the                                               of harassment, resulting in a policy scheme that is
                          educational context, the Supreme Court has                                                    confusing for students and likely to have a chilling
                          defined student-on-student (or peer) harassment as                                            effect on expression.
                          discriminatory, unwelcome, and targeted conduct that
                          is “so severe, pervasive, and objectively offensive that                                      Here are just a few examples of overly broad harassment
                          it effectively bars the victim’s access to an educational                                     policies:
                          opportunity or benefit.”45
                                                                                                                          • Northwestern University’s harassment policy
                          This is not simply expression; it is conduct far beyond                                               states: “Examples of harassment include
                          the protected speech that is too often deemed                                                         offensive jokes related to a protected class; . . .
                          “harassment” on today’s college campus. For example,                                                  name calling related to a protected class,” and
                          in Davis, the conduct found by the Court to constitute                                                “mockery connected to a protected class.”47
                          harassment was a months-long pattern of conduct
                          including repeated attempts to touch the victim’s                                               • Portland State University’s policy defines sexual
                          breasts and genitals, together with repeated sexually                                                 harassment as “unwelcome conduct of a sexual
                          explicit comments directed at and about the victim.                                                   nature,” before labeling “sexual or derogatory
                                                                                                                                comments” and “sending letters, notes, cartoons,
                                                                                                                                emails, text or audio messages of a sexually




                                                                                                                                                                                                                                                   The State of Free Speech on Our Nation’s Campuses
                          For decades now, however, many colleges and
                          universities have maintained policies defining                                                        suggestive nature” as examples of “inappropriate
                          harassment too broadly and prohibiting constitutionally                                               behavior.”48
                          protected speech. Years of Title IX enforcement by • Furman University goes so far as to warn students
                          the Department of Education’s Office for Civil Rights        that the university “may address conduct
                          (OCR) that neglected to fully protect First Amendment        that, although it does not rise to the level of
                          rights, including an unconstitutionally broad definition     constituting Sexual Misconduct as defined by this
                          of sexual harassment promulgated by OCR itself,46 led        Policy, is nevertheless offensive and/or unwanted
                          numerous colleges and universities to enact overly           conduct of a sexual nature.”49
                          restrictive harassment policies in an effort to avoid
                          an OCR investigation.                                    These examples, along with many others, demonstrate
                                                                                   that colleges and universities often fail to limit
                          On May 6, 2020, the Department of Education published themselves to the narrow definition of harassment
                          new Title IX regulations that adopted the Supreme that is outside the realm of constitutional protection.
                          Court’s peer harassment standard from Davis, taking Instead, they expand the term to prohibit broad
                          effect August 14, 2020. The regulations and emerging categories of speech that do not even approach
                          trends in universities’ compliance are discussed in actionable harassment, despite similar policies having
                          further detail in this report’s “Spotlight on: New Title been struck down by federal courts years earlier.50
                          IX Regulations” feature.
                                                                                   Having discussed the most common ways in which
                          Although the full impact of the regulations remains universities misuse the narrow exceptions to the First
                          to be seen as of this writing, we expect university Amendment to prohibit protected expression, we now
                          policies on harassment to generally improve. However, turn to the innumerable other types of university
                          even where policies reasonably track the Supreme regulations that restrict free speech on their face.
                          Court’s standard from Davis, problems remain. Many Such restrictions are generally found in several distinct
                          policies define harassment narrowly, then proceed types of policies.
                          to provide a list of examples of prohibited conduct
                          that do not necessarily meet that standard when




43
   Code of Student Conduct, Univ. of Louisiana at Lafayette at 16 (last updated August 18, 2020), studentrights.louisiana.edu/sites/studentrights/files/Code%20of%20Student%20Conduct%20Sept.20.pdf.
44
   Residence Life Office Residence Hall Posting Guidelines, Frostburg St. Univ. frostburg.edu/student-life/residence-life/residence-life-office/rlo-posting-policy.pdf (last visited Oct. 13, 2020).
45
   Davis v. Monroe County Board of Education, 526 U.S. 629, 633 (1999).
46
   See Letter from Shaheena Simons and Damon Martinez, U.S. Dep’t of Justice to Robert G. Frank, President, Univ. of N.M. (Apr. 22, 2016), available at justice.gov/opa/file/843901/download; Letter from Anurima Bhargava, Chief, Civil
Rights Div., U.S. Dep’t of Justice, and Gary Jackson, Reg’l Dir., Office for Civil Rights, U.S. Dep’t of Educ., to Royce Engstrom, President, Univ. of Mont. and Lucy France, Univ. Counsel, Univ. of Mont. (May 9, 2013), available at justice.
gov/opa/documents/um-ltr-findings.pdf.
47
   Policy on Discrimination & Harassment, Northwestern Univ. (Sept. 1, 2019), northwestern.edu/equity/documents/discrimination-harassment-policy-resources-procedures-final.pdf.
48
   Prohibited Discrimination & Harassment Policy, Portland St. Univ. (Sept. 28, 2017), docs.google.com/document/d/e/2PACX-1vRBvO64ghsJ4GeuDWaEvzmv9r95jMzJDuIEP9Jqx3LwdRjcb9DVWRVYtC3QA6W8Jenhp-txbfpxCRWg/pub.
49
   Sexual Misconduct Policy, Furman Univ. at 4 (Aug. 14, 2020), furman.edu/title-ix/wp-content/uploads/sites/128/2020/08/Furman-2020-21-Sexual-Misconduct-Policy-8.14.20.pdf.
50
                                                                                                            App.409
   See, e.g., DeJohn v. Temple Univ., 537 F.3d 301 (3d Cir. 2008) (holding that Temple University’s sexual harassment policy was unconstitutionally overbroad); Doe v. Univ. of Mich., 721 F. Supp. 852 (E.D. Mich. 1989) (holding that
                                                                                                                                                                                                                                                      16
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                                                                         Anti-Bullying Policies

                                                                         Over the past decade, FIRE has found that numerous                                          But as courts have held in rulings spanning decades,
                                                                         colleges and universities have adopted policies on                                          speech cannot be prohibited simply because someone
                                                                         “bullying” and “cyberbullying.” On October 26, 2010,                                        else finds it offensive, even deeply so.59 Offensive
                                                                         OCR issued a letter on the topic of bullying, reminding                                     speech, if it does not rise to the level of harassment
                                                                         educational institutions that they must address                                             or one of the other narrow categories of unprotected
                                                                         actionable harassment, but also acknowledging                                               speech and conduct, is entitled to constitutional
                                                                         that “[s]ome conduct alleged to be harassment may                                           protection (and, accordingly, to protection at private
                                                                         implicate the First Amendment rights to free speech                                         institutions that claim to uphold the right to free
                                                                         or expression.” For such situations, OCR’s letter refers                                    speech).
                                                                         readers back to the 2003 “Dear Colleague” letter
                                                                         stating that harassment is conduct that goes far beyond
                                                                         merely offensive speech and expression. However,                                              FIRE has come across numerous
                                                                         because it is primarily focused on bullying in the K–12                                       university policies prohibiting bullying
                                                                         setting, the 2010 letter also urges an in loco parentis
                                                                         approach that is inappropriate in the college setting,
                                                                                                                                                                       in a problematic manner.
                                                                         where students are overwhelmingly adults.53

                                                                         Court decisions and other guidance regarding student
                                                                         speech in the K–12 setting often “trickle up” to the
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                                                                         collegiate setting, and indeed, FIRE has come across
                                                                         numerous university policies prohibiting bullying in a
                                                                         problematic manner. For example:

                                                                            • Western Michigan University defines bullying as
                                                                                                                                                                                                              no one likes you.
                                                                                 “[r]epeated and/or severe aggressive behavior
                                                                                 likely to intimidate or intentionally hurt, control
                                                                                 or diminish another person, physically or
                                                                                 mentally.”54 The policy goes on to list as examples
                                                                                 of bullying “creating web pages with a negative
                                                                                 focus; posting insults on social networking sites;
                                                                                 and/or spreading rumors with malicious intent.”55                                                  *Reported for bullying

                                                                            • Howard University’s student handbook defines
                                                                                 bullying as “[u]nwanted, aggressive and/or
                                                                                 hostile behavior” that involves a power imbalance
                                                                                 and is “intended to humiliate” another individual
                                                                                 or group. The policy makes clear that bullying
                                                                                 “can be one single act” and states that examples
                                                                                 include “spreading rumors” and “marginalizing
                                                                                 and/or excluding someone from a group, event
                                                                                 or activity.”57
                                                                            • At Towson University, “[c]yberbullying” is defined
                                                                                 as conduct that has the effect of “intimidating;
                                                                                 humiliating; harassing; harming; embarrassing;
                                                                                 or damaging person(s) or organization(s).”58




                                                University of Michigan’s discriminatory harassment policy was unconstitutionally broad); Booher v. N. Ky. Univ. Bd. of Regents, No. 2:96-CV-135, 1998 U.S. Dist. LEXIS 11404 (E.D. Ky. July 21, 1998) (holding that Northern Kentucky
                                                University’s sexual harassment policy was unconstitutionally broad). The United States Court of Appeals for the Fifth Circuit recently questioned whether purely speech harassment claims could ever meet the Davis standard, stating:
                                                “Whether Davis may constitutionally support purely verbal harassment claims, much less speech-related proscriptions outside Title IX protected categories has not been decided by the Supreme Court or this court and seems self-
                                                evidently dubious.” Speech First, Inc. v. Fenves, No. 19-50529, n. 16 at 29* (5th Cir. 2020).
                                                51
                                                   “Dear Colleague” Letter from Russlynn Ali, Assistant Sec’y for Civil Rights, U.S. Dep’t of Educ. (Oct. 26, 2010), available at ed.gov/about/offices/list/ocr/letters/colleague-201010.html.
                                                52
                                                   “In the place of parents.”
                                                53
                                                   See generally McCauley v. Univ. of the V.I., 618 F.3d 243–44 (3d Cir. 2010) (“[T]he pedagogical missions of public universities and public elementary and high schools are undeniably different. While both seek to impart knowledge,
                                                the former encourages inquiry and challenging priori assumptions whereas the latter prioritizes the inculcation of societal values. . . . The idea that public universities exercise strict control over students via an in loco parentis
                                                relationship has decayed to the point of irrelevance.”).

       17
                                                54
                                                                                                                                                         App.410
                                                   Student Code, Western Michigan Univ. at 15 (last updated Sept. 2020), wmich.edu/sites/default/files/attachments/u492/2020/Student%20Code%20October%202020.pdf.
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                          Policies on Tolerance, Respect, and Civility

                          Many schools invoke laudable goals like respect and
                          civility to justify policies that violate students’ free
                          speech rights. While a university has every right to
                          promote a tolerant and respectful atmosphere on
                          campus, a university that claims to respect free speech
                          must not limit discourse to only the inoffensive and
                          respectful. And although pleas for civility and respect
                          are often initially framed as requests, many schools
                          have speech codes that effectively turn those requests
                          into requirements.

                          For example:

                            • Boston College’s information technology use
                                 policy states: “Communications from members
                                 of the University community are to reflect mutual
                                 respect, civility, and other moral standards.” The                                     Internet Usage Policies
                                 policy specifically bans “[t]he use of obscene




                                                                                                                                                                                                                                            The State of Free Speech on Our Nation’s Campuses
                                 or intolerant language, and the use of similarly
                                 offensive graphic or video images,” and notes                                          University policies regulating online expression, while
                                 that “[t]he determination of what is obscene,                                          perhaps appearing to be narrow, can have a significant
                                 offensive, or intolerant is within the sole                                            impact on students’ and faculty members’ free speech
                                 discretion of the University.”60                                                       rights, given the prevalence of online communication
                                                                                                                        on today’s college campuses.
                            • At Boise State University, students are informed
                                 that “[m]embership in the campus community is Examples of impermissibly restrictive Internet usage
                                 a privilege and requires its members to conduct policies include the following:
                                 themselves ethically with integrity and civility,”
                                 which includes “adhere[nce] to the principles of • Drexel University calls the use of “offensive
                                 civil discourse.”61                                  language” an abuse of email privileges that could
                            •    Georgetown University bans “[i]ncivility,” broadly   result in “de-activation of the account (for minor
                                 defined as “[e]ngaging in behavior, either through   first offenses) through university judicial action or
                                 language or actions, which disrespects another       referral to law enforcement authorities.”64
                                 individual.” 62
                                                                                    • At Carleton College, students are prohibited from
                          While respect and civility may seem uncontroversial,                                                 “distributing material which is demeaning.”65
                          most uncivil or disrespectful speech is protected by the                                             Carleton’s policy also bans using information
                          First Amendment,63 and is indeed sometimes of great                                                  technology resources for “political purposes.”
                          political and social significance. Some of the expression                                       • The College of the Holy Cross informs students
                          employed in the civil rights movement of the 1950s and                                               that “[o]bscene or intolerant language, as well as
                          ’60s, for example, would violate campus civility codes                                               offensive images” are prohibited, and makes clear
                          today. Colleges and universities may encourage civility,                                             “[t]he determination of what is obscene, offensive
                          but public universities—and those private universities                                               or intolerant is within the sole discretion of the
                          that purport to respect students’ fundamental free                                                   College.” 67
                          speech rights—may not require it or threaten mere
                          incivility with disciplinary action.




55
   Id.
56
   Howard University Student Handbook, Howard Univ., studentaffairs.howard.edu/sites/studentaffairs.howard.edu/files/2020-07/howard-university-student-handbook-2019-2020-REM.pdf (last visited Oct. 13, 2020).
57
   Id.
58
   Code of Student Conduct, Towson Univ. at 4 (Aug. 12, 2020), towson.edu/studentaffairs/policies/documents/code_of_student_conduct.pdf.
59
   See Texas v. Johnson, 491 U.S. 397, 414 (1989) (“If there is a bedrock principle underlying the First Amendment, it is that the government may not prohibit the expression of an idea simply because society finds the idea itself
offensive or disagreeable”); see also Saxe v. State Coll. Area Sch. Dist., 240 F.3d 200, 206 (3d Cir. 2001) (holding that there is “no question that the free speech clause protects a wide variety of speech that listeners may consider
deeply offensive. . . . ”); Bair v. Shippensburg Univ., 280 F. Supp. 2d 357, 369 (M.D. Pa. 2003) (“[R]egulations that prohibit speech on the basis of listener reaction alone are unconstitutional both in the public high school and
university settings”); Doe v. Univ. of Mich., 721 F. Supp. 852, 863 (E.D. Mich. 1989) (“Nor could the University proscribe speech simply because it was found to be offensive, even gravely so, by large numbers of people”).
60
   Use of University Technological and Information Resources, Boston College Policies and Procedures at 4 (last updated Mar. 30, 2004), bc.edu/content/dam/files/offices/policies/pdf/policies/I/1-100-025.pdf.
61
                                                                                                           App.411
   Statement of Shared Values, Boise St. Univ. Office of the President, boisestate.edu/president/values/statement-of-shared-values (last visited Oct. 16, 2020).
                                                                                                                                                                                                                                               18
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                                                                          As campuses shifted to online learning during the                                                      such incidents in order to assist the college in
                                                                          COVID-19 pandemic this year, the concerns presented                                                    “addressing behaviors that are antithetical to our
                                                                          by problematic speech codes governing online                                                           community values.”73
                                                                          expression were amplified. Indeed, FIRE recently
                                                                          released a report focusing on the recent surge in online                                          • DePauw University states: “Not all bias incidents
                                                                          censorship.68                                                                                          constitute harassment under these policies.
                                                                                                                                                                                 However, even if a bias incident does not
                                                                          To take one recent example, at Stockton University, a                                                  constitute harassment, we can and will respond
                                                                          student faced a litany of charges, including “Disruptive                                               to address hurtful behavior and to support the
                                                                          Behavior,” “Discrimination,” and “Harassment,” over                                                    targeted individual or group.”74
                                                                          using a photograph of President Donald Trump as his
                                                                          Zoom background and posting a political message         While speech or expression that is based on a speaker’s
                                                                          on Facebook.69 Stockton’s incident report explained     bias may be subjectively offensive, it is protected under
                                                                          that the background made members of his class feel      First Amendment standards unless it rises to the level of
                                                                          “offended, disrespected, and taunted.”70                unlawful conduct like harassment. Some bias reporting
                                                                                                                                  policies acknowledge the distinction between unlawful
                                                                          Just as speech that occurs in the public square may not conduct, like hate crimes or harassment, and bias-
                                                                          be sanctioned merely because it has made others feel related incidents. However, many of these policies
                                                                          “offended, disrespected, and taunted,” online speech nonetheless encourage students to report such broadly
                                                                          may not be restricted on those bases alone.             defined bias incidents, and reserve the right to take
                                                                                                                                  action against incidents that do not constitute unlawful
                                                                                                                                  behavior or unprotected speech.
                                                                          Policies on Bias and Hate Speech
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                                                                          In recent years, colleges and universities around
                                                                          the country have instituted policies and procedures
                                                                          specifically aimed at eliminating “bias” and “hate
                                                                          speech” on campus.71 These sets of policies and
                                                                          procedures, frequently termed “Bias Reporting
                                                                          Protocols” or “Bias Incident Protocols,” often include
                                                                          bans on protected expression. For example:

                                                                             • Grinnell College defines a “bias-motivated
                                                                                  incident” as “an expression of hostility toward,
                                                                                  a person, group, or property thereof” because of
                                                                                  an individual or group’s identifying or perceived
                                                                                  characteristic. The College warns: “Since these
                                                                                  behaviors are not reflective of our Community    Bias incident protocols also often infringe on students’
                                                                                  Standards, student(s) found responsible for      right to due process by allowing for anonymous
                                                                                  bias-related charges may face outcomes up to     reporting that denies students the right to confront
                                                                                  and including suspension, dismissal or degree    their accusers. Moreover, universities are often heavily
                                                                                  withdrawal.”72                                   invested in these bias incident policies, having set
                                                                                                                                   up extensive regulatory frameworks and response
                                                                             •    Bates College lists the following as examples protocols devoted solely to addressing them.
                                                                                  of bias incidents: “hate speech,” “sexist jokes
                                                                                  or cartoons,” and “disparaging remarks on Although some bias incident protocols do not include
                                                                                  social media sites.” Students are told to report a separate enforcement mechanism, the mere threat




                                                62
                                                   Code of Student Conduct, Georgetown Univ. Division of Student Affairs at 13 (last updated fall 2018), studentconduct.georgetown.edu/code-of-student-conduct.
                                                63
                                                   See, e.g., Coll. Republicans at S.F. St. Univ. v. Reed, 523 F. Supp. 2d 1005, at 23* (N.D. Cal. 2007) (enjoining enforcement of university civility policy because “there is a substantial risk that the civility requirement will inhibit or
                                                deter use of the forms and means of communication that, to many speakers in circumstances of the greatest First Amendment sensitivity, will be the most valued and the most effective.”).
                                                64
                                                   Email Policy, Drexel Univ. Information Technology (last revised July 1, 2014), drexel.edu/it/about/policies/policies/07-Email.
                                                65
                                                   Academic User Agreement, Information Technology Services (last updated Apr. 13, 2020), apps.carleton.edu/campus/its/policies/agreement.
                                                66
                                                   Id.
                                                67
                                                   Use of Information Technology Services, College of the Holy Cross Policies and Procedures Manual (Dec. 16, 2015), holycross.edu/sites/default/files/files/policyprocedure/its/350000-002_use_of_information_technology_
                                                services_2015_accepted.pdf.
                                                68
                                                   Memory-holed: Universities and Internet Speech, Found. for Individual Rights in Educ., thefire.org/ research/publications/miscellaneous-publications/memory-holed-universities-and-internet-speech.

    19
                                                69
                                                                                                                                                             App.412
                                                   See Letter from Zachary Greenberg, Program Officer, Individual Rights Defense Program, Found. for Individual Rights in Educ., to Harvey Kesselman, President, Stockton Univ. (Aug. 7, 2020), thefire.org/fire-letter-to-stockton-
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                          of a bias investigation will likely be sufficient to chill                                       of controversial campus speakers by levying additional
                          speech on controversial issues. Indeed, the United                                               security costs on the sponsoring student organizations.
                          States Court of Appeals for the Sixth Circuit recently
                          held that, even though it lacked the power to punish   The Supreme Court addressed a very similar issue
                          students independently, the University of Michigan’s   in Forsyth County v. Nationalist Movement, where it
                          former “Bias Response Team” policy was likely to chill struck down an ordinance in Georgia that permitted the
                          the speech of students because “the invitation from    local government to set varying fees for events based
                          the Response Team to meet could carry an implicit      upon how much police protection the event would
                          threat of consequence should a student decline the     need.79 Invalidating the ordinance, the Court wrote that
                          invitation.”75 As a part of a settlement agreement,76  “[t]he fee assessed will depend on the administrator’s
                          the university replaced its Bias Response Team with a  measure of the amount of hostility likely to be created
                          “Campus Climate Support” program. The new policy       by the speech based on its content. Those wishing
                          makes its purpose—to provide support, rather than to   to express views unpopular with bottle throwers, for
                          investigate or punish protected speech—clear: “CCS     example, may have to pay more for their permit.”80
                          is not a disciplinary body, cannot impose discipline,  Deciding that such a determination required county
                          and does not require participation in any aspect of    administrators to “examine the content of the message
                          CCS’s work.”77                                         that is conveyed,” the Court wrote that “[l]isteners’
                                                                                 reaction to speech is not a content-neutral basis for
                          Overbroad bias reporting policies must be revised so regulation. . . . Speech cannot be financially burdened,
                          that they narrowly target unlawful conduct, or to make any more than it can be punished or banned, simply
                          clear they exist for purposes of providing support for because it might offend a hostile mob.”81




                                                                                                                                                                                                                                             The State of Free Speech on Our Nation’s Campuses
                          affected individuals.
                                                                                 Despite this precedent, the impermissible use of
                                                                                 security fees to burden controversial speech is all too
                          Policies Governing Speakers,                           common on university campuses:
                          Demonstrations, and Rallies
                                                                                                                             • At Evergreen State College, factors that are
                                                                                                                                  considered in evaluating risk and determining
                          Universities may enact reasonable, narrowly tailored                                                    security needs include the “topic” of the event
                          “time, place, and manner” restrictions that prevent                                                     and the “history of the performer.”82 If extra
                          demonstrations and other expressive activities from                                                     security is deemed necessary by the university,
                          unduly interfering with the educational process.78                                                      “this additional cost will be the responsibility of
                          They may not, however, regulate speakers and                                                            the event sponsor.”83
                          demonstrations on the basis of content or viewpoint,
                          nor may they maintain regulations that burden                                                      • Bridgewater State University informs students
                          substantially more speech than is necessary to                                                          that users of facilities will be billed for
                          maintain an environment conducive to education. Such                                                    “extraordinary staff support needs arising from
                          regulations can take several forms, as discussed in the                                                 the particular nature of the event.”84
                          sections below.                                                                                    • The State University of New York – New Paltz
                                                                                                                                  chillingly states: “Where a controversial speaker
                                                                                                                                  is likely to engender demonstrations from other
                          Security Fee Policies                                                                                   student groups, the sponsoring organization must
                                                                                                                                  recognize the rights of other groups and consider
                                                                                                                                  the impact of inviting each speaker on the orderly
                          In recent years, FIRE has seen a number of colleges                                                     and lawful functioning of the College.”
                          and universities hamper—whether intentionally or just
                          through a misunderstanding of the law—the invitation




university-august-7-2020.
70
   Id.
71
   See generally Bias Response Team Report 2017, Found. for Individual Rights in Educ., thefire.org/research/publications/bias-response-team-report-2017.
72
   Campus Life Policies, Grinnell College 2019-2020 Student Handbook, catalog.grinnell.edu/content.php?catoid=12&navoid=2536#Hate_Crimes_and_Bias-Motivated_Incidents_Policy (last visited Oct. 16, 2020).
73
   Bias Incidents & Hate Crimes, Bates Office of Equity and Inclusion, bates.edu/equity-inclusion/bias-incidents-hate-crimes (last visited Oct. 16, 2020).
74
   What is a Bias Incident?, DePauw Univ. Bias Incident Resources, depauw.edu/studentacademiclife/campus-safety/bias-incident-resources/investigation-follow-up (last visited Oct. 16, 2020).
75
   Speech First, Inc. v. Schlissel, 939 F.3d 756 (6th Cir. 2019). Quoting Schlissel, the United States Court of Appeals for the Fifth Circuit recently found a university bias reporting team’s practice of making referrals to university
disciplinary bodies “sufficiently proscriptive to objectively chill student speech.” Speech First, Inc. v. Fenves, No. 19-50529, at 22* (5th Cir. 2020).
76
   Speech First v. U of M; Settlement Agreement, Speech First – Univ. of Michigan Case (Oct. 28, 2019), speechfirst.org/court-battles/speech-first-v-u-of-m-settlement-agreement.
77
                                                                                                              App.413
   Campus Climate Support, Univ. of Michigan Dean of Students, deanofstudents.umich.edu/campus-climate-support (last visited Oct. 29, 2020).
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                                                                        Prior Restraints

                                                                        The Supreme Court has held that “[i]t is offensive—not   repeatedly been struck down by courts or voluntarily
                                                                        only to the values protected by the First Amendment,     revised by colleges as part of settlements to lawsuits
                                                                        but to the very notion of a free society—that in the     brought by students. FIRE’s Stand Up For Speech
                                                                        context of everyday public discourse a citizen must      Litigation Project has mounted successful challenges
                                                                        first inform the government of her desire to speak to    to free speech zone policies at eight colleges.91
                                                                        her neighbors and then obtain a permit to do so.” Yet    Most recently, the Los Angeles Community College
                                                                        many colleges and universities enforce prior restraints, District agreed to settle a lawsuit brought after an
                                                                        requiring students and student organizations to register administrator told a student his rights were restricted
                                                                        their expressive activities well in advance and, often,  to a tiny free speech zone on the Los Angeles Pierce
                                                                        to obtain administrative approval for those activities.  College campus. As the largest community college
                                                                        For example:                                             district in the country, this victory for the Stand Up For
                                                                                                                                 Speech Litigation Project restored free speech rights
                                                                          •    Virginia State University’s student handbook to roughly 150,000 students.92
                                                                               prohibits “[u]nauthorized assembly,
                                                                               demonstrations, or acts of picketing of any kind” Additionally, state legislatures have continued to take
                                                                               as “Disorderly Conduct,” explaining that all action to prohibit public colleges and universities from
                                                                               “assemblies, demonstrations, and similar acts maintaining free speech zones. Currently, seventeen
                                                                               must have prior approval and be registered.”86    states have enacted laws prohibiting these restrictive
                                                                                                                                 policies: Virginia, Missouri, Arizona, Kentucky,
                                                                          •    Students wishing to conduct a demonstration Colorado, Utah, North Carolina, Tennessee, Florida,
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                                                                               at Rensselaer Polytechnic Institute must submit Georgia, Louisiana, Arkansas, South Dakota, Iowa,
                                                                               an application to the dean of students’ office Alabama, Oklahoma, and Texas. In doing so, several
                                                                               “at least seven (7) days prior to the proposed states utilized FIRE’s model legislation.
                                                                               demonstration date” for approval.87
                                                                          • Students on Kean University’s campus can’t even Due to FIRE’s efforts in litigation and legislation, as
                                                                             hand out flyers without “submitting a formal well as our continued policy reform work, free speech
                                                                             request online . . . at least five (5) business days zones have declined dramatically over the past decade.
                                                                             prior to the requested use.”88                       In spite of this progress, too many universities still
                                                                                                                                  maintain free speech zones. Despite being inconsistent
                                                                                                                                  with the First Amendment, free speech zones are
                                                                        Free Speech Zone Policies                                 more common at public universities than at private
                                                                                                                                  universities: 8.1% of public universities surveyed
                                                                        Of the 478 schools surveyed for this report, 34 maintain free speech zones, while just 3.8% of private
                                                                        institutions (7.1%) enforce “free speech zone” policies— universities that promise their students free speech
                                                                        policies limiting student demonstrations and other rights do.
                                                                        expressive activities to small and often out-of-the-way
                                                                        areas on campus.89 This number represents a significant Examples of current free speech zone policies include
                                                                        improvement over the course of the past decade: a the following:
                                                                        2013 FIRE survey of the institutions covered in this
                                                                        report found that 16.4%—over double the percentage • Eastern Illinois University restricts the distribution
                                                                        today—maintained such policies.90 This positive shift         of written materials to a single area on campus,
                                                                        can be traced in large part to FIRE’s litigation and          which it accurately and candidly calls the “Free
                                                                        legislative efforts.                                          Speech Zone.”93 The policy also provides that the
                                                                                                                                      university and registered student organizations
                                                                        Over the past several years, free speech zones have           may reserve this area for events, presenting the




                                                78
                                                   See Ward v. Rock Against Racism, 491 U.S. 781, 791 (1989).
                                                79
                                                   Forsyth, 505 U.S. 123.
                                                80
                                                    Id. at 134.
                                                81
                                                   Id. at 134–35 (emphasis added).
                                                82
                                                   Event Security and Safety, Evergreen St. College Policies and Procedures, evergreen.edu/policy/eventsecurityandsafety (last visited Oct. 13, 2020).
                                                83
                                                    Id.
                                                84
                                                   Free Speech and Demonstration Policy, Bridgewater St. Univ. (reviewed Sept. 2017), handbook.bridgew.edu/sites/handbook/files/2019-08/BSU_Free_Speech_and_Demonstration_Policy_Revised_2017.pdf.
                                                85
                                                   Watchtower Bible and Tract Society of NY, Inc. v. Village of Stratton, 536 U.S. 150, 165–66 (2002).
                                                86
                                                   Disorderly Conduct, Virginia St. Univ. Student Handbook at 88, vsu.edu/files/docs/student-activities/student-handbook.pdf (last visited Oct. 16, 2020).
                                                87
                                                   Rules for Maintenance of Public Order, Rensselaer Handbook of Student Rights and Responsibilities at 88 (last rev. Aug. 21, 2020), rpi.app.box.com/s/3f1cl3w1lt1mq8gqla68v6uk3vh1c19f.

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                                                88
                                                                                                                                                 App.414
                                                   Distribution of Literature Policy, Kean Univ. Policies, kean.edu/offices/policies/distribution-literature-policy (last visited Oct. 16, 2020).
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                              concern that other students wishing to hand out
                              flyers may not be able to do so if this area has
                              been previously reserved.94
                          • The University of California – Riverside provides
                              that all persons may use “[a]reas open to the
                              public generally” for expressive activity, but those
                              areas are defined exceedingly narrowly as “the
                              outdoor paved walkways on the campus.”95 If an
                              activity is “pre-advertised” or can be expected
                              to attract a crowd of over 25 people, it is limited
                              to either “the Tower Mall or Speaker’s Mound
                              area.”96
                          • At Vanderbilt University, students may only
                              hand out written materials “on Rand Terrace
                              or outside the building in which a meeting has
                              been scheduled by another organization, if the
                              distributors position themselves twenty feet
                              from the entrance and so as to avoid restricting
                              access.”97




                                                                                                                                                                       THE STATE OF FREE SPEECH ON OUR NATION’S CAMPUSES
                        Although free speech zone policies are indeed being
                        steadily revised across the country, they continue to
                        pose problems for students’ expressive activities.
                        country, they continue to pose problems for students’
                        expressive activities.




89
   See Appendix D for a full list of schools with free speech zone policies.
90
   Infographic: Free Speech Zones on America’s Campuses (2013), thefire.org/infographic-free-speech-zones-on-americas-campuses-2.
91
   For more information about FIRE’s Stand Up for Speech Litigation Project and Million Voices campaign, see standupforspeech.com.
92
   Pierce College Press Release, supra note 13.
93
   #138.1 - Posting and Distribution of Materials, Eastern Illinois Univ. Internal Governing Policies (July 27, 2020), castle.eiu.edu/~auditing/138_1.php.
94
   Id.
95
   Speech and Advocacy, Univ. of California Riverside (Sept. 15, 1992), fboapps.ucr.edu/policies/index.php?path=printPolicies.php&policy=700-70.
96
   Id.
97
   Freedom of Expression, Vanderbilt Univ. Student Handbook, vanderbilt.edu/student_handbook/student-engagement/#freedom-of-expression (last visited Oct. 13, 2020).


                                                                                                 App.415                                                                  22
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WHAT CAN BE DONE?




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                         The good news is that the types of restrictions
                         discussed in this report can be reformed. Students
                         and faculty members can be tremendously effective
                         advocates for change when they are aware of their
                         expressive rights and willing to engage administrators
                         in their defense. FIRE provides a number of resources
                         to assist advocates and administrators in revising
                         speech codes, including our Model Code of Student
                                                                                                                   Public exposure is also critical to defeating
                         Conduct.98 The Model Code includes provisions
                         regarding prohibited conduct that would all earn                                          speech codes, since universities are often
                         green light ratings, as well as student conduct                                           unwilling to defend their speech codes in
                         procedures and procedural safeguards that comply
                                                                                                                   the face of public criticism.
                         with the Department of Education’s recent Title IX
                         regulations.

                         Unconstitutional policies also can be defeated in
                         court, especially at public universities, where speech
                         codes have been struck down in federal courts
                         across the country. Many more such policies have
                         been revised in favor of free speech as the result of
                         legal settlements.




                                                                                                                                                                                                                              The State of Free Speech on Our Nation’s Campuses
                         Any speech code in force at a public university is
                         vulnerable to a constitutional challenge. Moreover,
                         as speech codes are consistently defeated in court,
                         administrators cannot credibly argue that they are
                         unaware of the law, which means that
                         they may be held personally liable when
                         they are responsible for their schools’
                         violations of constitutional rights.99

                         The suppression of free speech at
                         institutions of higher education is a matter
                         of national concern. But, by working
                         together with universities to revise
                         restrictive speech codes and to reaffirm
                         commitments to free expression, we can
                         continue to make strides toward campuses
                         that truly embody the “marketplace of
                         ideas” that such institutions are meant
                         to be in our society.




98
  Model Code, Found. for Individual Rights in Educ. (May 28, 2020), thefire.org/legal/procedural-advocacy/model-code. For other resources regarding policy reform, see thefire.org/resources/fires-speech-code-resources.
99
  See, e.g., Marieke Tuthill Beck-Coon, FIRE lawsuit against Iowa State University administrators ends with nearly $1 million in damages and fees, Found. for Individual Rights in Educ. (Mar. 23, 2018) thefire.org/fire-
lawsuit-against-iowa-state-university-administrators-ends-with-nearly-1-million-in-damages-and-fees. See also Azhar Majeed, Putting Their Money Where Their Mouth Is: The Case for Denying Qualified Immunity to University
Administrators for Violating Students’ Speech Rights, 8 Cardozo Pub. L., Pol’y & Ethics J. 3, 515 (2010).




                                                                                                      App.417                                                                                                                    24
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                                                      Spotlight On:
                                                      New Title IX Regulations
                                                                          Conduct that constitutes hostile environment                                                  “severe, pervasive, and objectively offensive”
                                                                          harassment, as legally defined, isn’t protected by                                            components from the Davis standard, a single
                                                                          the First Amendment, but colleges all too often                                               instance of subjectively offensive verbal conduct (i.e.,
                                                                          miss the mark when drafting harassment policies. In                                           speech, such as an off-color joke) could be considered
                                                                          fact, harassment policies earn FIRE’s worst, red light                                        punishable harassment.
                                                                          rating more frequently than any other type of policy
                                                                          in the Spotlight database, with 68 schools currently                                          OCR later backed away from the term “blueprint” in a
                                                                          maintaining a policy that earns the rating.100                                                letter to FIRE, in which it explained that “the agreement
                                                                                                                                                                        in the Montana case represents the resolution of that
                                                                          In Davis v. Monroe County Board of Education, the                                             particular case and not OCR or DOJ policy,”104 but the
                                                                          Supreme Court defined student-on-student (or peer)                                            damage caused by the promotion of this definition
                                                                          harassment in the educational setting as discriminatory,                                      had already been done. Many universities across the
                                                                          unwelcome conduct that is “so severe, pervasive, and                                          country had adopted it as their controlling standard
                                                                          objectively offensive that it effectively bars the victim’s                                   for peer harassment, or had added it to existing
Foundation for Individual Rights in Education




                                                                          access to an educational opportunity or benefit.”101                                          policies, presenting students with a confusing array
                                                                          In other words, harassment is extreme and repetitive                                          of definitions at a single school.
                                                                          behavior—behavior so serious that it would interfere
                                                                          with a reasonable person’s ability to receive their       After years of pushback from FIRE and other civil
                                                                          education. However, most colleges have adopted a          liberties groups, OCR finally reversed course. On May
                                                                          broader standard, putting protected speech at risk        6, 2020, the agency announced new regulations that,
                                                                          of punishment.                                            among other important reforms regarding procedural
                                                                                                                                    safeguards, adopt the standard from Davis for Title
                                                                          To understand why universities so commonly fail to IX sexual harassment. Those regulations took effect
                                                                          define harassment properly, it helps to take a look August 14, 2020.105
                                                                          back through the past decade of Title IX enforcement.
                                                                                                                                    The colleges and universities analyzed in this report
                                                                          In 2013, the U.S. Department of Education’s Office were reviewed incrementally over the course of the past
                                                                          for Civil Rights (OCR) and the Department of Justice year, from October 2019 to September 2020. Thus, we
                                                                          issued a joint findings letter announcing a resolution have only seen the impact of the regulations on schools
                                                                          agreement with the University of Montana, following an that were updated since they went into effect. However,
                                                                          investigation into the university’s Title IX policies and we have already identified a few trends in how schools
                                                                          practices.102 The letter described this agreement as “a have responded to the regulations.
                                                                          blueprint for colleges and universities throughout the
                                                                          country to protect students from sexual harassment First, some schools have missed the effective date
                                                                          and assault,” and defined sexual harassment as “any of the regulations entirely. For example, Murray
                                                                          unwelcome conduct of a sexual nature,” including State University notes that the revision of its “Sexual
                                                                          “verbal conduct.”103                                      Harassment Policy” is pending final approval in
                                                                                                                                    December 2020 by its board of regents.106 Most
                                                                          Under this broad, “blueprint” definition of sexual universities have a process for expediting the adoption
                                                                          harassment, which fails to incorporate the critical of a policy on an interim basis, but evidently 100 days


                                                100
                                                    FIRE’s Spotlight Database Search Results, Found. for Individual Rights in Educ.,
                                                thefire.org/resources/spotlight/?x=&speech_code=Red&y=&institution_type=&speech_code_advanced=Red&y_advanced=&statement%5B%5D=804#search-results (last visited Oct. 29, 2020).
                                                101
                                                    526 U.S. 629, 633 (1999).
                                                102
                                                    U.S. Dep’t of Educ., Dear Colleague Letter from Gerald A. Reynolds, Assistant Sec’y for Civil Rights (July 28, 2003), https://www2.ed.gov/about/offices/list/ocr/firstamend.html.
                                                103
                                                    Id.
                                                104
                                                    Letter from Catherine E. Lhamon, Assistant Secretary for Civil Rights, U.S. Department of Education, to Greg Lukianoff, President, Foundation for Individual Rights in Education (Nov. 14, 2013), available at thefire.org/letter-from-
                                                department-of-education-office-for-civil-rights-assistant-secretary-catherine-e-lhamon-to-fire.
                                                105
                                                    Nondiscrimination on the Basis of Sex in Education Programs or Activities Receiving Federal Financial Assistance, 85 Fed. Reg. 30,026 (May 19, 2020) (to be codified at 34 C.F.R. pt. 106).
                                                106
                                                    Sexual Harassment Policy, Murray St. Univ. (last updated May 1, 2017), murraystate.edu/headermenu/administration/OfficeOfInstitutionalDiversityEquityandAccess/pdf/sexualharassmentpolicy.pdf.
                                                107
                                                    See Title IX, Office of Institutional Diversity, Equity and Access, murraystate.edu/headermenu/administration/titleix/index.aspx (last visited Oct. 20, 2020).
                                                108
                                                    The regulations note that “inappropriate or illegal behavior may be addressed by a recipient even if the conduct clearly does not meet the Davis standard or otherwise constitute sexual harassment under § 106.30, either under a
                                                recipient’s own code of conduct or under criminal laws in a recipient’s jurisdiction (e.g., with respect to a commenter’s example of drugging at a dorm party).” Nondiscrimination, supra note 105. However, developing two entirely


  25
                                                                                                                                                           App.418
                                                separate definitions of sexual harassment with correspondingly distinct procedural protections gives administrators the power to decide which definition and procedures to apply to each case (and even to conduct concurrent
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                          (from May 6, when the regulations were released, to                                          Title IX cases, but also cases of hostile environment
                          the effective date on August 14) was not sufficient                                          harassment based on other protected characteristics.112
                          for Murray State. Instead, the university will wait
                          a total of 209 days before revising its policy. In the                                       And even where schools haven’t adopted the
                          interim, Murray State has not added the definition of                                        Davis standard across all policies, revising policies
                          harassment from the regulations to its Title IX webpage                                      pursuant to the regulations has resulted in significant
                          or any other location on its website.107                                                     improvements. Wichita State University, for one,
                                                                                                                       improved from an overall red light rating to an overall
                          The majority of schools, however, have unfortunately                                         yellow light rating by removing its blueprint sexual
                          adopted what FIRE is calling a “dual-track approach”                                         harassment policy and replacing it with one that adopts
                          to reaching policy compliance. While these schools                                           the definition from the regulations.113 The university still
                          adopted the regulations’ definition of sexual harassment                                     maintains a harassment provision in its student code of
                          for Title IX cases, they also maintain a broader sexual                                      conduct that defines harassment more broadly than the
                          harassment definition for other types of cases.108                                           regulations, but the removal of the blueprint definition
                                                                                                                       is an important victory for free speech rights.114
                          For example, the State University of New York at
                          Fredonia adopted a “Title IX Grievance Policy” that                                          At the time of this writing, it is difficult to be sure of the
                          incorporates the definition from the regulations.                                            future of the Department of Education’s regulations.
                          However, the policy also provides that “SUNY Fredonia                                        Thus, civil liberties advocates must continue to be




                                                                                                                                                                                                                                          The State of Free Speech on Our Nation’s Campuses
                          remains committed to addressing any violations of                                            diligent in identifying threats to free expression
                          its policies, even those not meeting the narrow                                              presented by overbroad harassment policies.
                          standards defined under the Title IX Final Rule,” and
                          that “the institution retains authority to investigate  Whether or not the Title IX regulations remain in place,
                          and adjudicate the allegations under the policies and   schools will need to be urged into compliance, watched
                          procedures defined within the Code of Conduct through   to make sure they don’t adopt additional, conflicting
                          a separate grievance proceeding.”109                    policies, and monitored to ensure that the application
                                                                                  of such policies does not infringe on student rights.
                          This “Code of Conduct” policy in turn references the FIRE will continue to do so, regardless of what the
                          university’s “Sexual Harassment Policy,” which provides future holds for these regulations.
                          the “blueprint” definition of sexual harassment
                          discussed earlier.110 Thus, with both the speech-
                          protective definition from the regulations and this
                          broader definition in place, students at SUNY Fredonia
                          are still at risk of being punished for engaging in
                          protected speech.

                          The results thus far are not all negative. Some schools
                          have adopted the definition of sexual harassment from
                          the regulations in their policies across the board. For
                          example, West Virginia University previously banned
                          “severe or pervasive” conduct in defining hostile
                          environment harassment, rather than requiring that
                          conduct be both “severe” and “pervasive,” as per the
                          standard from Davis.111 Now, that hostile environment
                          definition has been revised to fully track the regulations,
                          requiring both severity and pervasiveness in not only



proceedings), a scenario that invites administrative abuse and puts free speech and due process rights at risk. As a federal district court recently explained: “Such disregard for the inevitable administrative headaches of a multi-
procedure approach certainly qualifies as evidence of an irregular adjudicative process.” Doe v. Rensselaer Polytechnic Institute, No. 1:20-cv-1185, at 13* (N.D.N.Y. Oct. 16, 2020). The court found that a school’s “conscious and
voluntary choice to afford a plaintiff, over his objection, a lesser standard of due process protections when that school has in place a process which affords greater protections, qualifies as an adverse action.” Id.
109
    Title IX Grievance Policy, SUNY Fredonia at 5, fredonia.edu/sites/default/files/section/about/diversity-inclusion/SUNY%20Fredonia%20Title%20IX%20Policy.pdf (last visited Oct. 20, 2020).
110
    Sexual Harassment Policy, Univ. Policies for Students, fredonia.edu/student-life/student-conduct/policies#SexualDiscrimination (last visited Oct. 20, 2020).
111
    Archive: BOG Policy 44 - Policy Regarding Discrimination, Harassment, Sexual Harassment, Sexual & Domestic Misconduct, Stalking, and Retaliation, West Virginia Univ. Rules, Policies, and Procedures (repealed Aug. 14,
2020), policies.wvu.edu/archives/bog-policy-44-policy-regarding-discrimination-harassment-sexual-harassment-sexual-domestic-misconduct-stalking-and-retaliation.
112
    BOG Governance Rule 1.6 - Rule Regarding Discrimination, Harassment, Sexual Harassment, Sexual Misconduct, Domestic Misconduct, Stalking, Retaliation, and Relationships, West Virginia Univ. Rules, Policies, and
Procedures (Aug. 14, 2020), policies.wvu.edu/finalized-bog-rules/bog-governance-rule-1-6-rule.
113
    Sexual Harassment, Discrimination and Retaliation for Employees, Students and Visitors, WSU Policies and Procedures (last revised Aug. 13, 2020), wichita.edu/about/policy/ch_03/ch3_06.php.
114
    Student Code of Conduct Handbook, WSU Policies and Procedures (last revised June 24, 2020), wichita.edu/about/student_conduct/student-code-of-conduct-handbook.php.


                                                                                                          App.419                                                                                                                            26
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                APPENDICES




                                   App.420
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Appendix A: Schools by Rating
                                                                        Macalester College
                                                                        Marquette University
                                                                        Middlebury College
                                                                        Mount Holyoke College
                                                                        Murray State University
                                                            RED LIGHT   Northeastern University
            Adams State University                                      Northern Vermont University
            Alabama A&M University                                      Northwestern University
            Barnard College                                             Portland State University
            Bates College                                               Princeton University
            Boston College                                              Reed College
RED LIGHT   Boston University                                           Rensselaer Polytechnic Institute
            California State University - Dominguez Hills               Rice University
            California State University – Fresno                        Santa Clara University
            California State University - Monterey Bay                  Shawnee State University
            Carleton College                                            Southern Illinois University at Carbondale
            Case Western Reserve University                             Southern Illinois University Edwardsville
            Cheyney University of Pennsylvania                          Southern Oregon University
            Chicago State University                                    St. Olaf College
            Clark University                                            State University of New York - Fredonia
            Clemson University                                          State University of New York - New Paltz




                                                                                                                     The State of Free Speech on Our Nation’s Campuses
            Coastal Carolina University                                 Stevens Institute of Technology
            Colby College                                               Tennessee State University
            Colgate University                                          The College of New Jersey
            College of the Holy Cross                                   Troy University
            Connecticut College                                         Tufts University
            Dakota State University                                     Tulane University
            Davidson College                                            Union College
            Delaware State University                                   University of Alaska Anchorage
            DePauw University                                           University of Alaska Fairbanks
            Dickinson College                                           University of Central Missouri
            Drexel University                                           University of Central Oklahoma
            Eastern Illinois University                                 University of Colorado Denver
            Evergreen State College                                     University of Houston
            Fordham University                                          University of Houston-Downtown
            Fort Lewis College                                          University of Illinois at Chicago
            Framingham State University                                 University of Louisiana Lafayette
            Furman University                                           University of Massachusetts at Dartmouth
            Georgetown University                                       University of Massachusetts at Lowell
            Grinnell College                                            University of Miami
            Harvard University                                          University of Notre Dame
            Harvey Mudd College                                         University of Southern California
            Howard University                                           University of Texas at Arlington
            Johns Hopkins University                                    University of Texas at Austin
            Kean University                                             University of Texas at Dallas
            Lafayette College                                           University of Tulsa
            Lake Superior State University                              University of Wisconsin - Oshkosh
            Lehigh University                                           University of Wyoming
            Lewis-Clark State College                                   Utah State University
            Lincoln University                                          Valdosta State University
            Louisiana State University - Baton Rouge                    Villanova University




                                                            App.421                                                     28
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                                                                  Virginia State University                                  Central Michigan University
                                                                  Western Illinois University                                Central Washington University
                                                                  Western Michigan University                                Centre College
                                                                  William Paterson University                                Christopher Newport University
                                                                  Winston-Salem State University                             Clarion University of Pennsylvania
                                                      RED LIGHT   Worcester Polytechnic Institute
                                                                                                                    YELLOW   College of Charleston
                                                                                                                     LIGHT
                                                                                                                             Colorado College
                                                                                                                             Colorado School of Mines
                                                                                                                             Colorado State University
                                                                                                                             Colorado State University Pueblo
                                                                  Alabama State University                                   Columbia University
                                                                  American University                                        Cornell University
                                                                  Angelo State University                                    Dartmouth College
                                                                  Arkansas State University                                  East Stroudsburg University of Pennsylvania
                                                                  Athens State University                                    East Tennessee State University
                                                       YELLOW     Auburn University Montgomery                               Eastern Michigan University
                                                        LIGHT     Ball State University                                      Eastern New Mexico University
                                                                  Bard College                                               Eastern Washington University
                                                                  Baruch College                                             Elizabeth City State University
                                                                  Bemidji State University                                   Ferris State University
                                                                  Black Hills State University                               Fitchburg State University
                                                                  Bloomsburg University of Pennsylvania                      Florida A&M University
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                                                                  Boise State University                                     Florida Atlantic University
                                                                  Bowdoin College                                            Florida Gulf Coast University
                                                                  Bowling Green State University                             Florida International University
                                                                  Brandeis University                                        Fort Hays State University
                                                                  Bridgewater State University                               Franklin & Marshall College
                                                                  Brooklyn College, City University of New York              Frostburg State University
                                                                  Brown University                                           George Washington University
                                                                  Bryn Mawr College                                          Georgia Gwinnett College
                                                                  Bucknell University                                        Georgia Institute of Technology
                                                                  California Institute of Technology                         Georgia Southern University
                                                                  California Maritime Academy                                Georgia State University
                                                                  California Polytechnic State University                    Gettysburg College
                                                                  California State Polytechnic University, Pomona            Governors State University
                                                                  California State University - Bakersfield                  Grambling State University
                                                                  California State University - Channel Islands              Grand Valley State University
                                                                  California State University - Chico                        Hamilton College
                                                                  California State University - East Bay                     Haverford College
                                                                  California State University - Fullerton                    Henderson State University
                                                                  California State University - Long Beach                   Humboldt State University
                                                                  California State University - Los Angeles                  Hunter College, City University of New York
                                                                  California State University - Northridge                   Idaho State University
                                                                  California State University - Sacramento                   Illinois State University
                                                                  California State University - San Bernardino               Indiana State University
                                                                  California State University - San Marcos                   Indiana University - Bloomington
                                                                  California State University - Stanislaus                   Indiana University - Kokomo
                                                                  California University of Pennsylvania                      Indiana University - Purdue University Columbus
                                                                  Cameron University                                         Indiana University - Purdue University Indianapolis
                                                                  Carnegie Mellon University                                 Indiana University of Pennsylvania
                                                                  Central Connecticut State University                       Indiana University South Bend




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                                                                                                    App.422
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         Indiana University, East                                  Pennsylvania State University - University Park
         Indiana University, Northwest                             Pittsburg State University
         Indiana University, Southeast                             Pitzer College
         Iowa State University                                     Pomona College
         Jacksonville State University                             Radford University
YELLOW   James Madison University                         YELLOW   Rhode Island College
 LIGHT                                                     LIGHT
         Kennesaw State University                                 Rogers State University
         Kent State University                                     Rowan University
         Kentucky State University                                 Rutgers University - New Brunswick
         Kenyon College                                            Saginaw Valley State University
         Kutztown University of Pennsylvania                       Saint Cloud State University
         Lock Haven University of Pennsylvania                     Salem State University
         Longwood University                                       Sam Houston State University
         Louisiana Tech University                                 San Diego State University
         Mansfield University of Pennsylvania                      San Francisco State University
         Marshall University                                       San Jose State University
         Massachusetts College of Liberal Arts                     Scripps College
         Massachusetts Institute of Technology                     Sewanee, The University of the South
         Metropolitan State University                             Skidmore College
         Metropolitan State University of Denver                   Slippery Rock University of Pennsylvania
         Miami University of Ohio                                  Smith College




                                                                                                                           The State of Free Speech on Our Nation’s Campuses
         Michigan State University                                 Sonoma State University
         Middle Georgia State University                           South Dakota State University
         Middle Tennessee State University                         Southeast Missouri State University
         Millersville University of Pennsylvania                   Southeastern Louisiana University
         Missouri State University                                 Southern Connecticut State University
         Missouri University of Science & Technology               Southern Methodist University
         Montana State University                                  Southern Utah University
         Montana Tech of the University of Montana                 Southwest Minnesota State University
         Montclair State University                                Stanford University
         Morehead State University                                 State University of New York - Binghamton
         New College of Florida                                    State University of New York - Oswego
         New Jersey Institute of Technology                        State University of New York - Albany
         New Mexico State University                               State University of New York - University at Buffalo
         New York University                                       State University of New York College of Environmental
         Nicholls State University                                 Science and Forestry
         Norfolk State University                                  Stockton University
         North Carolina A&T State University                       Stony Brook University
         North Dakota State University                             Swarthmore College
         Northeastern Illinois University                          Syracuse University
         Northern Illinois University                              Tarleton State University
         Northern Kentucky University                              Temple University
         Northern Michigan University                              Tennessee Technological University
         Northwestern Oklahoma State University                    Texas Southern University
         Northwestern State University                             Texas State University - San Marcos
         Oakland University                                        Texas Tech University
         Oberlin College                                           Texas Woman's University
         Occidental College                                        The City College of New York
         Ohio University                                           The Ohio State University
         Oklahoma State University - Stillwater                    The University of Virginia’s College at Wise
         Old Dominion University                                   Towson University




                                                       App.423                                                                30
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                                                                Trinity College                                       University of Nevada, Reno
                                                                University of Akron                                   University of New Mexico
                                                                University of Alabama                                 University of New Orleans
                                                                University of Alabama at Birmingham                   University of North Alabama
                                                                University of Alabama in Huntsville                   University of North Carolina at Asheville
                                                       YELLOW   University of Alaska Southeast               YELLOW   University of North Carolina School of the Arts
                                                        LIGHT   University of Arkansas - Fayetteville         LIGHT   University of North Georgia
                                                                University of California Berkeley                     University of North Texas
                                                                University of California Davis                        University of Northern Colorado
                                                                University of California Irvine                       University of Northern Iowa
                                                                University of California Merced                       University of Oklahoma
                                                                University of California Riverside                    University of Oregon
                                                                University of California San Diego                    University of Pennsylvania
                                                                University of California Santa Barbara                University of Pittsburgh
                                                                University of California Santa Cruz                   University of Rhode Island
                                                                University of Central Arkansas                        University of Richmond
                                                                University of Central Florida                         University of Rochester
                                                                University of Cincinnati                              University of South Alabama
                                                                University of Connecticut                             University of South Carolina Columbia
                                                                University of Delaware                                University of South Dakota
                                                                University of Denver                                  University of South Florida
                                                                University of Georgia                                 University of South Florida at Saint Petersburg
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                                                                University of Hawaii at Manoa                         University of Southern Indiana
                                                                University of Hawaii Hilo                             University of Southern Maine
                                                                University of Idaho                                   University of Texas at El Paso
                                                                University of Illinois at Springfield                 University of Texas at San Antonio
                                                                University of Illinois at Urbana-Champaign            University of Texas at Tyler
                                                                University of Iowa                                    University of Texas Rio Grande Valley
                                                                University of Kansas                                  University of Toledo
                                                                University of Kentucky                                University of Utah
                                                                University of Maine                                   University of Vermont
                                                                University of Maine at Fort Kent                      University of Washington
                                                                University of Maine Presque Isle                      University of West Alabama
                                                                University of Mary Washington                         University of West Florida
                                                                University of Massachusetts - Amherst                 University of West Georgia
                                                                University of Massachusetts - Boston                  University of Wisconsin - Eau Claire
                                                                University of Memphis                                 University of Wisconsin - Green Bay
                                                                University of Michigan - Ann Arbor                    University of Wisconsin - La Crosse
                                                                University of Michigan - Dearborn                     University of Wisconsin - Madison
                                                                University of Michigan - Flint                        University of Wisconsin - Stout
                                                                University of Minnesota - Morris                      University of Wisconsin Milwaukee
                                                                University of Minnesota - Twin Cities                 Utah Valley University
                                                                University of Missouri - Columbia                     Vanderbilt University
                                                                University of Missouri-Kansas City                    Virginia Commonwealth University
                                                                University of Missouri-St. Louis                      Virginia Polytechnic Institute and State University
                                                                University of Montana                                 Wake Forest University
                                                                University of Montana Western                         Washington & Lee University
                                                                University of Montevallo                              Washington State University
                                                                University of Nebraska - Lincoln                      Washington University in St. Louis
                                                                University of Nebraska Omaha                          Wayne State University
                                                                University of Nevada, Las Vegas                       Weber State University




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         Wellesley College                                   State University of New York - Brockport
         Wesleyan University                                 State University of New York - Plattsburgh
         West Chester University of Pennsylvania             Texas A&M University
         West Virginia University                            The College of William & Mary
         Western Kentucky University                         University of Arizona
YELLOW   Western Oregon University                           University of California Los Angeles
 LIGHT   Western Washington University                       University of Chicago
         Westfield State University                          University of Colorado at Boulder
         Whitman College                                     University of Florida
         Wichita State University                            University of Louisville
         Williams College                                    University of Maryland - College Park
         Winona State University                             University of Mississippi
         Worcester State University                          University of New Hampshire
         Wright State University                             University of North Carolina - Pembroke
         Yale University                                     University of North Carolina Chapel Hill
         Youngstown State University                         University of North Carolina Charlotte
                                                             University of North Carolina Greensboro
                                                             University of North Carolina Wilmington
                                                             University of North Dakota
                                                             University of North Florida
         Alcorn State University                             University of Southern Mississippi




                                                                                                          The State of Free Speech on Our Nation’s Campuses
         Appalachian State University                        University of Tennessee Knoxville
         Arizona State University                            University of Virginia
         Auburn University                                   Western Carolina University
         Claremont McKenna College                           Western Colorado University
GREEN    Cleveland State University
LIGHT    Colorado Mesa University
         Delta State University
         Duke University
         East Carolina University                            Baylor University
         Eastern Kentucky University                         Brigham Young University
         Edinboro University of Pennsylvania                 Pepperdine University
         Emory University                                    Saint Louis University
         Fayetteville State University                       United States Military Academy
         Florida State University                  WARNING   United States Naval Academy
         George Mason University                   SCHOOLS   Vassar College
         Jackson State University                            Yeshiva University
         Kansas State University
         Keene State College
         McNeese State University
         Michigan Technological University
         Mississippi State University
         North Carolina Central University
         North Carolina State University
         Northern Arizona University
         Oregon State University
         Plymouth State University
         Purdue University
         Purdue University Fort Wayne
         Purdue University Northwest
         Shippensburg University




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                                                APPENDIX B: Rating Changes, 2019–2020 Academic Year



                                                SCHOOL NAME                                     2018–2019 RATING    2019–2020 RATING

                                                Boise State University                                   Red                 Yellow

                                                College of Charleston                                    Red                 Yellow

                                                Colorado Mesa University                                Yellow               Green

                                                Dartmouth College                                        Red                 Yellow

                                                Emory University                                         Red                 Green

                                                Fayetteville State University                           Yellow               Green

                                                Florida State University                                 Red                 Green

                                                Georgia Southern University                              Red                 Yellow

                                                Governors State University                               Red                 Yellow
Foundation for Individual Rights in Education




                                                Harvey Mudd College                                     Yellow                Red

                                                Idaho State University                                   Red                 Yellow

                                                Jackson State University                                Yellow               Green

                                                Morehead State University                                Red                 Yellow

                                                New Jersey Institute of Technology                       Red                 Yellow

                                                Northern Illinois University                             Red                 Yellow

                                                Northwestern University                                 Yellow                Red

                                                Oklahoma State University - Stillwater                   Red                 Yellow

                                                Rice University                                         Yellow                Red

                                                Shawnee State University                                Yellow                Red

                                                Southeastern Louisiana University                        Red                 Yellow

                                                Southern Utah University                                 Red                 Yellow

                                                State University of New York - Albany                    Red                 Yellow

                                                Syracuse University                                      Red                 Yellow

                                                University of Alabama at Birmingham                      Red                 Yellow

                                                University of Colorado at Boulder                       Yellow               Green




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SCHOOL NAME                                     2018-2019 RATING      2019-2020 RATING

University of Montana                                   Red                   Yellow

University of New Orleans                               Red                   Yellow

University of North Texas                               Red                   Yellow

University of South Carolina Columbia                   Red                   Yellow

University of Texas at Arlington                       Yellow                  Red

Valdosta State University                              Yellow                  Red

Western Michigan University                            Yellow                  Red

Whitman College                                         Red                   Yellow

Wichita State University                                Red                   Yellow




                                                                                         The State of Free Speech on Our Nation’s Campuses
Winston-Salem State University                         Yellow                  Red




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                                                APPENDIX C: Schools at Which a Faculty or Administrative Body Has Adopted a Version
                                                of the ‘Chicago Statement’




                                                     Adrian College*                                     State University of New York – University at Buffalo
                                                     American University                                 State University System of Florida
                                                     Amherst College                                     Stetson University*
                                                     Appalachian State University                        Suffolk University*
                                                     Arizona State University                            Tennessee Technological University
                                                     Ashland University*                                 The Citadel*
                                                     Ball State University                               The City University of New York
                                                     Board of Regents, State of Iowa                     University of Alabama System
                                                     Brandeis University                                 University of Arizona
                                                     California State University – Channel Islands       University of Arkansas at Little Rock*
                                                     Case Western Reserve University                     University of Colorado System
                                                     Chapman University*                                 University of Denver
                                                     Christopher Newport University                      University of Louisiana System
                                                     Claremont McKenna College                           University of Maine System
                                                     Clark University                                    University of Maryland
                                                     Cleveland State University                          University of Minnesota
Foundation for Individual Rights in Education




                                                     Colgate University                                  University of Missouri System
                                                     Colorado Mesa University                            University of Montana
                                                     Columbia University                                 University of Nebraska
                                                     Denison University*                                 University of North Carolina – Chapel Hill
                                                     Eckerd College*                                     University of Southern Indiana
                                                     Franklin & Marshall College                         University of Texas at San Antonio
                                                     George Mason University                             University of Toledo
                                                     Georgetown University                               University of Virginia College at Wise
                                                     Gettysburg College                                  University of Wisconsin System
                                                     Jacksonville State University                       Utica College*
                                                     Johns Hopkins University                            Vanderbilt University
                                                     Joliet Junior College*                              Washington and Lee University
                                                     Kansas State University                             Washington University in St. Louis
                                                     Kenyon College                                      Winston-Salem State University
                                                     Kettering University*                               Winthrop University*
                                                     Louisiana State University System
                                                     Miami University of Ohio
                                                     Michigan State University
                                                     Middle Tennessee State University                   NOTE: Some of the institutions on this list are
                                                     Nevada System of Higher Education                   not rated as a part of the Spotlight database at
                                                     Northern Illinois University                        this time and thus do not fall within this report’s
                                                     Ohio University                                     speech code analysis. However, they have been
                                                     Ohio Wesleyan University*
                                                     Princeton University                                included here in order to provide a full list of the
                                                     Purdue University                                   institutions at which either the administration
                                                     Ranger College*                                     or a faculty body has adopted a version of
                                                     Smith College                                       the Chicago Statement. Such institutions are
                                                     Snow College*
                                                     South Dakota University System                      denoted with an asterisk.




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APPENDIX D: Schools with “Free Speech Zones”




     Auburn University Montgomery
     Ball State University
     Bemidji State University
     Bridgewater State University
     California State University - Dominguez Hills
     California State University - Los Angeles
     California State University – Sacramento
     East Tennessee State University
     Eastern Illinois University
     Elizabeth City State University
     Grambling State University
     Kentucky State University
     Montclair State University
     Morehead State University
     Northwestern State University




                                                                                     The State of Free Speech on Our Nation’s Campuses
     Occidental College
     Rutgers University - New Brunswick
     Saint Cloud State University
     Southern Illinois University at Carbondale
     Stanford University
     Texas Southern University
     The College of New Jersey
     Tulane University
     University of Alabama in Huntsville
     University of California Riverside
     University of Illinois at Urbana-Champaign
     University of Iowa
     University of Massachusetts at Dartmouth
     University of Nebraska - Lincoln
     University of North Carolina School of the Arts
     University of South Carolina Columbia
     University of Southern Indiana
     University of West Alabama
     Vanderbilt University




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